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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


OBEL CRUZ-GARCIA,                         Case No. 4:17-CV-03621
     Petitioner,
                                          U.S. District Judge Lee H. Rosenthal
   v.

BOBBY LUMPKIN, Director,
Texas Department of
Criminal Justice,
Correctional Institutions Division,
       Respondent.



         SECOND AMENDED PETITION FOR WRIT OF HABEAS CORPUS
                     PURSUANT TO 28 U.S.C. § 2254


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                                THIS IS A CAPITAL CASE
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                        PETITION FOR WRIT OF HABEAS CORPUS
                             PURSUANT TO 28 U.S.C. § 2254

       Petitioner Obel Cruz-Garcia, through counsel, pursuant to all rights available under the

Constitution, laws, or treaties of the United States, respectfully petitions this Court for a writ of

habeas corpus declaring unconstitutional and invalid his conviction for capital murder as well as the

resulting death sentence.




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                                 JURISDICTION AND VENUE

       This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 2241(a), and 2254(a). Venue is

proper in the United States District Court for the Southern District of Texas under 28 U.S.C.

§ 2241(d) because it is the court for the district within which Mr. Cruz-Garcia was convicted and

sentenced.

                                             PARTIES

       Petitioner Obel Cruz-Garcia is an inmate of the Texas Department of Criminal Justice

(“TDCJ”). Mr. Cruz-Garcia’s TDCJ number is 999584 and he is housed at the Polunsky Unit,

Livingston, Texas.

       Respondent Bobby Lumpkin is the Director of TDCJ’s Correctional Institutions Division

and an agent of the State that has custody of Mr. Cruz-Garcia. He has custody pursuant to the

judgment and sentence of death entered against Mr. Cruz-Garcia on July 22, 2013, in Texas v. Obel

Cruz-Garcia, No. 1384794 (Tex. 337th Dist. Ct.—Harris County).

                                        INTRODUCTION

       In 2013, Obel Cruz-Garcia was convicted and sentenced to death as a party to the 1992

capital murder of Angelo Garcia, a young child. According to the State’s version of the offense, Mr.

Cruz-Garcia and two associates, Carmelo Rudy Martinez Santana and Roger Aviles Barroso,

kidnapped Angelo and drove to a remote location by a bayou. After Mr. Cruz-Garcia purportedly

told Mr. Barroso that he knew what needed to be done, Mr. Barroso murdered Angelo, and Mr.

Barroso and Mr. Santana weighed Angelo’s body down so that it would sink into the bayou. In 2008,

DNA evidence collected in 1992 was matched to Mr. Cruz-Garcia, who was subsequently convicted

and sentenced to death as a party to the capital murder of Angelo. Mr. Barroso was convicted and

sentenced to life (the death penalty was never sought). Mr. Santana, who testified extensively to his


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participation in the murder at both Mr. Cruz-Garcia and Mr. Barroso’s trials, was never charged

with any offense in connection with Angelo’s kidnapping and murder.

        Mr. Cruz-Garcia awaits execution (while his purported co-conspirator remains uncharged

and unpunished) for a simple reason: he did not receive a fair trial. This was apparent a few hours

after Mr. Cruz-Garcia was sentenced to death, when his trial counsel received a frantic phone call

from one of the jurors, Angela Bowman. Juror Bowman told trial counsel she did not believe the

State had proven its case at the punishment phase, but she had felt compelled to vote on the special

issues in such as a way as to result in a death sentence after the trial judge gave a coercive instruction

to her—and only to her—during an ex parte meeting. Juror Bowman also revealed that she was not

the only juror who was unpersuaded by the State’s punishment phase evidence. At least one other

juror had not agreed on the special issues until the jury foreman read from the Bible to the jury

during their deliberations on punishment. The jury foreman confirmed these events in a recorded

interview with the defense investigator, before later contradicting his own prior statements in an

affidavit provided to the State. Yet, the trial court refused to hear live testimony on these serious

allegations of jury misconduct and denied Mr. Cruz-Garcia’s motion for new trial.

        In short, the jury’s deliberations in Mr. Cruz-Garcia’s case were controversial, deeply flawed,

and permeated by constitutional violations. In this respect, the jury deliberations were like the rest

of Mr. Cruz-Garcia’s trial. Due to serious errors, deficiencies, and, in some instances, misconduct,

Mr. Cruz-Garcia sits on Texas death row based on proceedings that were flawed, one-sided, and

biased against him.

        There are no hourly billing records from trial counsel’s representation of Mr. Cruz-Garcia

because trial counsel was compensated on an ethically dubious flat-fee basis that did not require




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them to keep time entries. First chair counsel Skip Cornelius did, however, keep detailed time entries

for the hundreds of other felony cases, including capital murders, that he was appointed to during

the time he represented Mr. Cruz-Garcia. According to those records, Mr. Cornelius frequently

billed over six hours—and up to seven or eight hours—to other cases on the days when Mr. Cruz-

Garcia’s case was in jury selection. The pattern continued throughout the guilt and punishmnet

phases. On each day the jury heard evidence during the guilt phase of Mr. Cruz-Garcia’s trial, Mr.

Cornelius billed at least four hours to other cases. During the punishment phase, Mr. Cornelius

billed an average of nearly five hours each day to other cases.

        In addition to billing his time hourly, Mr. Cornelius also charged the county for individual

court appearances on a flat-fee basis. Over the 11 days of jury selection in Mr. Cruz-Garcia’s case,

Mr. Cornelius claimed $3,450.00 in flat fees for 19 court appearances in other cases. Over the four

days of evidence in the guilt phase, Mr. Cornelius claimed six court appearance fees. He claimed

another four during the three days of evidence in the punishment phase. In total, over the course of

Mr. Cruz-Garcia’s trial, Mr. Cornelius billed the county nearly $35,000.00. That sum corresponds

to the default flat fee in Harris County for a death penalty case, including all pre-trial litigation and

investigation, jury selection, and trial to verdict. In other words, during Mr. Cruz-Garcia’s trial, Mr.

Cornelius worked the equivalent of an entire other death penalty case.

        Having adequate counsel who were not consumed by work on other cases would have led to

a different result in Mr. Cruz-Garcia’s case. Neither Mr. Cruz-Garcia’s conviction nor his death

sentence were a forgone conclusion. Yet, trial counsel failed to perform even the most basic tasks,

such as reviewing the State’s file. Despite repeated requests from the State for trial counsel to

“[p]lease come by and see my file,” trial counsel refused, stating “I don’t have a responsibility to go




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through your file” and “I’m not going to go through 20 boxes of DNA records.” 20 RR 186–87. Mr.

Cornelius later wrote that he does not participate in open file systems because “I don’t play that

game.” 3 SHCR 607.

        Trial counsel’s refusal to “go through 20 boxes of DNA records” was inexplicable given that

the State’s case against Mr. Cruz-Garcia turned largely on DNA evidence. Trial counsel did not even

consult with a DNA expert. Had they done so, the outcome of the trial would have been different:

less than a week after Mr. Cruz-Garcia’s conviction became final on appeal, the State recanted the

DNA analysis presented at trial and conceded that much of the DNA evidence used to convict Mr.

Cruz-Garcia was false.

        The trial court also hampered Mr. Cruz-Garcia’s ability to defend himself against the State’s

DNA evidence. The evidence was originally processed and stored by the now-defunct HPD Crime

Lab, which was closed after it came to light that the lab routinely falsified results, contaminated

evidence, and generally failed to adhere to basic forensic standards. During that time, the DNA

evidence was handled and analyzed by disgraced employees who were later cited for incompetence

and misconduct, and in one case, criminally prosecuted. Judge Magee, however, forbade Mr. Cruz-

Garcia from presenting any evidence concerning the impugned credibility of the lab, the

incompetence of the disgraced employees who handled the evidence in his case, or the fact that

earlier testing had yielded results different from those presented at trial.

        In addition to failing to investigate the DNA evidence, trial counsel also failed to investigate

the State’s star witness, Mr. Santana. His criminal record reflected that Mr. Santana had committed

at least one crime of moral turpitude involving the assault of a child around the time of the murder,

an impeachable offense. Trial counsel, however, failed to impeach Mr. Santana with that conviction




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because they did not investigate Mr. Santana’s criminal record. As trial counsel stated, moments

before cross-examining the State’s star witness: “I’ve got some conflicting information from my own

investigators” about the circumstances of the offense, “and so, I’m going to accept pretty much whatever

the State tells me or what he [Mr. Santana] tells me.” 21 RR 18. Mr. Santana then lied about the facts of

the offense and trial counsel were therefore unable to rely on his prior conviction to impeach his

testimony. Due to trial counsel’s failure to reasonably investigate the State’s star witness, the jury

never learned of Mr. Santana’s lies or his crime of moral turpitude that—like the crime of which he

accused Mr. Cruz-Garcia and claimed to have only reluctantly participated in—involved violence to

a child.

           Trial counsel failed to investigate other issues about Mr. Santana’s credibility. Mr. Santana

had a documented history of mental illness and had even been evaluated for competency before he

plead guilty to a prior federal drug trafficking and gun offenses. Shortly before implicating Mr. Cruz-

Garcia, Mr. Santana tried to convince a federal court that he suffered from such debilitating mental

illness that he should be released early from federal prison because “I [Mr. Santana] have a plethora

of medical records that illustrate my undeniable incompetence to accept a guilty plea.” ECF No. 18–

12. Because of trial counsel’s failure to investigate, the jury never learned that the State’s star witness

had declared himself “undeniabl[y] incompeten[t]” just before he implicated Mr. Cruz-Garcia.

           Trial counsel’s lack of investigation led to other failings. Mr. Cruz-Garcia’s ex-wife, Angelita

Rodriguez, testified that he had confessed to her—after denying for decades that she knew anything

about the case. Her description of the circumstances surrounding the confession were contradicted

by other evidence, including an FBI report. But that was never brought to the jury’s attention. Nor




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was the fact that Ms. Rodriguez would be receiving assistance from the State with her immigration

issues, which was later provided by way of a letter from the lead prosecutor.

       Trial counsel’s failure to investigate also meant that the State’s law enforcement witnesses

could reimagine the original 1992 investigation to make it fit the State’s 2013 theory of the case.

Angelo was kidnapped from the home of his mother, Diana Garcia, and her boyfriend, Arturo

Rodriguez. A cigar was found in the apartment with Mr. Cruz-Garcia’s DNA, the presence of which

could be explained by the fact that he was a close acquaintance of Ms. Garcia and Mr. Rodriguez

and had visited their apartment earlier in the day. Indeed, in 1992, the police told Ms. Garcia that

they thought the cigar was completely unconnected with the crime. In 2013, law enforcement

testified that it must have belonged to one of the assailants. In 1992, the police concluded that Ms.

Garcia and Mr. Rodriguez were actively dealing cocaine on the day of the offense and were not being

truthful with them. In 2013, they became former drug dealers who had abandoned crime and who

the police believed were forthright and cooperative. And ransom demands for the victim recorded

in contemporaneous police reports and pointing to other suspects somehow never happened.

Because of trial counsel’s failure to investigate, these inconsistencies between the original

investigation and State’s case were never brought to the jury’s attention.

       Trial counsel did not present any evidence at the guilt phase and presented hardly any

evidence at the punishment phase. Trial counsel did not retain a mitigation specialist, despite the

Texas and national guidelines requiring one. Instead, as Mr. Cornelius later put it, “we had my

experience, which predates mitigation experts, at least in Harris County.” 4 SHCR 947.

       Mr. Cornelius’s experience led to a punishment phase case that accounted for less than 75

pages of the transcript. It consisted of just three family members, who were obviously unprepared,




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and an 18-year-old who had been held in pre-trial confinement with Mr. Cruz-Garcia and

approached trial counsel unsolicited to ask if he could say something on Mr. Cruz-Garcia’s behalf.

Only one of the family members testified live. The other two participated via a shoddy video

connection because trial counsel had not arranged for them travel to the United States. No experts

testified. No life history was prepared. And, Mr. Cruz-Garcia’s life story—which included being

abandoned by his mother, enduring a childhood of crushing poverty in a remote Dominican fishing

village, working while still a child to feed his family, and being forced into a hastily arranged marriage

while still a teenager—went untold.

        On the future dangerousness special issue, trial counsel did not present any evidence

contesting the State’s case. Rather, without performing an investigation, trial counsel decided that

“[w]e were not going to win on future danger” because “the State does not seek the death penalty on

cases where the crime is an aberration or where the defendant does not have a history.” 4 SHCR

946.

        Had trial counsel not in effect conceded the future dangerousness special issue, trial counsel

could have rebutted the State’s main extraneous offense: the 1989 kidnapping and murder of Saul

Flores. As during the guilt phase, the State’s star witness was Mr. Santana, who purported to describe

a brutal killing that he himself participated in, yet never faced any charges for. Mr. Santana’s

testimony was gruesome and graphic—and also completely inconsistent with the forensic evidence

and autopsy. His explanation for why Mr. Cruz-Garcia would want to kill Mr. Flores was Mr. Flores’

involvement with Mr. Cruz-Garcia’s then-girlfriend, Elizabeth Ramos. Trial counsel never attempted

to contact Ms. Ramos. Had they done so, she would have testified that she had never heard of, much

less had anything to do with, Mr. Flores. Because trial counsel decided from the get-go that the future




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dangerousness issue was a forgone conclusion, the jury never learned that Mr. Santana’s supposed

motive for Mr. Flores’s murder was invented by Mr. Santana.

        The State also presented evidence that Mr. Cruz-Garcia had been sentenced to a 16-year

prison sentence in Puerto Rico in 2002. However, because trial counsel conducted no investigation

of Mr. Cruz-Garcia’s prior incarceration, the jury never heard that Mr. Cruz-Garcia was a model

inmate who experienced a profound religious conversion while in prison. Despite justifying their

funding requests by telling the trial court that “investigators will in all likelihood be required to go

to Puerto Rico to properly investigate this case,” trial counsel conducted no investigation at all in

Puerto Rico. 2 CR 384–85. Had trial counsel conducted an investigation there, numerous witnesses

from the Puerto Rican prison where Mr. Cruz-Garcia was housed—including four chaplains, a

psychologist, and the classification supervisor—could have testified that Mr. Cruz-Garcia was among

the most well-behaved inmates they had ever encountered, that he took on a mentorship role with

other inmates, and that he was so trusted by prison staff that he was given the keys to parts of the

facility as a trustee. Mr. Cruz-Garcia had no disciplinary infractions during his incarceration in

Puerto Rico.

        These witnesses, including several prison chaplains, also could have testified to the renewal

of religious faith Mr. Cruz-Garcia experienced and his genuine repentance for the actions that had

led to his incarceration. Here, where the jury—improperly—used the Bible during deliberations, this

would have been powerful evidence on both the future dangerousness and mitigation special issues.

As a consequence of trial counsel’s failure to investigate Mr. Cruz-Garcia’s prison record, the only

information the jury learned about his conduct in Puerto Rican prison was a single disciplinary

infraction the State presented in its case in aggravation.




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         State habeas was Mr. Cruz-Garcia’s first opportunity to raise trial counsel’s ineffectiveness.

Mr. Cruz-Garcia, however, was deprived of a fair opportunity to litigate this and other claims. At the

time of Mr. Cruz-Garcia’s state post-conviction proceedings, Judge Magee was seeking re-election.

Her campaign website prominently featured Mr. Cruz-Garcia’s trial. No other case was mentioned

anywhere on the website.

         Judge Magee lost her bid for re-election in November 2016. At that point in the state habeas

proceedings, the parties were still waiting on affidavits from trial counsel and there had been no

further fact development in the convicting court on any of the issues alleged by Mr. Cruz-Garcia.

The State quite transparently urged Judge Magee to “get[] this wrapped up before you leave the

bench, Your Honor” lest her successor be permitted to rule on the case. 3 SHRR 6. Judge Magee

obliged and signed the State’s proposed Findings of Fact and Conclusions of Law, verbatim, on

December 29, 2016—two days before leaving office and barely a week after receiving them from the

State. When Judge Magee ran for a different judgeship in 2018, her website again featured Mr. Cruz-

Garcia’s case.

         Mr. Cruz-Garcia’s trial did not meet minimum constitutional standards. Trial counsel’s

deficient performance at both the guilt and punishment phases, the State’s reliance on false and

unreliable evidence, the misconduct of the jurors, and the actions and decisions of the trial judge

were each sufficiently prejudicial to warrant relief. Their combined effect deprived Mr. Cruz-Garcia

of a fair trial.

                                     PROCEDURAL HISTORY

         Mr. Cruz-Garcia was convicted and sentenced to death as party to capital murder in the

337th District Court, Harris County, on July 22, 2013. 3 CR 530. The Texas Court of Criminal

Appeals (“CCA”) affirmed Mr. Cruz-Garcia’s conviction and sentence of death on direct appeal on


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October 28, 2015. Cruz-Garcia v. Texas, No. AP-77,025, 2015 WL 6528727 (Tex. Crim. App. Oct.

28, 2015). Mr. Cruz-Garcia timely filed an Initial Application for A Writ of Habeas Corpus in the

convicting court on August 28, 2015. 1 SHCR 2.1 Mr. Cruz-Garcia filed a Subsequent Application

for Writ of Habeas Corpus in the CCA on May 2, 2016. 4 SHCR 762. The convicting court

recommended that relief be denied on the claims raised in Mr. Cruz-Garcia’s Initial Application on

December 29, 2016. 5 CR 1084–85. The CCA adopted the convicting court’s recommendation that

relief be denied on the Initial Application and dismissed the Subsequent Application on November

1, 2017. Ex parte Cruz-Garcia, Nos. WR–85,051–02 and WR–85,051–03, 2017 WL 4947132 (Tex.

Crim. App. Nov. 1, 2017).

       Mr. Cruz-Garcia timely filed a Petition for Writ of Habeas Corpus Pursuant to 28 U.S.C. §

2254 in the United States District Court for the Southern District of Texas, Houston Division, on

October 31, 2018. ECF No. 12. Mr. Cruz-Garcia then filed a First Amended Petition for Writ of

Habeas Corpus Pursuant to 28 U.S.C. § 2254 on July 1, 2019. ECF No. 18. The Director moved

for summary judgement on September 30, 2019, and this Court denied that motion on April 30,

2020. ECF Nos. 20; 30. The Court ordered legal briefing from the parties. ECF No. 30. Mr. Cruz-

Garcia timely filed a Memorandum of Law in Support of Amended Petition on July 13, 2020. ECF

No. 38. Mr. Cruz-Garcia filed a Motion for Stay and Abeyance of Federal Proceedings under Rhines

v. Weber, 544 U.S. 269 (2005) on November 30, 2020. ECF No. 46. This Court granted Mr. Cruz-

Garcia’s stay and abeyance motion on January 29, 2021, and ordered Mr. Cruz-Garcia to file a

subsequent state habeas application within 60 days of its order. ECF No. 59.


1
 Mr. Cruz-Garcia will cite to the trial Reporter’s Record as “RR” and trial Clerk’s Record as “CR.”
Mr. Cruz-Garcia will cite to the state habeas Reporter’s Record as “SHRR” and to the state habeas
Clerk’s Record as “SHCR.”



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       Mr. Cruz-Garcia timely filed a Subsequent Application for Post-Conviction Writ of Habeas

Corpus in the CCA on April 9, 2021. Ex. 149. The CCA dismissed Mr. Cruz-Garcia’s Application

as an abuse of the writ on October 6, 2021. See Ex parte Cruz-Garcia, No. WR–85,051–04, 2021 WL

4571730 (Tex. Crim. App. Oct. 6, 2021). This Court ordered Mr. Cruz-Garcia to file a Second

Amended Petition for Writ of Habeas Corpus by May 4, 2022. ECF No. 72.

                                   STATEMENT OF FACTS

       During the night of September 30 to October 1, 1992, Angelo Garcia was taken from the

apartment of his mother, Diana Garcia, and her boyfriend, Arturo Rodriguez. Ms. Garcia reported

to the Houston Police Department (“HPD”) that two masked intruders had broken into the

apartment, physically and sexually assaulted her, and taken her son. Mr. Rodriguez also reported

that he had been physically assaulted. HPD officers took into evidence several items from the

apartment, including a cigar, and a Sexual Assault Nurse Examiner performed a rape kit on Ms.

Garcia, from which vaginal swabs and her underwear were taken into evidence. That evidence was

processed, and then stored, by the HPD Crime Lab. The body of Angelo Garcia was discovered in a

bayou about a month later. The case eventually went cold.

       In September 2007, the case was reopened and the cigar, vaginal swabs, and underwear were

submitted to a third-party DNA lab, Orchid Cellmark. Law enforcement obtained a DNA sample

from Mr. Cruz-Garcia and he was matched to the single-source DNA profile on the cigar and

identified as a contributor to the DNA mixture on the vaginal swabs and the major DNA component

to the mixture on the underwear. In 2011, law enforcement interviewed a known associate of Mr.

Cruz-Garcia, Carmelo Rudy Martinez Santana, and Mr. Santana told law enforcement that Mr. Cruz-

Garcia had ordered a third associate, Roger Aviles-Barroso, to murder Angelo Garcia. In 2013, Mr.

Cruz-Garcia was convicted and sentenced to death as a party to the capital murder of Angelo Garcia.


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                LEGAL ARGUMENTS APPLICABLE TO MULTIPLE CLAIMS

      A. The Court should not apply 28 U.S.C. § 2254(d) to any of Mr. Cruz- Garcia’s claims
         because the state habeas proceedings did not comport with due process.

        The CCA has stated that Texas Code of Criminal Procedure (“TCCP”) Article 11.071, which

governs capital state habeas proceedings, ensures “that a death row inmate does have one full and

fair opportunity to present his constitutional or jurisdictional claims in accordance with the

procedures of the statute.” Ex parte Kerr, 64 S.W.3d 414, 419 (Tex. Crim. App. 2002) (emphasis in

original). 28 U.S.C. § 2254, in turn, assumes that the CCA honors that responsibility and follows

procedures that comport with due process, so that petitioners receive full and fair review of their

claims before litigating in federal court. Panetti v. Quarterman, 551 U.S. 930, 952 (2007). When

states fail to do so, state prisoners must seek their “one bite at the apple” in federal court, and

federal courts are not required to defer to the state court’s resolution of the petitioner’s claims. Id.

at 954; see also Johnson v. Williams, 568 U.S. 289, 301–02 (2013) (identifying other scenarios where

AEDPA deference may not apply to claims presented to the state courts); Trevino v. Thaler, 569 U.S.

413 (2013) (finding that, in Texas, state habeas is effectively a petitioner’s first and only opportunity

to raise an ineffective assistance of counsel challenge to his conviction or death sentence).

                1. Despite his best efforts, Mr. Cruz-Garcia’s state habeas proceedings did not
                   comport with state-law requirements or provide him fundamental fairness and
                   due process.

         Mr. Cruz-Garcia diligently sought a full and fair opportunity to litigate his habeas cause

 in state court. Through no fault of his own, the trial court nonetheless deprived him of due

 process and a fundamentally fair proceeding.

        Mr. Cruz-Garcia filed an 11.071 application on August 28, 2015, raising several

constitutional challenges. 1 SHCR 2. Five months later, he filed a motion to recuse Judge Renee



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Magee because one of his claims alleged that she had held an improper ex parte conversation with a

lone holdout juror during the trial’s penalty phase deliberations, which coerced the juror into

changing her vote to death. 3 SHCR 565–81. The motion argued that if Judge Magee adjudicated

her own misconduct, it would create the appearance of partiality and, because she had personal

knowledge of disputed facts material to the claim, it would create a conflict of interest. Id. Judge

Magee denied the motion without a hearing and referred it to the regional presiding judge, who also

denied the motion without a hearing. Id. at 614, 652. Mr. Cruz-Garcia filed a motion to reconsider,

which was also denied. Id. at 615–50. He then filed a motion for leave to file a writ of mandamus in

the CCA, challenging the denial of his recusal motion without holding a hearing in violation of

Texas Rule of Civil Procedure 18a(g). 4 SHCR 808, 811. The CCA denied the motion for leave

without a written order. ECF No. 23-33. Mr. Cruz-Garcia was forced to proceed on his claims in

front of the judge he had accused of misconduct.

           After the State answered his application, Mr. Cruz-Garcia filed a motion for an order

    designating controverted issues of material fact in accordance with Texas Code of Criminal

    Procedure Article 11.071 § 8(a). 4 SHCR 868–99. 2 The motion argued that state law mandated

    designation of issues, after which either Section 8 or Section 9 3 would govern the development



2
 Tex. Code Crim. Proc. art. 11.071 § 8(a) states: “Not later than the 20th day after the last date the
State answers the application, the convicting court shall determine whether controverted, previously
unresolved factual issues material to the legality of the applicant’s confinement exist and shall issue
a written order of the determination.”
    3
      Tex. Code Crim. Proc. art. 11.071 § 8 governs state habeas procedure on claims for which the
    trial court determines there are no controverted, unresolved issues of fact. Tex. Code Crim. Proc.
    art. 11.071 § 9 governs state habeas procedure on claims for which the trial court determines there
    are controverted, unresolved issues of fact.



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and resolution of the claims. Id. The motion asserted that “due process requires that this court

follow the statutory procedure.” Id. at 880. Mr. Cruz-Garcia advised the court of controverted fact

issues with regard to his juror misconduct, judicial misconduct, Vienna Convention violation,

and ineffective assistance of trial counsel (“IATC”) claims. Id. at 891–97. The State, in turn, asked

that the court only order affidavits from trial counsel, answering ten questions posed exclusively by

the State regarding allegations of their deficient performance. Id. at 932–34.

      At a hearing on August 8, 2016, Mr. Cruz-Garcia again pressed the importance of following

the statute, designating controverted fact issues, and following the required procedures. 2 SHRR

5 (“And as the Court know[s], this is a death penalty case. I think it’s important that we follow

the law and the proper procedure.”). The convicting court did not address Mr. Cruz-Garcia’s

motion, but immediately agreed to sign the State’s proposed order that drastically limited fact

development. Id. at 7. Mr. Cruz-Garcia’s counsel objected on the ground that the 11.071

application raised contested issues of fact beyond the question of trial counsel’s deficient

performance, and directed the convicting court’s attention to his own proposed order designating

issues. Id. at 12–13, 16. At the State’s suggestion, the convicting court confirmed it would only

order trial counsel’s affidavits, but also clearly indicated it would address whether to designate

additional issues and order further fact development after the affidavits were filed. Id. at 17–18.

      During the pendency of Mr. Cruz-Garcia’s state habeas proceedings, Judge Magee was

running for reelection to the 337th district court, Harris County. On her campaign website, Judge

Magee prominently feature a Houston Chronicle article about Mr. Cruz-Garcia’s trial. She did

not feature any other cases.

       On November 8, 2016, Judge Magee lost her bid for reelection. 5 SHCR 1109–10. Lead




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    trial counsel Skip Cornelius filed his affidavit on November 28, asserting that he was filing the

    affidavit before even receiving the trial file 4 to reacquaint himself with the case because he wanted

    Judge Magee to review his performance before she left the bench. 4 SHCR 943. The State, rather

    than the court, notified state habeas counsel that the affidavits had been filed, and served them

    on counsel days later. 5 SHCR 999, 1016 n. 2. The following day, November 29 (before the

    affidavits had been served), the State moved for an order directing the parties to submit proposed

    Findings of Fact and Conclusions of Law (“FFCL”) by December 22, 2016, without any further

    fact development or hearing and without designating the controverted issues as required by

    statute. Id. at 962–963.

           Mr. Cruz-Garcia responded to the State’s motion the next day, November 30, arguing that

    the submission of proposed FFCL was premature in light of the lack of evidentiary development

    and the court’s failure to identify which claims presented controverted fact issues, and thus which

    rule would apply to the resolution of each claim. 5 SHCR 967–73. In the alternative, he asked

    for a later deadline than December 22 because counsel was engaged in a week-long evidentiary

    hearing beginning December 12 and was attending a memorial service outside the state for a close

    family member on December 18. 5 Id. at 972. The same day Mr. Cruz-Garcia filed his opposition,

    the convicting court signed the State’s order making the proposed FFCL due December 22. Id. at




4
 Mr. Cornelius maintained that the OCFW had yet to return his file at the time he submitted his
affidavit to the trial court. 4 SHCR 943. The OCFW, however, made clear to the convicting court
that Mr. Cornelius had never asked that his file be returned to him. 5 SHCR 1019.
5
  In response, the State took the extraordinary step of attempting to force the director of Office of
Capital and Forensic Writs, located in Austin, Texas, to personally appear at the hearing, requiring
the Director to explain in writing why he could not do so. 5 SHCR 1011.



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    964. 6 The convicting court, however, failed to serve the order on the parties until December 6, a

    mere six days before counsel’s week-long evidentiary hearing, twelve days before she left the state

    for a family funeral, and sixteen days before the filing deadline. Id. at 977. 7

           Mr. Cruz-Garcia filed a motion to reconsider and rescind the convicting court’s order,

    arguing it violated state law and prohibited him from presenting evidence in support of

    controverted claims in violation of due process. 5 SHCR 976–90. At a hearing on December 22,

    the convicting court denied the motion, and indicated it would sign the FFCL by the following

    week, days before Judge Magee’s tenure ended on December 31, 2016. 3 SHRR 9. The convicting

    court gave Mr. Cruz-Garcia five days— until December 27—to submit “anything that you would

    like me to consider,” but stated she would decide within the week whether to sign the State’s

    proposed FFCL “in total” or “draft my own.” Id. On December 27, Mr. Cruz-Garcia filed renewed

    objections, 5 SHCR 1021–21, and a motion to present evidence both in support of his claims

    and in rebuttal to the State’s evidence, attaching 37 evidentiary proffers. Id. at 1024–34 Two

    days later, the State sent an ex parte message to Judge Magee’s chambers requesting an update

    on the status of the FFCL. Ex. 112. Without responding to the pending motions, the convicting


6
 State habeas counsel for Mr. Cruz-Garcia was repeatedly told by the Harris County D.A.’s office and
members of the Harris County court staff that motions would not be ruled on unless the sponsoring
attorney presented it in person. Counsel for Mr. Cruz-Garcia was not present when the trial court
granted the State’s motion, suggesting either that the State approached the court ex parte or that the
court broke with established protocol. ECF No. 24-6 at 12 n. 1.
7
  In all other capital state habeas cases that the Office of Capital and Forensic Writs (“OCFW”) had
handled in Harris County, they were given at least 50, and often more than 100 days to prepare
their FFCL. See, e.g., Ex parte Carl Buntion, No. 588227 (178th Dist. Ct.) (allowing 127 days to file
proposed FFCL); Ex parte Jaime Cole, No. 1250754 (230th Dist. Ct.) (allowing 100 days); Ex parte
Joseph Jean, No. 1302120 (230th Dist. Ct.) (allowing 100 days); Ex parte Garland Harper, No. 1272085
(182nd Dist. Ct.) (allowing 57 days); Ex parte Brian Davis, No. 616522 (230th Dist. Ct.) (allowing 56
days). ECF No. 24-6 at 13 n. 2.



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    court signed the State’s proposed FFCL that same day— two days before her tenure terminated—

    without altering a single word, including the heading “State’s Proposed Findings of Fact,

    Conclusions of Law and Order.” 5 SHCR 1035–85.

            On January 9, 2017, Mr. Cruz-Garcia filed a motion to reconsider the order adopting the

    State’s proposed FFCL verbatim. 5 SHCR 1106–121. He also requested reconsideration of the

    November 30, 2016, order setting the proposed FFCL filing deadline, and asked again for an

    order announcing whether his claims would be resolved under § 8 or § 9. Id. He again requested

    an opportunity to present his evidence. Id. The convicting court, then presided over by Judge Herb

    Ritchie, held a hearing on the motion on February 1, 2017. ECF No. 24-7. Mr. Cruz-Garcia made

    it plain that he was challenging the convicting court’s failure to provide him adequate process for a

    reliable resolution of his claims: “As I stated, Your Honor may reach the exact same outcome [as

    Judge Magee]. It’s a matter of following the proper procedure, being afforded due process, and

    being afforded an opportunity to present evidence.” Id. at 20; see also id. at 12.

            In response to Mr. Cruz-Garcia’s arguments, the State repeatedly claimed to the court that

    the FFCL had already been transmitted to the CCA, thus depriving the trial court of jurisdiction

    over the motion to reconsider. ECF No. 24–7 at 11–13, 17. 8 The convicting court expressed

    sympathy with Mr. Cruz-Garcia’s arguments but, based solely on the State’s assertions that the

    case had already been transferred to the CCA, held it had no jurisdiction to take corrective action:

            I understand exactly where you’re coming from on some of the points that you’ve
            raised. We seem to present evidence on certain points, and affidavits wouldn’t be
            sufficient on maybe some issues of credibility and other areas you weren’t allowed
            to go into. However, I’m in a position where the State is telling me that the record
            is now in the hand of the [CCA]. So at this point, I find I have no jurisdiction to

8
 The State claimed to have called the district court clerk’s office the day prior to the hearing and
confirmed the case’s transmission. ECF No. 24-7 at 12.



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         do anything [].

 Id. at 21–22. In fact, the FFCL were not transferred to the CCA until February 23, 2017, more

 than three weeks after the hearing. ECF No. 24-6 at 15.

        After the FFCL were transmitted to the CCA, Mr. Cruz-Garcia filed detailed objections to

the trial court’s procedures as well as its fact-findings and legal analysis. ECF No. 24-6. Six months

later, without addressing Mr. Cruz-Garcia’s due process objections, the CCA ruled that, based on

the trial court’s FFCL and the its own review, Mr. Cruz-Garcia was not entitled to relief. Ex parte

Cruz-Garcia, No. WR–85,051–04, 2021 WL 4571730 (Tex. Crim. App. Oct. 6, 2021).

                2. Because Mr. Cruz-Garcia’s state habeas proceeding did not comport with state
                   law or due process, 28 U.S.C. § 2254(d)’s relitigation bar does not apply and
                   this Court should consider his claims de novo.

        28 U.S.C. § 2254(d)’s language, which makes the federal habeas relitigation bar dependent

 on a state-court “adjudication on the merits,” requires more than a mere state-court decision.

 Instead, the Supreme Court has consistently interpreted the provision as applying only when both

 substantive and procedural due process standards were met. In Panetti, the Supreme Court found

 that the CCA “failed to provide the petitioner with a constitutionally adequate opportunity to be

 heard.” 551 U.S. at 948, 952. There, the petitioner had made a prima facie showing of his

 incompetency to be executed. The state court appointed experts to conduct evaluations, but did

 not allow the petitioner to present his own expert evidence in rebuttal, and failed to hold a

 hearing on the claim. Id. at 950–51. Moreover, the state court’s process “in fact, constitute[d] a

 violation of the procedural framework Texas has mandated for the adjudication of competency

 claims,” which also undermined any argument by the State that its procedures were reasonable in

 light of states’ “substantial leeway to determine what process best balances the various interests at

 stake.” Id. (citation omitted).


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       Based on the above observations, the Supreme Court found that the CCA’s procedures

for adjudicating the Eighth Amendment claim at issue were “not adequate for reaching reasonably

correct results or, at a minimum, resulted in a process that appeared to be seriously inadequate

for the ascertainment of the truth.” Panetti, 551 U.S. at 954 (internal citations and quotations

omitted). “As a result of this error, [federal] review of petitioner’s underlying [] claim [wa]s

unencumbered by the deference AEDPA normally requires.” Id. at 948. The Court emphasized

that even broadly-stated due process standards do not require a finding that state court processes

reasonably applied those standards for purposes of a § 2254(d) analysis. Id. at 953. “The statute

recognizes, to the contrary, that even a general standard may be applied in an unreasonable

manner.” Id.

       Like the procedural safeguards the Fifth and Fourteenth Amendments guarantee to

petitioners that raise colorable incompetency-to-be-executed claims, the procedural due process to

which state habeas applicants are entitled is broadly defined. Nonetheless, due process requires

that, at a minimum, when the State establishes a corrective process by which convicted persons

may challenge the constitutionality of the judgments against them, that process must ensure the

person seeking relief an adequate opportunity to be heard. Swarthout v. Cooke, 562 U.S. 216, 220

(2011) (“When[] a state creates a liberty interest, the Due Process Clause requires fair procedures

for its vindication—and federal courts will review the application of those constitutionally

required procedures.”).

       There are several hallmarks of unfairness present in Mr. Cruz-Garcia’s state habeas

proceeding. First, Judge Magee presided over allegations of her own misconduct, despite a motion

asking her to recuse herself. Second, the court thwarted state law by refusing to follow the




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statutory requirement that it identify contested, previously unresolved issues of material fact,

establish which procedures would govern each of Mr. Cruz-Garcia’s claims, allow Mr. Cruz-Garcia

an opportunity to present evidence to establish the merits of his factually contested claims, and

allow Mr. Cruz- Garcia a fair opportunity to file proposed FFCL. Third, during the state habeas

proceedings, Judge Magee used the fact that she presided over Mr. Cruz-Garcia’s case to campaign

for her judicial reelection. ECF Nos. 18–58; 18–60. Fourth, the convicting court undermined the

fairness and impartiality of the state habeas process when Judge Magee accelerated and compressed

the proceedings after losing reelection so that she, rather than her duly elected successor, could

rule on Mr. Cruz-Garcia’s claims—particularly given that she immediately sought judicial election

a second time, once again using Mr. Cruz-Garcia’s case in her campaign materials. Id. And finally,

when a new judge presiding over the case indicated an interest in curing some of the due process

violations that occurred under Judge Magee, the State provided false information to the judge

that his court no longer had jurisdiction over the case.

      The procedures in Mr. Cruz-Garcia’s case were clearly inadequate to ascertain the truth

and reach reasonably correct results. Panetti, 551 U.S. at 954; see also Wilkerson v. Goodwin, 774

F.3d 845, 852 (5th Cir. 2014) (courts reviewing due process claims related to expectations or

interests created by state laws or policies should focus on nature of deprivation rather than

language of a particular regulation). On that basis, § 2254(d) should not apply as a bar to the

relitigation, de novo, of any of the claims that Mr. Cruz-Garcia raised in state habeas.

    B. Cumulative Prejudice.

        “The Constitution guarantees a fair trial through the Due Process Clauses . . . .” United

States v. Gonzalez-Lopez, 548 U.S. 140, 146 (2006) (internal citation and quotations omitted). This

guarantee “is, in essence, the right to a fair opportunity to defend against the State’s accusations.”


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Chambers v. Mississippi, 410 U.S. 284, 294 (1973). In service of the fundamental right to a fair

trial, the Constitution provides for specific safeguards such as the criminal defendant’s Sixth

Amendment right to be effectively represented by counsel and the Fifth and Fourteenth

Amendment prohibitions against the State’s withholding of evidence favorable to the accused

and presentation of false or misleading testimony to secure a conviction and favorable sentence.

        The Supreme Court has twice addressed the assessment of prejudice under the Due

Process Clause where there are multiple violations of a criminal defendant’s constitutional rights

in a single proceeding. Taylor v. Kentucky, 436 U.S. 478 (1978); Chambers, 410 U.S. 284. Both

times, the Court considered the combined prejudicial impact from the various errors to determine

whether their “cumulative effect . . . violated the due process guarantee of fundamental fairness.”

Taylor, 436 U.S. at 487 n.15; see also Chambers, 410 U.S. at 302–03.

        The Fifth Circuit has likewise explained that “the cumulative and interactive effect” of

separate errors can require vacating a conviction and remanding for a new trial. United States v.

Riddle, 103 F.3d 423, 425, 435 (5th Cir. 1997) (holding that “cumulative effect of the errors” were

“not harmless and require a new trial,” while “express[ing] no view as to whether any one of the

errors standing alone would be sufficient to justify reversal”); United States v. Labarbera, 581 F.2d

107, 110 (5th Cir. 1978) (holding that although “[i]individual instances such as these have

sometimes escaped reversal under the harmless error rule,” the “cumulative effect of the errors”

at trial meant “that the defendant did not receive the fair trial that he is entitled to”); United States

v. Diharce-Estrada, 526 F.2d 637, 642 (5th Cir. 1976). Other circuit courts have likewise applied

the cumulative error doctrine to assess claims of prosecutorial misconduct and Strickland error.

See Cargle v. Mullin, 317 F.3d 1196, 1220–22 (10th Cir. 2003); Phillips v. Woodford, 267 F.3d 966,

985 (9th Cir. 2001) (holding that cumulative prejudice of false testimony and trial counsel’s


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 deficient performance required vacating conviction). As the Tenth Circuit explained in Cargle:

               [C]laims should be included in the cumulative-error calculus if they have been
       individually denied for insufficient prejudice. Indeed, to deny cumulative-error
       consideration of claims unless they have first satisfied their individual substantive
       standards for actionable prejudice “would render the cumulative error inquiry
       meaningless, since it [would] . . . be predicated only upon individual error already
       requiring reversal.”

317 F.3d at 1207 (quoting Willingham v. Mullin, 296 F.3d 917, 935 (10th Cir. 2002)).

         Each of the trial errors in Mr. Cruz-Garcia’s case, standing alone, is sufficiently prejudicial

 to warrant habeas relief. When considered together, the cumulative impact of the egregious errors

 set forth in this petition undermine all reasonable confidence in the outcome of the trial and

 sentence.

     C. Request for discovery and a hearing.

       Mr. Cruz-Garcia previously filed in this Court a Motion for Discovery. ECF No. 43. This

Court denied that motion without prejudice, based on its finding that “discovery is not appropriate

until the parties have litigated the question of whether a Rhines stay is available in this case.” ECF

No. 45 at 4. Mr. Cruz-Garcia will file a motion for discovery and a motion for an evidentiary

hearing separately from this Petition.

                                         CLAIMS FOR RELIEF

Claim One:      Juror misconduct denied Mr. Cruz-Garcia a fair and impartial trial, in violation of
                the Sixth, Eighth, and Fourteenth Amendments.

       Mr. Cruz-Garcia’s right to a fair trial, impartial jury, and due process of law were violated

 when the jury foreman read Bible passages that influenced the verdict and when the jury discussed

 the case outside of deliberations, in violation of the Sixth, Eighth and Fourteenth Amendments.




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       A. The jury foreman read Bible passages to the jury during their penalty phase
          deliberations and the jury was influenced by these Bible passages to answer the special
          issues in a way that resulted in a death sentence.

       Under clearly established Supreme Court precedent, “a jury’s verdict must be based upon

the evidence developed at the trial,” and that protection “goes to the fundamental integrity of all

that is embraced in the constitutional concept of a trial by jury.” Turner v. Louisiana, 379 U.S. 466,

472 (1965) (internal quotations omitted); see Parker v. Gladden, 385 U.S. 363, 365 (1966); Remmer

v. United States, 347 U.S. 227, 229 (1954); Mattox v. United States, 146 U.S. 140, 149 (1892). In

Oliver v. Quarterman, this Circuit held that that “the Supreme Court has clearly established a

constitutional rule forbidding a jury from being exposed to external influence” and that the Bible

was an external influence. 541 F.3d 329, 336, 339 (5th Cir. 2008).

       Whether something is an external influence is a fact-specific question. Oliver, 541 F.3d at

336. Where a trial court is confronted with allegations that an external influence was brought to

bear on the jury’s deliberations, a trial court must afford the defendant an opportunity to test the

impact of that influence on the jury. Remmer, 347 U.S. at 230 (the trial court “should determine

the circumstances, the impact thereof upon the juror, and whether or not it was prejudicial, in a

hearing with all interested parties permitted to participate”); Barnes v. Joyner, 751 F.3d 229, 242

(4th Cir. 2014) (“Remmer clearly established . . . a defendant’s entitlement to an evidentiary hearing

when the defendant presents a credible allegation” of an external influence on the jury.).

         An external influence is presumptively prejudicial. Remmer, 347 U.S. at 229. In the habeas

 context, however, a petitioner is required to show that the error “had [a] substantial and injurious

 effect or influence in determining the jury’s verdict.” Oliver, 541 F.3d at 341 (citing Brecht v.

 Abrahamson, 507 U.S. 619, 637 (1993)). This violation entitles Mr. Cruz-Garcia to a new



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punishment phase.

                       1. The jury was exposed to an external influence when the jury foreperson
                          brought a Bible into the deliberations room and read from it to the
                          jury during their deliberations on punishment.

        Shortly after Mr. Cruz-Garcia was sentenced to death, juror Angela Bowman contacted trial

counsel Mario Madrid to inform him that the jury foreman, Matthew Clinger, had brought a Bible

into the deliberation room and read passages from it to the jury. 3 CR 606–07, 610–11. Juror

Bowman further recalled that another juror, Casey Guillotte, had changed her vote after juror

Clinger read from the Bible. Id. at 610–11. When interviewed by a defense investigator soon after,

juror Clinger confirmed that he had brought a Bible into the deliberations room, that he had read

from it to the jury, and that his reading from the Bible had “made a difference with Casey

[Guillotte].” Id. at 633–40.

        Juror Clinger recalled that he had read to the jury from Genesis 9, “a lot of places in

Deuteronomy,” and Romans 13. 3 CR 634. Parts of Genesis 9 directly call for the death penalty:

“I will demand an accounting for the life of another human being. Whoever sheds human blood, by

humans shall their blood be shed; for in the image of God has God made mankind.” Genesis 9:5-6

(New International Version) (emphasis added). The Book of Deuteronomy likewise calls for the

death penalty on numerous occasions. See Deuteronomy 13:5 (for inciting rebellion against the

Lord), 17:12 (for refusing to obey the decision of a judge or priest), 18:20 (for false prophecy),

19:16–19 (for perjury), 21:18–21 (for disobedience to one’s parents), 22:13–21 (for falsely

claiming virginity at the time of marriage), 22:22–24 (for committing adultery). Romans 13

indicates that because God created the governing authorities, God has implicitly endorsed the law

of the governing authorities. See Romans 13 (New International Version).




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            In his interview with the defense investigator, juror Clinger made clear that he had read

    from the Bible out loud and to the jurors during their deliberations. 3 CR 635 (“[Defense

    investigator]: So did you read from the Bible or did you quote it from memory? [Juror Clinger]:

    No, I read.”); id. at 633 (“[Defense investigator]: So, at what point during the deliberations did

    you bring out your Bible? [Juror Clinger]: Uh, it was about 10:00 AM Friday morning.”). Juror

    Clinger further made clear that “after [he] read that. . . [juror Guillotte] was able to move on from

    the first question.” 9 Id. at 635–36.

            As in Oliver, the juror’s reliance on the Bible to answer the special issues determinative of

    Mr. Cruz-Garcia’s sentence constituted an external influence. The specific passages at issue

    advocate for a death sentence, including in circumstances close to that of the offense and

    extraneous conduct introduced by the State at the punishment phase. See Oliver, 541 F.3d at 340

    (“The Bible served as an external influence precisely because it may have influenced the jurors

    simply to answer the questions in a manner that would ensure a sentence of death instead of

    conducting a thorough inquiry[.]”). The reading of these Bible passages by the jury foreman thus

    placed an impermissible weight on the scale for death. See Parker, 385 U.S. at 365; Turner, 379

    U.S. at 472; Remmer, 347 U.S. at 229; Mattox, 146 U.S. at 149.

                           2. This external influence had a substantial and injurious effect on the
                              jury’s verdict.

            A jury’s exposure to external influences results in a presumption of “extreme prejudice.”

    Turner, 379 U.S. at 472–73; Parker, 385 U.S. at 365. In the habeas context, Mr. Cruz-Garcia is

    required to show that the Bible had a “substantial and injurious effect” on the verdict. See Brecht,



9
    The “first question” here refers to the Texas future dangerousness special issue.



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507 U.S. at 637; Oliver, 541 F.3d at 341 (citing Brecht, 507 U.S. at 637). In his recorded interview

shortly after deliberations, juror Clinger was clear that his reading of the Bible passages “made a

difference with [juror Guillotte]” and that “after I read that. . . she was able to move on[.]” 3 CR

635–36. Likewise, juror Bowman recalled that juror Guillotte changed her vote after juror Clinger

read from the Bible and that other jurors may also have been influenced by the scriptures read to

them. 3 CR 556. Moreover, juror Clinger read from the Bible to the jury at a critical point in

their deliberations on punishment. Indeed, juror Clinger was clear that he read from the Bible to

the jury at “about 10:10 AM Friday morning,” at which point “a third [of the jury] . . . were leaning

for life, a third . . . were leaning for the death penalty and a third . . . were undecided.” 3 CR 633,

623. Because the Bible reading had a substantial and injurious effect on the jury’s verdict, Mr.

Cruz-Garcia is entitled to a new punishment phase.

        Mr. Cruz-Garcia also acknowledges that the state court record is contradictory on several

facts, including when juror Clinger read from the Bible and whether juror Clinger’s reading of

scripture did influence juror Guillotte (and others) to answer the sentencing issues in such a way

as to result in a death sentence.

        Based on jurors Clinger and Bowman’s recollection that juror Clinger had read from the

Bible and at least one juror was influenced, Mr. Cruz-Garcia moved for a new trial. 3 CR 538–

43; 544–46. Mr. Cruz-Garcia further asked that the trial court hear live witness testimony to

resolve these allegations of jury misconduct. Id. at 580–82. In support of his motion, Mr. Cruz-

Garcia submitted juror Clinger’s recorded interview in which he stated that he had read out loud

from the Bible and at least one juror was influenced, juror Bowman’s affidavit reflecting the same,

and an affidavit from the defense investigator memorializing that juror Clinger had declined to




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 sign an affidavit based on the advice of counsel at his workplace but was willing to testify at a live

 hearing. Id. at 605–49.

         Although juror Clinger had refused to sign an affidavit reflecting his statements to the

 defense investigator, he then provided an affidavit to the State, after Mr. Cruz-Garcia had filed a

 motion for new trial. 3 CR 599–601. In that affidavit, juror Clinger contradicted his prior

 recorded statements and claimed that he had only opened his Bible and laid it on the table while

 the jury was deliberating. He also claimed that he had not read from the Bible and that no jurors

 had changed their vote based on his having taken his Bible out. 3 CR 599–601. Juror Guillotte

 also provided an affidavit to the State, in which she represented that juror Clinger had read from

 the Bible, but only to himself and only after the jury had agreed on the special issues and ceased

 their deliberations. 3 CR 597–98. Hence, juror Clinger and juror Guillotte’s affidavits offered

 conflicting versions of events, including whether juror Clinger had read from the Bible and at

 what point in the jury’s deliberations this occurred.

         Mr. Cruz-Garcia then requested that the trial court hear live testimony to resolve the issue.

 3 CR 580–82. Notwithstanding the contradictions between juror Clinger’s recorded interview

 with a defense investigator and his later affidavit to the State, as well as the discrepancies between

 the State’s own evidence from jurors Clinger and Guillotte about whether juror Clinger read from

 the Bible and at what point in the jury’s deliberations the Bible was used, the trial court denied

 Mr. Cruz-Garcia’s motion for live testimony and denied Mr. Cruz-Garcia’s motion for new trial. 10




10
  Because the CCA determined under state law that the trial court erred in admitting the affidavits
submitted by the State and the defense, there are no fact findings for this Court to defer to. Cruz-
Garcia, 2015 WL 6528727, at *29.


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 29 RR 3, 28; see also 3 CR 580–82.

           This Court should therefore hold a hearing on this claim. See Remmer, 347 U.S. at 229–

 30 (remanding the case “with directions to hold a hearing to determine whether the incident

 complained of was harmful to the petitioner[.]”). Because Mr. Cruz-Garcia has pled facts that

 would entitle him to relief if proven, and in light of the conflicting nature of the factual record

 and state court’s failure to conduct a hearing, an evidentiary hearing is warranted on this claim. 11

 Schriro v. Landrigan, 550 U.S. 465, 474 (2007).

          B. Jurors discussed the evidence and sentence outside of punishment deliberations.

           On the morning of the first day of the punishment phase, an attorney unconnected to

 the case, Michael Casaretto, reported to the trial court that he had overheard two jurors on Mr.

 Cruz-Garcia’s jury discussing the evidence in the courthouse elevator. 24 RR 3; 2 SHCR 543–44.

 It was clear to Mr. Casaretto that the jurors were discussing the merits of the case, including their

 impressions of the evidence and witness testimony. 2 SHCR 544. Based on the jurors’ badges,

 Mr. Casaretto was able to identify the court room and judge, and alerted Judge Magee shortly

 thereafter because he “felt it necessary to report to her conduct that appeared to . . . reach the

 level of juror misconduct.” Id.; see also id. at 544–45 (Mr. Casaretto describing the conversation as

 “blatant” misconduct, an “obvious violation of the jurors’ obligations during trial,” and “extremely

 important”). Id. at 258. Judge Magee, however, told the State and defense counsel that Mr.

 Casaretto had reported overhearing “possibly an innocuous conversation[.]” 24 RR 3.

           Alternate juror Sharon Alexander also recalled that the jury repeatedly discussed the

 evidence during breaks in the trial. 2 SHCR 352. (“[W]e would talk as a jury about the case and


11
     See supra Legal Arguments Applicable to Multiple Claims § C.


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what was going on . . . during breaks, when we were in the jury room waiting.”). In addition to

discussing the evidence, she also recalled that the jurors discussed voting to sentence Mr. Cruz-

Garcia to death during their breaks. Id. (“I remember learning from the other jurors that one of

the jurors in particular was having a hard time voting for the death penalty. That was one of the

things we talked about during the trial when we were together.”).

       The jurors’ discussion of the sentence and evidence outside of deliberations and before

the close of evidence violated Mr. Cruz-Garcia’s right to a fair trial by an impartial jury.

Winebrenner v. United States, 147 F.2d 322, 329 (8th Cir. 1945) (describing “generally accepted

principle that it is improper for jurors to discuss a case prior to its submission to them”); United

States v. Chiantese, 582 F.2d 974, 979 (5th Cir. 1978) (describing “impropriety of jurors discussing

a case among themselves before they retire to arrive at a verdict”). By contrast with the remarks at

issue in Chiantese, both Mr. Casaretto and alternate juror Alexander recalled that the jurors

discussed the sentence, witness testimony, and impressions of the evidence. Id. (declining to

extend prohibition on jurors’ discussion outside of deliberations where “juror . . . did not commit

herself to any outcome in the case or demonstrate a prejudgment of the evidence”). Because the

jury discussed the evidence and sentence outside of deliberations and prior to the close of

evidence at punishment, this violation entitles Mr. Cruz-Garcia to a new punishment phase.

      C. This Court can review this claim de novo because the state court failed to adjudicate
         the federal claim on the merits or, in the alternative, this Court can review the merits
         of this claim because 28 U.S.C. § 2254(d) is satisfied.

       Mr. Cruz-Garcia raised the portion of the claim pertaining to the jurors relying on the

Bible to sentence him to death as Claim 12 on direct appeal and as Claim 9 in state habeas. See

ECF No. 22-7 at 118–28; 1 SHCR 153. This claim is therefore exhausted. The state court,




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however, failed to adjudicate Mr. Cruz-Garcia’s federal claim on the merits. This Court can

therefore conduct de novo review. Johnson, 568 U.S. at 301–02.

       On direct appeal, Mr. Cruz-Garcia argued that the Bible operated as an external influence

on the jury, in violation to his rights to a fair trial and due process. ECF No. 22-7 at 118–28. In

support thereof, Mr. Cruz-Garcia expressly referenced the Sixth Amendment and right to due

process, and cited to the Supreme Court’s decisions in Turner and Parker, as well as this Circuit’s

precedent in Oliver. Id. The CCA, however, resolved this claim on the basis of state law only,

including state law evidentiary rules and its own precedent, and held that jurors’ reliance on the

Bible to reach a verdict does not constitute an external influence. Cruz-Garcia, 2015 WL 6528727,

at *29. It made no ruling on the federal aspect of this claim.

       The CCA was presented with a second opportunity to adjudicate the merits of this claim

in state habeas, but it again failed to do so. In state habeas, Mr. Cruz-Garcia argued that juror

misconduct, including the jurors’ reliance on the Bible and the jurors’ discussion of the case

outside of deliberations, violated his federal constitutional right to a fair trial. 1 SHCR 153–64.

The Court found that the claim was procedurally barred on the ground that “it was raised and

rejected on direct appeal.” Ex parte Cruz-Garcia, 2017 WL 4947132, at *1. Mr. Cruz-Garcia,

however, did not raise the issue of jurors discussing the case outside of deliberations on direct

appeal, which, of course, means it was not ruled on during direct appeal. And, as previously noted,

the CCA did not rule on the federal claim raised on direct appeal regarding the jury’s reliance on

the Bible to render a death sentence. Thus, the CCA again passed on its opportunity to adjudicate

this claim during state habeas.

        “When a state court rejects a federal claim without expressly addressing that claim, a




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federal habeas court must presume that the federal claim was adjudicated on the merits—but that

presumption can in some limited circumstances be rebutted.” Johnson, 568 U.S. at 301. Here, Mr.

Cruz-Garcia can rebut that presumption because (1) the state court overlooked or declined to rule

on the federal claim and (2) the state standard is less protective than the federal standard. See id.

at 301–03. The direct appeal brief placed the CCA on notice of the federal nature of this claim,

yet the CCA relied on state evidentiary rules to deny it without engaging in the federal question.

Further, by holding that reading Bible passages during deliberations is not an external influence,

the CCA took a position that is squarely at odds with, and less protective than, the federal

standard. See Oliver, 541 F.3d at 339 (holding that “the Supreme Court has clearly established a

constitutional rule forbidding a jury from being exposed to an external influence” and that a juror

reading Bible passages during deliberations constituted an external influence). Because the state

court did not adjudicate Mr. Cruz-Garcia’s claim—both as it pertains to the Bible reading being

an external influence and as to the jurors’ discussion of the evidence and sentence outside of

deliberations—review by this Court should therefore be de novo. Johnson, 568 U.S. at 301–02.

       In the alternative, if this Court determines that the state court did adjudicate on the merits

the allegations pertaining to the Bible reading being an external influence, Mr. Cruz-Garcia can

meet the relitigation bar under 28 U.S.C. § 2254(d). The state court’s adjudication both involved

an unreasonable application of Turner, Parker, Remmer, and other Supreme Court precedent, and

was based on an unreasonable determination of the facts. See, e.g., Miller-El v. Cockrell, 537 U.S.

322, 340 (2003); Williams v. Taylor, 529 U.S. 362, 407–09 (2000). The CCA held that jurors

reading the Bible during deliberations is not an external influence, which is contrary to, and an

unreasonable application of, that Supreme Court precedent. Compare Cruz-Garcia, 2015 WL




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 6528727, at *28–29, with Oliver, 541 F.3d at 339.

         Hence, whether this Court finds that the state court did not adjudicate this claim on the

 merits or finds that § 2254(d) is satisfied, this Court can review the merits of this claim.

Claim Two:      Mr. Cruz-Garcia’s right to present a defense and to cross-examine witnesses was
                violated when the trial court refused to allow him to present evidence relating to
                the unreliability of the DNA evidence.

        Under clearly established Supreme Court precedent, “[w]hether rooted directly in the Due

Process Clause of the Fourteenth Amendment or in the Compulsory Process or Confrontation

Clauses of the Sixth Amendment, the Constitution guarantees criminal defendants a meaningful

opportunity to present a complete defense.” Holmes v. South Carolina, 547 U.S. 319, 324 (2006)

(internal quotations omitted); Crane v. Kentucky, 476 U.S. 683, 690 (1986) (same). The State’s case

rested on DNA evidence that purportedly tied Mr. Cruz-Garcia to the sexual assault of Diana Garcia

and corroborated the accomplice testimony of the State’s star witness, Mr. Santana. See 23 RR 96.

Mr. Cruz-Garcia, however, was prohibited by the trial court from presenting a complete defense

against that DNA evidence. Because Mr. Cruz-Garcia’s right to present a complete defense was

violated, he is entitled to a new trial.

        A. The trial court prohibited Mr. Cruz-Garcia from presenting documentary and
           testimonial evidence relating to the unreliability of the State’s DNA evidence.

        At trial, the State introduced evidence that Mr. Cruz-Garcia’s DNA matched (1) the DNA

profile identified on the cigar; (2) the major DNA profile of the DNA mixture on the underwear

cutting; and (3) the DNA mixture identified on the vaginal swabs. 21 RR 119–20; Id. at 161–62.

The State also introduced evidence that Diana Garcia’s husband, Arturo Rodriguez, could not be

excluded as a contributor to the minor profile obtained from the DNA mixtures identified on the

underwear cutting and to the DNA mixture identified on the vaginal swabs. Id. at 111–12, 114.



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       The DNA evidence relied upon by the State to tie Mr. Cruz-Garcia to the facts of the offense

and corroborate Mr. Santana’s accomplice testimony was received, processed, and stored by the

DNA Section of the old HPD Crime Lab, including DNA analysts Dr. Baldev Sharma, Deetrice

Wallace, and Joseph Chu. At trial, defense counsel sought to admit the following:

       •   The Bromwich Reports, detailing the risk of miscarriage of justice arising from the
           processing and storage of forensic evidence, and in particular rape kits, by the HPD
           Crime Lab;

       •   Employee complaint histories for Joseph Chu and Dr. Baldev Sharma, reflecting
           disciplinary action against them for employee misconduct;

       •   HPD Internal Affairs Investigation summary reflecting that Dr. Sharma was demoted
           “for violations of Competence and Truthfulness”; and

       •   Judgment of conviction against Deetrice Wallace for tampering with a government
           record.
16 RR 20–21; see 31–34 RR Def. Exs. 2–18. The defense further sought to call Mr. Bromwich to

testify to his findings that the HPD Crime Lab was a “train wreck” and that over a third of cases that

passed through the DNA section suffered from contamination and other issues. 18 RR 20. Finally,

trial counsel sought to introduce evidence that the State had conducted DNA testing in 1993

through a third-party lab, Genetic Design, and that the 1993 testing yielded results different from

those presented by the State at trial in 2014. See 34 RR Def. Ex. 19. Trial counsel argued that these

materials and testimony should be admitted to enable Mr. Cruz-Garcia to defend himself against the

State’s DNA evidence. 16 RR 109–10. The trial court, however, prohibited Mr. Cruz-Garcia from

introducing any of this evidence, whether in exhibit form, through testimony, or through cross-

examination, in violation of his right to present a complete defense.

                   1. The prohibited evidence reflected that the HPD Crime Lab, where the
                      DNA evidence against Mr. Cruz-Garcia was received and stored, was
                      shuttered following revelations of gross negligence.



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          The DNA evidence relied upon by the State to tie Mr. Cruz-Garcia to the offense and

corroborate Mr. Santana’s testimony was first processed by analyst Deetrice Wallace at the HPD

Crime Lab in October 1992. 16 RR 98. The HPD Crime Lab had only just begun performing DNA

casework the year prior, in 1991, under the management of James Bolding and the supervision of

Dr. Baldev Sharma. 31 RR Def. Ex. 3 at 16–17. 12 Prior to supervising the small team of five DNA

analysts, Dr. Sharma had “no experience in forensic science.” Id. at 17. Despite having a supervisory

role, Dr. Sharma’s skills as a DNA analyst were acknowledged to be “weak[].” Id. at 18. At the time

of the HPD Crime Lab’s receipt of the forensic evidence in Mr. Cruz-Garcia’s case in 1992, Dr.

Sharma acted as the main DNA analyst in connection with that evidence. 16 RR 97. Specifically, on

October 25, 1992, Dr. Sharma performed DNA extractions and analysis on the rape kit, including

by cutting a section from Diana Garcia’s underwear. 16 RR 83, 86–87; 21 RR 13; Ex. 132.

          At that time, the DNA extractions were sent to Genetic Design Lab, together with DNA

samples from several male individuals. 34 RR Def. Ex. 19. On February 4, 1993, Genetic Design

reported its findings to the HPD Crime Lab, including that an individual named Bienvenido Melo

could not be excluded as a potential contributor to the DNA extracted from the evidence. Id. Genetic

Design also reported that Diana Garcia’s boyfriend, Arturo Rodriguez, could be excluded from the

DNA mixture on the panties. Id.

          Dr. Sharma was eventually demoted on the ground of employee misconduct. 31 RR Def. Ex.

3; 34 RR Def. Ex. 9; Ex. 132. Dr. Sharma’s employee complaint history further reflects that, during

his tenure as supervisor of the DNA Section, he had four sustained allegations of employee

misconduct, including for “incompetency,” “misconduct,” and “improper police procedure.” 34 RR


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     Pin cites to the trial Defense Exhibits are to the pages within the corresponding document itself.



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Def. Ex. 9. Ms. Wallace was later convicted of tampering with a government record based on her

actions in other cases. Id. at Def. Exs. 17; 18.

        On November 11, 2002, KHOU Channel 11, a local Houston television station, began

airing a series of investigative news reports that revealed shocking information regarding the HPD

Crime Lab. The report led to an investigation by Michael Bromwich, who was tasked by the City of

Houston to investigate allegations of gross misconduct and negligence by the HPD Crime Lab. See

32 RR Def. Ex. 6. Mr. Bromwich’s final report, published in 2007, concluded that “the risk that

casework performed by the Crime Lab, particularly the DNA Section, would lead to miscarriage of

justice was unacceptably high.” Id. at 28 (emphasis added).

        The DNA Section of the lab had been shuttered as early as 2002, after it was found to be

operating “under conditions that made the risk of an injustice intolerably high.” 32 RR Def. Ex. 6

at 5, 151. That 2002 closure resulted from an audit by an outside agency, which uncovered that the

DNA Section was “in shambles[.]” 31 RR Def. Ex. 3 at 4, 5, 50–51. Of particular concern, the 2002

audit revealed that “serious deficiencies . . . had become so egregious that analysts in the Lab simply

had no perspective on how bad their practices were.” 31 RR Def. Ex. 4 at 2. Among the “major

problems” identified, the analysis of DNA mixtures was specifically flagged as a particularly

problematic area. Id. at Def. Ex. 3 at 5. Likewise, in 2005, Mr. Bromwich also reported that, “in

several cases involving mixtures, the DNA analysts performed the statistical calculations incorrectly.”

Id.

        In addition to detailing the mishandling of forensic evidence and the misreporting of results

by the DNA Section, Mr. Bromwich identified significant issues with the storage of forensic evidence

by the HPD Crime Lab. 32 RR Def. Ex. 6 at 25. The report highlighted that the “[s]torage of




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biological evidence” had been “an ongoing problem for the Property Room.” Id. The report further

noted that practices surrounding the long-term storage of biological evidence, including sexual

assault kits, made such evidence “much more likely to degrade[.]” Id.; 31 RR Def. Ex. 3 at 58–59.

        Mr. Bromwich also found that in May 2001, “a significant volume of evidence related to

homicides and sexual assaults was water damaged” when Tropical Storm Allison caused extensive

damage to the property room located at 1200 Travis St. 31 RR Def. Ex. 3 at 45. Mr. Bromwich

reported that “the Crime Lab employees had no information about which cases were specifically

affected.” Id. at 46 n. 51. Although the HPD Crime Lab expanded its storage capacities by relocating

the Property Room to a separate building on Goliad Street, Mr. Bromwich found that this facility

too suffered from “major deficiencies[.]” Id. at 56. The report concluded that, “[e]ven if repairs are

made to the present facility, it may not be adequate for the proper storage and handling of

evidence[.]” Id.

        The concerns reflected in the 2002 audit and Mr. Bromwich’s findings were realized in Mr.

Cruz-Garcia’s case. The DNA evidence relied upon by the State was stored at both the Travis Street

and Goliad Street locations. 16 RR 30, 32. A postconviction review of that evidence revealed

“concerns about the integrity” of the DNA evidence based on storage conditions. 1 SHCR 221–22.

And, in 2015, the State itself recanted much of the DNA evidence purportedly establishing Mr.

Cruz-Garcia’s identity as Ms. Garcia’s assailant and corroborative of Mr. Santana’s accomplice

testimony. ECF No. 18–11.

                   2. At a pre-trial hearing, the trial court made extensive findings of fact about the
                      defunct HPD Crime Lab’s involvement in the processing and storage of the
                      State’s DNA evidence against Mr. Cruz-Garcia.




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         At a pre-trial hearing on defense counsel’s Motion to Suppress Results of All DNA Testing,

3 CR 455, HPD Sergeant Mehl testified for the State that, in 2007, he retrieved the cigar from the

HPD Crime Lab Property Room on Goliad Street and the rape kit from the HPD Crime Lab storage

rooms on Travis Street. 16 RR 30, 32. Sergeant Mehl testified that he did not observe any damage

to the plastic bags and envelopes in which the evidence was stored. Id. at 31. Sergeant Mehl also

testified that he had no training in the collection and storage of biological evidence, including DNA

evidence. Id. at 27. The cigar and rape kit were then sent to Orchid Cellmark by Sergeant Mehl. Id.

at 33.

         Orchid Cellmark DNA analyst Matt Quartaro testified, “[t]here was nothing initially just

looking at the evidence that would indicate that any tampering or contamination may have

occurred.” 16 RR 50. However, he also explained that he did not receive the evidence; an Orchid

Cellmark evidence custodian did. Id. That custodian was not identified at trial, nor called to testify.

Before the jury, Mr. Quartaro explained that he would not have been able to observe contamination

to the DNA evidence with the naked eye. 21 RR 129. Mr. Quartaro also testified that although

Orchid Cellmark performed separate DNA extractions, he relied on the cutting of the underwear

made by HPD Crime Lab employee Dr. Sharma in 1992. Id. at 135.

         Finally, Amber Head, a criminalist specialist with the HPD Crime Lab, testified that she had

obtained a DNA profile from a buccal swab submitted by Mr. Cruz-Garcia. 16 RR 89–90. Ms. Head

explained that she then compared that DNA profile to those obtained by Orchid Cellmark and

confirmed that Mr. Cruz-Garcia could not be excluded as a contributor to the cigar, the vaginal

swabs, and the cutting from the underwear. Id. Ms. Head testified that she had not herself obtained

DNA profiles from the forensic evidence at issue and had relied entirely on the analysis performed




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by Orchid Cellmark, which in turn was based on evidence processed by and stored at the defunct

HPD Crime Lab. Id. at 91. Nor had Ms. Head compared any other profiles from known individuals

connected to law enforcement’s investigation with the DNA profiles identified by Orchid Cellmark.

21 RR 164. Ms. Head confirmed that Dr. Sharma had acted as the main DNA analyst at the time

of the original analysis in 1992, and that HPD Crime Lab employee Deetrice Wallace had initially

received and processed the sexual assault evidence. Id. at 86–98.

        In ruling on Mr. Cruz-Garcia’s Motion to Suppress, with regards to the findings of

independent investigator Mr. Bromwich, the trial court found that:

        The [Bromwich] report sets out facts and discussions of employees at the HPD – old
        HPD Crime Laboratory and discusses disputes, allegations of misconduct, and
        potential criminal activity. The report sets out certain issues with the old HPD DNA
        serology section of the crime lab. Those issues include deficiency in documentation
        of procedures, mistakes in performing analysis of samples containing mixtures of
        more than one person’s DNA, errors in calculating statistical probabilities,
        mischaracterization of DNA results and testimony, lack of established quality
        assurance and internal auditing systems, inadequate resources, a technical leader
        with inadequate qualifications, inadequate training program, insufficient
        educational background for analysts, and inadequate standards of operating
        procedures.

17 RR 13. As to Dr. Sharma, the trial court found that he “did perform DNA analysis on the

extractions in this case” and “had five instances of alleged employee misconduct . . . [f]our of [which]

were sustained.” Id. at 15–16. The trial court likewise found that Joseph Chu had “nine employee

misconduct allegations . . . two [of which] were sustained.” Id. at 14–15. As to Deetrice Wallace, the

trial court found that “Deetrice Wallace received the sexual assault kit in 1992” and “subsequently

obtained a felony allegation or conviction . . . for tampering with a government document while

working at a . . . different laboratory[.]” Id. at 16.

        The trial court also made findings of fact as to each DNA item offered by the State:




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       I find that the cigar evidence was stored at the HPD property room on Goliad Street
       on October 1st, 1992, and was retrieved from that location by Sergeant Mehl in
       October 2007. I find that the cigar evidence was inside a larger container of evidence,
       was taken to the old HPD Crime Lab sometime in 1992, but was returned to the
       HPD property room and appeared to be unopened by the HPD Crime Lab at the
       time it was retrieved by Sergeant Mehl and mailed to Orchid Cellmark Laboratory
       for DNA testing on October 2nd, 2007.
       ...

       The sexual assault kit was sealed and stored in the Houston Police Department
       property room annex on the 24th floor of 1200 Travis. And that was in 1992. I find
       that sometime in 1992, that sexual assault kit was taken to the old HPD Crime Lab
       and tested by Dr. B. Sharma. I find that Dr. Sharma took cuttings from the panties
       in that sexual assault kit and extracted DNA from the cutting that he retrieved from
       those panties.

       ...

       The sexual kit evidence was retrieved from the Houston Police Department's
       property room annex on the 24th floor of 1200 Travis in October 2007 by Sergeant
       Eric Mehl, who retrieved it and observed that it appeared to be sealed and it was sent
       to Orchid Cellmark Laboratories on October 2nd, 2007.
17 RR 6–7. As to what it dubbed the “new” HPD Crime Lab, the trial court found that the lab “did

not independently obtain DNA profiles from the evidentiary samples, but rather relied on the DNA

profiles already obtained by Orchid Cellmark.” 13 Id. at 11.

       The trial court denied Mr. Cruz-Garcia’s Motion to Suppress based on its finding that,

despite having been stored, handled, and analyzed by the old HPD Crime Lab, the DNA evidence

was nonetheless “sufficiently reliable and relevant” that it could be presented to the jury. 17 RR 5.




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  The trial court found that Orchid Cellmark “performed their own extractions from a cutting of
the underwear of Diana Garcia that they obtained, which was a different cutting than that used by
the old HPD Crime Lab.” 17 RR 8. Mr. Quartaro testified that Orchid Cellmark “received . . . the
crotch of the pair of underwear [which] was cut out from the original pair of underwear and we took
a cutting from the crotch area for our testing.” 21 RR 135.



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               3. The trial court prohibited Mr. Cruz-Garcia from introducing any evidence
                  going to the credibility of the State’s DNA evidence based on the defunct HPD
                  Crime Lab’s involvement.

       Defense counsel sought to admit the Bromwich Reports; employee complaint histories for

Joseph Chu and Dr. Baldev Sharma; the HPD Internal Affairs Investigation summary reflecting that

Dr. Sharma was demoted “for violations of Competence and Truthfulness”; and a judgment of

conviction against Deetrice Wallace for tampering with a government record. 16 RR 20–21; see 31–

34 RR Def. Exs. 2–18. The defense further sought to call independent investigator Michael

Bromwich to testify to his findings. 18 RR 20. The defense also sought to introduce evidence that

the DNA evidence had been tested by another third-party lab, Genetic Design, in 1993 which yielded

different results. 34 RR Def. Ex. 19.

       The trial court prohibited Mr. Cruz-Garcia from introducing any of the above-described

evidence to challenge the reliability of the State’s DNA evidence. It acknowledged that “whether the

jury believes the DNA evidence” was likely a critical issue. 16 RR 113. Regardless, it found the

evidence urged by the defense to be irrelevant and instructed defense counsel that they “can’t go

into the Bromwich Report, [] can’t go into the closure of the laboratory, and [] can’t go into the

impeachment of those witnesses,” whether through documentary evidence or cross-examination. 17

RR 18–20. Whereas the trial court conceded that defense counsel should be permitted to establish

that the DNA evidence was first received by the HPD Crime Lab, it agreed with the State that the

preclusion of the Bromwich Report and Mr. Bromwich’s testimony would bar any cross-examination

into the closure of the Lab and employee misconduct. 17 RR 19–21.

       B. The trial court’s exclusion of this evidence violated Mr. Cruz-Garcia’s right to present
          a complete defense.

       “[T]he Constitution guarantees a criminal defendant a meaningful opportunity to present a



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complete defense.” Holmes, 547 U.S. at 324 (internal quotation omitted). That opportunity,

however, is “an empty one” where a trial court excludes “competent, reliable evidence bearing on

the credibility” of evidence that is key to a defendant’s defense. Crane, 476 U.S. at 690. Hence, even

an evidentiary rule “which has long been recognized and respected by virtually every State” must

sometimes yield to a defendant’s right to present a defense. Chambers, 410 U.S. at 298 (finding that

defendant’s right to present a defense was violated by application of hearsay rule to preclude evidence

going to the credibility of a defendant’s confession); Montana v. Egelhoff, 518 U.S. 37, 53 (1996)

(describing Chambers as holding that “erroneous evidentiary rulings can, in combination, rise to the

level of a due process violation”).

        A trial court’s application of evidentiary rules may violate a defendant’s right to present a

complete defense where “[t]he exclusion of evidence. . . significantly undermined fundamental

elements of the defendant’s defense.” United States v. Scheffer, 523 U.S. 303, 315 (1998) (quoting

Rock v. Arkansas, 483 U.S. 44, 56 (1987)); Kittelson v. Dretke, 426 F.3d 306, 320–21 (5th Cir. 2005)

(finding a violation of the right to present a defense, and granting relief under AEDPA, where

discretionary evidentiary ruling left defendant unable to fully cross-examine prosecution witnesses).

        The State’s case against Mr. Cruz-Garcia turned on DNA evidence. See 23 RR 37 (the State

arguing to the jury that the DNA evidence was “the most damning evidence” against Mr. Cruz-

Garcia). The State’s theory of the case was that the DNA evidence tied Mr. Cruz-Garcia to the sexual

assault that preceded the kidnapping of Angelo Garcia and corroborated the accomplice testimony

of its star witness, Mr. Santana. 23 RR 81; 26 RR 36. Challenging the reliability and credibility of

that DNA evidence was therefore “fundamental” to Mr. Cruz-Garcia’s defense. Scheffer, 523 U.S. at

315



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        The trial court, however, ruled that evidence of miscarriages of justice, misconduct, and

mishandling of the DNA evidence by the lab and lab employees who first received, processed, and

stored that DNA evidence in Mr. Cruz-Garcia’s case was irrelevant. 17 RR 14–18. That ruling is

plainly not supported by the trial court’s own extensive findings of fact, including that the Bromwich

Report and other evidence urged by the defense reflected significant concerns about the HPD Crime

Lab and particular DNA analysts. See supra Claim Two § A.1. By instructing defense counsel that

the Bromwich Reports and other evidence about the lab and employees who handled the evidence

against Mr. Cruz-Garcia were “not to be mentioned or alluded or discussed,” 17 RR 14, the trial

court “effectively disabled” Mr. Cruz-Garcia’s defense. Crane, 476 U.S. at 689; see Kittelson, 426 F.3d

at 318 (“Whether the exclusion of evidence is of a constitutional dimension depends on the trial

court's reason for the exclusion and the effect of the exclusion.”). In other words, the trial court’s

ruling was “disproportionate.” Scheffer, 523 U.S. at 308.

        “Chambers error is by nature prejudicial.” Fry v. Pliler, 551 U.S. 112, 124 (2007) (Stevens J.,

concurring in part and dissenting in part). In other words, because such error goes to a defendant’s

very ability to defend himself, “it is well nigh impossible for reviewing courts to conclude that such

error did not influence the jury, or had but a very slight effect on its verdict.” Id. (internal quotations

omitted). In the habeas context, however, a petitioner is required to show that the error “had [a]

substantial and injurious effect or influence in determining the jury’s verdict.” Janecka v. Cockrell,

301 F.3d 316, 327 (5th Cir. 2002) (quoting and applying Brecht harm standard to collateral review

of alleged violation of the right to present a complete defense). As the State’s closing argument makes

clear, the DNA evidence was critical to its case against Mr. Cruz-Garcia. Because that evidence was

so fundamental to the State’s case, Mr. Cruz-Garcia can show that the violation of his right to present




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a complete defense against that evidence “had [a] substantial and injurious effect or influence in

determining the jury’s verdict.” Brecht, 507 U.S. at 637. Mr. Cruz-Garcia is therefore entitled to a

new trial.

        C. The trial court’s exclusion of this evidence violated Mr. Cruz-Garcia’s right to confront
           witnesses against him.

        “The main and essential purpose of confrontation is to secure for the opponent the

opportunity of cross-examination.” Davis v. Alaska, 415 U.S. 308, 315 (1974) (internal citation and

quotation omitted); Delaware v. Fensterer, 474 U.S. 15, 20 (1985) (per curiam) (”[T[he Confrontation

Clause guarantees an opportunity for effective cross-examination[.]”). A defendant’s rights under the

Confrontation Clause are satisfied where he is “permitted to expose to the jury the facts from which

jurors, as the sole triers of fact and credibility, could appropriately draw inferences relating to the

reliability” of the evidence presented. Davis, 415 U.S. at 318. A trial court’s ability to impede the

right of cross-examination is not unfettered. Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986)

(Courts may only place “reasonable limitations on [] cross-examination based on concerns about,

among other things, harassment, prejudice, confusion of the issues, the witness’ safety, or

interrogation that is repetitive or only marginally relevant.”). To prevail on a Confrontation Clause

claim, a defendant need only show that “he was prohibited from engaging in otherwise appropriate

cross-examination” designed to test the reliability of the witness’s testimony. Delaware, 475 U.S. at

680.

        By refusing to permit Mr. Cruz-Garcia to cross-examine witnesses about the reliability of the

DNA evidence based on the HPD Crime Lab’s involvement, the trial court violated his right to cross-

examine witnesses. The trial court acknowledged that contamination of the DNA evidence by the

HPD crime lab was likely a relevant and critical line of cross-examination. 17 RR 19–21. The trial



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court, however, also agreed that its prohibition on any of Mr. Cruz-Garcia’s evidence about the HPD

Crime Lab and DNA analysts’ history of misconduct and mishandling of DNA evidence likely

precluded any cross-examination on contamination and conditions of storage of the DNA evidence

in Mr. Cruz-Garcia’s case. Id.

       The impossibility of Mr. Cruz-Garcia’s situation was realized during the defense’s cross-

examinations of Sergeant Mehl, Matt Quartaro, and Courtney Head. The trial court admitted “it

would leave a wrong impression with the jury” should the defense not be permitted to go into the

DNA testing conducted by the third-party lab, Genetic Design, and ordered by the HPD Crime Lab.

20 RR 62. Still, the trial court ruled that it was “not going to allow you to go into how they did that

or where it was sent or what was sent to another laboratory or anything like that[.]” Id. The defense

was thereafter permitted only to establish through cross-examination that the forensic evidence did

in fact go to, and was examined by, the HPD Crime Lab. Id. at 63–64 (“Well, I’m going to allow you

to just go into the fact that the evidence in this case back in 1992 did go there and you can talk

about the way that you found that it was resealed and packaged . . . And nothing further.”).

       The trial court’s prohibition on cross-examination going to the reliability of the State’s DNA

evidence violated Mr. Cruz-Garcia’s rights under the Confrontation Clause. Moreover, because Mr.

Cruz-Garcia can satisfy the Brecht harm standard, he is entitled to a new trial. Fratta v. Qaurterman,

536 F.3d 485, 508 (5th Cir. 2008) (applying Brecht harm standard to collateral review of

Confrontation Clause violation).

       D. This Court can review this claim de novo.

                   1. This Court can review Mr. Cruz-Garcia’s complete defense claim de novo
                      because the state court failed to adjudicate the federal claims on the merits.

         Mr. Cruz-Garcia raised this claim as Claim 2 on direct appeal. See ECF No. 22–7 at 4, 81–



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87. The complete defense claim is therefore exhausted. The state court, however, failed to

adjudicate Mr. Cruz-Garcia’s federal claim on the merits. Cruz-Garcia, 2015 WL 6528727, at *26.

Moreover, because the CCA overlooked or declined to rule on the federal claim, Mr. Cruz-Garcia

can rebut the presumption that the state court ruled on it. Johnson, 568 U.S. at 301–02. This

Court’s review should therefore be de novo. Id.

       On direct appeal, Mr. Cruz-Garcia alerted the state court to the federal nature of his claim

that the trial court violated his right to present a complete defense when it prohibited the

presentation of defense evidence and cross-examination on the reliability of the State’s DNA

evidence. Mr. Cruz-Garcia expressly referenced the Sixth and Fourteenth Amendments, cited to

the Supreme Court’s precedent in Holmes, and cited to further case law interpreting the right to

present a complete defense under the Federal Constitution. ECF No. 22–7 at 4, 85–87. Mr. Cruz-

Garcia asked that the CCA find that he was denied the right to cross-examine witnesses and to

present a full defense, in violation of the Sixth and Fourteenth Amendments. Id.

       Irrespective of Mr. Cruz-Garcia’s reliance on the Constitution and corresponding

Supreme Court and Texas case law interpreting the federal constitutional right, the CCA

adjudicated this claim on state-law grounds alone. Cruz-Garcia, 2015 WL 6528727, at *13–14.

Citing the state-law standard of review applicable to a trial court evidentiary ruling (abuse of

discretion) and to the Texas Rules of Evidence, the CCA enquired only whether the trial court

had abused its discretion under the Texas Rules of Evidence and found that it had not. Id. at *13–

14 & n. 28.

       The CCA’s discussion of this claim omits any reference to the Constitution or relevant

case law discussing the federal constitutional claim. Johnson, 568 U.S. at 301 (presumption that




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 state court adjudicated federal claim on the merits may be rebutted where state court adjudication

 “made no reference to federal law”). The CCA’s observation that “we cannot say that [the defense

 exhibits’] exclusion prevented him from presenting a defense” is not supported by any citation to

 the Federal Constitution or corresponding case-law. Cruz-Garcia, 2015 WL 6528727, at *14. The

 CCA’s footnote to a separate section of its decision, pertaining to a separate claim arising from

 the exclusion of mitigating evidence at the penalty phase of trial, and resting upon a different

 provision of the federal Constitution, is insufficient to constitute an adjudication on the merits

 of the federal constitutional claim that the trial court violated Mr. Cruz-Garcia’s right to present

 a complete defense. In Johnson, the Supreme Court specifically noted that, where “a provision of

 the Federal Constitution or a federal precedent was simply mentioned in passing in a footnote or

 was buried in a string cite. . . [i]n such circumstances, the presumption that the federal claim was

 adjudicated on the merits may be rebutted-[] by the habeas petitioner (for the purpose of showing

 that the claim should be considered by the federal court de novo).” Johnson, 586 U.S. at 301

 (emphasis added).

        Because the state court did not adjudicate Mr. Cruz-Garcia’s federal constitutional claim

 on the merits, this Court’s review should be de novo.

               2. This court can review the claim that Mr. Cruz-Garcia’s right to cross- examine
                  witnesses was violated de novo to avoid a fundamental miscarriage of justice.

       On direct appeal, the CCA treated Mr. Cruz-Garcia’s allegations that the trial court erred in

prohibiting him from cross-examining witnesses about the HPD Crime Lab as a separate claim

arising under the Confrontation Clause. Cruz-Garcia, 2015 WL 6528727, at *15–16. The CCA ruled

that Mr. Cruz-Garcia’s Confrontation Clause arguments were not preserved at trial and the court

would therefore not rule on the merits. Id. This court can, however, excuse the procedural default



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so as to avoid a miscarriage of justice because Mr. Cruz-Garcia is actually innocent. Schlup v. Delo,

513 U.S. 298, 316 (1995) (holding that when a petitioner establishes actual innocence, “the

petitioner should be allowed to pass through the gateway and argue the merits of his underlying

claims”).

        To establish actual innocence to overcome the procedural default of a constitutional claim,

a petitioner must show that “it is more likely than not that no reasonable juror would have convicted

him in the light of [] new evidence.” Schlup, 513 U.S. at 327. However, a petitioner is not required

to show that the new evidence upon which he now relies “unquestionably establishes [his]

innocence.” Id. at 317. Moreover, that there is some evidence tending to support a guilty verdict is

not dispositive of a reviewing court’s actual innocence inquiry. Id. at 327 (“[P]etitioner’s showing of

innocence is not insufficient solely because the trial record contained sufficient evidence to support

the jury’s verdict.”). Hence, in conducting this actual innocence inquiry, a reviewing court should

consider “all the evidence, old and new, incriminating and exculpatory, without regard to whether

it would necessarily be admitted under rules of admissibility that would govern at trial.” House v.

Bell, 547 U.S. 518, 538 (2006) (internal quotation omitted).

        Since trial, critical evidence has come to light that undermines every aspect of the State’s case

against Mr. Cruz-Garcia. During the guilt phase, the State’s case rested on 3 key elements: the DNA

evidence purportedly tying him to the offense; the accomplice testimony of Mr. Santana placing Mr.

Cruz-Garcia at the scene of A.’s murder; and the testimony of Angelita Rodriguez, to whom Mr.

Cruz-Garcia allegedly confessed. See 23 RR 93–96. New evidence “establish[es] significant doubt” as

to all 3 pillars of the State’s case. Schlup, 513 U.S. at 316.




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       First, since trial, the State has recanted significant aspects of the DNA evidence introduced

against Mr. Cruz-Garcia. See ECF No. 18–11. At trial, the State argued that the DNA evidence

established Mr. Cruz-Garcia’s identity as Diana Garcia’s assailant because his DNA was on the

panties and vaginal swabs, and the remaining DNA was that of her husband. 23 RR 83 (arguing to

the jury, “if Obel Cruz-Garcia was not the one . . . where is the DNA of the guy who raped Diana?”).

The State further relied on the DNA evidence to corroborate Mr. Santana’s accomplice testimony

because his DNA was excluded from the vaginal swab. Id. at 82. In short, the State told the jury that

“on the DNA alone, you could convict [Mr. Cruz-Garcia].” Id. at 91. The Amended DNA Report

issued during state habeas proceedings, however, concluded that no conclusions could be drawn as

to the identity of any of the contributors to the DNA mixture on the vaginal swabs, and no

conclusion could be drawn as to the identity of the contributor to the minor DNA mixture on the

underwear cutting. ECF No. 18–11. As corrected, the DNA evidence therefore does not conclusively

establish Mr. Cruz-Garcia’s identity as the assailant, does not corroborates Mr. Santana’s testimony

that he was never in the apartment with Ms. Garcia, and leaves open the possibility of an unknown

assailant. Instead, no conclusion can be drawn as to the identity of any of the contributors to the

DNA recovered from the vaginal swabs, nor as to the identity of the contributors recovered from

the underwear cutting.

       Moreover, evidence discovered since trial undercuts the strength of the remaining DNA

evidence supposed to prove Mr. Cruz-Garcia’s identity as Ms. Garcia’s assailant. The Amended DNA

Report produced by the State confirmed Mr. Cruz-Garcia’s DNA on the underwear cutting and the

cigar found at Ms. Garcia’s apartment. However, in state post-conviction, several witnesses revealed




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that Mr. Cruz-Garcia and Ms. Garcia had an ongoing sexual relationship at the time of the offense. 14

ECF Nos. 18–21; 18–22. As to the cigar, Ms. Garcia and Mr. Rodriguez testified that Mr. Cruz-

Garcia had visited their apartment earlier on the day of the assault. 18 RR 145. Indeed, HPD records

establish that law enforcement themselves thought the cigar was entirely unconnected to the facts of

the offense. ECF No. 18–64. Hence, even the remaining DNA evidence does not establish Mr. Cruz-

Garcia’s identity as Ms. Garcia’s assailant.

            Second, the State’s star witness, Mr. Santana, testified falsely and/or received a deal in

connection with his testimony against Mr. Cruz-Garcia. See infra Claim Five § A. In his testimony,

Mr. Santana implicated himself in both the 1992 capital murder of Angelo Garcia and the 1989

murder of Saul Flores (introduced at punishment). See 20 RR 142–64; 21 RR 15–28; 25 RR 71–89.

Indeed, the trial court found that Mr. Santana was “an accomplice witness as a matter of law” based

on “his own testimony[.]” 22 RR 3. The State elicited testimony from Mr. Santana that he did not

receive a deal in exchange for his testimony and was testifying at the risk of being prosecuted. See 20

RR 165–66, 173–74; 21 R 12. Since trial, however, Mr. Santana has never been charged by the State

with any offense in connection with either murder. The absence of any charges reveals that the jury

was laboring under a false impression as to the credibility of the State’s star witness at the guilt phase

of trial.

            Furthermore, Mr. Santana was never a credible witness. He has a long history of mental

illness. In 1998, a federal court ordered Mr. Santana to submit to a competency evaluation and, in

2011, Mr. Santana moved a federal court to set aside his plea based on “a plethora of records”


14
  At trial, the State argued that Mr. Cruz-Garcia and Ms. Garcia could not have had a consensual
sexual relationship because Mr. Cruz-Garcia was “her drug supplier and 15 years her junior.” 23 RR
91.



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reflecting serious concerns regarding his mental health and competency. See infra Claims Four § F.3

& Six.A.2; ECF No. 18–12. Mr. Santana also has a history of committing physical assault, including

against children. ECF No. 18–86. Mr. Santana was convicted of assaulting a young girl around the

time Angelo was abducted, a crime of moral turpitude, which he lied about on the stand. See infra

Claim Five § A. Mr. Santana’s testimony at trial is therefore neither credible, nor reliable.

       Third, newly uncovered evidence has also undercut the testimony of Angelita Rodriguez.

After she testified for the State that Mr. Cruz-Garcia had confessed to her some months after

Angelo’s disappearance, Angelita Rodriguez was able to adjust her immigration status despite having

been convicted of several deportable offense. Indeed, one of the prosecutors who tried the case

against Mr. Cruz-Garcia personally wrote and signed a letter in support of her bid to adjust her

immigration status. Ex. 113. And, as with Mr. Santana, there is significant evidence that Ms.

Rodriguez testified falsely. See infra Claim Five § C. Contrary to her testimony that Mr. Cruz-Garcia’s

departure from Houston was unexpected and that she had not seen him for months prior to his

supposed confession, law enforcement records reflect that Ms. Rodriguez was living with Mr. Cruz-

Garcia in the Dominican Republic. ECF No. 18–15. And evidence further establishes that Mr. Cruz-

Garcia had been preparing to return to the Dominican Republic for a long while by building a house

there. ECF Nos. 18–81; 18–91.

       In short, the only forensic evidence tying Mr. Cruz-Garcia to the facts of the offense,

described by the State as “the most damning” evidence against Mr. Cruz-Garcia, has since been

almost entirely recanted by the State. See ECF No. 18–11. Contrary to the State’s closing argument,

the DNA evidence as corrected does not establish Mr. Cruz-Garcia’s identity as Ms. Garcia’s

assailant, does not exclude Mr. Santana as a potential assailant, and leaves open the possibility of an




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unknown assailant. Moreover, records and witness recollection since trial undercut the strength of

the remaining DNA evidence. Finally, neither Mr. Santana nor Ms. Rodriguez can be credited as

credible witnesses in the light of the State’s post-trial conduct in their favor, as well as other new

uncovered evidence undermining their credibility. Mr. Cruz-Garcia further incorporates by reference

all facts alleged in support of Claims Four and Five. Based on the corrected DNA evidence, in

combination with the lack of credibility of the State’s key witnesses against Mr. Cruz-Garcia, “no

reasonable juror would have found [Mr. Cruz-Garcia] guilty beyond a reasonable doubt.” Schlup, 513

U.S. at 326. Because Mr. Cruz-Garcia can establish that he is actually innocent, this Court should

consider his constitutional claim so as to avoid a miscarriage of justice.

Claim Three: Mr. Cruz-Garcia’s rights under the Eighth and Fourteenth Amendments were
             violated when his conviction was secured based on inaccurate and unreliable DNA
             evidence.

       The Eighth Amendment’s heightened reliability requirement and the Due Process Clause

under the Fourteenth Amendment were violated when the State obtained Mr. Cruz-Garcia’s

conviction based on inaccurate and unreliable DNA evidence.

       A. The DNA evidence relied on by the State to secure Mr. Cruz-Garcia’s conviction was
          unreliable.

       The DNA evidence relied on by the State was unreliable and neither established that Mr.

Cruz-Garcia was the assailant who sexually assaulted Ms. Garcia nor confirmed Mr. Santana’s

account of the night of the offense. By the time of Mr. Cruz-Garcia’s trial, the HPD Crime Lab, and

the DNA Section in particular, had been linked by an independent investigation to several

miscarriages of justice. See ECF No. 18–61; 31 RR Def. Exs. 1–4; 32 RR Def. Exs. 5–7; supra Claim

Two § A. That investigation specifically identified a significant number of issues directly relevant to

the DNA evidence relied on by the State to secure Mr. Cruz-Garcia’s conviction. Namely, the



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investigation flagged as problem areas the storage of rape kits such as that stored by the HPD Crime

Lab and relied on by Orchid Cellmark in this case, the work of Dr. Sharma (who was the lead DNA

analyst in connection with the forensic evidence relied on by the State), and the analysis of DNA

mixtures of the type at issue in Mr. Cruz-Garcia’s case. Id.

       Indeed, the independent investigation identified two of the locations at which forensic

evidence relied on in the case against Cruz-Garcia was stored, 1200 Travis St. and Goliad St., as

suffering from serious problems and likely to result in the contamination and degradation of forensic

evidence. 31 RR Def. Ex. 3. Finally, employee complaint histories and criminal records implicated

at least three HPD Crime Lab employees (Dr. Baldev Sharma, Joseph Chu, and Deetrice Wallace)

who were directly involved in receiving, processing, and storing the DNA evidence that was then

relied on by the State to secure Mr. Cruz-Garcia’s conviction. 34 RR Def Exs. 12–18; Ex. 132. The

unreliability of the DNA evidence relied on by the State is best summed up by the State’s closing

argument with respect to the DNA evidence: “I don’t care about quality control.” 23 RR 90.

       B. The DNA evidence relied on by the State was inaccurate.

       In 2015, after Mr. Cruz-Garcia had filed his initial application for habeas corpus relief in the

state court, the State published an amended DNA report that established that the DNA results

introduced at trial to tie Mr. Cruz-Garcia to the facts of offense were inaccurate. ECF No. 18–11.

At trial, the State’s expert witnesses testified that Mr. Cruz-Garcia could not be excluded as a

contributor to the DNA on the vaginal swabs and as contributor to the major DNA sample on the

underwear. 21 RR 112. He also testified that Mr. Rodriguez could not be excluded as a contributor

to the DNA on the vaginal swabs and as a contributor to the minor DNA sample on the underwear

cutting. Id. Contrary to that testimony, the amended DNA report stated that no conclusions could




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be drawn as to the identity of any contributors to the DNA on the vaginal swabs, nor as to the

identity of the minor contributor to the DNA on the underwear cutting. ECF No. 18–11.

        In short, Mr. Cruz-Garcia should never have been linked to the DNA from the vaginal swabs.

And there is no evidence that Mr. Rodriguez must have been the other DNA profile, whether on

the underwear or vaginal swabs, such that only Mr. Cruz-Garcia could have been the perpetrator of

the assault. Hence, contrary to the State’s characterization of the DNA evidence in closing argument,

the DNA evidence did not establish that Mr. Cruz-Garcia must have sexually assaulted Ms. Garcia

to the extent that the only other DNA profile was that of her husband’s; and the DNA evidence did

not establish that Mr. Santana was truthful in recounting that he had remained in the car during

the offense to the extent his DNA profile was not identified on the sexual assault kit. 23 RR 82, 93.

        C. The State’s reliance on unreliable and inaccurate DNA evidence violated the Eighth
           Amendment’s heightened reliability requirement and the Due Process Clause of the
           Fourteenth Amendment.

        Reliance upon unreliable evidence to secure a conviction and death sentence violates the

Eighth Amendment heightened reliability requirement and the Due Process clause of the

Fourteenth Amendment. Johnson v. Mississippi, 486 U.S. 578, 590 (1988) (holding that Eighth

Amendment violated where “the jury was allowed to consider evidence that has been revealed to be

materially inaccurate”); Townsend v. Burke, 334 U.S. 736, 740–41 (1948) (holding that due process

violated when court relies on “extensively and material false” evidence to impose sentence). Because

the State relied on evidence that neither satisfied the heightened reliability requirement under the

Eighth Amendment or the Due Process Clause under the Fourteenth Amendment, Mr. Cruz-Garcia

is entitled to a new trial.

        D. This court can review this claim de novo to avoid a fundamental miscarriage of justice.

        Mr. Cruz-Garcia raised this claim as Claim 3 in his second subsequent application for state


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habeas relief. Ex. 149. The CCA dismissed this claim “as an abuse of the writ without considering

the merits of the claims.” See Ex parte Cruz-Garcia, 2021 at *1. This claim is therefore exhausted and

procedurally defaulted. This court can, however, excuse the procedural default so as to avoid a

miscarriage of justice because Mr. Cruz-Garcia is actually innocent. Schlup, 513 U.S. at 316; See supra

Claim Two § D.2.

Claim Four:    Mr. Cruz-Garcia’s Sixth Amendment right to effective assistance of counsel was
               violated.

       A. The Sixth Amendment guarantees the right to effective representation.

       The Sixth Amendment guarantees every criminal defendant the right to effective

representation at trial. To prove ineffective assistance of counsel, an applicant must show that his

counsel performed deficiently and that counsel’s deficient performance prejudiced the defense.

Strickland v. Washington, 466 U.S. 668, 687 (1984).

       An applicant establishes deficient performance by showing that trial counsel’s performance

fell below an objective standard of reasonableness. Andrus v. Texas, 140 S. Ct. 1875, 1881 (2020). In

death penalty cases, trial counsel’s performance is deficient when it was “inconsistent with the

standard of professional competence in capital cases that prevailed [at the time of the trial].” Cullen

v. Pinholster, 563 U.S. 170, 196 (2011). The American Bar Association (ABA) standards, which the

Supreme Court “has long referred to as ‘guides to determining what is reasonable,’” play an

important role in assessing counsel’s performance. Wiggins v. Smith, 539 U.S. 510, 524 (2003)

(quoting Strickland, 466 U.S. at 688). Because the ABA standards reflect the “[p]revailing norms of

practice,” Strickland, 466 U.S. at 688, they are “valuable measures of the prevailing professional

norms of effective representation,” Padilla v. Kentucky, 559 U.S. 356, 367 (2010).




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       In assessing trial counsel’s performance, courts look to the guidelines that were in effect at

the time of trial. Bobby v. Van Hook, 558 U.S. 4, 7 (2009). Where the “prevailing professional norms”

as expressed in the ABA standards are different from the “most common customs” of defense

attorneys in a particular locale, the prevailing professional norms nonetheless govern trial counsel’s

performance. Harrington v. Richter, 562 U.S. 86, 88 (2011). That is, a culture of deficiency does not

shelter trial counsel’s performance from constitutional accountability. The guidelines applicable to

Mr. Cruz-Garcia’s case include the ABA Guidelines for the Appointment and Performance of

Defense Counsel in Death Penalty Cases, 31 HOFSTRA L. REV. 913 (2005) (the “ABA

Guidelines”) and the ABA Standards for Criminal Justice (3d ed. 1993) (the “ABA Standards”), as

well as the State Bar of Texas Guidelines and Standards for Texas Capital Counsel, 69 Tex. B.J. 966

(2006) (the “Texas Guidelines”). See Trevino v. Thaler, 569 U.S. 413, 426 (2013) (citing the Texas

Guidelines).

       Courts apply a “case-by-case approach to determining whether an attorney’s performance was

unconstitutionally deficient under Strickland.” Rompilla v. Beard, 545 U.S. 374, 393–94 (2005)

(O’Connor, J., concurring). An applicant establishes prejudice when he shows that “there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Strickland, 466 U.S. at 694. A reasonable probability is “a probability

sufficient to undermine confidence in [the] outcome.” Id. at 693–94. An applicant does not need to

show that trial counsel’s deficient performance “more likely than not altered the outcome” in his

case. Id. at 693. Rather, the applicant need only show that “the likelihood of a different result [is]

substantial, not just conceivable.” Richter, 562 U.S. at 112. Because Texas requires a unanimous jury

verdict, prejudice “requires only ‘a reasonable probability that at least one juror would have struck a




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different balance’” in answering Texas’s special issues. Andrus, 140 S. Ct. 1886 (quoting Wiggins, 539

U.S. at 537). Because Mr. Cruz-Garcia can show deficient performance and prejudice, he is entitled

to a new trial.

        B. Caseload and fee guidelines for Texas death penalty cases.

                   1. Texas and ABA Guidelines require counsel to limit their caseload.

        One of the most important obligations of capital counsel is to maintain a manageable

caseload. All lawyers “have an ethical obligation to control their workloads so that every matter they

undertake will be handled diligently and competently.” ABA Comm. on Ethics and Prof’l

Responsibility, Formal Op. 06-441, at 9 (2006). ABA Guideline 10.3 provides that “[c]ounsel

representing clients in death penalty cases should limit their caseloads to the level needed to provide

each client with high quality legal representation in accordance with these Guidelines.” ABA

Guideline 10.3. Texas Guideline 9.3(B) provides additional detail. It requires counsel to “give

priority to death penalty clients over their other caseload.” It also requires that if counsel finds

themself “overextended” “such that reasonable time is not available to properly complete the tasks

necessary for providing quality representation,” they are required to “notify the court.” Texas

Guideline 9.3(C). If counsel find themselves overextended, they are also required to request legal

assistance, withdraw from the case, or “take steps to reduce other case load matters.” Id.

        The reasons for limits to capital counsel’s caseload are obvious. “A sleep-deprived member

of a capital defense team, no matter how talented or dedicated, cannot provide competent

representation if his or her workload does not provide the time necessary to handle these

extraordinarily taxing engagements.” Lawrence J. Fox, Capital Guidelines and Ethical Duties: Mutually

Reinforcing Responsibilities, 36 HOFSTRA L. REV. 775, 783 (2008). Because death penalty cases “are




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intense emotionally and demanding of one’s time,” even the “best of intentions cannot overcome

an excessive workload.” Id. at 784.

                2. The Texas Indigent Defense Commission has concluded that five is the
                   maximum number of death penalty cases a fulltime capital practitioner can
                   handle.

        Facing a “statewide crisis in the criminal defense system,” the Texas legislature passed the

Fair Defense Act (“FDA”) in 2001. James D. Bethke and Morgan Shell, Public Defense Innovation in

Texas, 51 IND. L. REV. 111, 112 (2018). “A key component of the Act was the creation of the Task

Force on Indigent Defense,” which was subsequently renamed the Texas Indigent Defense

Commission (“TIDC”). Id. TIDC “distributes funds to counties, monitors their compliance with

state and constitutional requirements, provides counties technical support, and develops Texas

indigent defense policies.” Id.

        The TIDC studied the issue of appointed counsel caseloads for both death penalty and non-

death penalty cases. In 2013, the TIDC ordered an assessment of the Regional Public Defender for

Capital Cases Office (“RPDO”) from the Public Policy Research Institute of Texas A&M University.

Ex. 142. The RPDO was created by TIDC in 2008 “to make high-quality capital defense

representation more accessible in small and mid-sized jurisdictions,” whose budgets could otherwise

become overwhelmed by the costs of a capital case. Bethke & Shell, Public Defense Innovation in Texas,

51 IND. L. REV. at 115. The RPDO does so by employing salaried attorneys who “specialize

exclusively in capital defense services.” Ex. 142 at 24, 29. RPDO staffs each case with two attorneys,

an investigator, and a mitigation specialist. Id. at vii.

        When it funded the creation of the RPDO, TIDC mandated that each attorney’s caseload

not exceed five active cases to ensure effective representation. Id. at 2. The 2013 assessment found




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that RPDO respected the five-case maximum, with each attorney averaging four cases. Id. at 24. The

assessment concluded that the five-cases-per-attorney cap was important to RPDO’s ability to provide

capital representation consistent with the Texas Guidelines. Id. at 2.

       Three years later, however, TIDC commissioned another report on RPDO. The assessment,

which RPDO joined TIDC in requesting, was conducted by the National Association of Public

Defense (“NAPD”). The NAPD found that caseloads had increased, with the cap being raised to six

cases per attorney. Ex. 145. The report criticized this development, noting that “[t]here are other

places in the country where the caps are significantly lower than that maintained by RPDO,

including some with a cap of one or two open cases at a time.” Id. The report concluded that “six

capital cases appears to be too high to comply with the ABA Guidelines.” Id. at 12.

       The lessons from the TIDC reports are clear: An attorney who works exclusively on death

penalty cases—as part of a team with at least one other attorney, an investigator, and a mitigation

specialist—can handle up to, but no more than, five capital cases to remain compliant with the

prevailing professional guidelines.

               3. TIDC has also closely studied felony caseloads.

       TIDC has also looked at the issue of appointed counsel caseloads for non-capital cases. For

many years, the default standard for a non-capital caseload was that developed by the National

Advisory Commission on Criminal Justice Standards and Goals in 1973. Ex. 144. The “NAC

standards,” as they became known, provided that caseloads should not exceed 150 felony cases a

year. Id. According to a September 2013 Report from the Council of State Governments Justice

Center, the Harris County Public Defender’s Office adhered to the NAC standards, with a caseload

cap of 150 felony cases per year and a goal of 30–35 cases open at any given time. Ex. 147.




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       In 2013, the Texas Legislature instructed TIDC to “conduct and publish a study for the

purpose of determining guidelines for establishing a maximum allowable caseload for a criminal

defense attorney that, when the attorney’s total caseload . . . is considered, allows the attorney to

give each indigent defendant the time and effort necessary to ensure effective representation.” Tex.

H.B. 1318, 83rd Leg., R.S. (2013). The legislature further directed that “[t]he study must be based

on relevant policies, performance guidelines, and best practices.” Id.

       TIDC’s 2015 report strongly criticized the NAC standards as outdated and lacking an

empirical foundation. Ex. 144. Based on an exhaustive analysis of Texas criminal defense practice,

the report concluded that caseloads should be capped according to the degree of offense. The report

concluded that:

       for the delivery of reasonably effective representation attorneys should carry an
       annual full-time equivalent caseload of no more than the following:
               •       236 Class B Misdemeanors;
               •       216 Class A Misdemeanors;
               •       174 State Jail Felonies;
               •       144 Third Degree Felonies;
               •       105 Second Degree Felonies; or
               •       77 First Degree Felonies.

Id. at 34. The TIDC has criticized Harris County for failing to adhere to the caseload guidelines for

appointed counsel. Ex. 146 at 15; Ex. 143 at 11. Indeed, in 2016, TIDC found that Harris County’s

appointment system was so badly flawed and led to such high caseloads that it failed TIDC’s standard

for being a “fair, neutral, and nondiscriminatory system.” Ex 146.

               4. Both the ABA and the Texas Guidelines prohibit fixed-fee arrangements in
                  death penalty cases.




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       Like workload, fee structure is critical to ensure that counsel provide adequate representation

in capital cases. Fox, Capital Guidelines and Ethical Duties, 36 HOFSTRA L. REV. at 777–78 (“Given

the fact that the prosecution in capital cases will likely be represented by well-funded and skilled

specialists, issues of fees and workload have become central to the defense team’s duty of competent

performance imposed by Rule 1.1.”).

       Both the Texas and ABA Guidelines prohibit the use of flat fees in death penalty cases. Texas

Guideline 8.1.B.1 (“Flat fees, caps on compensation, and lump-sum contracts are improper in death

penalty cases.”); ABA Guideline 9.1.B.1 (same). Fixed fees are prohibited by the Guidelines for

obvious reasons: “When assigned counsel is paid a predetermined fee for the case regardless of the

number of hours of work actually demanded by the representation, there is an unacceptable risk

that counsel will limit the amount of time invested in the representation in order to maximize the

return on the fixed fee.” ABA Guideline 9.1, Cmt. “The possible effect of such rates is to discourage

lawyers from doing more than what is minimally necessary to qualify for the flat payment.” Id.

(quoting commentary to Standard 5-2.4 of the ABA Standards for Criminal Justice: Providing

Defense Services).

       C. Background regarding Mr. Cruz-Garcia’s trial counsel.

                     1. Mr. Cruz-Garcia’s family raised money to retain counsel for him.

       On February 16, 2010, the Court appointed Mike Fosher as first chair counsel for Mr. Cruz-

Garcia. 1 CR 8. Mario Madrid was appointed as co-counsel on March 3, 2010. 1 CR 11. Members

of Mr. Cruz-Garcia’s family, however, raised sufficient funds through their church to retain private

counsel. ECF No. 18- 85 at 9. They hired Steven Shellist and Christian Capitaine to represent Mr.

Cruz-Garcia in April of 2010. Id.




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                  2. When the State decided to seek the death penalty, Mr. Cruz-Garcia’s retained
                     counsel were forced to withdraw and Mr. Cornelius and Mr. Madrid were
                     appointed to represent Mr. Cruz-Garcia.

          Mr. Shellist and Mr. Capitaine worked on Mr. Cruz-Garcia’s case until August 2011. When

the State decided to seek the death penalty, however, they withdrew from the case. 2 CR 326; 4 RR

4–10; ECF No. 18- 6. On August 31, 2011, the court appointed Mr. Cornelius as lead counsel and

Mr. Madrid as second chair. 1 CR 57–58.

                  3. Trial counsel sought and received compensation for their representation of
                     Mr. Cruz-Garcia on a flat-fee basis, in contravention of Texas Guideline 8.1.B.1
                     and ABA Guideline 9.1.B.1.

          The Texas and ABA Guidelines are clear: flat fees “are improper in death penalty cases.”

Texas Guideline 8.1.B.1; ABA Guideline 9.1.B.1. Mr. Cornelius nonetheless sought and received a

$65,000 flat fee for his representation of Mr. Cruz-Garcia. ECF No. 18-7. Mr. Cornelius’s second

chair counsel, Mr. Madrid, likewise sought and received a $60,000 flat fee. 2 CR 375–76. Although

flat fees are prohibited by both the ABA and Texas Guidelines, they have long been permitted as

part of the Harris County appointment system that TIDC concluded failed the “fair, neutral, and

nondiscriminatory” test. Ex. 146. In 2013, the presumptive flat fee was $35,000.00 for first-chair

counsel and $30,000.00 for second chair. ECF No. 18-7 at 1. Mr. Cornelius justified his being paid

a near-doubling of the presumptive flat fee on the grounds that the case was “more than 19 years

old” and was “very complex.” 2 CR 372. Mr. Cornelius also told the court that “[i]n all likelihood

there will be a multitude of expert witnesses on many different elements of the various cases.” 15 2

CR 373. He also emphasized Mr. Cruz-Garcia’s ties to Puerto Rico, telling the court that the case




15
     It is unclear what Mr. Cornelius meant by the “various cases.”



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“involves numerous extraneous offenses, both in Texas and in Puerto Rico” and that “[d]efendant’s

family lives in Puerto Rico, as well as in Texas and other cities.” 2 CR 372.

       As discussed above, the problem with flat fees in death penalty cases is that they create “an

unacceptable risk that counsel will limit the amount of time invested in the representation in order

to maximize the return on the fixed fee.” ABA Guideline 9.1, Cmt. Flat fees also impede

accountability for appointed counsel. Indeed, because they were working on a flat fee, neither Mr.

Cornelius nor Mr. Madrid kept contemporaneous time entries of their representation of Mr. Cruz-

Garcia. Yet, as described below, an analysis of Mr. Cornelius’s billing records in other cases shows

that the exact situation the prohibition of flat fees was meant to prevent occurred in Mr. Cruz-

Garcia’s case: Mr. Cornelius did not “give priority” to Mr. Cruz-Garcia’s case. Instead, he worked

relentlessly on other, hourly-billed cases from the beginning of jury selection in Mr. Cruz-Garcia’s

case on June 3, 2013, until sentencing on July 22, 2013. See Ex. 138.

               4. Mr. Cornelius’s crushing caseload far exceeded reasonable standards.

       Throughout his representation of Mr. Cruz-Garcia, Mr. Cornelius carried a caseload far in

excess of TIDC standards. Harris County did not track counsel caseloads during the 2011 to 2013

time period, which corresponds to Mr. Cornelius’s appointment to Mr. Cruz-Garcia’s case.

Accordingly, the only way to determine Mr. Cornelius’ caseload is to identify and count each of his

individual appointments. The appointments Mr. Cruz-Garcia has been able to identify paint an

extremely troubling picture of Mr. Cornelius’s caseload. 16



16
  Mr. Cruz-Garcia used the docket searching feature of the Harris County District Clerk’s website
to attempt to identify the capital cases to which Mr. Cornelius was appointed during his
representation of Mr. Cruz-Garcia. Because there is no centralized repository for appointments,
though, he cannot be certain that he has identified all of Mr. Cornelius’s appointments.



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       The chart below summarizes Mr. Cornelius’s capital murder appointments while he served

as Mr. Cruz-Garcia’s lead counsel. The documents underlying Figure 1 are included in Exhibit 138

and Exhibit 148, showing when Mr. Cornelius was appointed and when representation concluded,

and billing in corresponding cases. 17

Figure 1: Mr. Cornelius’s capital appointments during his representation of Mr. Cruz-Garcia. 18

 Case                                      Type                    Appt.              End
 Andre Sloan                               Non-Death               09/21/10           05/25/12
 Herbert Nash                              Non-Death               03/10/10           09/30/11
 Lucky Ward                                Death                   03/02/11           09/17/13
 Kevin Owens                               Non-Death               04/12/11           01/27/14
 Judy Hambrick                             Non-Death               04/18/11           12/20/12
 Bobby Jones                               Non-Death               04/19/11           06/08/12
 Charles Grabow                            Non-Death               04/24/11           01/22/13
 Jeffery Prevost                           Death                   05/24/11           04/05/14
 Daryl Reed                                Non-Death               11/14/11           08/23/13
 Astin Johnson                             Non-Death               01/30/12           01/31/13
 Shawn Mayreis                             Non-Death               03/29/12           08/08/13
 Justin McGee                              Non-Death               05/07/12           12/12/13
 Neil Mukherjee                            Death                   12/04/12           11/14/15
 Juan Reyes                                Death                   12/13/12           04/04/14
 Anthony Alegria                           Non-Death               01/11/13           10/01/14
 Curtis Adams                              Death                   01/13/13           07/15/15
 Neva Jane Gonzalez                        Non-Death               02/06/13           02/13/14
 Johntay Gibson                            Non-Death               02/25/13           07/14/14
 Randy Segura                              Non-Death               04/24/13           11/17/14

17
  Billing records from Mr. Cornelius’s capital cases are included with his non-capital billing records.
The fact that some of the cases were death penalty cases is only apparent from the billing records.
Mr. Cornelius’s billing records in the Juan Reyes case include a notation that it was a death case
until January 2014, six months after Mr. Cruz-Garcia’s trial ended. Likewise, Mr. Cornelius’s billing
records in the Neil Mukherjee case state that the State was seeking the death penalty against Mr.
Mukherjee at the time Mr. Cornelius withdrew from the representation in November 2015. Mr.
Cornelius’s billing records in the Curtis Adams, Lucky Ward, and Jeffery Prevost cases also indicate
that those cases were death penalty cases.
18
  The documents underlying Figure 1 are collected in Exhibits 138 and 148. Exhibit 148 contains
appointment orders and documents indicating when Mr. Cornelius’s representation ended. In some
instances, to see that the case was a death case, it is necessary to look to Exhibit 138. The duration
of Mr. Cornelius’s involvement is also evidenced in the billing records in Exhibit 138.


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 Case                                       Type                    Appt.               End
 Tyran Riley                                Non-Death               05/13/13            01/08/15
 Osman Irias                                Non-Death               06/21/13            04/07/14

         The documents in Exhibits 138 and 148 show that between August 2011, when he was

appointed to Mr. Cruz-Garcia’s case, and June 2013, when jury selection began in Mr. Cruz-Garcia’s

case, Mr. Cornelius worked six non-death capital murder cases to conclusion. These records also

show that at the time of Mr. Cruz-Garcia’s trial, Mr. Cornelius had six active death penalty cases,

including Mr. Cruz-Garcia’s. As the 2016 TIDC report on RPDO found, “six capital cases appears

to be too high to comply with the ABA Guidelines.” Ex. 145 at 12. That figure of six cases further

assumes that the attorney works on no other cases and is part of a team comprised of co-counsel, a

mitigation specialist, and an investigator. As discussed infra in Section G, trial counsel did not retain

a mitigation specialist in Mr. Cruz-Garcia’s case.

         Moreover, in addition to the six death penalty cases Mr. Cornelius was appointed to, he was

appointed to at least ten non-death capital cases, two of which 19 he tried to verdict within a month

of concluding Mr. Cruz-Garcia’s trial. In the time period between when Mr. Cornelius was

appointed to represent Mr. Cruz-Garcia and the trial, Mr. Cornelius saw another six non-death

capital cases to conclusion. In total, Mr. Cornelius worked on six death cases and at least sixteen

non-death capital murder cases while representing Mr. Cruz-Garcia.

         Mr. Cornelius’s capital murder docket alone put his caseload far above the TIDC limit of

five death cases per full-time capital attorney. Yet, Mr. Cornelius also carried hundreds of non-capital

felony cases. Again, although there is no central repository of case appointments in Harris County

for the relevant time period, Mr. Cruz-Garcia has identified as many of Mr. Cornelius’s


19
     Shawn Mayreis and Daryl Reed.



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appointments as he could during the time period from September of 2010 to the date of Mr. Cruz-

Garcia’s trial in 2013. A list of Mr. Cornelius’s non-capital appointments from one year before he

was appointed to represent Mr. Cruz-Garcia until the end of Mr. Cruz-Garcia’s trial is included

below in Figure 2. The documents underlying Figure 2, including appointment orders and

indictments, are collected in Exhibit 139.

       As indicated by Figure 2, Mr. Cornelius was appointed to over 500 felony cases in the less-

than-three-year period from September 2010 to July 2013. 20 In 2012 alone, Mr. Cornelius was

appointed to over 250 felony cases. During his less-than-two-year representation of Mr. Cruz-Garcia,

Mr. Cornelius was appointed to over 400 felony cases.

       The TIDC guidelines provide that attorneys should not handle more than 144 cases per year,

assuming all the cases are third degree felonies. Yet, much of Mr. Cornelius’s caseload consisted of

first degree felonies such as non-capital murder, aggravated robbery, aggravated assault, aggravated

kidnapping, and aggravated sexual assault. The TIDC guidelines dictate that attorneys should not

take on more than 77 first-degree felonies in one year, assuming the attorney has no other cases.

Figure 2: Mr. Cornelius’s felony appointments from September 2010 to July 2013. 21

Case No.       Appt. Date            Defendant                    Charge
1276750        Sept. 7, 2010         Robert Edwin Lewis           Burglary of a habitation
1276472        Sept. 7, 2010         Anthana Denmon               Aggravated Assault with a deadly
                                                                  weapon
1276473        Sept. 7, 2010         Anthana Denmon               Aggravated Assault
1276862        Sept. 7, 2010         Truett Lane Finch            Burglary of a habitation
1276580        Sept. 7, 2010         Angela Michelle Palmer       Prostitution
1276950        Sept. 8, 2010         Johnny Dawon Hall            Aggravated Robbery – Deadly
                                                                  Weapon

20
   The time period from September 2010 to July 2013 encompasses the period when Mr. Cornelius
represented Mr. Cruz-Garcia as well as the year prior. The number of case Mr. Cornelius accepted
in the year prior to appointment to Mr. Cruz-Garcia’s case is relevant because many of those cases
likely remained ongoing during Mr. Cornelius appointment to Mr. Cruz-Garcia’s case.
21
   The documents underlying Figure 2 are collected in Exhibit 139.


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Case No.   Appt. Date        Defendant                  Charge
1277012    Sept. 8, 2010     Lawrence Price             Aggravated Assault – Family
                                                        Member
1277059    Sept. 8, 2010     Rafael Ochoa Flores        Aggravated Assault
1277381    Sept. 13, 2010    Johnny Oneal               Delivery of a Controlled
                             Rosborough                 Substance
1277262    Sept. 13, 2010    Zeke Jermaine Rayford      Burglary of a habitation
1277574    Sept. 13, 2010    Sheneka Henderson          Aggravated Assault
1277739    Sept. 14, 2010    Elmer Yobany Martinez      Possession of a Controlled
                                                        Substance
1277801    Sept. 14, 2010    Eulalio Alejandro Garcia   Evading Arrest or Detention
1277903    Sept. 15, 2010    Charles Stevens Woods      Endangering Child
1277810    Sept. 15, 2010    Donald Wayne Lewis         Possession of a Controlled
                                                        Substance
1278042    Sept. 16, 2010    Steven Anthony Scanlon     Burglary of a habitation
1278015    Sept. 16, 2010    Darla Jean Westerfield     Prostitution
1278092    Sept. 17, 2010    Mary K. Beltran            Possession of a Controlled
                                                        Substance
1277782    Sept. 17, 2010    Louis Thomas               Assault – Family Violence – 2nd
                                                        Offender
1278835    Sept. 24, 2010    Deangelis Marshall         Robbery
1281238    Oct. 13, 2010     Raymond Richardson         Sexual Assault
1281569    Oct. 18, 2010     Clyde Eugene Bradford      Murder
1282123    Oct. 21, 2010     Tredric Culclager          Murder
1281298    Oct. 25, 2010     Henry Price                Aggravated Sexual Assault
1281146    Oct. 26, 2011     Matthew Young              Aggravated sexual assault child
                                                        under 14
1282084    Oct. 29, 2010     Leonard Keith Campbell     Burglary of a habitation
1285192    Nov. 15, 2010     Charles Ellium Dees        Possession of a Controlled
                                                        Substance
1285814    Nov. 19, 2010     Ashley Trimont             Possession of a Controlled
                                                        Substance
1287718    Dec. 7, 2010      Floyd Edward Coleman       Aggravated Assault – Family
                                                        Member
1280414    Dec. 8, 2010      Brian Lynn Fairchild       Possession of a Controlled
                                                        Substance
1288400    Dec. 13, 2010     Tevlon John Campbell       Possession of a Controlled
                                                        Substance
1288718    Dec. 16, 2010     Christopher Cash           Aggravated Robbery – Deadly
                             Wilkins                    Weapon
1288977    Dec. 17, 2010     Gregory Scott Jelks        Possession with Intent to Deliver
                                                        a Controlled Substance
1289316    Dec. 20, 2010     Marvin Earl Rumley, II     Criminal Mischief



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Case No.   Appt. Date        Defendant                 Charge
1289228    Dec. 20, 2010     Paul Anthony Archer       Theft
1289199    Dec. 20, 2010     Troy Bennings             Burglary of a habitation
1289045    Dec. 20, 2010     Tyler Frank               Burglary of a habitation
1289088    Dec. 20, 2010     Tyler Frank               Assault
1287026    Dec. 20, 2010     Le-Charles Bryant         Aggravated Robbery – Deadly
                                                       Weapon
1294397    Feb. 7, 2011      Lorenzo Rogers            Possession with Intent to Deliver
                                                       a Controlled Substance
1292242    Feb. 7, 2011      Lorenzo Vonzell Rogers    Assault of a family member 2nd
                                                       offender & impending breathing
1290357    Feb. 14, 2011     Michael Walker            Burglary of a habitation
1295252    Feb. 14, 2011     Ione Lashay Allen         Theft – Third Offender
1290358    Feb. 14, 2011     Michael Walker            Burglary of a habitation
1298168    March 10, 2011    Teddrick Batiste          Aggravated Robbery – Deadly
                                                       Weapon
1298422    March 14, 2011    Wilson Ennis Barker III   Delivery of a Controlled
                                                       Substance
1298423    March 14, 2011    Wilson Ennis Barker III   Possession of a Controlled
                                                       Substance
1298424    March 14, 2011    Wilson Ennis Barker III   Delivery of a Controlled
                                                       Substance
1298482    March 14, 2011    Frank G Garcia            Possession with Intent to Deliver
                                                       a Controlled Substance
1291793    March 15, 2011    Steven Hanks              Aggravated sexual assault child
                                                       under 14
1300376    March 28, 2011    Desarian Oneal            Burglary – Habitation
                             Cartwright
1300296    March 29, 2011    Jesus Fedibiagini         Aggravated Kidnapping
1300619    March 30, 2011    Leland Dazey              Possession of a Controlled
                                                       Substance
1296660    April 1, 2011     James Benton Thomas       Aggravated Assault – Family
                                                       Member
1287853    April 4, 2011     Kyle Bryant               Delivery of Marihuana
1301372    April 4, 2011     Miguel Angel Mata         Assault of Family Member –
                                                       Impeding Breathing
1284004    April 5, 2011     Chalyn Stewart            Robbery
1288687    April 5, 2011     Esmai Kyet                Aggravated sexual assault of a
                                                       child 14-17 years of age
1297534    April 5, 2011     Amanda Michelle           Possession with Intent to Deliver
                             Thornton                  a Controlled Substance
1301461    April 5, 2011     Jason Ryan Lafeur         Possession of a Controlled
                                                       Substance



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Case No.   Appt. Date        Defendant                 Charge
1301618    April 6, 2011     Rafael Horazeo Gonzales   Possession of a Controlled
                                                       Substance
1301482    April 6, 2011     Percy Lee Freeman         Aggravated Assault – Family
                                                       Member
1301483    April 6, 2011     Percy Lee Freeman         Felon in Possession of Firearm
1301484    April 6, 2011     Percy Lee Freeman         Possession of a Controlled
                                                       Substance
1301394    April 6, 2011     Justin Lott               Assault
1301396    April 6, 2011     Justin Lott               Assault
1299908    April 6, 2011     Leonardo Buentello        Theft
1301661    April 7, 2011     Morris Banks              Theft
1297594    April 7, 2011     Michael Anthony           Theft
                             Reescano
1301545    April 7, 2011     Michael Reescano         Theft – Third Offender
1302237    April 11, 2011    Ricky Lee Vallejo        Aggravated Assault
1302079    April 11, 2011    Vernis Elbert Boyd       Harassment of Public Servant
1302038    April 11, 2011    Janice Renne Johnson     Possession of a Controlled
                                                      Substance
1302122    April 11, 2011    Jarvis Eugene Faultry    Aggravated Assault
1302124    April 11, 2011    Jarvis Eugene Faultry    Possession of a Controlled
                                                      Substance
1301900    April 11, 2011    Vern Hayward McKinney Controlled Substance Fraud –
                                                      Prescription
1302501    April 13, 2011    Brandon Lee West         Possession with Intent to Deliver
                                                      a Controlled Substance
1301953    April 13, 2011    Brandon West             Felon in Possession of Firearm
1301954    April 13, 2011    Brandon West             Possession of Marihuana
1302509    April 13, 2011    Christopher James Franks Aggravated Robbery – Deadly
                                                      Weapon
1302510    April 13, 2011    Christopher James Franks Aggravated Assault
1297373    April 19, 2011    Bobby Jones              Aggravated Assault
1302731    April 18, 2011    Judy Lucille Hambrick    Theft of Firearm
1302700    April 18, 2011    John Henry Addison       Aggravated Assault – Family
                                                      Member
1298312    April 17, 2011    Ethel Ibarra             Possession with Intent to Deliver
                                                      a Controlled Substance
1303461    April 25, 2011    Mattheaus Reed           Possession of a Controlled
                                                      Substance
1292299    April 26, 2011    Vito Mario Murrugo       Aggravated Assault – Family
                                                      Member
1301177    May 4, 2011       Justin Abels             Bail Jumping and Failure to
                                                      Appear



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Case No.   Appt. Date        Defendant                 Charge
1296922    May 9, 2011       Broderick Keon Ansley     Possession of Marihuana
1296921    May 9, 2011       Broderick Keon Ansley     Possession with Intent to Deliver
                                                       a Controlled Substance
1305352    May 9, 2011       Broderick Keon Ansley     Tampering/Fabricating Physical
                                                       Evidence
1305885    May 12, 2011      Jimmy Calvin Parker       Aggravated Assault – Family
                                                       Member
1306894    May 23, 2011      Patrick Bernard Jackson   Aggravated Robbery – Deadly
                                                       Weapon
1307048    May 23, 2011      Calvin Lavergne           Aggravated Robbery – Deadly
                                                       Weapon
1307176    May 23, 2011      Manuel L. Luna            Assault of Family Member –
                                                       Impeding Breathing
1307028    May 24, 2011      Kenneth Robert Welters    Aggravated Assault – Family
                                                       Member
1307152    May 24, 2011      Torrance Keith Coleman    Possession of a Controlled
                                                       Substance
1307404    May 25, 2011      Tramella A. Waller        Possession of a Controlled
                                                       Substance
1307363    May 25, 2011      Julius Murray             Assault of Family Member
                                                       Second Offender and Impeding
                                                       Breathing
1307331    May 25, 2011      Laura Kim Taylor          Deadly Conduct
1281626    May 26, 2011      John Joe Valencia         Possession of a Controlled
                                                       Substance
1280866    May 26, 2011      Deshon Chantez Gilkey     Aggravated Assault
1302296    May 27, 2011      Charles Douglas Grabow    Aggravated Assault
                             Jr.
1294356    May 27, 2011      Seaver Kardell Gordon     Aggravated Robbery – Deadly
                                                       Weapon
1307784    June 17, 2011     John Joe Valencia         Bail Jumping and Failure to
                                                       Appear
1295162    June 21, 2011     William Hernandez         Aggravated Robbery – Deadly
                                                       Weapon
1312658    July 12, 2011     Esmai Kyet                Robbery
1310708    July 13, 2011     Kerri Lashun Livings      Aggravated Robbery – Deadly
                                                       Weapon
1313253    July 18, 2011     Orlando Salinas           Injury to Elderly Individual
1312972    July 18, 2011     Tremayne Givens           Violation of Protective Order –
                                                       Family Violence
1315016    Aug. 1, 2011      Damian Orion Smith        Theft – Third Offender
1314871    Aug. 1, 2011      James Byron McCauley      Burglary with Intent to Commit
                                                       Theft


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Case No.   Appt. Date        Defendant                 Charge
1311512    Aug. 4, 2011      Donovan Charles           Credit/Debit Card Abuse
                             Anderson
1309645    Aug. 4, 2011      Donovan Charles          Assault – Family Member – 2nd
                             Anderson                 Offender
1315349    Aug. 4, 2011      Paul Curtis Rideaux      Assault of Family Member –
                                                      Impeding Breathing
1310753    Aug. 5, 2011      Steven Anthony Scanlon Possession of Marihuana
1315417    Aug. 5, 2011      Augustine M. Peralez     Credit/Debit Card Abuse
1315123    Aug. 5, 2011      Claudia Elizabeth Munoz Assault of Family Member –
                                                      Impeding Breathing
1315938    Aug. 10, 2011     Freddy Sanchez           Possession of a Controlled
                                                      Substance
1316066    Aug. 11, 2011     Janice Rena Johnson      Possession of a Controlled
                                                      Substance
1316076    Aug. 11, 2011     Jyamos Edward Maxie-     Assault of Family Member –
                             Mouton                   Impeding Breathing
1316088    Aug. 11, 2011     James Edward Lewis       Possession with Intent to Deliver
                                                      a Controlled Substance
1316171    Aug. 12, 2011     Kevin Antonio Owens      Aggravated Assault
1316317    Aug. 15, 2011     Lissandro Pacheco        Burglary of a habitation
1316230    Aug. 15, 2011     Nathan Edward Williams Possession of a Controlled
                                                      Substance
1316432    Aug. 15, 2011     Sergio Luis Gil          Indecency with a Child
1316522    Aug. 16, 2011     Juan Manuel Lucio- Lopez Retaliation
1316624    Aug. 16, 2011     Juan Manuel Lucio-Lopez Aggregate Criminal Mischief
1309846    Aug. 16, 2011     Johnathan Matthew        Possession of a Controlled
                             Adams                    Substance
1313015    Aug. 17, 2011     Alejandro Castillo       Possession of a Controlled
                                                      Substance
1316371    Aug. 17, 2011     Nija A. Brown            Assault – Family Violence – 2nd
                                                      Offender
1316714    Aug. 17, 2011     Christopher Bernard      Theft – Third Offender
                             Hamlett
1316737    Aug. 17, 2011     Jordan Lee Lane          Theft – Third Offender
1298312    Aug. 17, 2011     Ethel Ibarra             Possession with Intent to Deliver
                                                      a Controlled Substance
1312234    Aug. 18, 2011     Zackery Lee Hayes        Aggravated Robbery – Deadly
                                                      Weapon
1316787    Aug. 18, 2011     Daniel Martinez          Assault of Family Member
                                                      Second Offender and Impeding
                                                      Breathing
1316848    Aug. 18, 2011     William Griffin          Assault of Family Member –
                                                      Impeding Breathing


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Case No.   Appt. Date        Defendant                 Charge
1316826    Aug. 18, 2011     Jeremy Michael Gonzalez   Possession of Marihuana
1316603    Aug. 18, 2011     Kayla Michelle Matthews   Harassments of Public Servant
1309558    Aug. 18, 2011     Gloria Torres             Aggregated Assault
1283183    Aug. 19, 2011     Charles Chilcutt          Theft
1316985    Aug. 19, 2011     Tamisha Renee Jones       Delivery of Marihuana
1316953    Aug. 19, 2011     Christopher R. Rhodes     Assault – Family Violence – 2nd
                                                       Offender
1317205    Aug. 22, 2011     Kim Anthony Williams      Possession with Intent to Deliver
                                                       a Controlled Substance
1315485    Aug. 25, 2011     Dominic Rendon            Aggravated Robbery – Over 65
                                                       or Disable
1304788    Aug. 25, 2011     Curtis Pugh               Aggravated Assault – Family
                                                       Member
1308710    Sept. 1, 2011     Colton Lavoire Harris     Burglary of habitation
1318466    Sept. 1, 2011     Zacorrieon Tjontrae       Aggravated Robbery – Deadly
                             Nauling                   Weapon
1318985    Sept. 6, 2011     Damien Deshone Jones      Aggravated Robbery – Deadly
                                                       Weapon
1313906    Sept. 6, 2011     Pete Ramos                Aggravated Robbery – Deadly
                                                       Weapon
1319096    Sept. 7, 2011     Stacy Demon Williams      Assault of Family Member
                                                       Second Offender and Impeding
                                                       Breathing
1319138    Sept. 8, 2011     Damien Deshone Jones      Aggravated Robbery – Deadly
                                                       Weapon
1305537    Sept. 9, 2011     Adolfo Martinez           Burglary with Intent to Commit
                                                       Theft
1319282    Sept. 9, 2011     Desmon Wayne Preston      Aggravated Robbery – Deadly
                                                       Weapon
1304487    Sept. 9, 2011     Adolfo Martinez           Theft
1319301    Sept. 9, 2011     Adolfo Martinez           Theft – Third Offender
1319241    Sept. 9, 2011     Alexander Scott           Aggravated Assault
1318986    Sept. 9, 2011     Damien Deshone Jones      Aggravated Robbery – Deadly
                                                       Weapon
1319441    Sept. 12, 2011    Valentina Rebecca         Possession of a Controlled
                             Gonzales                  Substance
1319596    Sept. 12, 2011    James Price Fagan         Driving While Intoxicated
1319827    Sept. 14, 2011    Adrian Uriostigue         Burglary of habitation
1319804    Sept. 14, 2011    Aaron Davon Kossie        Violation of Protective Order –
                                                       Family Violence
1320647    Sept. 21, 2011    Patrice Annette Breeler   Theft – Third Offender




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Case No.   Appt. Date        Defendant                Charge
1320627    Sept. 21, 2011    Manuel S. Garcia         Assault – Family Violence – 2nd
                                                      Offender
1320744    Sept. 22, 2011    Roy Charles Findley      Burglary of habitation
1319149    Sept. 30, 2011    Damien Deshone Jones     Aggravated Robbery – Deadly
                                                      Weapon
1318694    Sept. 30, 2011    Zacorrien Jhontrae       Aggravated Robbery – Deadly
                             Nauling                  Weapon
1320838    Oct. 3, 2011      Kenneth Gradnigo         Aggravated Robbery – Deadly
                                                      Weapon
1321919    Oct. 3, 2011      Kyle Yamcey McWhorter    Injury to Elderly Individual
1322105    Oct. 3, 2011      Kenneth Davonne          Evading Arrest or Detention –
                             Grandnigo                Second Offender
1322034    Oct. 3, 2011      Robert Edward Byrd       Theft – Third Offender
1317118    Oct. 4, 2011      Walter J. Gamble         Unauthorized use of a vehicle
1320820    Oct. 4, 2011      Adam Wade Buchanan       Prohibited Weapons
1322239    Oct. 4, 2011      Kyle Yamcey McWhorter    Burglary with Intent to Commit
                                                      Theft
1322236    Oct. 4, 2011      Alaniz Arturo Espinoza   Possession of a Controlled
                                                      Substance
1322212    Oct. 5, 2011      Jvarro Young             Assault – Family Violence – 2nd
                                                      Offender
1322415    Oct. 6, 2011      Terell D. Jones          Possession of a Controlled
                                                      Substance
1322453    Oct. 6, 2011      Jose Mendoza             Possession of a Controlled
                                                      Substance
1316148    Oct. 7, 2011      Nicholas Ray Bosley      Forgery
1321806    Oct. 7, 2011      Ketrick Demonta White    Burglary of a habitation
1322502    Oct. 7, 2011      Stefen Kennedy           Theft of Firearm
1322501    Oct. 7, 2011      Stefen Kennedy           Aggravated Robbery – Deadly
                                                      Weapon
1322586    Oct. 7, 2011      Elbridge Brown           Delivery of a Controlled
                                                      Substance
1322568    Oct. 7, 2011      Mammie Lakeysha          Prostitution
                             Nelson
1297587    Oct. 11, 2011     Desmond Wayne Preston    Robbery
1322591    Oct. 14, 2011     Anita Diamond            Injury to Child – Omission
                             Washington
1315900    Oct. 24, 2011     Stephanie Ann Kaiser     Theft by Check
1325912    Nov. 7, 2011      Jamal Molizone           Aggravated Assault – Family
                                                      Member
1326108    Nov. 7, 2011      Clifford Jones           Aggravated Assault




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Case No.   Appt. Date        Defendant               Charge
1316831    Nov. 8, 2011      John V. Danna           Assault – Family Violence – 2nd
                                                     Offender
1326363    Nov. 10, 2011     Thanh Kim Hoang         Aggravated Robbery – Deadly
                                                     Weapon
1327392    Nov. 18, 2011     Frank Kenneth Burnett   Possession of a Controlled
                                                     Substance
1327299    Nov. 18, 2011     Pete Ramos              Burglary of a habitation
1327734    Nov. 21, 2011     Angelica Lee Serrano    Murder
1324880    Nov. 21, 2011     Charles Douglas Garbow Aggravated Robbery – Deadly
                             Jr.                     Weapon
1324881    Nov. 21, 2011     Charles Douglas Garbow Tampering/Fabricating Physical
                             Jr.                     Evidence
1329482    Dec. 9, 2011      Selina Ruby Dominguez   Burglary of a habitation
1329698    Dec. 12, 2011     Chezare Rivers          Possession with Intent to Deliver
                                                     a Controlled Substance
1329463    Dec. 19, 2011     Casey Albert Smith      Aggravated Assault
1330357    Dec. 19, 2011     Viola Robles            Burglary of a habitation
1330238    Dec. 19, 2011     Desmon Wayne Preston    Aggravated Robbery – Deadly
                                                     Weapon
1330156    Jan. 9, 2012      Selina Ruby Dominguez   Burglary of a habitation
1333822    Jan. 23, 2012     Ashley Lanerica Jackson Burglary of a habitation
1334082    Jan. 23, 2012     Jose Sorto              Driving While Intoxicated
1334143    Jan. 23, 2012     Nathan Lee Shelton      Aggravated Assault
1333840    Jan. 23, 2012     Brian Anthony Pendarvis Burglary of a habitation
1333885    Jan. 23, 2012     Joshua William Anderson Controlled Substance Fraud –
                                                     Prescription
1332389    Jan. 23, 2012     Joshua William Anderson Possession with Intent to Deliver
                                                     a Controlled Substance
1326314    Jan. 24, 2012     Melvin Glens Black      Possession of a Controlled
                                                     Substance
1329804    Jan. 24, 2012     Glinda Gail Bustaman    Injury to Child
1334238    Jan. 24, 2012     Ronnie Antonio Jordan   Evading Arrest or Detention
                                                     – Motor Vehicle, Watercraft, or
                                                     Tire Deflation Device
1334208    Jan. 24, 2012     Mark Johnson            Possession of a Controlled
                                                     Substance
1310478    Jan. 24, 2012     Brandon Bridges         Aggravated Robbery – Deadly
                                                     Weapon
1310225    Jan. 24, 2012     Brandon Joseph Bridges  Aggravated Robbery – Deadly
                                                     Weapon
1308369    Jan. 24, 2012     Brandon Joseph Bridges  Unauthorized Use of a Vehicle
1334334    Jan. 25, 2012     Priscilla Lee Gonzalez  Theft – Third Offender



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Case No.   Appt. Date        Defendant               Charge
1334435    Jan. 26, 2012     Adrian R. Jameson       Criminal Mischief
1334354    Jan. 26, 2012     Ivory S. Delaney        Robbery
1334370    Jan. 26, 2012     Christopher Laderrick   Engaging in Organized Criminal
                             Amos                    Activity
1334416    Jan. 26, 2012     Torrey Taylor           Aggravated Robbery – Deadly
                                                     Weapon
1293300    Jan. 27, 2012     Angela Geething         Robbery
1334611    Jan. 27, 2012     Bruce Kevin Curry       Theft – Third Offender
1334592    Jan. 27, 2012     Chatham Hayes Summers Theft of Metal
1318215    Jan. 27, 2012     David Michael Cain      Driving While Intoxicated
1299894    Jan. 27, 2012     Latosha Crawford        Theft $1,500-$20,000 (Food
                                                     Stamps/Snap)
1309773    Feb. 1, 2012      Jeremy Wayne Williams   Criminal Mischief
1314000    Feb. 1, 2012      Jeremy Wayne Williams   Burglary of Habitation
1318992    Feb. 1, 2012      Jeremy Williams         Evading Arrest or Detention –
                                                     Second Offender
1322789    Feb. 6, 2012      Christopher Barillas    Felon in Possession of Firearm
1328640    Feb. 6, 2012      Walid Pervez            Driving While Intoxicated with
                                                     Child Passenger
1335869    Feb. 6, 2012      Xin Gu                  Forgery – Government
                                                     Instrument
1335870    Feb. 6, 2012      Xin Gu                  Theft – Aggregate
1336016    Feb. 6. 2012      Yalobeth Levorn Jarra   Possession of a Controlled
                                                     Substance
1331220    Feb. 6, 2012      David Anthony           Possession of a Controlled
                             Torreence               Substance
1336036    Feb. 7, 2012      Adam Daniel Martinez    Driving While Intoxicated
1335983    Feb. 7, 2012      Christian Blair Pillow  Possession of a Controlled
                                                     Substance
1331011    Feb. 8, 2012      Oscar Perez             Injury to Child
1336160    Feb. 8, 2012      Richard Allen Powell    Burglary of a motor vehicle
1336271    Feb. 9, 2012      Muntaser Hazem Judeh    Possession with Intent to Deliver
                                                     a Controlled Substance
1336273    Feb. 9, 2012      Muntaser Hazem Judeh    Harassment of Public Servant
1326527    Feb. 9, 2012      Muntaser Hazem Judeh    Aggravated Assault
1296263    Feb. 9, 2012      Reginald Tyrone Hollins Aggravated Robbery – Deadly
                                                     Weapon
1311807    Feb. 9, 2012      Carrington Taylor       Burglary with Intent to Commit
                                                     Theft
1335652    Feb. 10, 2012     Roy Alejos              Theft – Third Offender
1336425    Feb. 10, 2012     Jason Andrew Burrow     Driving While Intoxicated




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Case No.    Appt. Date       Defendant               Charge
1336461     Feb. 10, 2012    Cedric Brown            Aggravated Robbery – Deadly
                                                     Weapon
1336485     Feb. 10, 2012    Matthew Wade Brown      Driving While Intoxicated
1298272     Feb. 13, 2012    Leroy D. Taylor         Possession of a Controlled
                                                     Substance
1336575     Feb. 13, 2012    Leroy Devonte Taylor    Burglary of a habitation and
                                                     theft
1308624     Feb. 16, 2012    Pete Fulgencio Ramos    Aggravated Robbery – Deadly
                                                     Weapon
1337289     Feb. 17, 2012    Ronald Glen Simon       Theft – Third Offender
1324169     Feb. 28, 2012    Biance Chintel Lewis    Theft – Third Offender
1339165     March 5, 2012    Robert Lee Busby        Retaliation
1339164     March 5, 2012    Robert Lee Busby        Arson
1339134     March 5, 2012    Mandy Lea Melder        Possession of a Controlled
                                                     Substance
1339699     March 9, 2012    Don Morris Washington   Possession of a Controlled
                                                     Substance
1338227     March 14, 2012   Cedric Brown            Burglary of a habitation
1340642     March 19, 2012   Muntaser Hazem Judeh    Assault
1341053     March 26, 2012   James Benton Thomas     Aggravated Assault – Family
                                                     Member
1341866     March 30, 2012   James Thomas            Violation of Protective Order –
                                                     Family Violence
1340574     March 30, 2012   William Hernandez       Engaging in Organized Criminal
                                                     Activity
1342143     April 2, 2012    Chesare Denontrae       Aggravated Assault
                             Rivers
1343079     April 10, 2012   Amy Lynn Catlett        Robbery
1343774     April 16, 2012   Antonio Arturo          Possession with Intent to Deliver
                             Herdandez               a Controlled Substance
1344007     April 16, 2012   William Chambers        Possession of a Controlled
                                                     Substance
1343898     April 17, 2012   Joshua Cole             Possession of a Controlled
                                                     Substance
1344184     April 18, 2012   Cuong Khanh Nguyen      Theft – Third Offender
1344216     April 18, 2012   Vicente Aguilar, Jr     Engaging in Organized Criminal
                                                     Activity – Participate in
                                                     Combination
1344379     April 19, 2012   Gernette Toran          Prostitution
1344471     April 20, 2012   Travone Desean Harris   Evading Arrest or Detention –
                                                     Second Offender
1342022     April 20, 2012   Reginald Hollins        Aggravated Robbery – Deadly
                                                     Weapon


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Case No.    Appt. Date       Defendant                 Charge
1346763     May 9, 2012      Carlos Garcia             Aggravated Robbery – Deadly
                                                       Weapon
1347592     May 16, 2012     Ashton Vincent Craven     Murder
1343569     May 21, 2012     Justin Joseph Morris      Failure To Comply With Sex
                                                       Registration Requirements
1348020     May 21, 2012     Clinton Blount            Delivery of a Controlled
                                                       Substance
1348240     May 22, 2012     Brannon Kirk Chappel      Robbery
1348285     May 22, 2012     Erick Charles Erminger    Murder
1348948     May 29, 2012     Roman Nathan Lazo         Assault of Family Member
                                                       Second Offender and Impeding
                                                       Breathing
1348949     May 29, 2012     Roman Nathan Lazo         Violation of Protective Order –
                                                       Family Violence
1348606     May 29, 2012     Daniel Velasco            Burglary of a habitation
1347677     May 29, 2012     Jeremy Wayne Williams     Assault of a Family Member
1349326     May 31, 2012     Ozzie Walker              Theft – Third Offender
1347104     May 31, 2012     Laura Eileen Holloway     Theft – Third Offender
1349385     June 1, 2012     Jairo Umanzor             Murder
1349399     June 1, 2012     Robert Earl Garner        Burglary of a habitation
1322060     June 4, 2012     Amber Rae Silver          Possession with Intent to Deliver
                                                       a Controlled Substance
1349735     June 4, 2012     Amber R. Silver           Robbery
1349736     June 4, 2012     Amber R. Silver           Possession of a Controlled
                                                       Substance
1349502     June 4, 2012     Rhiannon Michelle         Attempted Arson
                             Hendon
1832776     June 11, 2012    Michael William Resnick   Possession of a Controlled
                                                       Substance (M)
1321171     June 11, 2012    Justin McGee              Aggravated Robbery – Deadly
                                                       Weapon
1321172     June 11, 2012    Justin McGee              Aggravated Kidnapping
1350329     June 18, 2012    Clifford Jones            Aggravated Assault with Deadly
                                                       Weapon
1351322     June 18, 2012    Edward Montemayor         Possession with Intent to Deliver
                                                       a Controlled Substance
1351306     June 18, 2012    Edward Montemayor         Murder
1351510     June 20, 2012    Joseph Earl Marshall      Murder
1352143     June 25, 2012    Juan Jucro Penaluer       Aggravated Robbery – Deadly
                                                       Weapon
1345586     June 25, 2012    Jose Fierros              Unauthorized use of a vehicle




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Case No.    Appt. Date       Defendant                  Charge
1352328     June 28, 2012    Johntrell Anderson Gable   Attempted Burglary of a
                                                        Habitation
1352329     June 28, 2012    Johntrell Anderson Gable   Felon in Possession of Firearm
1353062     July 5, 2012     Toni Tavarez               Injury to Child
1353471     July 9, 2012     Rory Darnell Jones         Felon in Possession of Firearm
1353155     July 9, 2012     Rory Darnell Jones         Aggravated Assault
1353392     July 9, 2012     Daniel Ward                Aggravated Robbery – Deadly
                                                        Weapon
1355800     July 30, 2012    Clinton Christopher        Aggravated Robbery – Deadly
                             Graham                     Weapon
1355874     July 30, 2012    Lalo Erick Garza           Robbery
1355648     July 30, 2012    Kevin J. Carr              Delivery of a Controlled
                                                        Substance
1355649     July 30, 2012    Kevin J. Carr              Delivery of a Controlled
                                                        Substance
1355928     July 31, 2012    Paula Mendez               Prostitution
1355818     July 31, 2012    Ronald Dean Jacksich       Impersonating a Public Servant
1350774     July 31, 2012    Jerry Wayne Adaway         Failure to Comply with Sex
                                                        Registration Requirements
1329885     July 31, 2012    Saul Melesio, Jr.          Assault – Family Violence – 2nd
                                                        Offender
1356046     Aug. 1, 2012     John Earl Jackson          Possession of a Controlled
                                                        Substance
1356023     Aug. 1, 2012     Jerrell Bell               Felon in Possession of Firearm
1354901     Aug. 1, 2012     Rickey Stewart             Assault of Family Member
                                                        Second Offender and Impeding
                                                        Breathing
1356193     Aug. 2, 2012     Russell Ray Delaune        Theft of Metal
1356136     Aug. 2, 2012     Ramon Lopez Elizarraraz    Possession of a Controlled
                             Jr                         Substance
1355976     Aug. 2, 2012     Jose Ruben Perez           Reckless Injury to Child
1355977     Aug. 2, 2012     Jose Ruben Perez           Injury Child under 15/B Injury
1355358     Aug. 2, 2012     Nestor Dizan Wong          Forgery – Commercial
                                                        Instrument
1324977     Aug. 3, 2012     Jerome Lige                Assault of Family Member –
                                                        Impeding Breathing
1356244     Aug. 3, 2012     Vicki Lynn Kintz           Possession of a Controlled
                                                        Substance
1356062     Aug. 3, 2012     Carl Alexander Turner      Failure to Comply with Sex
                                                        Offender Registration
1357324     Aug. 13, 2012    Andrew Lee Ratcliff        Felon in Possession of Firearm
1358058     Aug. 20, 2012    Cesar Martinez             Felon in Possession of Firearm



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Case No.    Appt. Date       Defendant                Charge
1358059     Aug. 20, 2012    Cesar Martinez           Burglary of a habitation
1358060     Aug. 20, 2012    Cesar Martinez           Burglary of a habitation
1357992     Aug. 20, 2012    Arthur Collins           Possession of a Controlled
                                                      Substance
1358372     Aug. 22, 2012    Velma Wiley              Driving While Intoxicated
1358247     Aug. 22, 2012    John Gates               Possession with Intent to Deliver
                                                      a Controlled Substance
1358604     Aug. 27, 2012    Delvin Lamar Williams    Aggravated Robbery – Deadly
                                                      Weapon
1358766     Aug. 27, 2012    Ashley Dawn Robinson     Aggravated Assault
1358854     Aug. 27, 2012    Jason Lee Road           Aggravated Assault
1358987     Aug. 28, 2012    Matthew Ward Albritton   Injury to Child
1358904     Aug. 28, 2012    Shadarick Bruce Joseph   Theft – Third Offender
1358936     Aug. 28, 2012    Bobby Ray Short          Possession of a Controlled
                                                      Substance
1358937     Aug. 28, 2012    Bobby Ray Short          Tampering/Fabricating Physical
                                                      Evidence
1352456     Aug. 28, 2012    Emily Nichole Medina     Burglary of a building
1351678     Aug. 28, 2012    Emily Nichole Medina     Theft of Firearm
1352466     Aug. 28, 2012    Victor Manuel Fuentes    Aggravated Robbery – Deadly
                                                      Weapon
1352467     Aug. 28, 2012    Victor Manuel Fuentes    Aggravated Robbery – Deadly
                                                      Weapon
1359029     Aug. 29, 2012    Rolando Tomas Mendez     Injury to Child
1359137     Aug. 29, 2012    Elizabeth Ann Esparza    Delivery Simulated Controlled
                                                      Substance
1359102     Aug. 29, 2012    Donald Ray Johnson       Possession of a Controlled
                                                      Substance
1359224     Aug. 30, 2012    Diane Johnson            Theft – Third Offender
1359257     Aug. 31, 2012    Franklin Jamile Randle   Forgery – Commercial
                                                      Instrument
1359303     Aug. 31, 2012    Darius Yohaunce Moore    Assault
1359304     Aug. 31, 2012    Darius Yohaunce Moore    Possession with Intent to Deliver
                                                      a Controlled Substance
1359305     Aug. 31, 2012    Darius Yohaunce Moore    Evading Arrest or Detention –
                                                      Second Offender
1359451     Sept. 4, 2012    Jose Fraga               Theft – Third Offender
1354008     Sept. 4, 2012    Jose Fraga Jr            Aggravated Robbery – Deadly
                                                      Weapon
1359806     Sept. 4, 2012    Alfonso Bosquez          Assault – Family Violence – 2nd
                                                      Offender
1360026     Sept. 6, 2012    Otis Lee Thompson        Aggravated Assault



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Case No.    Appt. Date       Defendant                  Charge
1359693     Sept. 6, 2012    Harold Dewayne Bradley     Aggravated Assault – Family
                                                        Member
1360704     Sept. 14, 2012   William Joseph Bernard     Theft
1336674     Sept. 14, 2012   Kenneth Arthur             Felon in Possession of Firearm
1333489     Sept. 14, 2012   Kenneth Junior Arthur      Tampering/Fabricating Physical
                                                        Evidence
1354559     Sept. 15, 2012   James Thomas               Violation of Protective Order
1360537     Sept. 17, 2012   Jorden Marquis             Assault of Family Member –
                             Thompson                   Impeding Breathing
1360903     Sept. 17, 2012   Joshua Deandre Jones       Theft
1360904     Sept. 17, 2012   Joshua Deandre Jones       Evading Arrest or Detention –
                                                        Motor Vehicle, Watercraft, or
                                                        Tire Deflation Device
1353410     Sept. 17, 2012   Tryone Lee Brown           Aggravated Robbery
1281978     Sept. 19, 2012   Ramiro Ruiz                Theft
1361521     Sept. 19, 2012   Rory Keith Chenier         Delivery of a Controlled
                                                        Substance
1361522     Sept. 19, 2012   Rory Keith Chenier         Possession with Intent to Deliver
                                                        a Controlled Substance
1361249     Sept. 19, 2012   Matthew Wadsworth          Burglary with Intent to Commit
                                                        Theft
1361250     Sept. 19, 2012   Matthew Wadsworth          Evading Arrest or Detention –
                                                        Motor Vehicle, Watercraft, or
                                                        Tire Deflation Device
1361251     Sept. 19, 2012   Matthew Wadsworth          Theft
1361675     Sept. 20, 2012   Leonard Flowers            Theft of Metal
1361588     Sept. 20, 2012   Joseph Norman Payne        Possession of Dangerous Drug
1359426     Sept. 20, 2012   Dave Vu Mai, II            Burglary of a habitation
1343978     Sept. 21, 2012   Stephen Lucas              Theft – Third Offender
1291817     Sept. 21, 2012   Pedro Ernesto Umana        Aggravated Robbery – Deadly
                                                        Weapon
1361414     Sept. 21, 2012   Joe Villarreal             Assault – Family Violence – 2nd
                                                        Offender
1361437     Sept. 21, 2012   Harold Bruise Lackey       Controlled Substance – Fraud –
                                                        Fraudulent Acquisition of
                                                        Controlled Substance – Section
                                                        481.129(a-1), Health and Safety
                                                        Code
1362480     Sept. 27, 2012   Cesar Alejandro Martinez   Burglary of a habitation
1362630     Oct. 1, 2012     Joseph Wayne General       Possession of a Controlled
                                                        Substance
1362631     Oct. 1, 2012     Joseph Wayne General       Possession of a Controlled
                                                        Substance


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Case No.    Appt. Date       Defendant                 Charge
1362799     Oct. 1, 2012     Rachael Channelle Scott   Prostitution
1362945     Oct. 1, 2012     Marvis Dominick Collins   Evading Arrest or Detention –
                                                       Second Offender
1335545     Oct. 2, 2012     Christopher J Simpson     Aggravated Assault
1335546     Oct. 2, 2012     Christopher J Simpson     Possession of a Controlled
                                                       Substance
1362557     Oct. 2, 2012     Michael Dejean Simmons    Aggravated Assault
1363054     Oct. 2, 2012     Ruben Dioniso Stergiou    Possession of a Controlled
                                                       Substance
1363127     Oct. 3, 2012     Carl William Woolery      Aggravated Assault
1357004     Oct. 3, 2012     Marvin E Robinson         Aggravated Assault – Family
                                                       Member
1356608     Oct. 3, 2012     Brodrick Lichris Green    Robbery
1363149     Oct. 4, 2012     Jason Andrew Furrer       Evading Arrest or Detention –
                                                       Motor Vehicle, Watercraft, or
                                                       Tire Deflation Device
1363183     Oct. 4, 2012     Kale Traylor Forks        Possession of a Controlled
                                                       Substance
1356588     Oct. 4, 2012     Michael James Baker       Theft
1363199     Oct. 5, 2012     Samuel Placencia          Aggravated Robbery – Deadly
                                                       Weapon
1363312     Oct. 5, 2012     Steven Davila             Aggravated Assault – Family
                                                       Member
1363313     Oct. 5, 2012     Steven Davila             Violation of Protective Order –
                                                       Family Member
1354485     Oct. 5, 2012     Steven Davila             Aggravated Assault – Family
                                                       Member
1363399     Oct. 7, 2012     Fred Michael Anderson     Possession of a Controlled
                                                       Substance
1363854     Oct. 7, 2012     James Ronald Coleman      Possession of a Controlled
                                                       Substance
1363776     Oct. 8, 2012     Lloyd Dewayne Gilbert     Robbery
1363548     Oct. 8, 2012     Kelby Swinney             Aggravated Assault
1293965     Oct. 9, 2012     Daniel Palacios           Cruelty to livestock animals
1362093     Oct. 9, 2012     Markus Dwayne Butler      Possession with Intent to Deliver
                                                       a Controlled Substance
1364009     Oct. 11, 2012    Terry Lee Bagley          Aggravated Assault
1364147     Oct. 11, 2012    Christopher Pyse          Evading Arrest or Detention –
                                                       Motor Vehicle, Watercraft, or
                                                       Tire Deflation Device
1363898     Oct. 12, 2012    Jesus Arturo Ventura      Assault – Family Member – 2nd
                                                       Offender



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Case No.    Appt. Date       Defendant               Charge
1364277     Oct. 12, 2012    Brandon Lamont Fisher   Possession with Intent to Deliver
                                                     a Controlled Substance
1365885     Oct. 31, 2012    Kelby Swinney           Criminal Mischief
1368826     Nov. 26, 2012    Leonel Morillo          Aggravated Assault
1368810     Nov. 26, 2012    Dennis Leon Sharp       Robbery
1368690     Dec. 4, 2012     Neil Jay Mukherjee      Aggravated Robbery – Deadly
                                                     Weapon
1367889     Dec. 6, 2012     Charles Dixon Moore     Possession with Intent to Deliver
                                                     a Controlled Substance
1323357     Dec. 10, 2012    Edwin James Brooks Jr.  Burglary of a habitation
1370354     Dec. 10, 2012    Rodney L. Smith         Aggravated Assault – Family
                                                     Member
1370355     Dec. 10, 2012    Rodney L. Smith         Burglary – Habitation
1370428     Dec. 10, 2012    Jameisha Elainne Kennon Theft
1370530     Dec. 10, 2012    David Yates             Assault – Family Violence – 2nd
                                                     Offender
1370446     Dec. 10, 2012    Anthony John Kaczmarek Possession of a Controlled
                                                     Substance
1370070     Dec. 10, 2012    Willie Walker           Possession of a Controlled
                                                     Substance
1370164     Dec. 10, 2012    Leonard Gregory         Possession of a Controlled
                                                     Substance
1366319     Dec. 10, 2012    Matthew Vincent         Aggravated Assault
                             Woodard
1311799     Dec. 10, 2012    Edwin James Brooks      Theft
1311351     Dec. 10, 2012    Edwin Brooks            Burglary of a habitation
1300048     Dec. 10, 2012    Edwin Brooks            Burglary of a habitation
1366366     Dec. 11, 2012    Rashawn Demond Ross     Theft
1370550     Dec. 11, 2012    Kendrick Tamara Mable   Robbery
1370569     Dec. 11, 2012    Patricia Martinez       Theft – Third Offender
1369735     Dec. 11, 2012    Tyler Kent Wright       Unauthorized use of a vehicle
1370109     Dec. 12, 2012    Ricky Pittman           Burglary of a habitation
1370032     Dec. 12, 2012    Willie Darries          Possession of a Controlled
                                                     Substance
1369719     Dec. 12, 2012    Antonio Manuel Flores   Assault – Family Violence – 2nd
                                                     Offender
1367796     Dec. 12, 2012    Lindsey Rene Lindquist  Theft – Third Offender
1356096     Dec. 12, 2012    Mikesha Matthews        Unauthorized use of a vehicle
1370760     Dec. 13, 2012    Christina McCardell     Assault
1357349     Dec. 14, 2012    Barron Keith Williams   Assault of Family Member –
                                                     Impeding Breathing




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Case No.    Appt. Date       Defendant                 Charge
1370972     Dec. 14, 2012    Jose Tereso Salazar       Assault of Family Member –
                                                       Impeding Breathing
1370940     Dec. 14, 2012    Antonio Bermudez          Aggravated Assault – Family
                                                       Member
1370896     Dec. 15, 2012    Miguel Angel Rios         Possession with Intent to Deliver
                                                       a Controlled Substance
1368157     Dec. 15, 2012    Binh Lam                  Possession of a Controlled
                                                       Substance
1317189     Dec. 15, 2012    Laverne M. Brown          Stalking
1370642     Dec. 17, 2012    Nathan Patrick Carlisle   Aggravated Assault – Family
                                                       Member
1371052     Dec. 17, 2012    Clarence Alvin Hill       Felon in Possession of Firearm
1371051     Dec. 17, 2012    Clarence Alvin Hill       Possession of a Controlled
                                                       Substance
1371291     Dec. 17, 2012    Grady Clyde Nelson        Robbery
1370925     Dec. 17, 2012    Jerrell Bell              Aggravated Robbery – Deadly
                                                       Weapon
1367505     Dec. 18, 2012    Korey Donnell Anderson    Aggravated Assault – Family
                                                       Member
1371354     Dec. 18, 2012    Vance Edward              Theft – Third Offender
                             Vanhowten
1371312     Dec. 18, 2012    Katrina Rashawn Ben       Aggravated Assault – Family
                                                       Member
1359876     Dec. 18, 2012    Michael Anthony Davila    Aggravated Assault – Family
                                                       Member
1335856     Dec. 19, 2012    Keith Leonard Townsend    Injury to an Elderly Individual
1371404     Dec. 19, 2012    Byron White               Assault Family Member
                                                       Impeding Breathing
1298678     Dec. 19, 2012    Gil Moises Escoto         Robbery
1371561     Dec. 20, 2012    Vance Edward              Theft – Third Offender
                             Vanhowten
1371537     Dec. 20, 2012    Brandon Garcia            Evading Arrest or Detention –
                                                       Motor Vehicle, Watercraft, or
                                                       Tire Deflation Device
1369162     Dec. 21, 2012    John Mora III             Illegal Dumping
1371686     Dec. 21, 2012    Gregory Oneal Jenkins     Possession of a Controlled
                                                       Substance
1371264     Dec. 21, 2012    John Anderson             Theft – Third Offender
1371628     Dec. 21, 2012    Judy Lucille Hambrick     Theft of Firearm
1369814     Dec. 21, 2012    Carla Denise Jackson      Theft
1374729     Jan. 24, 2013    Jonathan Jerome Brooks    Unauthorized Use of a Vehicle
1341148     Feb. 12, 2013    Kevin Jamon Johnson       Aggravated Robbery – Deadly
                                                       Weapon


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Case No.    Appt. Date       Defendant               Charge
1377762     Feb. 19, 2013    Erric Bernard Bailey    Possession with Intent to Deliver
                                                     a Controlled Substance
1380193     March 11, 2013   Marco Ivan Perez-De Los Arson
1380147     March 11, 2013   Rickie James Bradley    Attempted Aggravated Sexual
                                                     Assault
1379542     March 13, 2013   Marquiet A. Davis       Aggravated Robbery – Deadly
                                                     Weapon
1380441     March 18, 2013   Cindy Bogado            Assault – Family Violence – 2nd
                                                     Offender
1380810     March 18, 2013   Vicente Raul Lopez      Theft of Firearm
1380877     March 18, 2013   Randy Dewayne Masters   Aggravated Robbery – Deadly
                                                     Weapon
1380858     March 18, 2013   Cindy Bogado            Assault – Family Violence – 2nd
                                                     Offender
1381025     March 19, 2013   Keenan Shawn Houston    Possession of a Controlled
                                                     Substance
1369694     March 19, 2013   Antonio Gonzales        Possession of a Controlled
                                                     Substance
1381003     March 20, 2013   Brian E. Crouch         Evading Arrest or Detention –
                                                     Second Offender
1381092     March 20, 2013   Frederick Addison       Possession with Intent to Deliver
                                                     a Controlled Substance
1381171     March 21, 2013   Erik Lee Sharp          Burglary of habitation
1381250     March 21, 2013   Joe Anthony Fisher      Aggravated Assault – Family
                                                     Member
1369498     March 21, 2013   Erik Lee Sharp          Burglary of habitation
1310116     March 21, 2013   Debbie Rae Sherman      Possession of a Controlled
                                                     Substance
1381376     March 22, 2013   Derek Wayne Hemingway Forgery – Commercial
                                                     Instrument
1381377     March 22, 2013   Derek Wayne Hemingway Theft
1381335     March 22, 2013   Susan Marie Perdomo     Fraudulent use of identifying
                                                     information
1380485     March 22, 2013   William Kaiser          Possession of a Controlled
                                                     Substance
1383003     April 8, 2013    Joseph Wyatt            Assault of Family Member
                                                     – Impeding Breathing
1382963     April 8, 2013    Gunter Nicola           Assault of Family Member
                                                     – Impeding Breathing
1356874     April 11, 2013   Javed Stephen Tafarroji Burglary of a habitation
1361294     April 11, 2013   Javed Stephen Tafarroji Evading Arrest or Detention –
                                                     Motor Vehicle, Watercraft, or
                                                     Tire Deflation Device


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Case No.    Appt. Date       Defendant                  Charge
1361295     April 11, 2013   Javed Stephen Tafarroji    Unauthorized use of a vehicle
1350164     April 11, 2013   Rhonda Denise Sparks       Aggravated Assault
1384132     April 15, 2013   Matthew James Hurlock      Harassment to Public Servant
1338908     April 17, 2013   Marquiet Antonio Davis     Possession of a Controlled
                                                        Substance
1376715     April 19, 2013   Keith Winston              Burglary of a habitation
1339892     April 19, 2013   Michael Slaughter          Kidnapping
1381191     April 24, 2013   Randy Allen Segura         Aggravated Assault
1385115     April 25, 2013   Derrick Jones              Aggravated Robbery – Deadly
                                                        Weapon
1385755     April 29, 2013   Tristin Terril Williams    Felon in Possession of Firearm
1385712     April 29, 2013   Erick Dewayne Lee          Theft
1385713     April 29, 2013   Erick Dewayne Lee          Evading Arrest or Detention –
                                                        Motor Vehicle, Watercraft, or
                                                        Tire Deflation Device
1385612     April 29, 2013   Bernard J. Serrano         Retaliation
1385474     April 29, 2013   Ronald Wayne Degrate       Aggravated Assault – Family
                             Jr.                        Member
1385493     April 29, 2013   Hector Mario Gonzalez      Possession with Intent to Deliver
                                                        a Controlled Substance
1385494     April 29, 2013   Nichole Lynn Walko         Possession with Intent to Deliver
                                                        a Controlled Substance
1385567     April 29, 2013   Bernardo Alvarez Serrano   Burglary of a habitation
1385412     April 29, 2013   Carl Anthony Bowman        Controlled Substance Fraud –
                                                        Prescription
1325973     April 30, 2013   Mister Eliakim Thomas      Burglary of a habitation
1370501     April 30, 2013   Adam Valentine Castro      Burglary of a habitation
1352665     April 30, 2013   Kristin Louise Bunch       Possession of a Controlled
                                                        Substance
1385785     May 1, 2013      Kevin Mark Arvay           Driving While Intoxicated
1385786     May 1, 2013      Kevin Mark Arvay           Possession of a Controlled
                                                        Substance
1288489     May 1, 2013      Oscar Daniel Ponce         Evading Arrest
1385820     May 1, 2013      Gregory Stevenson          Burglary with Intent to Commit
                                                        Theft
1336563     May 1, 2013      Tuan Anh Nguyen            Possession of Marihuana
1339977     May 2, 2013      Jesus Angel Chavira        Aggravated Assault
1386001     May 2, 2013      Treon Rashard Pruitt       Evading Arrest or Detention –
                                                        Motor Vehicle
1386002     May 2, 2013      Treon Rashard Pruitt       Tampering/Fabricating Physical
                                                        Evidence




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Case No.       Appt. Date            Defendant                    Charge
1386003        May 2, 2013           Treon Rashard Pruitt         Possession of a Controlled
                                                                  Substance
1385960        May 2, 2013           Randy Deshun Lindsey         Aggravated Assault – Family
                                                                  Member
1386924        May 10, 2013          Michael Gregory Ceaser,      Engaging in Organized Criminal
                                     Sr                           Activities – Participation in
                                                                  Combination
1386930        May 10, 2013          Michael Gregory Ceaser,      Engaging in Organized Criminal
                                     Sr                           Activities – Participation in
                                                                  Combination
1386049        May 22, 2013          Gregory Lynn Stevenson       Aggravated Robbery – Deadly
                                                                  Weapon
1387502        May 23, 2013          Randy Allen Segura           Assault
1389758        June 25, 2013         Keith Aundre Wright          Robbery
1390561        June 26, 2013         Cindy Nahir Bogado           Assault – Contract Jail or
                                                                  Detention Facility Employee
1394065        July 11, 2013         Muntaser Hazem Jedeh         Aggravated Assault – Family
                                                                  Member
1387261        July 11, 2013         Muntaser Hazem Jedeh         Possession with Intent to Deliver
                                                                  a Controlled Substance
1336272        July 11, 2013         Muntaser Hazem Jedeh         Possession with Intent to Deliver
                                                                  a Controlled Substance
1395226        July 22, 2013         Adrian Roshard Jones         Possession of a Controlled
                                                                  Substance
1395476        July 26, 2013         Susan Morris                 Aggravated Assault

               5. From jury selection through the punishment phase of Mr. Cruz-Garcia’s trial,
                  Mr. Cornelius spent extraordinary amounts of time working on other cases.

       As set forth above in Section B, an attorney’s excessive workload can have devastating

consequences for a client. For Mr. Cruz-Garcia, Mr. Cornelius’s overwhelming caseload meant not

only that Mr. Cornelius could not effectively prepare for Mr. Cruz-Garcia’s trial, but also that Mr.

Cornelius dedicated much of his time during Mr. Cruz-Garcia’s death penalty trial to working on

other cases.

       Using the docket search function of Harris County District Clerk’s website, Mr. Cruz-Garcia

has obtained as many of Mr. Cornelius’s billing records as he can for the time period from the start




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of jury selection in Mr. Cruz-Garcia’s case (June 3, 2013) to sentencing (July 22, 2013). There is no

central repository of billing records from this time period, nor was billing done electronically.

Rather, Mr. Cornelius filled out handwritten time sheets and submitted them to the individual court

in each case. Using the same handwritten form that Mr. Cornelius submitted, the courts would then

approve or disapprove his fee request.

        These records can paint only a partial picture of Mr. Cornelius’s workload around the time

of Mr. Cruz-Garcia’s trial. Time sheets are missing for many of Mr. Cornelius’s cases. For example,

the fee request for Johntay Gibson’s capital murder case was filed under seal. And Mr. Cruz-Garcia’s

case was not the only one Mr. Cornelius handled on a flat-fee basis. He also sought and received

$75,000.00 flat fees in the Jeffery Prevost and Curtis Adams cases. Ex. 128. As in Mr. Cruz-Garcia’s

case, Mr. Cornelius did not submit time sheets in either case. Because the below analysis can only

reflect cases that Mr. Cruz-Garcia was able to identify and in which Mr. Cornelius submitted time

sheets, it likely understates the amount of work Mr. Cornelius performed on other cases around and

during the time of Mr. Cruz-Garcia’s trial.

        In Harris County, attorneys can either bill by the hour, by court appearance, or both. See Ex.

140. As indicated in Mr. Cornelius’s billing records, the hourly rate for capital cases was

$100.00/hr. 22 ECF No. 18-7; Ex. 138. For felony cases, the hourly rates are $85.00/hr. for a first-

degree felony, $60.00/hr. for a second-degree felony, and $40.00/hr. for a third-degree felony. Ex.

140.




22
  By the time Mr. Cornelius sought payment in Neil Mukherjee’s case, the rate appears to have
increased to $150.00/hr. Id.


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        When an attorney appears in court, he can claim a flat fee for that day in addition to his

hourly billing. The court day fee for capital cases is $400.00. Ex. 140. For felony cases, the court day

fees are $225.00 for a first-degree felony, $175.00 for a second-degree felony, and $125.00 for a third-

degree felony. Id. Thus, the system roughly equates a court appearance with between 2.5 and 4 hours

of work. Since 2010, attorneys may claim a maximum of four court day fees per day. Id. When a

client has multiple charges arising from different offense reports, the attorney may claim a separate

court day fee for court appearances on behalf of the same client but for different charges. Id.

        Even with limited accessibility to Mr. Cornelius’s billing records, the records Mr. Cruz-

Garcia was able to locate paint a disturbing picture. Jury selection in Mr. Cruz-Garcia’s case started

on June 3, 2013, and sentencing occurred on July 22, 2013. As described below and as set forth in

Figure 3, Mr. Cornelius billed time to other cases every day Monday through Saturday, between June

3 and July 22, 2013. Indeed, other than one day of jury deliberations when he billed half an hour

and claimed a court day fee in another case, Mr. Cornelius billed at least 2.5 hours to other cases on

each of those days during Mr. Cruz-Garcia’s trial. Mr. Cornelius did not “give priority” to Mr. Cruz-

Garcia’s case as required by Texas Guideline 9.3.B. Rather, he did exactly what the Texas and ABA

Guidelines prohibition on flat fees is designed to prevent: he prioritized his hourly-billed cases to

the detriment of Mr. Cruz-Garcia.

                            a. Jury Selection.

        Jury selection in Mr. Cruz-Garcia’s case began on June 3, 2013, and lasted eleven days. As

described below and as shown in Figure 3, Mr. Cornelius regularly worked substantial amounts of

time on other cases throughout jury selection.




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     •   On the first day of jury selection, for which the transcript runs 333 pages, 23 Mr. Cornelius
         billed 7 hours to other cases and claimed a $225.00 court day fee in another case.
     •   On the seventh day of jury selection, for which the transcript runs 262 pages, Mr. Cornelius
         billed 7.75 hours to other cases and claimed a $125.00 court day fee in another case.
     •   On the ninth day of jury selection, for which the transcript runs 237 pages, Mr. Cornelius
         billed 8 hours to other cases and claimed a $225.00 court day fee and a $125.00 court day
         fee for appearances in other cases.
     •   On the tenth day of jury selection, for which the transcript runs 292 pages, Mr. Cornelius
         billed 6.5 hours to other cases.
     •   On the Saturday after the second week of jury selection, Mr. Cornelius billed 5 hours to
         other cases. 24
     •   On the final day of jury selection, for which the transcript runs 201 pages, Mr. Cornelius
         billed 6 hours to other cases.
     •   In sum, over the 11 days of jury selection, Mr. Cornelius:
            o billed at least 2.5 hours to other cases on 10 of those days;
            o billed at least 3.25 hours to other cases on 8 of those days;
            o billed at least 6 hours to other cases on 5 of those five days; and
            o claimed 19 court day fees in other cases, for a total of $3,450.00 just in flat fee court
              appearances.

                            b. The week of the evidentiary hearing.

         Jury selection ended on Monday, June 17, 2013. On Wednesday June 19, the court held an

evidentiary hearing on the defense’s motion to exclude DNA evidence, a critically important pretrial

motion. 16 RR; 17 RR. Yet, leading up to the evidentiary hearing and throughout the rest of that

week, Mr. Cornelius spent substantial amounts of time working on other cases.

     •   On the day before the evidentiary hearing, Mr. Cornelius billed 10 hours to other cases.




23
  Transcript page counts do not include the index. Additionally, because Cruz-Garcia does not speak
English, all the proceedings were translated into Spanish—except for the witnesses who testified in
Spanish, whose testimony was translated into English.
24
  Mr. Cornelius also claimed a $125.00 court day fee, though he likely misdated the entry as it fell
on a Saturday.


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   •   On the day of the evidentiary hearing, for which the transcript runs 122 pages, Mr. Cornelius
       billed 5.5 hours to other cases. He also claimed a $400.00 court day fee for an appearance
       in a different capital murder case and two $125.00 court day fees in other cases.
   •   The day following the hearing, Mr. Cornelius billed 5.25 hours to other cases, claimed
       another $400.00 court day fee for an appearance in yet another capital murder case, and
       claimed a $225.00 court day fee and a $125.00 court day fee in other cases.
   •   On Friday, June 21, Mr. Cornelius billed 7 hours in other cases, claimed a $400.00 court
       day fee for an appearance in still yet another capital murder case, and claimed a $225.00
       court day fee for an appearance in a different case.
The following Saturday, Mr. Cornelius billed 8.5 hours to other cases.

                              c. Two weeks before trial.

       In the penultimate week before trial, Mr. Cornelius continued to spend significant amounts

of time on his other cases.

   •   On Monday, June 24, exactly two weeks before trial began, Mr. Cornelius billed 7 hours to
       other cases and claimed a $125.00 court day fee.
   •   The next day, he billed 8 hours to other cases and claimed one $175.00 court day fee for
       one case, and three $125.00 court day fees in other cases.
   •   On Wednesday, June 26, he billed 5 hours to other cases and claimed three $125.00 court
       day fees.
   •   On Thursday, June 27, Mr. Cornelius billed 6.5 hours to other cases and claimed a $400.00
       court day fee for an appearance day in still yet another capital murder case.
   •   On Friday, June 28, he billed 7 hours and claimed two $175.00 court day fees.
   •   On Saturday, June 29, Mr. Cornelius billed 5.5 hours to other cases.

                              d. The week before trial.

       The same pattern continued the week before opening arguments in Mr. Cruz-Garcia’s case.

Mr. Cornelius continued to dedicate significant amounts of time to other cases, even on the eve of

Mr. Cruz-Garcia’s trial.

   •   Trial began on Monday, July 8, 2013.




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     •   The Saturday before trial (July 6), Mr. Cornelius billed 8.5 hours to other cases. 25
     •   The Friday before trial (July 5), Mr. Cornelius billed 8.75 hours other cases.
     •   The Thursday before trial was the Fourth of July holiday. Mr. Cornelius nonetheless billed
         8 hours to other cases.
     •   The Wednesday before trial (July 3), there was a second hearing on the Motion to Suppress
         DNA evidence in Mr. Cruz-Garcia’s case. Mr. Cornelius billed 7.75 hours to other cases.
     •   The Tuesday before trial (July 2), Mr. Cornelius billed 7.25 hours to other cases, and claimed
         three $225.00 court day fees in other cases, plus a $175.00 court day fee for another case.
     •   On Monday (July 1), exactly one week before trial, Mr. Cornelius billed 9.55 hours to other
         cases.

                            e. The guilt phase.

         Trial began on July 8, 2013. The jury heard evidence from Monday, July 8, until Thursday,

July 11. Closing arguments were to have occurred on July 12, but the parties disagreed about whether

an accomplice charge should be included. The parties’ submissions to the court on this point were

not transcribed and do not appear in the clerk’s record, although Mr. Cornelius emphasized that

the parties had been “work[ing] on this charge since about 10:00 this morning” and “ha[d] not

broken for lunch.” 22 RR 17. Judge Magee issued a decision from the bench at around 4:45 p.m.

on July 12. 22 RR 18. Closing arguments were pushed to the following Monday, July 15.

         On each day that the jury heard evidence during the guilt phase, Cornelius billed at least 4

hours to other cases. He also claimed three $175.00 court day fees in other cases, and a $125.00

court day fee in another case. Specifically:

     •   On Monday, July 8, Mr. Cornelius billed 4 hours to other cases.
     •   On Tuesday, July 9, Mr. Cornelius billed 5.5 hours to other cases, and claimed two $175.00
         court day fees.
     •   On Wednesday, July 10, Mr. Cornelius billed 4 hours to other cases, claimed a $225.00
         court day fee, and claimed two $125.00 court day fees in other cases.


25
 Mr. Cornelius also claimed a $175.00 court day fee the Sunday before trial, but that seems like it
must be an error.


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      •   On Thursday, July 11, Mr. Cornelius billed 4 hours to other cases and claimed a $175.00
          court day fee.
      •   On Friday, July 12, the day of the disputed charge conference, Mr. Cornelius billed 4 hours
          to other cases.
      •   On the Saturday before closing arguments in the guilt phase, which were scheduled for the
          following Monday (and the beginning of the punishment phase that Tuesday), Mr. Cornelius
          billed 6.5 hours to other cases.
      •   On Monday, July 15, the day of closing arguments and jury deliberations in the guilt phase,
          Mr. Cornelius billed 2.25 hours to other cases.

                              f. The punishment phase.

          The evidence presentation in the punishment phase lasted three days. The state presented

evidence on Tuesday, July 16, and Wednesday, July 17. The defense presented its evidence on

Thursday, July 18. The jury reached its verdict late in the day on Friday, July 19. Mr. Cruz-Garcia

was sentenced to death on Monday, July 22. In the three days that the jury heard evidence in the

punishment phase, Mr. Cornelius claimed four court day fees, including two $400.00 fees in two

different capital cases. Over those same three days, Mr. Cornelius billed an average of 4.83 hours

per day in other cases. Specifically:

      •   On Tuesday, July 16, Mr. Cornelius billed 6.25 hours to other cases and claimed a $175.00
          court day fee.
      •   On Wednesday, July 17, 2013—the day before the defense presented its case— Mr. Cornelius
          billed 3.25 hours to other cases, claimed a $400.00 court day fee in another capital case, and
          claimed a $225.00 court day fee in a different case.
      •   On Thursday, July 18, 2013—the day the defense presented its case— Mr. Cornelius billed
          5.5 hours to other cases and claimed a $400.00 court day fee in yet another capital case.
      •   On the day of jury deliberations, when a serious issue emerged with a holdout juror, 26 Mr.
          Cornelius billed 8 hours to other cases.
      •   On the following Saturday, Mr. Cornelius billed 5.5 hours to other cases.
      •   On the day that Mr. Cruz-Garcia was sentenced to death, Mr. Cornelius billed 8.5 hours to
          other cases, and claimed a $175.00 court day fee and a $125.00 court day fee.

26
     See infra Claim Seven.


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          To summarize, according to these billing records, Mr. Cornelius performed $33,430.75

worth of work in other cases over the course of Mr. Cruz-Garcia’s trial. Based on the $35,000 flat fee

permitted by Harris County for first chair in a death penalty case, Mr. Cornelius performed the

equivalent of an entire other death-sought capital murder trial. In other words, Mr. Cornelius

performed so much work on other cases over the course of Mr. Cruz-Garcia’s trial, it was as if he

had investigated, selected a jury for, and tried to verdict an entire other death penalty case between

the time of jury selection and sentencing in Mr. Cruz-Garcia’s case.

          Figure 3 below sets forth the details of Mr. Cornelius’s billings between June 3 and July 22,

2013. The billing records underlying Figure 3 are collected at Exhibit 138.

Figure 3: Mr. Cornelius’s billings in other cases from June 3, 2013 to July 22, 2013. 27

 Date           Case Event          Work on Other Cases                              Total

 Mon.,          Jury Selection      Ward: 3 hrs. trial prep                          7 hours
 June      3,                       Gonzalez: 1 hr. legal research                   1 Court Day
 2013                               Serrano: 0.5 hrs. witness interview
                                    Taverez: 2.5 hrs. legal research
                                    Court Day: Jones D ($225.00)
 Tues.,         Jury Selection      Degrate: 1 hr. legal research                    2.75 hours
 June      4,                       Mendez: 1.75 hr. jail visit                      1 Court Day
 2013                               Court Day: Gonzalez ($225.00)




27
  The documents supporting Figure 3 are collected in Exhibit 138. In some instances, Mr. Cornelius
represented a client in multiple charges and billed separately for each charge. For clients with
multiple charges, the different cases are indicated by the last 3 digits of the case number.


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Date           Case Event       Work on Other Cases                          Total

Wed.,          Jury Selection   Serrano: 0.50 hrs. witness interview         2.75 hours
June      5,                    Jones, D: 0.50 hrs. misc. matters            2 Court Days
2013                            Bogado: 0.50 hrs. witness interview (-858)
                                Alegria: 1.25 hrs. legal research
                                Court Day: Degrate ($175.00)
                                Court Day: Alegria ($400.00)
Thur.,         Jury Selection   Lindsey: 1 hr. legal research                3.25 hours
June      6,                    Serrano: 0.75 hrs. legal research            4 Court Days
2013                            Jones D: 0.50 hrs. witness interview
                                Bogado: 0.50 hrs. witness interview (-858)
                                Mendez: 0.50 hrs. records research
                                Court Day: Bogado ($125.00) (-858)
                                Court Day: Bogado ($125.00) (-441)
                                Court Day: Serrano ($175.00)
                                Court Day: Chavira ($125.00)
Fri., June Jury Selection       Davis: 1.5 hrs. misc. matters       (-542)   3.5 hours
7, 2013                         Winston: 1.25 hrs. legal research (-716)     4 Court Days
                                Judeh: 0.75 hr. jail visit (-273)
                                Court Day: Lindsey ($175.00)
                                Court Day: Winston ($175.00) (-715)
                                Court Day: Winston ($175.00) (-716)
                                Court Day: Judeh ($225.00)          (-272)
Sat. June No court              Lindsey: 0.75 witness interview              5.25 hours
8, 2013                         Winston: 1.25 hrs. legal research (-715)
                                Mukherjee: 2 hrs. records research
                                Batiste: 1.25 hrs. records research
Sun. June No court              Ward: 4 hrs. trial prep                      4 hours
9, 2013




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 Date           Case Event         Work on Other Cases                         Total

 Mon.,          Jury Selection     Mukherjee: 2.5 hrs. records research        2.5 hours
 June 10,                          Court Day: Davis ($225.00)         (-542)   2 Court Days
 2013                              Court Day: Davis ($125.00)         (-908)

 Tues.,         Jury Selection     Ward: 3 hrs. trial prep                     7.75 hours
                                   Bradley: 0.75 hrs. misc. matters            1 Court Day
 June 11,
                                   Gonzales N: 1.5 hrs. records research
 2013                              Mukherjee: 1.5 hrs. court appearance
                                   Ceaser: 1 hr. records research
                                   Court Day: Pruitt ($125.00)
 Wed.,          Jury Selection     Bradley: 0.50 hrs. records research         0.50 hours.
 June 12,                          Court Day: Bradley ($175.00)                1 Court Day
 2013
 Thur.,         Jury Selection     Ward: 3 hrs. trial prep                     8 hours
 June 13,                          Riley: 1.25 hrs. legal research             2 Court Days
 2013                              Gonzales N: 1 hr. records research
                                   Woodard: 2 hrs. legal research
                                   Ceaser: 0.75 hrs. records research
                                   Court Day: Perdomo ($125.00)
                                   Court Day: Ceaser ($225.00)
 Fri., June Jury Selection         Reed: 1.5 hrs. legal research               6.5 hours
 14, 2013                          Ward: 3 hrs. trial prep
                                   Taverez: 2 hrs. misc. matters
 Sat., June No court               Reed: 3 hrs. of trial prep                  5 hours
 15, 2013                          Taverez: 2 hrs. misc. matters               1 Court Day
                                                                     28
                                   Court Day: Bowman ($125.00)
 Mon.,          Jury Selection     Mayreis: 5 hrs. legal research              6 hours
 June 17,                          McGee: 1 hr. legal research        (-317)
 2013

28
     This court date appears to have been misdated by Mr. Cornelius.


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Date       Case Event        Work on Other Cases                            Total

Tues.,     No court          Riley: 0.5 hrs. witness interview; 1.25 hrs.   10 hours
                             records research
June 18,
                             McGee: 2 hrs. legal research        (-317)
2013
                             Gonzales N: 1.25 hrs. misc. matters
                             Jones R: 2 hrs. misc. matters
                             Serrano A: 3 hrs. misc. matters
Wed.,      Motion        to Stevenson: 1 hr. legal research (-049)          5.5 hours
June 19, Suppress            Segura: 1.75 hrs. legal research               3 Court Days
2013       Evidentiary       Gonzales N: 1 hr. records research

           Hearing           Serrano A: 1.75 hrs. misc. matters
                             Court Day: Gonzalez N ($400.00)
                             Court Day: Lee ($125.00) (-713)
                             Court Day: Lee ($125.00) (-712)
Thur.,     No court          Riley: 0.5 hrs. witness interview              5.25 hours
June 20,                     Lee: 0.25 hrs. written correspondence (-713)   3 Court Days
2013                         Davis: 1.5 hrs. misc. matters       (-542)
                             Stergiou: legal research (hrs. not listed)
                             Serrano A: 1 hr. legal research
                             Ward D: 0.50 hrs. written correspondence
                             Sparks: 1.5 hrs. jail visit
                             Court Day: Stevenson ($225.00) (-049)
                             Court Day: Stevenson ($125.00) (-820)
                             Court Day: Riley ($400.00)
Fri., June No court          Riley: 3 hrs. document review and              7.00 hours
                             conferences.
21, 2013                                                                    2 Court Days
                             Jones, D: 2 hrs. legal research
                             Davis: 1.25 hrs. misc. matters      (-542)
                             Irais: 0.75 hrs. records research
                             Court Day: Irias ($400.00)
                             Court Day: Jones D ($225.00)



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Date       Case Event   Work on Other Cases                             Total

Sat., June No court     Irias: 2.5 hrs. legal research                  8.5 hours
22, 2013                Lee: 0.75 hrs. written correspondence (-713);
                        0.25 hrs. written correspondence (-713)
                        Perdomo: 0.50 hrs. written correspondence
                        Darries: 1.5 hrs. legal research
                        Stergiou: 2 hrs. legal research
Mon.,      No court     Mayreis: 1.5 hrs. records research; 0.5 hrs.    6.50 hours
                        meeting with DA
June 24,                                                                1 Court Day
                        McGee: 2.5 hrs. trial notebook (-317)
2013
                        Alegria: 2 hrs. records research
                        Court Day: Stergiou ($125.00)
Tues.,     No court     Irias: 1 hr. written correspondence; 1.5 hrs.   8 hours
                        legal research
June 25,                                                                4 Court Days
                        Wright: 1 hr. misc. matters
2013
                        Winston: 1 hr. legal research      (-716)
                        Mukherjee: 3.5 hrs. records research
                        Court Day: Williams ($125.00)
                        Court Day: Wright ($175.00)
                        Court Day: Arvay ($125.00)         (-785)
                        Court Day: Arvay ($125.00)         (-786)
Wed.       No court     Riley: 1 hr. legal research                     5 Hours
June 26,                McGee: 2 hrs. records research (-317)           3 Court Days
2013                    Williams: 1 hr. records research
                        Gonzalez: 1 hr. legal research
                        Court Day: Bogado ($125.00) (-858)
                        Court Day: Bogado ($125.00) (-441)
                        Court Day: Perdomo ($125.00)




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Date           Case Event   Work on Other Cases                           Total

Thur.          No court     McGee: 2.5 hrs. misc. matters (-317)          6.5 hours
June 27,                    Degrate: 0.75 hrs. witness interview          1 Court Day
2013                        Gonzalez: 1.25 hrs. legal research
                            Brown: 1 hr. legal research
                            Ceaser: 1 hr. legal research
                            Court Day: McGee ($400.00)        (-993)
Fri. June No court          Wright: 1.5 hrs. records research             7 hours
28, 2013                    Jones, D: 1.75 hrs. records research          2 Court Days
                            Gonzales N: 1.75 hrs. legal research
                            Hernandez: 2 hrs. legal research
                            Court Day: Winston ($175.00) (-715)
                            Court Day: Winston ($175.00) (-716)
Sat. June No court          McGee: 3 hr. witness interview (-317)         5.5 hours
29, 2013                    Hernandez: 2.5 hrs. legal research
Mon. July No court          Lindsey: 1 hr. records research               9.55 hours
1, 2013                     Winston: 1.75 hrs. records research (-715)
                            Mukherjee: 5.8 hrs. records research
                            Mendez: 1 hr. records research
Tues.,         No court     Mayreis: 1 hr. Meeting with judge/DA          7.25 hours
July      2,                Wright: 0.75 hrs. written correspondence;     4 Court Days
                            0.75 hrs. legal research; 1.75 hrs. misc.
2013                        matters; 0.75 misc. matters
                            Jones, D: 0.75 hrs. witness interview; 1.50
                            hrs. legal research
                            Court Day: Davis ($225.00) (-542)
                            Court Day: Gonzalez ($225.00)
                            Court Day: Jones D ($225.00)
                            Court Day: Lindsey ($175.00)




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 Date           Case Event         Work on Other Cases                           Total

 Wed.,          Motion         to Wright: 0.75 misc. matters                     7.75 hours
 July      3, Suppress Hearing Gonzalez: 1.5 hrs. legal research
 2013                              Jones, D: 0.75 hrs. witness interview
                                   Sparks: 1 hr. legal research
                                   Ceaser: 0.75 hrs. written correspondence
                                   Serrano A: 1.5 hrs. misc. matters
                                   Hernandez: 1.5 hrs. written correspondence
 Thur.          No court           Mayreis: 3 hrs. legal research                8 hours
 July      4,                      Ward D: 2 hrs. written correspondence
 2013                              Hernandez: 3 hrs. legal search

 Fri.     July No court            Stevenson: 1 hr. misc. matters (-049); 0.25   8.75 hours
                                   misc. matters (-049)
 5, 2013
                                   Gonzalez: 1 hr. records research
                                   Jones, D: 1.50 hrs. records research
                                   Davila: 3 hrs. misc. matters
                                   Williams D: 2 hrs. legal research
 Sat. July No court                Davis: 4 hrs. misc. matters (-542)            8.5 hours
 6, 2013                           Alegria: 3 hrs. trial notebook
                                   Williams D: 1.5 hrs. legal research
 Sun. July No court                Court Day: Serrano ($175.00) 29               1 Court Day
 7, 2013
 Mon.,          Guilt Phase        Wright: 0.75 misc. matters                    4 Hours
 July      8,                      Davila: 2.5 hrs. misc. matters
 2013                              Batiste: 0.75 hr. witness interview




29
     This court date appears to have been misdated by Mr. Cornelius.


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Date           Case Event           Work on Other Cases                           Total

Tues.,         Guilt Phase          Mayreis: 2 hrs. witness interview; 0.5 hrs.   5.5 Hours
                                    conference with client and DA
July      9,                                                                      2 Court Days
                                    Ward: 2 hrs. DNA evidence
2013
                                    Mendez: 1 hr. legal research
                                    Court Day: Degrate ($175.00)
                                    Court Day: Bowman ($175.00)
Wed.,          Guilt Phase          Ward: 2.5 hrs. DNA evidence                   4 Hours
July     10,                        Mendez: 0.5 hr. jail visit                    3 Court Days
2013                                Batiste: 1 hr. legal research
                                    Court Day: Judeh ($225.00)        (-272)
                                    Court Day: Judeh ($125.00)        (-642)
                                    Court Day: Judeh ($125.00)        (-273)
Thur.,         Guilt Phase          Judeh: 0.75 hrs. witness interview (-065)     4 Hours
July     11,                        Judeh: 1 hr. witness interview (-273)         1 Court Day
2013                                Mukherjee: 1 hr. court appearance
                                    Mendez: 1.25 hrs. misc. matters
                                    Court Day: Judeh ($175.00)
Fri., July Guilt             Phase Mukherjee: 2 hrs. records research             4 Hours
12, 2013       Charge               Sparks: 0.75 hrs. records research
               Conference           Serrano A: 1.25 hrs. records research

Sat., July No court                 Mayreis: 3 hrs. trial prep                    6.5 Hours
13, 2013                            Lee: 2 hrs. records research (-713)
                                    Sparks: 1.5 hrs. legal research
Mon.,          Guilt         Phase Mayreis: 1 hr. witness interview               2.25 Hours
July     15, Closing                Sparks: 1.25 hrs. records research
2013           Arguments      and
               Deliberation




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Date         Case Event         Work on Other Cases                        Total

Tue., July Punishment           Ward: 3 hrs. of legal research             6.25 Hours
16, 2013     Phase              Wright: 1.5 hrs. of legal research         1 Court Day
                                Bradley: 1 hr. witness interview
                                Brown: 0.75 hrs. misc. matters
                                Court Day: Bradley ($175.00)
Wed.,        Punishment         Mayreis: 2 hrs. trial prep                 3.25 Hours
July     17, Phase              Owens: 0.75 hrs. misc. matters             2 Court Days
2013                            Ceaser: 0.50 hrs. witness interview
                                Court Day: Alegria ($400.00)
                                Court Day: Ceaser ($225.00)
Thur.,       Punishment         Mayreis: 1 hr. Conference with DA/Review   5.5 Hours
                                Notes
July     18, Phase                                                         1 Court Day
                                Irias: 1.5 hrs. misc. matters
2013
                                Gonzales N: 1.5 hrs. records research
                                Alegria: 1 hr. witness interview
                                Batiste: 0.50 hr. witness interview
                                Court Day: Gonzales N ($400.00)
Fri., July Punishment           Mayreis: 3 hrs. trial prep                 8 hours
19, 2013     Phase Jury         Gonzales N: 1 hr. records research
             Deliberation and   Alegria: 2 hrs. records research
             Verdict            Batiste: 2 hrs. misc. matters

Sat., July No court             Mayreis: 2 hrs. trial prep                 5.5 hours
20, 2013                        Judeh: 3.5 hrs. legal research (-065)




                                               100
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 Date        Case Event           Work on Other Cases                               Total

 Mon. July Sentencing             Mayreis: 2.5 hrs. jail visit; 0.75 hrs. meeting   8.5 Hours
                                  with DA; 1.5 hrs. witness interview.
 22, 2013                                                                           2 Court Days
                                  Owens: 1 hr. trial prep
                                  Irias: 1 hr. witness interview
                                  Sharp: 1 hr. legal research
                                  Fraga: 0.75 hrs. legal research
                                  Court Day: Jones A ($125.00)
                                  Court Day: Carrizales ($175.00)

               6. The billing records of trial counsel’s investigator show that Mr. Cruz-Garcia’s
                  case was not ready to be tried by the beginning of jury selection.

        While Mr. Cornelius and Mr. Madrid did not keep time entries, their investigator, J.J.

Gradoni, did. It is apparent from those time entries that, after their appointment in August 2011,

trial counsel waited almost nine months—until May 2012—to begin investigating the case at all. ECF

No. 18- 7 at 6–7. Over the course of 2012, the investigator billed fewer than 70 hours. Id. Perhaps

most troublingly, the vast majority of the investigator’s work occurred during or just before trial.

Indeed, jury selection began on June 3, 2013, but less than 20% of the total time billed by the

investigator was billed before April 7, 2013. Id. at 6–7, 10–11, 26, 46–49. A substantial portion of

the investigative activity occurred after June 3, 2013, the first day of jury selection. Id. The

investigator’s time entries reflect that the defense team was attempting to locate witnesses, conduct

interviews, research state’s witnesses, do other field work, and set investigative assignments

throughout June 2013. Id. at 46–49. By that time, however, trial counsel were occupied by the

lengthy voir dire proceedings—in addition to the scores of hours and court appearances Mr. Cornelius

logged in other cases—making it unlikely that they could do anything productive with the

investigative teams’ last minute scramble for information.



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        Moreover, because trial counsel waited until just before trial to investigate in earnest, there

was no time for follow-up investigations. Thus, although their investigator did make a short visit to

the Dominican Republic (43% of the time billed for the trip was for travel to and from Houston),

little was accomplished beyond a few interviews, and no follow-up investigation was possible. ECF

No. 18- 7 at 26. Likewise, although trial counsel asserted in court filings that investigations in Puerto

Rico would be necessary for the defense, 2 CR 384–85, they never travelled there.

                7. Trial counsel failed to review the State’s file.

        Trial counsel failed to perform basic tasks necessary for a competent representation. Mr.

Cornelius did not even review the district attorney’s file. Trial counsel repeatedly refused to take

advantage of the district attorney’s open file policy. See 20 RR 185–86; 16 RR 4–5.

        During the guilt phase, frustrated that he had to cross-examine the State’s expert without

having read his report, Mr. Cornelius asked to make a record of his complaints:

        Mr. Cornelius:          Yeah. I want to make sure we understand each other. I don’t
                                have a responsibility to go through your file and figure out what’s in
                                your file. I don’t have to do that. . . .
        Ms. Tise:               I have e-mail after e-mail to you, Skip, that I can print out
                                saying: Please come by and see my file. It’s opened to you. . . .
        The Court:              I don’t think we need to put this all on the record. . . . If you
                                want to argue, we’ll go off the record.
        Mr. Cornelius:          I’m not going to go try to figure out what’s in your file. . . .
                                I’m not going to go through 20 boxes of DNA records.
        Ms. Tise:               I told you, Skip, you need to come by and see my file.

20 RR 186–87 (emphasis added). Mr. Cornelius subsequently confirmed to post-conviction counsel

in an email that he, as a matter of policy, did not participate in “open file” systems like that used by

the Harris County District Attorney’s Office, stating “I don’t play that game.” 3 SHCR 607.




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        In his affidavit to the convicting court, Mr. Cornelius attempted to walk back the admission

he made during trial concerning his failure to review the State’s file. He claimed that “the files where

[sic] brought to court by a number of prosecutors” and that he reviewed the State’s file then and

there. 4 SHCR 942–48. Mr. Cornelius’s billing records, together with other factors, strongly suggest

that trial counsel did not actually review the State’s file.

        First, Mr. Cornelius’s billing records show that from jury selection to sentencing (i.e., the

time when Mr. Cruz-Garcia’s case was in court), Mr. Cornelius was routinely working a substantial

number of hours on other cases in addition to his full court days for Mr. Cruz-Garcia’s case. In

addition, Mr. Cornelius was appearing in court for other clients, often several times a day. It is not

plausible that, with the amount of time Mr. Cornelius was working and billing on other cases, he

could have reviewed the State’s entire file in the courtroom.

        Second, when post-conviction counsel examined the State’s file, they found numerous

documents that were not in trial counsel’s files. 1 SHCR 61. Many of the documents were in

Spanish, a language Mr. Cornelius does not read. Id. at 61–62. Mr. Cornelius could not have read

through these Spanish-language documents. Indeed, none of that evidence was introduced at Mr.

Cruz-Garcia’s trial.

        Third, the State made clear both during the guilt phase and in writing that its file was located

in the District Attorney’s office, not in the courtroom. 20 RR 186 (“I told you, Skip, you need to

come by and see my file.”); 2 CR 491 (“My file . . . remained open to defense counsel up to and

during trial. Photos witness statements, evidentiary items, lab reports, and other items were all stored

together in my office and were available for review before and during trial.”). There is no indication

on the record that the files were ever located or brought to the courtroom.




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        In combination, Mr. Cornelius’s affidavit, billing records, and other evidence shows that

trial counsel failed to perform even the most basic of defense tasks: to review the State’s file.

        D. Trial counsel performed deficiently by failing to adequately communicate with Mr.
           Cruz-Garcia.

        Trial counsel violated the Texas Guidelines and rendered constitutionally deficient

representation by failing to adequately communicate with Mr. Cruz-Garcia. The Texas Guidelines

provide that “[c]ounsel at all stages of the case should make every appropriate effort to establish a

relationship of trust with the client, and should maintain close contact with the client.” Texas

Guideline 10.2.A. “Barring exceptional circumstances, the client should be contacted within 24

hours of initial counsel’s entry to the case, with full and complete interviews of the client to be

conducted as soon as practically possible.” Texas Guideline 10.2.A.1. Counsel must thereafter

“engage in a continuing interactive dialogue with the client concerning all matters that might

reasonably be expected to have a material impact on the case.” Texas Guideline 10.2.C.

        The Texas Guidelines contain additional provisions concerning non-English speaking

clients, such as Mr. Cruz-Garcia. Neither Mr. Cornelius nor his investigator Mr. Gradoni spoke

Spanish. Having a single attorney who speaks the client’s native language and relying on an

interpreter for communication with lead counsel is strongly discouraged. Rather, “[i]t is highly

recommended that both lead and associate counsel have adequate communication with the

defendant, rather than just one of counsel.” Texas Guideline 13.3.B.2. “If there are language

conflicts,” which there were here, “counsel may request permission to withdraw due to language

problems.” Id.

        Trial counsel compounded this issue by barely meeting with Mr. Cruz-Garcia at all. Mr.

Cornelius was appointed to Mr. Cruz-Garcia’s case in August 2011. Yet, according to Mr. Gradoni’s



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billing records, no one visited Mr. Cruz-Garcia until May 2012. ECF No. 18-7 at 6. Throughout his

entire representation, Mr. Cornelius met with Mr. Cruz-Garcia only twice. 30 5 SHCR 957. Mr.

Gradoni, the lead investigator, also met with Mr. Cruz-Garcia only twice. Id. Mr. Madrid apparently

never visited Mr. Cruz-Garcia. 31 Id.

        Given their limited interactions with Mr. Cruz-Garcia, complaints from the defense team

attempting to blame Mr. Cruz-Garcia for their failures ring hollow. In their post-conviction

affidavits, the trial defense team describe a completely dysfunctional relationship with their client.

See 5 SHCR 952 (“We were hampered in our defense because our client would not discuss any facts

of the case. He insisted that God would set him free but refused to discuss the case.”); 5 SHCR 957

(“Cruz-Garcia was not very forthcoming about much of anything with respect to the case because, as

he informed me, God and Jesus were going to deliver him and he was not really concerned about

being convicted.”); 4 SHCR 943 (“Cruz-Garcia would not discuss the facts of the case with us. At

all. He refused to discuss it with us. His statement was that God would deliver him.”). Indeed, in




30
  This is apparent from Mr. Gradoni’s affidavit. He states that due to the fact that Mr. Cruz-Garcia
does not speak English, “[e]ach and every time members of the defense team spoke to Mr. Cruz-
Garcia it was with the assistance of Edna Velez, who was a certified interpreter with the Customs
Service.” 5 SHCR 958. Mr. Gradoni says that Ms. Velez, who was also assigned some investigative
tasks, visited Mr. Cruz-Garcia a total of seven times. 5 SHCR at 957. He then states: “I was present
for two of the interviews, and Attorney R.P. Cornelius was present on two of the interviews.” Id.
Given that Mr. Cornelius, certainly a “member of the defense team,” only spoke with Mr. Cruz-
Garcia with Ms. Velez and he only accompanied Ms. Velez to visit Mr. Cruz-Garcia twice, it follows
that Mr. Cornelius only visited Mr. Cruz-Garcia on two occasions.
31
  Again, Mr. Gradoni’s affidavit states that “each and every time” anyone from the defense team
spoke to Mr. Cruz-Garcia, it was with Ms. Velez. 5 SHCR 958. Mr. Gradoni identifies two instances
when he and Mr. Cornelius met with Mr. Cruz-Garcia. 5 SHCR 957. He does not mention any visits
by Mr. Madrid. Nor does Mr. Madrid identify any visits with Mr. Cruz-Garcia in his affidavit. 5
SHCR 951–54.


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response to nearly every issue they were asked about, counsel pointed to their difficulty

communicating with their client, which they contend was exclusively Mr. Cruz-Garcia’s fault.

        However, the Texas Guidelines do not contemplate a one-way street where counsel

parachutes in for a couple of visits with their client before trial and the client immediately provides

counsel everything needed to win the case. Rather, the Texas Guidelines speak of “establish[ing] a

relationship of trust with the client” and “maintain[ing] close contact with the client” as essential to

effective representation. Texas Guideline 10.2.A. Trial counsel failed to establish any relationship

or communicate with Mr. Cruz-Garcia in accordance with the Guidelines. Trial counsel’s deficient

performance on this front contributed to the deficient performance and resulting prejudice detailed

below with respect to both the guilt and punishment phases.

        E. Trial counsel performed deficiently by failing to seek a continuance.

        As trial approached, trial counsel were nowhere near completing their investigation. This is

evidenced not only by Mr. Gradoni’s billing records, see supra § C.6, but by trial counsel’s own

statements and actions at trial, see, e.g., infra § F.3 (trial counsel admitting that they had not

completed their investigation of Mr. Santana’s criminal background). Mr. Cornelius maintained a

crushing caseload with more death penalty cases than TIDC recommends for full-time capital

practitioners and more felony cases than TIDC recommends for non-capital practitioners. See supra

§ C. Additionally, trial counsel rarely met with their client. See supra § D. Under the Texas

Guidelines, either of these issues would have been sufficient to justify withdrawing from the case or,

at the very least, seeking a continuance. See Texas Guideline 9.3.C (counsel should notify the court

and may seek to withdraw if “counsel’s caseload becomes overextended”); Texas Guideline 10.3.B.2

(“[C]ounsel may request permission to withdraw due to language problems.”). Yet, trial counsel did




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not even attempt to obtain a continuance. Trial counsel’s decision to proceed to trial without at

least attempting to obtain a continuance simply does not square with the defense team’s attempts to

blame their failings at trial on Mr. Cruz-Garcia’s purported lack of cooperation. As detailed below,

had trial sought a continuance and conducted a thorough investigation, they could have presented

evidence that would have undercut the State’s case at both the guilt and punishment phases.

       F. Trial counsel’s investigation, preparation,             and    performance      during    the
          guilt/innocence phase were ineffective.

       One of trial counsel’s most critical duties is to thoroughly investigate the State’s case. To the

extent trial counsel does not investigate a particular thread or item of evidence, that assessment must

be based on a reasonable decision that supports trial counsel thus limiting the investigation. Wiggins,

539 U.S. at 521; see Strickland, 466 U.S. at 690–91. Trial counsel presented no rebuttal witnesses at

all and did not investigate evidence from the State’s file, including the now-recanted DNA evidence

and numerous prior inconsistent statements by the State’s witnesses.

                   1. Trial counsel performed deficiently by not challenging the State’s DNA
                      evidence.

                           a. Trial counsel performed deficiently by not retaining a DNA expert
                              and by failing to adequately investigate the State’s DNA evidence.

       “[I]nvestigating a homicide is uniquely complex and often involves evidence of many

different types.” ABA Guideline 4.1 cmmt. “Analyzing and interpreting such evidence is impossible

without consulting experts—whether pathologists, serologists, DNA analysts, ballistics, specialists,

translators, or others.” Id. (emphasis added). Pursuant to ABA Guideline 10.7.A, trial counsel “have

an obligation to conduct thorough and independent investigations relating to the issues of both

guilt and penalty.” See also Texas Guideline 11.1. Trial counsel cannot simply take the State’s

evidence at face value. Rather, “[c]ounsel should make a prompt request to the relevant government



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agencies for any physical evidence or expert reports relevant to the offense or sentencing, as well as

the underlying materials.” ABA Guideline 10.7 cmmt. “With the assistance of appropriate experts,

counsel should then aggressively re-examine all of the government’s forensic evidence and conduct

appropriate analyses of all other available forensic evidence.” Id. (emphasis added).

       Trial counsel failed to adhere to the Guidelines. DNA evidence was a crucial prong of the

State’s case against Mr. Cruz-Garcia. Trial counsel, however, did not retain a DNA expert, and

therefore did not employ “the assistance of appropriate experts.” ABA Guideline 10.7 cmmt. Trial

counsel also did not “aggressively re-examine” the DNA evidence. Id. Instead, trial counsel simply

accepted the DNA results reported by the State. In doing so, trial counsel performed deficiently.

Elmore v. Ozmint, 661 F.3d 783, 858 (4th Cir. 2011) (trial counsel performed deficiently by failing

to investigate forensic evidence); United States v. Laureys, 866 F.3d 432, 440 (D.C. Cir. 2017) (trial

counsel performed deficiently by failing to retain appropriate expert); Leonard v. Michigan, 256 F.

Supp. 2d 723, 731 (W.D. Mich. 2003) (trial counsel performed deficiently by failing to retain DNA

expert where DNA was a central issue in case); see also Dendel v. Washington, 647 F. App’x 612, 615

(6th Cir. 2016) (trial counsel performed deficiently by failing to obtain expert).

       Mr. Cruz-Garcia’s initial, retained counsel recognized that DNA evidence would be a key

aspect of the prosecution’s case. As attorney Steven Shellist wrote in his affidavit, “DNA evidence

was the only physical evidence linking Cruz-Garcia to the crime.” ECF No. 18-6. It thus “became

apparent immediately that DNA was the State’s key piece of evidence in this case.” Id. Both Mr.

Shellist and Mr. Capitaine “knew that evaluating the integrity of the DNA evidence would be crucial

in determining whether or not Cruz-Garcia could be connected to the sexual assault of Diana Garcia

and the kidnapping and subsequent death of her son.” Id. Particularly given that the DNA evidence




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had been initially handled by an HPD Crime Lab employee who was subsequently convicted of

tampering with evidence, Mr. Shellist and Mr. Capitaine “believed that a review of the State’s

handling and processing of the DNA evidence by an independent DNA expert was necessary to

render effective assistance of counsel and to guarantee Cruz-Garcia a fair trial.” Id.

        To that end, Mr. Shellist and Mr. Capitaine “reached out to Dr. Elizabeth Johnson, a

forensic scientist and DNA analyst, to consult with us about the DNA evidence in the case.” ECF

No. 18–6. They intended “to have Dr. Johnson perform a review of the DNA testing already done

and, if necessary, have the DNA retested.” Id. Mr. Shellist and Mr. Capitaine withdrew from the case

before Dr. Johnson could assess the DNA evidence. Id. Had they not withdrawn, Mr. Shellist and

Mr. Capitaine would have “continued to consult with her for her assistance in [their] cross-

examination of the State’s witnesses pertaining to DNA,” in addition to possibly presenting her as

an expert witness at trial or at a suppression hearing. Id. After withdrawing from the case, Mr.

Shellist and Mr. Capitaine “told Cruz-Garcia’s new counsel, Skip Cornelius, that we would be happy

to consult with him about the case and share our thoughts and ideas for Cruz-Garcia’s defense.” Id.

Mr. Cornelius, however, “only wanted our files and declined to consult with us about the case.” Id.

        Not only did trial counsel decline to consult with Mr. Shellist and Mr. Capitaine, they also

declined to contact Dr. Johnson—the DNA expert previously retained. In fact, despite the obvious

importance of the DNA evidence in Mr. Cruz-Garcia’s case, trial counsel did not consult with any

DNA expert. Instead, trial counsel simply accepted the State’s DNA analysis, which even the State

now agrees was deeply flawed. See Claim Three; ECF No. 18–11. Likewise, although there were

obvious red flags concerning the handling and storage of the DNA evidence by the HPD Crime Lab,

trial failed to use publicly available sources to link the scandal directly to the DNA evidence in Mr.




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Cruz-Garcia’s case. Instead, trial counsel’s only engagement with the DNA evidence was to attempt

to have it suppressed based on the overall conclusions of the Final Bromwich Report.

       In his affidavit, Mr. Cornelius attempted to explain his failure to retain an expert by stating

that he “know[s] a lot about DNA evidence,” and in his opinion the DNA evidence “had been

sufficiently preserved.” 4 SHCR 944. Mr. Cornelius was wrong on both counts. As discussed below,

however, a DNA expert would have assessed that the State’s DNA analysis had yielded

unsupportable results, as the State later conceded. A DNA expert would also have identified serious

problems with how the DNA evidence was stored.

       Mr. Cornelius also stated that a DNA expert was not retained because this expert would have

been cross-examined by the State. 4 SHCR 944. Of course, that in no way explains Mr. Cornelius’s

failure to even consult with a DNA expert. Indeed, the decision of whether to present expert

testimony can only be made once the expert has examined the State’s evidence. Here, as discussed

below, a DNA expert would have uncovered serious problems with the State’s DNA analysis—which

the State has now conceded—as well as significant storage issues. Having not consulted with a DNA

expert at all, Mr. Cornelius cannot have made an informed decision about whether to present expert

testimony. Richards v. Quarterman, 566 F.3d 553, 564 (5th Cir. 2009) (“[C]ourts are ‘not required to

condone unreasonable decisions parading under the umbrella of strategy, or to fabricate tactical

decisions on behalf of counsel when it appears on the face of the record that counsel made no

strategic decision at all.’” (quoting Moore v. Johnson, 194 F.3d 586, 604 (5th Cir. 1999)).

                           b. Trial counsel’s failure to retain a DNA expert and to adequately
                              investigate the State’s DNA evidence prejudiced Mr. Cruz-Garcia.

       Trial counsel’s failure to retain an expert and adequately investigate the DNA evidence

prejudiced Mr. Cruz-Garcia. The DNA evidence was crucial to the State’s case. See 23 RR 37 (arguing



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to the jury that the DNA evidence was “the most damning evidence” against Mr. Cruz-Garcia). Had

Mr. Cornelius retained a DNA expert, he would have known about—and could have informed the

jury of—serious inaccuracies in the State’s DNA evidence. A DNA expert also would have identified

substantial storage irregularities in how the DNA evidence was stored, including that key pieces of

forensic evidence were co-mingled and stored in unsealed containers.

                                   i.   A DNA expert could have identified serious, and now
                                        conceded, flaws with the State’s DNA analysis.
        During state post-conviction proceedings, Mr. Cruz-Garcia retained a DNA expert to assess

the State’s DNA evidence. The expert concluded that there were serious problems with the

interpretation of the DNA results. ECF No. 18-10. Notably, the expert reached these conclusions

before the State recanted its DNA analysis.

        A DNA expert could have identified the State’s erroneous inclusion of Arturo Rodriguez,

Diana Garcia’s boyfriend, as a contributor to the DNA mixture from Ms. Garcia’s panties. In 2010,

the Scientific Working Group on DNA Analysis Methods (SWGDAM) promulgated guidelines

requiring that “any inclusion (or non-exclusion) [of an individual] must be reported along with a

statistical weight to aid the trier of fact” in assessing “the strength of this inclusion.” Id. at 3. Yet,

when Orchid Cellmark included Mr. Rodriguez as a possible contributor to the mixture DNA profile

obtained from the cutting of the red panties, it did so without reporting a statistical evaluation. Id.

Indeed, it appears that “[t]he laboratory did not do a statistical calculation on this DNA mixture.”

Id. Accordingly, pursuant to the SWGDAM guidelines, Orchid Cellmark “should not have included

Arturo Rodriguez as a possible contributor.” Id.

        Orchid Cellmark’s failure to conduct a statistical calculation is further confirmed by the fact

that “the DNA mixture from the cutting of the red panties is only detected in four of fifteen DNA



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loci and at a very low level.” Id. at 4. “It is very unlikely that any of these could be deemed suitable

for statistical analysis,” making it impossible to obtain a statistical weight. Id. To put it simply, there

was “insufficient information for a laboratory to conclude that Arturo Rodriguez may have been the

second contributor.” Id. Orchid Cellmark should have reported the comparison between the panties

and Mr. Rodriguez as “inconclusive,” rather that reporting that he was included as a possible

contributor. Id.

        It is now undisputed, of course, that Mr. Cruz-Garcia’s post-conviction DNA expert was

correct and Orchid Cellmark was wrong. See ECF No. 18–11. Mr. Rodriguez never should have been

identified as a possible contributor to the mixture sample from the panties, as the State conceded

after its own post-trial DNA analysis. Id.

        Orchid Cellmark’s analysis of the vaginal swab also suffered from numerous deficiencies that

a DNA expert could have uncovered. DNA at several loci—that is, the “tested locations on the

DNA”—appeared at such a low level “that the laboratory should have precluded them from statistical

analysis.” ECF No. 18-10 at 4. In at least one instance, there was a missing allele, yet “the laboratory

still improperly utilized this DNA locus for statistical analysis.” Id. Orchid Cellmark violated

SWGDAM guidelines when it used these loci in its statistical analysis that did not meet the threshold

required for inclusion. Id. Again, this conclusion of Mr. Cruz-Garcia’s post-conviction DNA expert

was ultimately confirmed by the State when its post-trial reanalysis conceded that Mr. Cruz-Garcia

should not have been linked to the vaginal swab. ECF No. 18-11.

        There were multiple, additional problems with the State’s DNA testing that an expert could

have brought to trial counsel’s attention. Orchid Cellmark used two separate statistical analyses of

the contributors to the vaginal swab, one for Mr. Cruz-Garcia and another for Mr. Rodriguez. ECF




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No. 18-10 at 5. That is, after including Mr. Rodriguez as a possible contributor, “the statistics were

changed for the subsequent inclusion of Obel Cruz-Garcia.” Unsurprisingly, “[t]his is a violation of

SWGDAM guidelines.” Id.

        Likewise, although Orchid Cellmark generated the DNA profiles and identified possible

contributors (with multiple, substantial errors, as discussed above), the HPD analyst subsequently

reinterpreted those DNA profiles before reaching its (now retracted) conclusions regarding who

could be included as possible contributors. Id. at 5–6. In doing so, the HPD analyst excluded a DNA

marker that had been included by Orchid Cellmark and included additional DNA loci. Id. This

violated “scientific best practice” and “accreditation standards,” and led to an inappropriate

“adjustment to the statistical interpretation.” Id. at 5–7.

                                   ii.    A DNA expert could have identified serious problems with
                                          the storage of the DNA evidence.
        The DNA expert retained by Mr. Cruz-Garcia’s post-conviction counsel also identified

serious issues concerning “the integrity of the probative pieces of evidence in this case.” ECF No.

18–10 at 2. Specifically, “it appears the evidence bag containing the sexual assault kit that housed

the vaginal swabs tested in this case was unsealed prior to laboratory testing.” Id. “Given the extended

timeframe between the original HPD/Genetic Design testing and the submission of this evidence

to Orchid Cellmark—roughly fifteen years—the unsealed sexual assault kit raises serious concerns as

to the integrity of this evidence.” Id. at 3.

        The sexual assault kit was not the only item of the DNA evidence that was improperly stored.

Mr. Cruz-Garcia’s post-conviction expert also noted that “although the manila envelope containing

the cutting from the crotch of the red panties was identified [by Orchid Cellmark] as a sealed

container, two integral pieces within that sealed package were noted as unsealed.” Id. The unsealed



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envelopes “housed the cutting from the crotch of the red panties and the liquid blood known sample

from Arturo Rodriguez.” Id. Allowing an “unsealed known sample” to be housed with “an unknown

evidence sample” is not only a cause for concern, but also “calls into question the integrity of this

evidence.” Id.

       As discussed in Claims Two and Three, the publicly-available Bromwich reports also called

into question the storage of the DNA evidence. Had trial counsel retained a DNA expert and

adequately investigated the DNA evidence, trial counsel could have shown that the State’s DNA

analysis was flawed and reached unsupportable conclusions—something the State now concedes. See

ECF No. 18–11. Trial counsel could have brought the DNA storage problems to the jury’s attention

during trial and thus significantly undercut the reliability of the DNA evidence. The storage issues

would have also significantly strengthened the defense’s motion to suppress the DNA evidence, and

at the very least would have assisted the defense’s argument that the trial court should not preclude

evidence of the problems at the HPD Crime Lab and the malfeasance and incompetence of the

analysts who originally handed the DNA evidence. In denying the defense’s motion to suppress and

prohibiting any evidence about the old HPD Crime Lab, Judge Magee relied on the apparent lack

of a connection between the DNA in Mr. Cruz-Garcia’s case and handling and storage problems

within the old HPD Crime Lab. 17 RR 13, 17. However, the issues identified by Mr. Cruz-Garcia’s

DNA expert and reflected im the Bromwich reports could have provided that link between the

evidence at issue in Mr. Cruz-Garcia’s case and the HPD Crime Lab. Mr. Cruz-Garcia was therefore

prejudiced by his trial counsel’s deficient performance and his Sixth Amendment right to effective

assistance of counsel was violated. Elmore, 661 F.3d at 866–71; Laureys, 866 F.3d at 440–41; Leonard,

256 F. Supp. 2d at 733–34; see also Dendel, 647 F. App’x at 615–16.




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                2. Trial counsel failed to preserve a Confrontation Clause challenge to the trial
                   court’s preclusion of defense cross-examination about the old HPD Crime Lab.

                             a. Trial counsel performed deficiently by failing to preserve a
                                Confrontation Clause challenge to the trial court’s preclusion of
                                defense cross-examination about the old HPD Crime Lab.

        Trial counsel has a duty to consider all potentially available legal claims and assert them “as

forcefully as possible.” ABA Guideline 10.8; Texas Guideline 11.2. “‘One of the most fundamental

duties of an attorney defending a capital case is the preservation of any and all conceivable errors for

each stage of appellate and post-conviction review.’” ABA Guideline 10.8 cmmt. (quoting Stephen

B. Bright, Preserving Error at Capital Trials, THE CHAMPION, Apr. 1997, at 42–43). “[T]rial counsel

in a death penalty case must be especially aware not only of strategies for winning at trial, but also

of the heightened need to fully preserve all potential issues for later review.” Id. “[C]ounsel must be

significantly more vigilant about litigating all potential issues at all levels in a capital case than in any

other cases.” Id. Thus, when there are multiple bases for asserting a legal claim, it is not sufficient

for counsel raise only one of them. Rather, “counsel should be sure to litigate all of the possible legal

and factual bases for the request.” Id. Because—as occurred in this case—“[a] reviewing court may

refuse to consider a legal theory different from that put forward originally,” trial counsel “should

always cite any arguably applicable provision of the United States Constitution, the state

constitution, and state law as bases for granting a claim.” Id. n. 230 (emphasis added).

        Here, trial counsel violated the Guidelines by failing to raise a Sixth Amendment objection

to the trial court’s erroneous decision to prohibit the defense from cross-examining the State’s

witnesses about the problems at the old HPD Crime Lab. 17 RR 18–21. Trial counsel objected to

the trial court’s ruling solely on the basis of state law. As a consequence, the CCA refused to assess




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whether the ruling violated Mr. Cruz-Garcia’s rights under the Confrontation Clause. Cruz-Garcia,

2015 WL 6528727, at *16.

        The Sixth Amendment implications of the trial court’s ruling were obvious. Indeed, the case

law provided by the State to the trial court on the issue of whether trial counsel should be permitted

to cross witnesses about the old HPD Crime Lab focused on the Sixth Amendment implications of

restricting cross-examination. 32 It should therefore have been clear to trial counsel that the trial

court’s decision to limit the defense’s cross-examination raised a substantial Confrontation Clause

issue. By failing to raise that issue, trial counsel did not “litigate all of the possible legal and factual

bases” for challenging the trial court’s decision, nor did they cite an “applicable provision of the

United States Constitution,” as the Guidelines require. ABA Guideline 10.8 cmmt. & n. 230; see

also Texas Guideline 11.2. Trial counsel therefore performed deficiently.

                             b. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to preserve
                                a Confrontation Clause challenge to the trial court’s preclusion of
                                defense cross-examination concerning the old HPD Crime Lab.

        Had trial counsel preserved the issue, Mr. Cruz-Garcia’s appeal would have likely succeeded

for all the reasons stated in Claim Two § C.




32
  Baldez v. State, 386 SW.3d 324, 327–29 (Tex. App.—San Antonio 2012, no pet.); Curtis v. State,
205 S.W.3d 656, 665–66 (Tex. App.—Fort Worth 2006, pet. ref’d); Pope v. State, 161 S.W.3d 114,
124–25 (Tex. App. Fort Worth 2004, pet. granted on other grounds); see also Crenshaw v. State, 125
S.W.3d 651, 653–55 (Tex. App.—Houston [1st Dist.] 2003, pet. ref’d) (cited in Curtis). Baldez, Curtis,
and Pope were each cited in a bench memo provided by the State to Judge Magee. Although the
bench memo is not part of the clerk’s record, Judge Magee read the case names into the record. 17
RR 4. Defense counsel did not provide any written filing or bench memo to Judge Magee regarding
the decision to preclude the defense from cross-examining State witnesses regarding the problems at
the old HPD Crime Lab. Nor did trial counsel cite any case law to Judge Magee.


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               3. Trial counsel failed to investigate the State’s star witness, Mr. Santana.

       The testimony of Mr. Santana was a key aspect of the State’s case against Mr. Cruz-Garcia.

Mr. Santana purported to have witnessed—and participated in—the abduction and murder of Angelo

Garcia. He was the only eyewitness to implicate Mr. Cruz-Garcia.

       Trial counsel has a duty to conduct a thorough investigation to prepare for trial. Strickland,

466 U.S. at 690–91; ABA Guideline 10.7; Texas Guideline 11.1. To discharge that duty, trial

counsel “should investigate all sources of possible impeachment of defense and prosecution

witnesses.” ABA Guideline 10.7 cmmt. (emphasis added). “A key prosecution witness’s prior

criminal history and resultant parole status clearly constitute important impeachment evidence.”

Grant v. Lockett, 709 F.3d 224, 234 (3d Cir. 2013), abrogated on other grounds, Dennis v. Sec., Penn.

Dep’t of Corrs., 834 F.3d 263 (3d Cir. 2016). “It is beyond the range of professionally reasonable

judgment to forgo investigation of, and impeachment based upon, such evidence absent some

apparent strategic reason that might explain or excuse counsel’s failure.” Grant, 709 F.3d at 234.

Here, trial counsel performed deficiently by failing to investigate the prosecution’s star witness, Mr.

Santana.

                           a. Trial counsel failed to investigate Mr. Santana’s mental health
                              issues.

       When, after decades of denying he knew anything about Angelo Garcia’s murder, Mr.

Santana implicated Mr. Cruz-Garcia in his 2011 statement to the FBI, Mr. Santana was serving a

lengthy sentence on federal drug-related charges. United States v. Carmelo Martinez, 4:98-cr-00012

(S.D. Tex. Dec. 17, 1998). Leading up to that conviction, Mr. Santana’s counsel requested a

psychiatric examination due to concerns about Mr. Santana’s competence to stand trial. ECF No.

18-13. The government did not oppose the motion and the court ordered that Mr. Santana be



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examined by a psychiatrist. ECF No. 18-14. Ultimately, the federal proceeding was resolved through

a guilty plea. ECF No. 18-12.

        Mr. Santana’s mental health problems persisted, however, and in April 2011, Mr. Santana

addressed a letter to the convicting court seeking to have his guilty plea set aside based on his

“continued incompetence.” ECF No. 18–12. In that letter, Mr. Santana stated: “I have a plethora of

medical records that illustrate my undeniable incompetence to accept a guilty plea.” Id. He also

explained that “an inmate assistant” would file the motion to set aside his guilty plea because “in

light of my illness, I would have never been able to file such a motion.” Id. Mr. Santana’s letter,

which evidences not only a well-documented history of mental illness but also Mr. Santana’s

desperation to be released from federal confinement, was sent just two months before Mr. Santana’s

meeting with the FBI, in which he implicated Mr. Cruz-Garcia in Angelo Garcia’s murder after

denying any knowledge of the matter for two decades. This information 33 was readily available

through public records, including the electronic docket entries in connection with Mr. Santana’s

federal prosecution, and could have been discovered by trial counsel had they exercised reasonable

diligence. Trial counsel, however, failed to investigate Mr. Santana’s documented mental health

issues and, as a result, the jury did not learn about it.

                            b. Trial counsel failed to investigate Mr. Santana’s crime of moral
                               turpitude.

        Around the time of Angelo Garcia’s kidnapping, Mr. Santana was convicted in Harris

County of assaulting a young girl. ECF No. 18-79 at 7. Because the victim was female, the assault

constituted a crime of moral turpitude and was admissible for impeachment purposes under Texas


33
  The records concerning Mr. Santana’s mental health problems should have been disclosed to trial
counsel pursuant to the State’s Brady obligation to disclose impeachment evidence. See Claim Six §
A.


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law. See Tex. R. Evid. 609; Hardeman v. Texas, 868 S.W.2d 404, 407 (Tex. App.—Austin 1993), pet.

dism’d, 891 S.W.2d 960 (Tex. Crim. App. 1995) (holding that misdemeanor assault conviction, when

the crime is committed by a man against a woman, is a crime of moral turpitude). Due to trial

counsel’s lack of investigation, however, the jury never heard about Mr. Santana’s child-assault

conviction.

         Trial counsel, however, had not investigated the conviction and therefore did not know the

gender of the victim. As Mr. Cornelius stated during the trial: “Honestly, I’m not sure. In fairness,

I’ve got an investigator’s report, but I don’t have that much confidence in it.” 21 RR 17. Indeed, the

billing records of trial counsel’s investigator show that, on June 20, 2013, when Mr. Cruz-Garcia’s

trial was already well under way, he attempted to “Obtain Offense Report Regarding State Witness

Prior Conviction.” ECF No. 18-7 at 47. However, it appears that there was no follow-up to determine

the specifics of Mr. Santana’s conviction. Because trial counsel did not investigate Mr. Santana’s

prior conviction, Mr. Cornelius stated that he would simply rely on whatever the State or Mr.

Santana told him: “I’ve got some conflicting information from my own investigators and so, I’m

going to accept pretty much whatever the State tells me or what he [Mr. Santana] tells me.” 21 RR

18.

         Mr. Santana lied on the stand about the gender of the victim. He asserted that he had

committed an assault against a boy, not a girl, which meant that the conviction was inadmissible for

impeachment purposes. 21 RR 21. Because trial counsel had not conducted an adequate

investigation, they did not know that Mr. Santana had not only committed a crime of moral

turpitude that was admissible for impeachment purposes, but that he had also just perjured himself

by falsely testifying that the victim had been a boy. Besides being a ground for impeachment, see Tex.




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R. Evid. 609, the fact of Mr. Santana’s child-assault conviction around the time of Angelo Garcia’s

disappearance would have also cast doubt as to his claims to the jury that he reluctantly followed

along in kidnapping and killing Angelo, a child. 21 RR 18.

        As evidenced by trial counsel’s own statements on the record that he would “accept pretty

much whatever” was said by the very witness that he sought to impeach, counsel’s failure to

investigate Mr. Santana’s prior conviction was not based on any strategy. Instead, trial counsel’s

belated investigation combined with an excessive case-load prevented any more than what was by

trial counsel’s own admission an incomplete investigation. Id.

                            c. Trial counsel failed to make use of the State’s Brady notice
                               regarding the lack of blood on Angel Garcia’s clothing, in
                               contradiction of Mr. Santana’s testimony.

        Mr. Santana testified that Mr. Aviles-Barroso used a knife to murder Angelo Garcia and that

Angelo’s chest had been covered in blood. 20 RR 151–52. Mr. Santana further described how he

himself later threw that knife out of the car. Id. at 166.

        Shortly before trial, however, the State provided a supplemental Brady notice stating that a

presumptive test for blood on Angelo Garcia’s clothing was negative. 3 CR 482. This absence of

blood contradicted Mr. Santana’s recounting of how the murder supposedly occurred. Nor was there

any other forensic evidence suggesting that Angelo Garcia had been stabbed to death.

        Trial counsel, however, did not introduce any evidence of the blood testing that contradicted

Mr. Santana’s testimony and the jury did not hear that Mr. Santana’s version of events was

contradicted by the forensic evidence.




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                           d. Mr. Cruz-Garcia was prejudiced by trial counsel’s failures to
                              investigate Mr. Santana.

       Trial counsel’s failure to adequately investigate Mr. Santana’s mental health and criminal

history substantially impacted Mr. Cruz-Garcia’s trial. In closing, the State made clear that the

testimony of Mr. Santana, its only eyewitness, was key to establishing Mr. Cruz-Garcia’s guilt. 23 RR

98. Had trial counsel performed an adequate investigation, they could have seriously undermined

the credibility of the State’s star witness. The jury could have heard that the State’s only eyewitness

had a documented history of mental illness, which that witness himself alleged was so significant as

to make him incompetent. The jury could also have heard that, just before implicating Mr. Cruz-

Garcia, Mr. Santana had sought to have his federal drug trafficking conviction set aside based on his

mental illness. The jury also could have heard that Mr. Santana was convicted of assaulting a child

around the time of Angelo Garcia’s murder and that it could consider that conviction in assessing

Mr. Santana’s credibility. Finally, the jury could have heard that Mr. Santana’s recounting of Angelo

Garcia’s murder was inconsistent with the forensic evidence, further casting doubt on his credibility.

       Given how crucial Mr. Santana’s testimony was to establishing Mr. Cruz-Garcia’s guilt, there

is a reasonable probability that at least one juror would have voted not to convict Mr. Cruz-Garcia

had trial counsel not performed deficiently. See Grant, 709 F.3d at 234 (failure to discover star

witness was on parole and use conviction to impeach him was ineffective assistance of counsel).

               4. Trial counsel failed to investigate Angelita Rodriguez.

                           a. Trial counsel performed deficiently by failing to investigate the
                              testimony of Angelita Rodriguez.

       To corroborate Mr. Santana’s testimony and the DNA evidence, the State relied heavily on

the testimony of Angelita Rodriguez, Mr. Cruz-Garcia’s ex-wife, who claimed that Mr. Cruz-Garcia

had “told her he did it.” 23 RR 37. Her testimony, however, was demonstrably false based on her


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prior inconsistent statements to law enforcement. See Claim Five § C. Indeed, Ms. Rodriguez’s trial

testimony contradicted her numerous prior statements to law enforcement, from her first interview

in October 1992 and continuing until October 2008. ECF Nos. 18- 73; 18–37; 18–74. Ms.

Rodriguez had always maintained to law enforcement that she had no knowledge about the

disappearance and murder of Angelo. Id.

       Trial counsel, however, failed to bring any of these prior inconsistent statements to the jury’s

attention. Instead, Mr. Cornelius sought to impeach her by pointing to a 2008 interview in which

she stated that Mr. Cruz-Garcia had not answered her when she asked him whether he was involved

in Angelo Garcia’s death. 20 RR 111–12. In doing so, however, Mr. Cornelius indicated to the jury

that Ms. Rodriguez had told the police “this entire story except for that,” suggesting that Ms.

Rodriguez was being untruthful only about Mr. Cruz-Garcia’s purported confession. Id. at 112. Ms.

Rodriguez explained her misstatement at the 2008 interview by saying: “I was scared.” Id.

       There was significant evidence, however, that Ms. Rodriguez testified falsely about more than

the purported confession. Trial counsel performed deficiently by not investigating this information

and presenting it to the jury. As discussed below, witnesses from the Dominican Republic could

have testified that Mr. Cruz-Garcia had been preparing to leave Houston prior to Angelo Garcia’s

disappearance. Because trial counsel failed to interview these witnesses, including Mr. Cruz-Garcia’s

father, they did not present this information to the jury. An FBI memorandum also cast serious

doubt on the circumstances of Mr. Cruz-Garcia’s purported confession. It described Ms. Rodriguez

as living together with Mr. Cruz-Garcia in the Dominican Republic at Ms. Rodriguez’s mother’s

house, contrary to Ms. Rodriguez’s trial testimony that the only time she saw Mr. Cruz-Garcia again

was to ask for a divorce and that is when he purportedly confessed. Because trial counsel did not




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adequately review the law enforcement records, however, this information was also not presented to

the jury.

        Finally, trial counsel failed to investigate and question Ms. Rodriguez concerning any

assistance she expected to receive from the State in return for her testimony. In fact, the State did

provide immigration assistance to Ms. Rodriguez in return for her testimony. See Ex. 113.

                           b. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to
                              investigate Angelita Rodriguez.

        Had trial counsel conducted an adequate investigation into Ms. Rodriguez, they could have

raised serious doubts among the jurors as to her credibility. Ms. Rodriguez’s testimony that Mr. Cruz-

Garcia purportedly confessed to her was a key part of the prosecution’s case. There were many

reasons, however, for the jury to be skeptical of her testimony. Trial counsel could have shown that,

contrary to Ms. Rodriguez’s testimony, Mr. Cruz-Garcia had been preparing to return to the

Dominican Republic for some time. He had been sending money to his father to build a house for

Mr. Cruz-Garcia and his family to inhabit in Bella Vista de Boba. ECF Nos. 18-81, 18-91. Indeed,

he and his father completed the house after his return and Mr. Cruz-Garcia opened a fish store on

the first floor. ECF No. 18-81. Trial counsel could have also shown that Ms. Rodriguez testified

falsely concerning her relationship with Mr. Cruz-Garcia after he left Houston. Contrary to her

testimony that she had not seen Mr. Cruz-Garcia again until asking for a divorce, Ms. Rodriguez was

living with Mr. Cruz-Garcia in the Dominican Republic in Ms. Rodriguez’s mother’s house. ECF

No. 18-15. Trial counsel did not even need to travel to the Dominican Republic to learn that Ms.

Rodriguez had testified falsely on this point; the fact that Ms. Rodriguez and Mr. Cruz-Garcia

continued to live together in the Dominican Republic was memorialized in an FBI memorandum.

Id. Finally, after she testified against Mr. Cruz-Garcia, the prosecution provided assistance to Ms.



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Rodriguez in her efforts to resolve her immigration status. Ex. 113. Additionally, not just in 2008

but from the time of the offense in 1992, Ms. Rodriguez had repeatedly told law enforcement she

had no idea who had abducted Angelo Garcia.

       In short, her testimony concerning the circumstances of the purported confession was

demonstrably false. Mr. Cruz-Garcia’s departure from Houston had not been completely unplanned.

She had not simply returned to the Dominican Republic to ask Mr. Cruz-Garcia for a divorce (the

time when the purported confession occurred), but had lived together with Mr. Cruz-Garcia at her

mother’s house. Finally, Ms. Rodriguez had an obvious incentive for changing her story to implicate

Mr. Cruz-Garcia—assistance from the State to resolve her immigration problems. Ms. Rodriguez

should not have been a witness the jury found credible, and she would not have been had trial

counsel conducted an adequate investigation.

               5. Trial counsel failed to investigate Diana Garcia and Arturo Rodriguez.

                           a. Trial counsel failed to develop evidence of Diana Garcia’s
                              consensual relationship with Mr. Cruz-Garcia.

       The key piece of evidence against Mr. Cruz-Garcia was the presence of his DNA in the

extractions taken from Ms. Garcia’s vaginal swab and underwear. 23 RR 93. Based on Ms. Garcia’s

statement that one of the assailants sexually assaulted her, the DNA appeared to link Mr. Cruz-

Garcia to the time and place of Angelo Garcia’s disappearance. Trial counsel, however, failed to

investigate and present substantial evidence that Mr. Cruz-Garcia and Ms. Garcia had a consensual

sexual relationship. Specifically, several friends of Ms. Garcia and Mr. Cruz-Garcia could and would

have testified that it was well known that they maintained a consensual sexual relationship. ECF

Nos. 18-21 at 1; 18-22 at 1; 18-23 at 2. Cesar Rios, and his brothers Hector Saavedra and Jose Valdez,

knew Ms. Garcia and Mr. Cruz-Garcia well and could have testified that they had a consensual sexual



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relationship. Id. All three of the brothers were available to testify at Mr. Cruz-Garcia’s trial, had the

defense team asked them to. Id.

        In their affidavits, trial counsel squarely placed the blame on Mr. Cruz-Garcia for their failure

to contact and follow-up with witnesses who could have testified to Ms. Garcia and Mr. Cruz-Garcia’s

relationship. These claims, however, do not withstand scrutiny. According to the investigator billing

records, the bulk of trial counsel’s efforts to locate witnesses occurred in June 2013, during jury

selection and while Mr. Cornelius continued to bill several hours each day to other cases. ECF No.

18 –7 at 46–49; Ex. 138.

        Mr. Rios, who was identified in the offense report from 1992 as an associate of Ms. Garcia,

remembers speaking briefly with someone from the defense team. ECF No. 18-21 at 2. After that

brief conversation, however, he was never contacted again. Id. In his affidavit, Mr. Gradoni

acknowledges that Mr. Rios was identified as a possible witness based on the 1992 offense report, 5

CR 958, but Mr. Cornelius and Mr. Gradoni both claimed that they could not locate or interview

Mr. Rios. 4 CR 944–45; 5 CR 958. These claims, however, are contradicted by Mr. Rios’s own

recollection of having briefly been contacted by the defense team. ECF No. 18-21.

        In his affidavit, Mr. Cornelius further attempts to place the blame on Mr. Cruz-Garcia for

trial counsel’s failure to locate Mr. Rios, asserting that (in his two meetings with Mr. Cruz-Garcia),

“[h]e never told us about the alleged witnesses Cesar Rios [or his brothers] Jose Valdez, or Hector

Saavedra.” 4 SHCR 944. Yet, by his investigator’s own admission, Mr. Cornelius did not need Mr.

Cruz-Garcia to tell him that Mr. Rios was a potentially important witness: he was listed as an associate

of Ms. Garcia in the 1992 offense reports. 5 SHCR 958. The background check Mr. Gradoni claims

to have run on Mr. Rios could have also turned up his family members. Id. Indeed, it is difficult to




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imagine how Mr. Cruz-Garcia could have assisted trial counsel in locating Mr. Rios and his brothers,

given that Mr. Cruz-Garcia had not lived in the United States in over 20 years aside from in pre-trial

detention.

       Trial counsel’s failure to locate and/or follow-up with witnesses who could have testified to

Mr. Cruz-Garcia and Ms. Garcia’s relationship is attributable to trial counsel’s failure to begin their

investigations sufficiently in advance of jury selection or by seeking a continuance. Trial counsel’s

affidavits and Mr. Cornelius’s billing records make clear that trial counsel did not dedicate sufficient

time to investigation ahead of Mr. Cruz-Garcia’s trial. That jury selection had already begun by the

time trial counsel attempted to locate and reach out to witnesses, combined with Mr. Cornelius’s

extensive billing to other cases, lend support to Mr. Rios’s recollection that the defense team simply

never followed-up. The defense was thus prevented from presenting evidence of a consensual

relationship between Mr. Cruz-Garcia and Ms. Garcia.

                           b. Trial counsel failed to develop evidence that Ms. Garcia and Mr.
                              Rodriguez were still selling drugs on the night of the offense.

       The State’s theory of Mr. Cruz-Garcia’s motive for assaulting Ms. Garcia and Mr. Rodriguez

was retaliation because they had stopped selling drugs for him. 18 RR 33, 204. Ms. Garcia and Mr.

Rodriguez both testified that they had stopped selling drugs a month before Angelo Garcia was

kidnapped. 18 RR 133–34, 204; 19 RR 33. The State presented their testimony not only as evidence

of Mr. Cruz-Garcia’s motive, but also to portray Ms. Garcia and Mr. Rodriguez as a hardworking

couple who had recently left their criminal past behind to raise her young son. 18 RR 33.

       Evidence from police reports, however, establish that Ms. Garcia and Mr. Rodriguez lied to

law enforcement. ECF No. 18-24 at 1−2. Not only had the couple not stopped dealing drugs; they

were dealing drugs on the night of Angelo Garcia’s disappearance and from the apartment from



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which he was taken. Id. These police reports were easily discoverable to trial counsel, had trial counsel

reviewed the State’s file.

                             c. Trial counsel failued to develop evidence that Ms. Garcia was an
                                unreliable witness.

        Trial counsel failed to investigate and present evidence that Ms. Garcia testified falsely to a

number of material facts, including her relationship with Mr. Rodriguez, her son’s paternity, and

living arrangements. Ms. Garcia lied to the jury about her relationship with Mr. Rodriguez. Ms.

Garcia described Mr. Rodriguez as her common-law husband and testified that Angelo Garcia lived

with the couple full-time. 18 RR 121, 125; 25 RR 194. However, at the time of the offense and of

the trial, Ms. Garcia remained legally married to Angelo Garcia Sr. and Mr. Rodriguez was therefore

not her common-law husband. Ms. Garcia and Mr. Rodriguez had become a couple when Ms. Garcia

still lived with, and remained married to, Mr. Garcia Sr. 34 ECF No. 18-100; 18–97. Additionally,

Angelo Garcia did not live with the couple until much later than Ms. Garcia’s representation at trial.

19 RR 197. This information was uncovered by law enforcement and available to trial counsel had

they reviewed the State’s file. See, e.g., ECF No. 18-24.

                             d. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to
                                investigate Diana Garcia and Arturo Rodriguez.

        Had trial counsel adequately investigated the relationship between Ms. Garcia and Mr. Cruz-

Garcia, they could have undermined the State’s only forensic evidence linking Mr. Cruz-Garcia to

Angelo Garcia’s abduction. The State argued to the jury that Mr. Cruz-Garcia must have sexually

assaulted Ms. Garcia because his DNA was identified in the vaginal swab and the cutting from Ms.


34
  Ms. Garcia had also previously had an affair with a man named Pedro Ortiz, who she told police
was the biological father of Angelo Garcia. ECF No. 18-97. At trial, Ms. Garcia referred to Mr.
Garcia Sr. as Angelo Garcia’s father. 25 RR 194.



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Garcia’s panties and there was no evidence of any consensual relationship between the two of them.

23 90–91. Presenting evidence that Ms. Garcia and Mr. Cruz-Garcia had a consensual sexual

relationship would have explained the presence of Mr. Cruz-Garcia’s DNA and thus prevented the

State from arguing to the jury that Mr. Cruz-Garcia must have been one of the assailants on the

night of Angelo Garcia’s disappearance. The State described the DNA evidence as “the most

damning corroboration for the defendant in this case[.]” 23 RR 36. But for trial counsel’s deficient

performance, that “most damning” evidence would not have tied Mr. Cruz-Garcia to the crime.

       Showing that Ms. Garcia and Mr. Rodriguez continued selling drugs up until the day of the

abduction would have also undermined the State’s case. Had trial counsel presented evidence that

Ms. Garcia and Mr. Rodriguez were dealing drugs on the night when, and from the apartment from

which, Angelo Garcia was taken, the State would have had no theory as to motive for Mr. Cruz-

Garcia’s involvement. Instead, the jury could readily have tied the assault and Angelo Garcia’s

disappearance to Ms. Garcia and Mr. Rodriguez’s continued involvement in a dangerous criminal

activity. It would also—together with other false statements by Ms. Garcia—have seriously damaged

the credibility of Ms. Garcia and Mr. Rodriguez as witnesses, particularly given the State’s emphasis

on their having ceased dealing drugs. 18 RR 33.

               6. Trial counsel failed to investigate law enforcement’s theory of the case at trial.

                           a. Trial counsel performed deficiently by failing to present evidence
                              that the cigar was not linked to the crime.

       The cigar found in Ms. Garcia’s apartment was one of the State’s key pieces of evidence. The

State contended to the jury that the cigar was left by one of the assailants and, because Mr. Cruz-

Garcia’s DNA was on it, it therefore inculpated Mr. Cruz-Garcia. 18 RR 35−36, 80; 21 RR 119.

Trial counsel performed deficiently by failing to present evidence that, during the original



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investigation, law enforcement reached the opposite conclusion: that the cigar was not linked to

Angelo Garcia’s abduction. The evidence was readily available. In a recorded statement during the

original investigation, an HPD officer stated that the investigators did not believe that the cigar was

tied to the assault and assailants. ECF No. 18-64 at 7 (“Somebody was there at your house that

evening, left the cigar there and it wasn’t the guys that came in. It was somebody else that was with

you all. He left it there.”); 18-65. Had trial counsel conducted a sufficient investigation, including

by reviewing the State’s file, trial counsel could have located this recording.

                            b. Trial counsel performed deficiently by failing to present evidence
                               that the police never believed Ms. Garcia and Mr. Rodriguez.

        Trial counsel also performed deficiently by failing to present evidence that, contrary to the

testimony of the State’s law enforcement witnesses, the police concluded during the original

investigation that Ms. Garcia and Mr. Rodriguez had never been truthful with them.

        Law enforcement witnesses testified that very soon after Angelo’s disappearance, Ms. Garcia

and Mr. Rodriguez cooperated fully and were truthful with law enforcement. 18 RR 119; 19 RR 66,

67, 74. In fact, according to numerous police reports, Ms. Garcia and Mr. Rodriguez were

uncooperative throughout the investigation and law enforcement did not trust their account of the

circumstances of Angelo’s disappearance. ECF Nos. 18-19; 18-64; 18-66. In 1993, months after

Angelo Garcia’s disappearance and the discovery of his body, one investigating officer even

summarized: “Diana [Garcia] and Arturo [Rodriguez] have been untruthful throughout the investigation

with regards to the events inside the apartment and the identity of the suspects.” ECF No. 18-19

(emphasis added). These reports were available to trial counsel as part of the State’s file, but because

the trial counsel failed to review the State’s file, law enforcement’s false testimony was unchallenged.




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                           c. Trial counsel performed deficiently by not investigating law
                              enforcement’s other theories of the offense.

        Trial counsel also failed to present evidence that the testimony of the State’s law enforcement

witnesses was inaccurate on other important points. Law enforcement witnesses testified that the

investigation had never considered other theories of Angelo Garcia’s disappearance. 19 RR 79.

According to police records, however, several demands for ransom were made. ECF Nos. 18-17, 18-

18. Law enforcement also documented uncovering a “family secret” regarding Angelo Garcia’s

paternity. ECF No. 18-97. Because trial counsel failed to adequately investigate law enforcement’s

theories of the case from the original investigation, however, law enforcement witnesses’ testimony

went unrebutted and the jury was left with the inaccurate impression that there were no other

theories as to Angelo Garcia’s disappearance, such as a kidnapping for ransom or being taken by his

biological father.

                           d. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to
                              investigate law enforcement’s theory of the case.

        Had trial counsel conducted an adequate investigation of law enforcement’s theory of the

case, they could have presented evidence that—contrary to their testimony at trial—law enforcement

concluded during the original investigation that the cigar was not linked to Angelo Garcia’s

kidnappers. In combination with the information from Mr. Rios and his brothers about Mr. Cruz-

Garcia and Ms. Garcia’s consensual relationship, this would have meant that the State’s DNA

evidence did not tie Mr. Cruz-Garcia to Angelo Garcia’s disappearance and death. The presence of

Mr. Cruz-Garcia’s DNA in the vaginal swab and panties cutting would be explained by his consensual

relationship with Ms. Garcia and his DNA on the cigar would be explained by the fact that he was

a frequent visitor to Ms. Garcia and Mr. Rodriguez’s residence, as Ms. Garcia and Mr. Rodriguez

themselves testified to at trial. 18 RR 133-134; 18 RR 178–179; 18 RR 201. Indeed, Mr. Cruz-Garcia


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has visited Ms. Garcia and Mr. Rodriguez’s apartment earlier on the day Angelo was kidnapped. 18

RR 184.

       Had trial counsel presented evidence that—contrary to their testimony at trial—law

enforcement witnesses concluded during the original investigation that Ms. Garcia and Mr.

Rodriguez had never been truthful with them, it would have undermined the credibility of not just

Ms. Garcia and Mr. Rodriguez, but of the law enforcement witnesses as well. And, had trial counsel

presented evidence that—contrary to the testimony of the State’s law enforcement witnesses—law

enforcement had considered other theories of the case, including a kidnapping for ransom, it would

have further diminished the credibility of those witnesses, while also giving credence to the

possibility that someone besides Mr. Cruz-Garcia had taken Angelo Garcia.

       G. Trial counsel’s investigation, preparation, and performance during the punishment
          phase was ineffective.

                   1. Trial counsel performed deficiently in their investigation and presentation
                      of mitigation evidence.

       As detailed in prior sections, trial counsel failed to allocate and devote adequate time to

investigate and prepare for Mr. Cruz-Garcia’s trial. Under clearly established Supreme Court

precedent, “[i]t is unquestioned that under the prevailing professional norms . . . counsel ha[s] an

‘obligation to conduct a thorough investigation of the defendant’s background.’” Porter v. McCollum,

558 U.S. 30, 39 (2009) (quoting Williams v. Taylor, 529 U.S. 362, 396 (2000)). Trial counsel’s failure

to make reasonable investigative decisions in light of available information constitutes deficient

performance. See Wiggins, 539 U.S. at 527 (“[A] court must consider not only the quantum of

evidence already known to counsel, but also whether the known evidence would lead a reasonable

attorney to investigate further.”); id. at 523 (explaining that the focus of a deficiency inquiry is on

“whether the investigation supporting counsel’s decisions . . . itself was reasonable”).


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       Trial counsel may not “ignore[] pertinent avenues for investigation of which he should have

been aware.” Porter, 558 U.S. at 40 . Trial counsel’s duty to investigate exists even if the defendant

or his family tells counsel that no mitigation evidence exists. Rompilla, 545 U.S. at 377. Courts

cannot “condone unreasonable decisions parading under the umbrella of strategy,” or “fabricate

tactical decisions on behalf of counsel when it appears on the face of the record that counsel made

no strategic decision at all.” Richards, 566 F.3d at 564 ((internal quotation omitted).

       Professional norms prevailing at the time of Mr. Cruz-Garcia’s trial likewise underscore

defense counsel’s paramount duty to investigate and prepare for the punishment phase. See ABA

Guidelines, Guideline 10.7(A) (“[C]ounsel at every stage have an obligation to conduct thorough

and independent investigations relating to the issues of both guilt and penalty.”); id. at 10.11(A)

(“[C]ounsel at every stage of the case have a continuing duty to investigate issues bearing upon

penalty and to seek information that supports mitigation or rebuts the prosecution’s case in

aggravation.”).

       Trial counsel performed deficiently by failing to conduct an adequate punishment phase

investigation. Trial counsel did not retain a mitigation specialist, 4 SHCR 947. The defense’s entire

penalty case relied on just four lay witnesses, lasted less than one day, and accounted for less than

75 pages of the transcript. 26 RR 8–55, 67–92. Furthermore, by trial counsel’s own admission, trial

counsel did not even seek to investigate or rebut the State’s case on future dangerousness. See infra

§ G.3. A wealth of mitigation evidence uncovered in post-conviction makes clear that “effective

counsel would have painted a vividly different tableau of aggravating and mitigating evidence than

that presented at trial.” Andrus, 140 S. Ct. at 1886.




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                           a. Trial counsel’s mitigation presentation was anemic at best.

       Trial counsel called only four lay witnesses at the punishment phase and only two of whom

testified in person. The first witness, Mr. Cruz-Garcia’s younger brother Joel, had to pay his own way

from Puerto Rico to Houston, and trial counsel showed little to no interest in him and barely

prepared him to testify. ECF No. 18-85 at 10–11. Joel’s direct examination lasted only twelve pages

of the transcript, including lengthy objections from the State. 26 RR 32–43. Because trial counsel

were unprepared and had not adequately investigated Mr. Cruz-Garcia’s life history, they failed to

elicit helpful testimony. Instead, Joel provided only the briefest chronology of Mr. Cruz-Garcia’s

childhood and inadvertently made it appear that he had experienced a pleasant childhood in the

Dominican Republic. Id. Not only was the testimony not particularly mitigating, the false impression

it gave was actually aggravating. See Andrus, 140 S. Ct. at 1883 (“Counsel’s introduction of seemingly

aggravating evidence confirms the gaping distance between his performance at trial and objectively

reasonable professional judgment.”).

       The second witness, Mr. Cruz-Garcia’s wife Mireya Perez, testified via a shoddy video link

from the Dominican Republic. Her testimony lasted fewer than ten pages and, due to the poor

connection and problems with interpretation, her testimony was extremely difficult to understand.

26 RR 11–20. Moreover, Ms. Perez could not testify to Mr. Cruz-Garcia’s childhood or his life

leading up to the offense, and instead generally described their life in the Dominican Republic. Id.

The third witness, Mr. Cruz-Garcia’s then 17-year-old son Abel, also testified via video link, but

because Mr. Cruz-Garcia went to prison when Abel was five years old, there was little he could offer.

26 RR 67–79.

       The defense’s final witness was Angel Meza, a teenager who had known Mr. Cruz-Garcia

while he was in pre-trial detention, and whom Mr. Cruz-Garcia had positively influenced. 26 RR


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80–86. Mr. Mesa was not identified or contacted by trial counsel; instead, he came to the courtroom

and asked to testify after hearing about the trial. Id. at 81. The jury foreman later stated that he was

by far the most persuasive defense witness. 35 RR Def. Ex. 4; 3 CR 625 (“[I]f it hadn’t been for that

kid, it would have been a much easier decision for me.”).

                            b. Trial counsel performed deficiently by failing to retain a mitigation
                               specialist.

        Texas Guideline 3.1.A.1 provides: “The defense team should consist of no fewer than two

attorneys qualified in accordance with GUIDELINE 4.1, an investigator, and a mitigation

specialist.” ABA Guideline 4.1.A.1 contains substantially identical language. The commentary to the

ABA Guidelines emphasizes the importance of a mitigation specialist. “A mitigation specialist is also

an indispensable member of the defense team throughout all capital proceedings” because they

“possess clinical and information-gathering skills and training that most lawyers simply do not have.”

ABA Guideline 4.1.A.1 Cmt., 31 HOFSTRA L. REV. at 960 (internal citations and quotation marks

omitted). Among other things, “[t]he mitigation specialist compiles a comprehensive and well-

documented psycho-social history of the client based on an exhaustive investigation; analyzes the

significance of the information in terms of impact on development, including effect on personality

and behavior; finds mitigating themes in the client’s life history; identifies the need for expert

assistance; assists in locating appropriate experts; provides social history information to experts to

enable them to conduct competent and reliable evaluations; and works with the defense team and

experts to develop a comprehensive and cohesive case in mitigation.” Id. A mitigation specialist also

“plays an important role as well in maintaining close contact with the client and his family while the

case is pending,” something that was clearly lacking in Mr. Cruz-Garcia’s case. Id. “Perhaps most

critically,” a mitigation specialist “insures that the presentation to be made at the penalty phase is



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integrated into the overall preparation of the case rather than being hurriedly thrown together by

defense counsel,” precisely what occurred in this case. Id.

        Contrary to the Texas and ABA Guidelines, trial counsel did not retain a mitigation

specialist. In his affidavit, Mr. Cornelius claimed that although it was true that he did not have a

mitigation specialist, the defense team “had my experience, which predates mitigation experts, at

least in Harris County.” 4 SHCR 947. He also noted that he had an investigator on the case. Id. The

Texas Guidelines are clear, however, that an investigator is not enough; rather, “[t]he defense team

should consist of no fewer than two attorneys . . . , an investigator, and a mitigation specialist.”

Texas Guideline 3.1.A.1 (emphasis added). The Texas Guidelines do not support Mr. Cornelius’s

suggestion that either he or his investigators could have somehow worn two hats, and also taken on

the role of mitigation specialist.

        Mr. Cornelius also claimed that “all of the ‘Mitigation Experts’ in Harris, County, of which

there were not many at that time, refused to take cases for the money the County was willing to pay,”

which was $75.00/hr. 4 SHCR 947. Mr. Cornelius’s billing records, however, reveal otherwise. In

the Jeffrey Prevost death penalty case, he employed a mitigation specialist beginning in September

2012, nine months before Mr. Cruz-Garcia’s trial, who was based in Houston, and worked for the

$75.00/hr. rate. Ex. 140.

                            c. Trial counsel botched the minimal effort they made to introduce
                               mitigating evidence.

        Trial counsel attempted to introduce evidence of Mr. Cruz-Garcia’s strong religious faith

through Bible study certificates and his assistance to federal law enforcement agencies such as the

FBI, DEA, and INS through a Puerto Rican police officer, who was a State’s witness. 26 RR 56–58;

24 RR 68–75. This evidence, however, was excluded by the trial court on hearsay grounds. Id. Trial



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counsel was ineffective for failing to do the legwork necessary to introduce the evidence in a form

that would not have drawn a sustained objection from the State.

                             d. Trial counsel failed to consult with any experts, except for a
                                psychologist who did just seven hours of work.

          When Mr. Cornelius sought approval for his $65,000.00 flat fee, he told the court that “[i]n

all likelihood there will be a multitude of expert witnesses on many different elements of the various

cases.” 35 ECF No. 18-7 at 14. The only expert trial counsel sought funding for, however, was a

psychologist, Dr. Susana Rosin. According to trial counsel’s funding motion, Dr. Rosin was needed

for “testing, review of documents, consultation, and possible testimony” relating to “issues of mental

health and mitigation.” 2 CR 387. In support of that motion, trial counsel attached a letter from

Dr. Rosin in which she stated that, based on her understanding of her role on the case and its

complexity, her role would involve approximately sixty to seventy hours of work. Id. at 390. The trial

court approved funds up to $17,400 for this purpose. Id. at 389.

          Yet, trial counsel barely used Dr. Rosin. After receiving funding for Dr. Rosin in July 2012,

trial counsel did not have her perform any work on the case for nearly a year, until May 2013, just

before trial. ECF No. 18-7 at 21. Other than a phone call with the investigators on January 6, 2013

(for which Dr. Rosin did not bill time), Dr. Rosin reviewed records for two hours on May 9, 2013,

and evaluated Mr. Cruz-Garcia for three hours on May 15, 2013. Id. She then spoke with counsel

for an hour on June 27, 2013, and prepared a report in an hour on July 1, 2013, a week before

opening statements in Mr. Cruz-Garcia’s trial. Id. Thus, in total, Dr. Rosin performed only seven




35
     It is unclear what Mr. Cornelius meant by the “various cases.”



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hours of work on Mr. Cruz-Garcia’s case, all shortly before trial. Dr. Rosin did not testify and her

work appears to have been unused by trial counsel.

                            e. Trial counsel failed to investigate in Puerto Rico.

        In his motion requesting approval for his $65,000.00 flat fee, Mr. Cornelius emphasized Mr.

Cruz-Garcia’s ties to Puerto Rico, telling the court that the case “involves numerous extraneous

offenses, both in Texas and in Puerto Rico,” and that “[d]efendant’s family lives in Puerto Rico, as

well as in Texas and other cities.” ECF No. 18-7 at 13. When he sought funding for his investigator,

trial counsel reiterated to the court that “investigations will in all likelihood be required to go to

Puerto Rico to properly investigate this case,” as “Defendant’s family lives in Puerto Rico and there

are alleged extraneous offenses in Puerto Rico that the State intends to attempt to prove at

punishment in this case.” 2 CR 384–85.

        Yet, no one from the defense team ever travelled to Puerto Rico, nor were any records

requested by trial counsel from Puerto Rico. Trial counsel even failed to uncover records that were

within the State’s possession and accessible as part of the State’s open file policy. See infra § G.3.

        Addressing why no one from the defense team travelled to Puerto Rico, where Mr. Cruz-

Garcia was previously incarcerated and where he spent much of his life, Mr. Cornelius stated in his

affidavit that he “was confident that the investigators would do a very professional and competent

job and nothing has convinced me otherwise.” 4 SHCR 947. As with so much else in that affidavit,

Mr. Cornelius seeks to the shift blame for the problems at Mr. Cruz-Garcia’s trial on to others, in

this case his investigator. This argument, however, is unavailing under the Guidelines. See ABA

Guideline 10.4.B (“Lead counsel bears overall responsibility for the performance of the defense

team, and should allocate, direct, and supervise its work in accordance with these Guidelines and

professional standards.”). Mr. Gradoni did not address the question in his affidavit. In a subsequent


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letter, Mr. Gradoni said only: “I have no recollection of suggesting we travel to Puerto Rico.” ECF

No. 18-8 at 1.

                 2. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to conduct an
                    adequate mitigation investigation.

                           a. An adequate mitigation investigation by a mitigation specialist
                              would have allowed trial counsel to present compelling mitigation
                              evidence of Mr. Cruz-Garcia’s life history.

       Had trial counsel retained a mitigation specialist and conducted an objectively reasonable

mitigation investigation, trial counsel would have uncovered a wealth of mitigation evidence.

Numerous witnesses were available and willing to testify at the penalty phase. These witnesses would

have told the jury that Mr. Cruz-Garcia grew up in the Dominican Republic in extreme poverty and

was abandoned by his mother. These witnesses would have also told the jury that Mr. Cruz-Garcia

emigrated to Puerto Rico, and then on to Houston, as a young adult to escape from poverty and

provide for better opportunities for his young family. Witnesses would have told the jury that, when

Mr. Cruz-Garcia returned to Puerto Rico and the Dominican Republic, he provided financial

support to his family.

       In addition, prison officials and chaplains who knew Mr. Cruz-Garcia from his incarceration

in Puerto Rico were available and willing to testify that Mr. Cruz-Garcia was not a threat to security,

was not known to have any disciplinary issues, and was even granted the keys to various offices and

unsupervised movement around the prison. These witnesses would have also told the jury that he

was a model prisoner who “had the overall trust and confidence of the prison staff.” ECF No. 18–

105. This testimony would thus have provided not only powerful mitigation evidence, but also

squarely rebutted the State’s case on future dangerousness. See infra § G.3.c. Almost none of the




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information below regarding Mr. Cruz-Garcia’s childhood, early adulthood, and incarceration in

Puerto Rico was presented to the jury.

                                  i.     Mr. Cruz-Garcia’s father, the family’s sole provider, was the
                                         victim of a life-threatening accident and the family was
                                         pushed into subsistence fishing.
       “[Mr. Cruz-Garcia’s] traumatic life experiences began with a childhood characterized by

neglect, parentification at a young age, exposure to alcohol at a very young age, abandonment, and

other traumatic and stressful events.” ECF No. 18–110. Mr. Cruz-Garcia was born in Santo

Domingo, the capital of the Dominican Republic, the oldest son and second child of Valerio

“Hungría” Cruz Santos and Dalia Margarita Garcia Martinez. ECF No. 18–44. During Mr. Cruz-

Garcia’s early childhood in Santo Domingo, his father was in the Dominican Republic Navy where

he trained as a paramedic. Id. His father was the sole provider of the family. Id.

       When Mr. Cruz-Garcia was still a young child, his father suffered life-threatening injuries in

a car accident. Mr. Cruz-Garcia’s father had been standing on the side of a road when he was

violently struck by a passing vehicle. ECF No. 18–44. He was hospitalized for two months, suffered

multiple breaks to his legs and ribs, and lost part of his liver. ECF Nos. 18–44; 18–90. His injuries

were so severe that he was initially declared dead and taken to a morgue before being transported to

a hospital. ECF No. 18–110. As a result of this accident, Mr. Cruz-Garcia’s father was permanently

disabled and was eventually discharged from the Navy. ECF Nos. 18–85; 18–90.

       Unable to provide for his family, Mr. Cruz-Garcia’s father moved his young family back to

Boba, a small fishing village where he was from. ECF No. 18–44. Unlike their home in Santo

Domingo, there was no electricity, no plumbing, and no telephone in their new home. ECF No.

18–90. The houses in Boba were made of wooden planks, genipap tress, and zinc. ECF Nos. 18–84;

18–87. They were flimsy and easily destroyed by the weather. Id. The village depended on well water


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as its only source of fresh water and latrines as its only form of sanitation. ECF Nos. 18–91; 18–93.

Rain frequently caused the latrines to overflow into the well water, contaminating the village’s

drinking water. Id. Boba was not connected to running water until the early 2010s, around the time

of Mr. Cruz-Garcia’s trial in Houston. ECF No. 18–93.

       When they arrived in Boba, Mr. Cruz-Garcia and his siblings moved into a two-room wooden

home with their paternal grandparents. ECF Nos. 18–80; 18–85; 18–90. Mr. Cruz-Garcia was

expected to repair the frequent weather damage to the family’s shelter. When he was around 9 years

old, Mr. Cruz-Garcia fell from the roof while repairing damage to the roof from a storm. ECF Nos.

18–84; 18–92. He suffered a head injury so severe that he had to be transported via truck to the

closest town with a hospital, Nagua. Id. For some time afterwards, Mr. Cruz-Garcia suffered

headaches, loss of vision, and was not able to read and write at school. Id.

       In the years that followed Mr. Cruz-Garcia and his siblings’ move from Santo Domingo, the

family’s main source of food and income was subsistence fishing. In Boba, Mr. Cruz-Garcia’s father

relied on subsistence fishing to provide for his family and Mr. Cruz-Garcia worked alongside his

father. ECF Nos. 18–44; 18–85; 18–92; 18–94. This was an extraordinarily dangerous trade because

the waters were rough and shark infested. ECF Nos. 18–42; 18–44; 18–110. On several occasions,

the small yawl used by Mr. Cruz-Garcia and his father capsized and Mr. Cruz-Garcia rescued his

father. ECF No. 18–42. Mr. Cruz-Garcia’s uncle, Jose de la Cruz, remembered at least two separate

times during which Mr. Cruz-Garcia saved his father from drowning. Id. Mr. Cruz-Garcia’s father

remembered becoming trapped under the overturned hull of their yawl and Mr. Cruz-Garcia saving

him. ECF No. 18–44.




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                                 ii.   Mr. Cruz-Garcia was abandoned by his mother.
        In the wake of her husband’s disability and after discovering that he engaged in extra-marital

affairs, Mr. Cruz-Garcia’s mother emigrated to Venezuela alone when Mr. Cruz-Garcia was around

8 years old. ECF Nos. 18–44; 18–85; 18–89; 18–90. She left behind Mr. Cruz-Garcia, along with

his older sister, younger sister, and brother. Mr. Cruz-Garcia’s older sister, Noemi Margarita Cruz-

Garcia, remembered that her brother had been particularly close to their mother. ECF No. 18–90.

Their mother’s departure to Venezuela was profoundly shocking to Mr. Cruz-Garcia and his siblings.

Id. After she left, the children had no direct contact with their mother. ECF No. 18–90. Instead,

they left messages with their maternal grandparents to be passed on to their mother. Id. Mr. Cruz-

Garcia wrote to his mother, but his sister could not recall if their mother ever replied to her eldest

son’s letters. Id.

        Within a year of leaving, Mr. Cruz-Garcia’s mother petitioned for her eldest daughter,

Noemi, to emigrate and join her in Venezuela. ECF No. 18–90. Mr. Cruz-Garcia was told that he

too would be joining his mother in Venezuela alongside his eldest sister. Id. Noemi left first and

remembered Mr. Cruz-Garcia being excited and telling her that he would be joining her and their

mother soon. Id. This, however, “was a lie.” Id. Noemi discovered that their mother had pretended

to misplace Mr. Cruz-Garcia’s vital documents that she needed to apply for a visa for her son. Id.

Eventually, Mr. Cruz-Garcia’s mother admitted that she had no intention of applying for a visa for

her son. Id. Some years later, Mr. Cruz-Garcia’s mother obtained a visa for her youngest daughter,

Natalia. Id. However, she never reunited with Mr. Cruz-Garcia nor his brother. Id. Mr. Cruz-Garcia

and his young brother “felt abandoned by [their] mother.” ECF No. 18–85; see also ECF No. 18–

110.




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       In the span of just months, Mr. Cruz-Garcia was forced to confront and adapt to extreme

poverty and his mother’s abandonment. ECF No. 18–110. Mr. Cruz-Garcia was a child when his

mother left for Venezuela, abandoning him and his siblings in the Dominican Republic.

                                iii.   Mr. Cruz-Garcia became his siblings’ caregiver.
       Abandoned by his mother, Mr. Cruz-Garcia was forced to step into the roles of caregiver and

provider at a young age. ECF Nos. 18–85; 18–110. Mr. Cruz-Garcia “kept all of the sadness inside

him” and “stayed focused in working hard to provide for the family.” ECF No. 18–85. He became

“a second father for his younger siblings.” ECF No. 18–92.

       Mr. Cruz-Garcia was forced to become his siblings’, and at times his father’s, caregiver. ECF

No. 18–110. In the immediate aftermath of his father’s accident, at around age 8, Mr. Cruz-Garcia

took care of him, including his personal hygiene because his father would not trust anyone else to

help. ECF Nos. 88; 18–110. Mr. Cruz-Garcia would then return home from the hospital to care for

his siblings, including his toddler brother whose diapers he changed and washed, and cooked and

cleaned. ECF Nos. 18–85; 18–110. In Boba, even after his father’s convalescence, Mr. Cruz-Garcia

continued to be responsible for his siblings’ wellbeing and safety. ECF Nos. 18–85; 18–110. As the

oldest (after his sister left for Venezuela), Mr. Cruz-Garcia had the most responsibilities. ECF Nos.

18–39; 18–85.

       Mr. Cruz-Garcia’s father, Mr. Cruz Santos, was a strict parent and “demanded respect from

his children.” ECF No. 18–91. As the eldest son, Mr. Cruz-Garcia was expected to work alongside

his father and was subjected to harsher punishments than his younger siblings. ECF No. 18–94. Mr.

Cruz Santos also drank heavily, leaving him unable to care for his children. ECF No. 18–85. He

exposed Mr. Cruz-Garcia and his brother to his alcohol abuse from a very young age. ECF No. 18–




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110. On more than one occasion, Mr. Cruz Santos crashed a car in a ditch because he was driving

drunk. ECF No. 18–85.

                                 iv.   Mr. Cruz-Garcia was forced into child labor.
         In addition to household chores, like cooking and cleaning, “[t]he most important thing for

[Mr. Cruz-Garcia] was to make sure his family had enough to eat.” ECF No. 18–88. At about the age

of 8, Mr. Cruz-Garcia was forced into child labor: he fished every day to provide the family’s main

source of food and income. ECF Nos. 18–42; 18–44; 18–88; 18–91; 18–92; 18–94; 18–110.

“Returning with enough fish made the difference as to whether or not [the family] had food to eat,

or whether [they] would be without food.” ECF No. 18–82. And “[w]hen [Mr.] Cruz-Garcia was not

fishing, he was at home cooking, changing his siblings’ diapers, and taking care of them.” ECF No.

18–94.

         After Mr. Cruz-Garcia’s father opened a small medical clinic, the community’s only access to

healthcare, Mr. Cruz-Garcia was expected to assist with his father’s medical work. ECF No. 18–85.

Mr. Cruz-Garcia helped his father give injections, clean, and suture wounds. ECF Nos. 18–85; 18–

110. As a result, Mr. Cruz-Garcia was exposed from a very young age to serious illness, injuries, and

deformities. ECF No. 18–110. Later on, as a young teenager, Mr. Cruz-Garcia also worked in

construction and agricultural fieldwork. ECF No. 18–110. There, Mr. Cruz-Garcia was exposed to

pesticides and herbicides that caused headaches and nausea. Id. In short, from the age of 8, Mr.

Cruz-Garcia was no longer treated as a child with time to play and attend school, but as an adult

who was expected to work. ECF No. 18–94.

         Because Mr. Cruz-Garcia had to fish to provide his family’s food and income, he was unable

to continue with his education full-time as he had done in Santo Domingo. ECF Nos. 18–90; 18–

92. In Boba, Mr. Cruz-Garcia fished in the morning, attended school for a few hours in the


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afternoon, and returned to the sea soon after. ECF Nos. 18–42; 18–85; 18–92. Books at the severely

impoverished school were shared and pencils snapped in two to be shared amongst students. ECF

No. 18–92. The Dominican Republic government also provided for wheat and rice to ensure

students “had at least one good meal per day.” Id. As his siblings’ caregiver, Mr. Cruz-Garcia also

missed school whenever they were sick. Id.

                                v.    After his father remarried, Mr. Cruz-Garcia was expected to
                                      care for his siblings and half-siblings.
       Mr. Cruz-Garcia’s father, Mr. Cruz-Santos, eventually remarried to Dorca Cruz Faña and

they had two children together (Menagen Cruz-Santos and Jelissa Yelietza Cruz). ECF No. 18–39.

After Ms. Cruz Faña had her first child, Mr. Cruz-Garcia and his siblings joined the new family but

they were never accepted nor loved by their stepmother. Ms. Cruz Faña was profoundly jealous of

her husband’s relationship with his children from his previous marriage. ECF No. 18–110. Their

stepmother’s dislike for Mr. Cruz-Garcia and his siblings was “obvious.” ECF No. 18–85.

       Mr. Cruz-Garcia was also made responsible for the care of his half-siblings. ECF No. 18–85.

Now, he cooked, cleaned, washed, and changed diapers not just for his younger full siblings, but for

his new half-siblings as well. ECF Nos. 18–39; 18–85. This was in addition to continuing to work as

a fisherman and in his father’s medical practice. Around this time, Mr. Cruz-Garcia also worked in

construction and planting and gathering crops. ECF No. 18–110.

                                vi.   After their father remarried, Mr. Cruz-Garcia and his
                                      siblings were increasingly beaten and punished.
       Although Mr. Cruz-Garcia cooked, cleaned, and cared for the whole household, “it was never

enough for [his] stepmother and . . . [Mr. Cruz-Garcia] received more of the punishment” as the

eldest. ECF Nos. 18–85; 18–94. Because Mr. Cruz-Santos wanted to please his new wife, he

distanced himself from Mr. Cruz-Garcia and took to beating him and his siblings if their stepmother



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said they had been disobedient or disrespectful to her. ECF Nos. 18–85; 18–94; 18–110. On at least

one occasion, Mr. Cruz-Garcia’s father grabbed the bucket used to wash dirty diapers and dumped

the feces and water over his children’s heads. ECF No. 18–85. Even if the children had not done

anything wrong, they would still be disciplined based on what their stepmother told their father.

ECF No. 18–85. Ms. Cruz Faña made it clear to Mr. Cruz Santos that the children from his prior

marriage were separate from their children together. ECF No. 18–85.

                              vii.   At age 19, Mr. Cruz-Garcia emigrated to Puerto Rico and
                                     then to Houston to provide for his young family and ageing
                                     father.
       When he was 18, Mr. Cruz-Garcia met Mireya Perez, who was visiting Boba with her family.

ECF No. 18–87. After Mr. Cruz-Garcia and Ms. Perez were found alone together in a room, and

although nothing inappropriate had happened between them, they were forced to common-law

marry. Id.; ECF No. 18–85. Neither Mr. Cruz-Garcia’s father nor stepmother, however, approved of

the union and Mr. Cruz-Garcia was quickly forced to move out of his father’s home with his new

wife. ECF No. 18–87.

       Subsistence fishing remained their main source of food and income. ECF No. 18–87. The

catch was often small, however, and food was scarce. ECF No. 18–110. Nevertheless, Mr. Cruz-

Garcia shared his catch amongst the small community. ECF Nos. 18–110; 18–82. At the time, in

the 1980s, many young people from the Dominican Republic emigrated to neighboring Puerto Rico

to find work. ECF No. 18–84; 18–85. Mr. Cruz-Garcia and his wife agreed that he would leave for

Puerto Rico and, at age 19 Mr. Cruz-Garcia left Boba for Puerto Rico. ECF Nos. 18–87; 18–110.

       Mr. Cruz-Garcia crossed from the Dominican Republic to Puerto Rico in a yawl made out

of wood and without a motor, across “the sea of the dead,” so-named because of the frequent deaths

caused by the severe storms and currents. ECF Nos. 18–87; 18–110. As planned, Mr. Cruz-Garcia


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sought work in Puerto Rico so he could send money back to the Dominican Republic to purchase

his own fishing boat and equipment. ECF No. 18–110. To find work, Mr. Cruz-Garcia was forced

into dangerous, low-paying jobs. Id. He worked on a coffee plantation, seven-days a week, earning

$50-60 a week. Id. Mr. Cruz-Garcia lived with 15 other workers in the plantation warehouse, was

charged for all food and coffee, and had to purchase his work equipment from the plantation. Id.

What little money was left over, Mr. Cruz-Garcia sent back to his father to be passed along to Ms.

Perez. ECF Nos. 18–87; 18–110.

        Soon after arriving in Puerto Rico, Mr. Cruz-Garcia’s father told him that Ms. Perez was with

another man. ECF No. 18–110. This, however, was a lie designed to ensure that the money went to

Mr. Cruz-Garcia’s father only. ECF No. 18–87. Mr. Cruz-Garcia believed his father and, believing

himself to have been abandoned again, he sank into alcohol. ECF No. 18–110.

        After leaving the plantation, Mr. Cruz-Garcia remained in Puerto Rico and worked in

whatever employment he could find, including as a cook, gardener, loading and unloading cargo, in

construction, and selling aluminum cans to be recycled. ECF No. 18–110. Mr. Cruz-Garcia

eventually reunited with a friend from Boba who had also emigrated to Puerto Rico and obtained

employment as a restaurant cook. ECF No. 18–110. While working in Puerto Rico, Mr. Cruz-Garcia

suffered life-threatening injuries, including in a car accident, but he was not able to obtain medical

care. Id.

        While working as a cook, Mr. Cruz-Garcia met Angelita Rodriguez, who would become his

wife and later testified against him. Ms. Rodriguez was also a Dominican immigrant, but she had

family in Puerto Rico. ECF No. 18–110. Mr. Cruz-Garcia and Ms. Rodriguez were legally married

in 1987 and Mr. Cruz-Garcia worked for her father in construction. Id. Ms. Rodriguez would also




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go on to introduce Mr. Cruz-Garcia to Carmelo “Rudy” Martinez Santana. See infra Claim Five § A.

Mr. Santana had been living in Houston, Texas, but had been deported back to the Dominican

Republic and had recently come to Puerto Rico. ECF No. 18–86. At the time, Ms. Rodriguez and

Mr. Santana were likely already involved in dealing drugs. ECF Nos. 18–85; 18–87. In 1989, Mr.

Cruz-Garcia, Mr. Santana, and Ms. Rodriguez emigrated to Houston, Texas. ECF No. 18–86.

       While in Houston, Mr. Cruz-Garcia continued to send money to his father in Boba. ECF

Nos. 18–81; 18–84; 18–91. Eventually, his father was able to build one of the community’s few

cinder-block houses, with enough room for a fishing stall, for Mr. Cruz-Garcia to return to and live

in. Id. In Houston, Mr. Cruz-Garcia protected Mr. Santana’s wife, Margarita Martinez Zorrilla, from

her then-husband’s violence. ECF No. 18–86. Ms. Zorrilla spoke no English, had no family in

Houston, and was too afraid to report her husband’s violence because of her undocumented status.

Id. The violence, however, escalated such that neighbors were forced to call law enforcement on at

least one occasion after Mr. Santana beat and bit Ms. Zorrilla. Id. In addition to intervening to

protect Ms. Zorrilla from Mr. Santana’s violence, Mr. Cruz-Garcia also provided her with food and

diapers for her baby son. Id.

       As well as his ageing father in the Dominican Republic and his family and Mr. Santana’s

family in Houston, Mr. Cruz-Garcia provided financial and material support to other immigrant

families in Houston. See ECF Nos. 18–86; 18–21; 18–23. Among other forms of financial support,

Mr. Cruz-Garcia paid for a friend’s hospitalization and medical care when his friend sustained limb-

threatening injuries. ECF Nos. 18–21; 18–23. When his friend Cesar Amado Rios was shot and

told that his arm would need to be amputated, Mr. Cruz-Garcia took it upon himself to take Mr.

Rios to another hospital for a second opinion. Id. The second hospital was able to save Mr. Rios’




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arm and Mr. Cruz-Garcia paid for the treatment. ECF Nos. 18–21;18–23. Mr. Cruz-Garcia also

bough milk and food for neighboring families and encouraged the children to attend school. ECF

No. 18–23.

                               viii.      Back in Puerto Rico, Mr. Cruz-Garcia assisted U.S. law
                                          enforcement.
       After returning to the Dominican Republic with Angelita Rodriguez in 1992 and their

eventual divorce sometime later, Mr. Cruz-Garcia turned again to working whatever jobs were

available to continue to support his father and, after reuniting with Mireya Perez, his wife and

children. ECF Nos. 18–81; 18–87; 18–89; 18–91; 18–110. After a brief period in Puerto Rico, Mr.

Cruz-Garcia returned to Boba to live with Mireya Perez, their children, and Mr. Cruz-Garcia’s father

in the house built with money sent by Mr. Cruz-Garcia. ECF Nos. 18–44; 18–81; 18–87. Mr. Cruz-

Garcia went back to fishing as his family’s source of income and food, as well as shouldering

childcare and household chores. ECF No. 18–82; 18–87. His ageing father was no longer able to

fish. ECF No. 18–82. In addition, Mr. Cruz-Garcia also sold fish from a small stand and drove a

bus. ECF No. 18–87. Eventually, the family moved to Santo Domingo so that Mr. Cruz-Garcia’s

sons could access better education. Id.

       While in Puerto Rico, Cruz-Garcia was recruited by an agent with the Immigration and

Naturalization Service (“INS”), to help U.S. law enforcement uncover criminal activity in Puerto

Rico. ECF Nos. 18–85; 18–46; 24 RR 71–75. After Mr. Cruz-Garcia moved back to the Dominican

Republic, he was regularly sent into Puerto Rico as part of this work. ECF Nos. 18–85; 18–111.

                                ix.       Mr. Cruz-Garcia was heavily involved in his children’s lives
                                          and provided financial support to the community in Boba.
       Mr. Cruz-Garcia’s work enabled him to continue his financial support to the community in

and around Boba. Mr. Cruz-Garcia provided direct financial support to several community



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members, ensured they had access to medical care, and helped fund the construction of a church in

Boba. ECF Nos. 18–43; 18–93. For example, one day, as Mr. Cruz-Garcia returned from fishing in

his pickup truck, he saw a crowd of people surrounding a badly injured child who had been struck

by a car. ECF Nos. 18–43; 18–93. Mr. Cruz-Garcia ran to help the 6-year-old boy and drove him to

the nearest hospital. Id. The boy’s mother and neighbors credit Mr. Cruz-Garcia with saving the

boy’s life. Id. On another occasion, as he drove from Santo Domingo to Bella Vista de Boba, Mr.

Cruz-Garcia spotted a child begging on the side of the road. ECF No. 18–87. He pulled over and,

when the child explained that his parents were very poor and that he needed help, Mr. Cruz-Garcia

bought the child meal and clothes and then took him home. Id. Mr. Cruz-Garcia talked to the

parents about the importance of educating their son and he stayed in touch with the child. He sent

money to help the child and his family for some time thereafter. Id.

       Despite his separation from Mireya Perez for several years, Mr. Cruz-Garcia was a “loving

and attentive father.” ECF No. 18–87; see also ECF No. 18–88. When Mr. Cruz-Garcia and Ms.

Perez rekindled their romance, Mr. Cruz-Garcia worked “hard to regain [his son] Obelito’s love.”

ECF No. 18–87. Mr. Cruz-Garcia would often buy Ms. Perez and their children gifts in addition to

taking them out on family outings to the beach or horseback riding. Id. Mr. Cruz-Garcia did not shy

away from helping Ms. Perez with house chores like cooking, cleaning, and doing laundry. Id. Maria

Altagracia Cappellan, with whom Mr. Cruz-Garcia had a son, said Cruz-Garcia “treated her so well”

and she knew he was a “good provider for his family.” ECF No. 18–88. Mr. Cruz-Garcia likewise

paid for Ms. Capellan’s surgery when she fell ill with an ovarian cyst and cared for her throughout

her convalescence. Id. When she was away, Mr. Cruz-Garcia cooked, cleaned, and took care of Ms.

Capellan’s home business selling phone cards, as well as looking after their daughter. Id.




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                                   x.    Mr. Cruz-Garcia was a model inmate.
        Mr. Cruz- Garcia was arrested in 2001 in Puerto Rico. 24 RR 71–75. He was sentenced to

16 years in prison, during which he was incarcerated in several prisons on the island. ECF No. 18–

105-08. During that time, Mr. Cruz-Garcia was a model inmate who was reputed by prison officials

and chaplains to be trustworthy and devoted to his Christian faith. ECF No. 18–105; 18–108; see

also infra § G.3.

        Mr. Cruz-Garcia was housed in general population, was “never considered . . . to be a

dangerous or violent inmate,” and was not known to have any disciplinary problems. ECF No. 18–

108; see also ECF Nos. 18–107; 18–105; 18–45; 18–83. Based on his exemplary conduct, Mr. Cruz-

Garcia was granted “tremendous privileges.” ECF No. 18–107. These privileges included having the

keys to and access to various offices and the prison chapel, being permitted to move around the

prison unsupervised, and being employed in furniture-making and access to tools. ECF Nos. 18–83;

18–105; 18–107; 18–108. The supervisor at Bayamón, where Mr. Cruz-Garcia was incarcerated for

several years, concluded that Mr. Cruz-Garcia “did not present any security risk.” ECF No. 18–83.

        In addition to these privileges, Mr. Cruz-Garcia took an active role in religious and

counseling services. ECF Nos. 18–105; 18–107; 18–108. At Bayamón, Mr. Cruz-Garcia served as

the assistant to the chaplain and “assisted in all matters dealing with the facility’s religious services.”

ECF No. 18–105. Mr. Cruz-Garcia “supervised other inmates” and “took a very active role in helping

with other inmates, serving as a type of counselor for them.” Id. He also “would pray and preach

with other inmates” and led religious services. Id. Likewise, at the Oso Blanco prison where Mr.

Cruz-Garcia spent several years, Mr. Cruz-Garcia “counseled other inmates and encouraged and

supported them to become better people.” ECF No. 18–107.




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       To the prison officials and chaplains, “it was obvious that [Mr. Cruz-Garcia] was repentant,

and that he had the intention of making his life better.” ECF No. 18–83. Mr. Cruz-Garcia “was in

the process of changing to better himself.” Id. While incarcerated at the Ria Piedra jail, Mr. Cruz-

Garcia voluntarily sought out counseling and therapy services. ECF No. 18–45. Based on these

sessions, Dr. Lebrón, who counseled Mr. Cruz-Garcia, “did not have the impression that [Mr. Cruz-

Garcia] was a danger to others in the jail or that he would be a danger to society after being released

from prison.” Id.

                           b. Had trial counsel retained a trauma expert and an expert with
                              knowledge about Dominican culture and history, trial counsel
                              could have presented evidence of trauma and relevant cultural
                              context.

       As described supra § G.2.a, Mr. Cruz-Garcia was born in the Dominican Republic, emigrated

to Puerto Rico and then Houston, and experienced significant trauma throughout his childhood

and adulthood. Trial counsel, however, did not retain any experts with relevant expertise in trauma

and Dominican culture and history, leaving the jury with little by which to understand Mr. Cruz-

Garcia’s life experiences. These experts would have told the jury that Mr. Cruz Garcia “suffered

chronic, repeated, trauma with its long-lasting consequences and effects[.]” ECF No. 18–110.

       A trauma expert would have explained to the jury that Mr. Cruz-Garcia experienced “chronic

and repeated exposure to traumatic and stressful events during his developmental period” and that

“years of repeated and prolonged adverse experiences profoundly affected Cruz-Garcia.” ECF No.

18–110. Indeed, a trauma expert would have identified to the jury that Mr. Cruz-Garcia experienced

multiple forms of trauma, including maternal abandonment, extreme poverty and related

deprivation, substance abuse exposure, child labor, and parentification. Id. And, a trauma expert

would have further explained to the jury how these multiple and sustained forms of trauma “shaped



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and substantially impaired his cognitive, psychological, and social functioning and behaviors.” Id.

Indeed, a trauma expert would have determined that Mr. Cruz-Garcia “exhibited a number of

symptoms associated with a traumatic response,” most notably “memory and attention deficits.” Id.

A trauma expert would have further explained to the jury how “religion became not only a source

of comfort and hope for him, but . . . a lifeline.” Id.

        An expert with relevant cultural expertise would have likewise provided further evidence and

context about Mr. Cruz-Garcia’s life experiences as a Dominican native and immigrant to Puerto

Rico and Houston. Indeed, an expert with knowledge of the Dominican Republic would have

explained to the jury that Mr. Cruz-Garcia’s childhood and early adulthood coincided with

“deteriorating economic and social conditions” in the Dominican Republic, a time when “economic

hardship increasingly defined life in the Dominican Republic.” ECF No. 18–41. This expert would

have further placed Mr. Cruz-Garcia’s emigration to Puerto Rico, and eventually to Houston, within

a broader economic context which saw thousands of young men leave the Dominican Republic “as

a way to . . . search for a better life.” Id. Indeed, despite low wages and abusive labor conditions, Mr.

Cruz-Garcia was able to send money back to his family in the Dominican Republic. ECF Nos. 18–

41; 18–101. See supra Claim § G.2.a.

        Had trial counsel retained experts with relevant expertise in trauma and Dominican culture

and history, the jury would have heard how Mr. Cruz-Garcia’s social history “reflect[s] the strategies

people turn to in order to meet their obligation as a father, son, brother, uncle, and community

member in severely constrained circumstances.” ECF No. 18–41. A trauma expert would further

have told the jury how Mr. Cruz-Garcia has found in religion a “way of coping with the sequelae of




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the chronic, severe and repeated traumatic life experiences he has had to live through since

childhood.” ECF No. 18–110.

                           c. Had trial counsel not waited until the last minute, they could have
                              presented evidence of Mr. Cruz-Garcia’s assistance to United States
                              law enforcement agencies.

       Had counsel timely requested records from government agencies, they would have been able

to show that Cruz-Garcia assisted United States law enforcement agencies. ECF No. 18-46. Because

trial counsel did not dedicate sufficient time to pre-trial investigation, the only evidence they

obtained regarding Mr. Cruz-Garcia’s assistance to U.S. law enforcement was a heavily redacted

document from the Department of Justice. Id. It begins with “As per your request I am submitting a

list with case number of aliens prosecuted as a result of the assistance rendered by confidential

informant Obel Julian CRUZ-Garcia” and then continues onto the next page. Id. As a result of his

activities—often at risk to himself—federal agencies were able to make numerous arrests. Id. Because

trial counsel waited until just before trial to begin their investigation in earnest, however, they were

left with an almost fully redacted and practically useless list of matters in which Mr. Cruz-Garcia had

assisted the United States. Had trial counsel acted more diligently, they could have taken the steps

required to obtain additional information.

       These records would have also shown that the U.S. Government repeatedly trusted Mr. Cruz-

Garcia to enter the country legally for the purpose of providing “significant public benefit.” ECF

No. 18-111. In fact, even obtaining a copy of Cruz-Garcia’s passport—which his family had and would

have gladly provided, had trial counsel asked—would have shown that he was repeatedly issued

permission to enter the country for “significant public benefit.” Id. These admissions into the

country were for the purpose of providing assistance to United States federal agencies in the

apprehension of serious drug traffickers.


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        Either Mr. Cruz-Garcia’s passport or immigration records would have also shown that Mr.

Cruz-Garcia entered the country legally and was in Puerto Rico for one of these assignments when

he was arrested for kidnapping. ECF No. 18–111. Thus, records of federal agencies—which trial

counsel failed to request——would have provided information relevant to both future dangerousness

and mitigation special issues.

               3. Trial counsel performed deficiently by failing to investigate, and presenting no
                  rebuttal case to, the State’s case on future dangerousness.

                           a. Trial counsel performed deficiently by failing to investigate
                              extraneous offenses.

        Trial counsel failed to conduct any investigation into the extraneous offenses offered by the

State and into the issue of future dangerousness generally. Instead, trial counsel simply conceded

the future dangerousness special issue. Mr. Cornelius’s affidavit alone makes that clear: “We were

not going to win on future danger, in my opinion,” he wrote. 4 SHCR 946. Yet, Mr. Cornelius did

not describe any investigative effort explaining this determination. Instead, trial counsel appears to

have based this conclusion on their failure to succeed on the future dangerousness special issue in

prior cases, and trial counsel’s apparent belief that HCDAO would not seek the death penalty unless

there were an insurmountable case for future dangerousness. Id. (“[T]he State does not seek the

death penalty on cases where the crime is an aberration or where the defendant does not have a

history.”).

        As discussed infra § G, there was significant evidence available to combat the State’s future

dangerousness case. Much of the testimony concerning extraneous offenses was contradicted by

forensic evidence and prior witness statements. There was also substantial record-based evidence

that Mr. Cruz-Garcia had been a model prisoner in Puerto Rico, so much so that he was given the

keys to parts of the prison he was incarcerated in. See supra G.2.b & infra § G.3.c. Trial counsel not


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only failed to present evidence showing that Mr. Cruz-Garcia was not a future danger, trial counsel

never even attempted to uncover any such evidence. As the Supreme Court held in Andrus, it is

“hardly the work of reasonable counsel” to “relinquish[] the first of only two procedural pathways

for opposing the State’s pursuit of the death penalty” by failing to investigate future dangerousness.

140 S. Ct. at 1885.

                           b. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to
                              investigate extraneous offenses.

       Trial counsel failed to conduct a thorough and independent investigation into extraneous

offenses. Much of the testimony that the State presented about extraneous offenses was false and

could have been rebutted had trial counsel conducted an adequate investigation.

                                 i.     Saul Flores Murder.
       One of the offenses introduced by the defense at the punishment phase was the 1989 murder

of Saul Flores in Houston. Trial counsel, however, failed to investigate Saul Flores’s murder despite

being put on notice that the State intended to introduce testimony and evidence about it. The State

presented five lay witnesses and an expert, along with dozens of exhibits related to this extraneous

offense. Trial counsel did not present a single rebuttal witness and failed to follow basic procedure

for impeaching the State’s witnesses.

       One of the State’s main witnesses concerning the Flores murder was Johnny Lopez. Mr.

Lopez testified that Mr. Flores had been a friend and that he had learned of his death when an HPD

investigator visited with him in the Harris County Jail in 1989 in connection with HPD’s

investigation into Mr. Flores’s murder. 25 RR 46–47. Mr. Lopez testified that he had told law

enforcement that Mr. Lopez was on the run from Mr. Cruz-Garcia. 25 RR 54–55. Law enforcement

records, however, showed that Mr. Lopez identified a different individual by name and from a




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picture line up as being implicated in Mr. Flores’s murder. ECF No. 18-29. In fact, Mr. Lopez never

even mentioned Mr. Cruz-Garcia in his 1989 statement to HPD.

        Trial counsel, however, completely failed to impeach Mr. Lopez with his prior statement,

and instead simply let his false testimony stand. See infra Claim Five § F. Trial counsel also failed to

present rebuttal witnesses who could have testified that Mr. Lopez gave a completely different

statement in 1989. Mr. Lopez was interviewed by two officers, R.E. Gonzales and A.C. Alonzo, who

was also involved in investigating Cruz-Garcia’s case. ECF No. 18-29; see also ECF No. 18-67. Because

they interviewed Mr. Lopez in 1989, they could have testified about what Mr. Lopez told them for

purposes of impeachment. Due to trial counsel’s failure to properly impeach Mr. Lopez, the jury was

left with the impression that Mr. Lopez had in fact identified Mr. Cruz-Garcia as a possible assailant,

when in fact he had not.

        Mr. Santana, the State’s star witness at the guilt phase, also gave dramatic testimony about

Saul Flores’s murder. As discussed in Claim Five § F, Mr. Santana purported to have witnessed, and

participated in, the killing of Mr. Flores by Mr. Cruz-Garcia, which he described in gruesome and

graphic detail. His testimony, however, was completely inconsistent with the results of Mr. Flores’s

autopsy. See Claim Five § F.

        Mr. Santana also testified that Mr. Cruz-Garcia’s then-girlfriend, Elizabeth Ramos, was the

source of the conflict between Mr. Cruz-Garcia and Mr. Flores. 25 RR 74. According to Mr. Santana,

Mr. Cruz-Garcia killed Mr. Flores after Mr. Flores confessed his feelings to Mr. Cruz-Garcia’s then-

girlfriend, Elizabeth Ramos. 25 RR 74. He testified that “Saul had taken some drugs, he had gone

to Elizabeth’s apartment, and he wanted to have some type of love relationship with her.” Id. Ms.

Ramos called Mr. Cruz-Garcia and told him about it; Mr. Cruz-Garcia was furious, and immediately




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went to her apartment. Id. According to Mr. Santana, Mr. Cruz-Garcia then killed Mr. Flores

elsewhere. The State used this testimony to argue in closing that Mr. Cruz-Garcia “killed that 18-

year-old guy for nothing more than he hit on his girlfriend.” 26 RR 174.

       Had trial counsel conducted an adequate investigation, they would have been able to locate

and interview Elizabeth Ramos and she would have testified that she did not even know Saul Flores

ECF No. 18-30. Moreover, Ms. Ramos would have told the jury she was never “courted” by Mr.

Flores and Mr. Cruz-Garcia never picked up Mr. Flores—or any other man—from her apartment

under the circumstances described in the testimony. At that time, she was living with her mother,

in her mother’s apartment. Ms. Ramos is certain she would have remembered if several men arrived

to remove another man interested in “some type of love relationship.” Id.

       The Saul Flores murder was a key part of the State’s punishment phase case. Indeed,

according to the prosecutor, it was the reason the State chose to seek the death penalty against Mr.

Cruz-Garcia. Ex. 125; infra n.36. Had trial counsel adequately investigated the extraneous offense—

instead of simply assuming that the future dangerousness issue was a lost cause—they could have

shown that the witnesses who implicated Mr. Cruz-Garcia simply were not credible. Particularly

when considered together with the evidence trial counsel should have presented concerning Mr.

Cruz-Garcia’s exemplary prison record, there is a reasonable probability that at least one juror would

not have voted “yes” on the special dangerousness special issue if trial counsel had adequately

investigated the Saul Flores murder.

                                 ii.   Kidnapping Puerto Rico.
       Trial counsel failed to investigate the extraneous offense for which Mr. Cruz-Garcia was

incarcerated in Puerto Rico. Trial counsel failed to uncover records that would have substantiated

the testimony the defense was unable to introduce at trial: that Mr. Cruz-Garcia was working on


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behalf of law enforcement agencies at the time of the offense, October 11, 2001. Specifically, Cruz-

Garcia was admitted to Puerto Rico a couple of weeks prior, on September 21, 2001, for 90 days for

“significant public benefit.” ECF No. 18-111. This type of benefit is typically used to allow

noncitizens to appear for and participate in a civil or criminal legal proceeding in the United States.

8 C.F.R. § 212.5(b)(4). Significant public benefit parole might be granted, for example, to allow a

key witness with no legal means of entering the United States to be paroled into the country long

enough to testify in a criminal prosecution for drug trafficking.

        Again, trial counsel failed to obtain those records, investigate the testifying witnesses, and

present any rebuttal witnesses or experts. Here, counsel could have introduced testimony of an agent

familiar with Mr. Cruz-Garcia who could have put his action that day in context of a multi-agency

operation gone sideways and their informant being caught in the middle of it. Trial counsel did

none of that.

                                iii.   Beating of “Betico.”
        Finally, during the punishment phase, Mr. Santana also testified that Mr. Cruz-Garcia, along

with others, broke into “Betico’s” 36 house. 25 RR 66. According to Mr. Santana, Mr. Cruz-Garcia

stole drugs and money from Betico, beat him, and raped his wife. Id. at 70.

        Trial counsel failed to conduct any investigation, locate any information about Betico and

the alleged rape, and present any rebuttal testimony. Trial counsel failed to make any objection to

the introduction of such highly prejudicial, inflammatory testimony that had no indicia of reliability.

Aside from issues with Mr. Santana’s credibility in general, Mr. Santana did not witness this offense



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   Spelled phonetically in the transcript as “Patiko” but spelled as “Betico” on the State’s notice of
intent to use prior bad acts. The notice does not provide the name of Betico’s wife, the date the
alleged assault occurred, or location. 2 CR 414.



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himself, could not say when this incident allegedly occurred, did not know the names of the people

who were present, and did not even know the names of the alleged victims.

                             c. Trial counsel performed deficiently by failing to investigate Mr.
                                Cruz-Garcia’s exemplary prison record.

       Extraneous offenses are not the only kind of evidence that bears on a defendant’s future

dangerousness. If the defendant has been incarcerated prior to trial, his “prison record [i]s clearly

relevant on the issue of future dangerousness.” Moore v. Johnson, 194 F.3d 586, 621 (5th Cir. 1999).

Here, Mr. Cruz-Garcia was serving a prison sentence in Puerto Rico for the 2001 kidnapping offense

described in Section G.3.b., when he was indicted for capital murder. In response to the State’s

subpoena, the FBI produced the entire file of Mr. Cruz-Garcia’s incarceration in Puerto Rico. ECF

No. 18-35; ECF No. 18-56 at 2; see also 1 CR 39. As described below, the records reflect that Mr.

Cruz-Garcia had an exemplary prison record. Witnesses from the Puerto Rican prison were also

available to testify concerning Mr. Cruz-Garcia’s conduct in prison, which was universally praised

among the correctional personnel who knew him.

       Trial counsel failed to present any evidence concerning Mr. Cruz-Garcia’s incarceration in

Puerto Rico. Although Mr. Cruz-Garcia’s prison records were part of the District Attorney’s file, trial

counsel did not review the State’s file, as discussed in Section C.7, and therefore did not introduce

any of that record-based evidence. Likewise, as discussed in Section G, trial counsel failed to conduct

any investigation in Puerto Rico—despite (correctly) telling the court it would be necessary to prepare

Mr. Cruz-Garcia’s defense.

       Moreover, it was not as if both sides in the case chose to ignore Mr. Cruz-Garcia’s

imprisonment in Puerto Rico. One of the State’s witnesses was a Puerto Rican correctional official.

He testified that, early in his period of incarceration, Mr. Cruz-Garcia was found to have a cell



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phone, map and rope made from bedsheets in his cell, suggesting a possible escape attempt. 24 RR

118–29. But because trial counsel neither investigated, nor presented any rebuttal evidence on future

dangerousness, this infraction was the only information the jury heard concerning Mr. Cruz-Garcia’s

time in Puerto Rican prison. Trial counsel could have meaningfully undermined this evidence by

showing the jury that Mr. Cruz-Garcia was a model prisoner for the vast majority of his incarceration,

to the point that Mr. Cruz-Garcia became one of the most trusted inmates in the prison.

       Despite being on notice that the State’s case would include information concerning Mr.

Cruz-Garcia’s time in Puerto Rican prison, trial counsel failed to undertake any investigation of that

issue. By failing to do so, trial counsel performed deficiently. Moore, 194 F.3d at 621 (trial counsel

performed deficiently by failing to present evidence of defendant’s good behavior in prison in

response to prosecution’s use of prison record at punishment phase); ABA Guideline 10.7(A).

                           d. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to
                              investigate Mr. Cruz-Garcia’s exemplary prison record.

       Had trial counsel conducted an adequate investigation, Mr. Cruz-Garcia’s time in Puerto

Rican prison could have been leveraged to undermine the State’s case on future dangerousness and

provide strong evidence that Mr. Cruz-Garcia did not constitute a future danger.

                                 i.    Puerto Rican prison records from the State’s own file show
                                       that Mr. Cruz-Garcia was a well-behaved inmate.
       Records from Mr. Cruz-Garcia’s time in prison, many of which were in the State’s file that

trial counsel did not review, indicate Mr. Cruz-Garcia had no disciplinary history or grievances from

his time in Puerto Rican prisons. ECF No. 18-38 at 8 (no disciplinary complaints from October 31,

2005 to November, 3, 2008); id. at 9 (no grievances from 2005 to 2010); id. at 10 (no disciplinary

complaints); id. at 11 (same). Indeed, the records reflect that rather than being a disciplinary

problem, Mr. Cruz-Garcia was the opposite. Mr. Cruz-Garcia earned numerous recommendations


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for good time credit based on his behavior and hard work. Id. at 1, 4, 6, 7, 12, 14, 16, 18, 20, 21.

From October 2005 to July 2009, Mr. Cruz-Garcia received frequent commendations for his hard

work at the prison. Id. In total, Mr. Cruz-Garcia received 204 days of credit for his behavior. One

notation specifically observed that:

                   This prisoner performs risky jobs and for this reason we are asking
                   for this good conduct time to compensate him for the effort that he
                   makes and by this means help create an example so that other
                   prisoners will give their best.

Id. at 6.

                                   ii.   Prison chaplains who knew Mr. Cruz-Garcia well could have
                                         testified to his outstanding conduct and sincere religious
                                         conversion in prison.
            Chaplains at the facilities where Mr. Cruz-Garcia was housed were available to testify

regarding his positive behavior in prison and the resulting trust and freedoms that were bestowed

upon him. Chaplain Irma Iglesias Cruz has worked in the Puerto Rico Department of Correction

for roughly forty years. ECF No. 18-105. She supervises about sixty other prison workers, including

chaplains in other facilities, and oversees the orientation of new chaplains coming in to work in an

institutional setting for the first time. Id. Ivan Negron Vera has worked as a chaplain for the

Department of Correction for seventeen years. ECF No. 18-106. From 2000 to 2012, he supervised

roughly two thousand chaplains serving the various facilities run by the Department. Id. He regularly

counsels both inmates and correctional staff and guards. Id. Jimmy Osorio has been a pastor for

thirty years and has volunteered as a chaplain with the Department of Correction for about twenty-

two years. ECF No. 18-107. And Luis Gonzales Martinez has volunteered as a chaplain at multiple

facilities in San Juan for about twenty-eight years. ECF No. 18-108.




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       These four chaplains each got to know Mr. Cruz-Garcia as a volunteer helping with religious

services and taking care of the chapel. ECF Nos.18–105; 18–106; 18–107; 18–108. Each agrees that

in the many years they have worked in the criminal justice system, Mr. Cruz-Garcia stood out to

them as one of the best behaved, most trusted, and most well-respected inmates. ECF Nos. 18–105;

18–106; 18–107; 18–108.

       As an experienced chaplain, Ms. Cruz had witnessed other inmates trying to con their way

into positions of trust or pretend to be religious, but Mr. Cruz-Garcia was not one of them. ECF

No. 18–105. Each of the chaplains believed through their experiences with Mr. Cruz-Garcia that

he was a genuine and honest person. ECF Nos. 18–105; 18–106; 18–107; 18–108. To them, Cruz-

Garcia’s faith is real, as was the encouragement and support he gave to other inmates. Exs. 105 at

6–7, 106 at 9, 107 at 6, 108 at 5–6. At the time, the chaplains noted how he worked hard to help

others become better people and productive inmates. ECF Nos. 18–105; 18–106; 18–107; 18–108.

He got along well with other inmates and staff. ECF Nos. 18–105; 18–106; 18–107; 18–108.

       Because of Mr. Cruz-Garcia’s good behavior, he earned the respect of guards, staff, and other

inmates. ECF Nos. 18–105; 18–106; 18–107; 18–108. He was given a significant role in the church

services of the prison. ECF Nos. 18–105; 18–106; 18–107. They described Mr. Cruz-Garcia as one

of the most trusted inmates in the chapel and that Mr. Cruz-Garcia would assist in all matters dealing

with the prison’s religious services. ECF Nos. 18–105; 18–106; 18–107; 18–108. For example, Mr.

Cruz-Garcia would help get the chapel ready for worship services and clean up after, moving about

freely. ECF Nos. 18–105; 18–106; 18–107. Mr. Cruz-Garcia also took part in music services and led

Bible studies. ECF Nos. 18–105; 18–107.




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        None of the chaplains remember Mr. Cruz-Garcia being written up for discipline problems

or being considered dangerous. ECF Nos. 18–105; 18–106; 18–107; 18–108. None ever witnessed

nor heard of him committing any violence. ECF Nos. 18–105; 18–106; 18–107; 18–108. And this

was not due to the lack of opportunity—while in prison in Puerto Rico, Mr. Cruz-Garcia was housed

in general population and he was frequently left alone outside his cell. ECF Nos. 18–105; 18–106;

18–107; 18–108.

        Mr. Cruz-Garcia was given tremendous privileges and trust in the prison not conferred on

most other inmates. For example, multiple chaplains at various times gave Mr. Cruz-Garcia the keys

to the chapel or their offices and allowed him to move around unsupervised. ECF Nos. 18–105; 18–

106; 18–107; 18–108.

        Mr. Cruz-Garcia was also allowed to work in the “corporation” area, which allowed inmates

access to power tools and other potentially dangerous objects that were used for making furniture.

ECF Nos. 18-106; 18-107; 18-108. Only inmates who were well-behaved, hard-working, and had

earned trust were permitted to work there. See, e.g., ECF Nos. 18-106; 18-107; 18-108.

        In fact, if anything, Mr. Cruz-Garcia was seen as a calming influence who helped to maintain

order. ECF Nos. 18-105; 18-106; 18-107; 18-108. He would convince other inmates to pay attention

to correctional staff and to follow the rules. ECF Nos. 18-106; 18-107. Correctional staff felt Mr.

Cruz-Garcia made their jobs easier through his influence on other inmates. ECF No. 18-106. When

Mr. Cruz-Garcia was moved into segregation because he was being extradited to Texas, he

maintained this attitude. 37 ECF Nos. 18-105.




37
 Copies of the letters found in the DA file support the chaplains’ view that Mr. Cruz-Garcia
maintained his faith even as he was incarcerated in Houston: he continued to take Bible courses by


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        Overall, these chaplains would have testified that Mr. Cruz-Garcia had a tremendous,

positive impact on the lives of other inmates and of correctional staff while in prison in Puerto Rico.

ECF Nos. 18-105; 18-106; 18-107; 18-108. In addition to being a trustworthy and hard worker, Mr.

Cruz-Garcia acted as a counselor to help other inmates obey prison rules. ECF Nos. 18-105; 18-106;

18-107; 18-108.

                                 iii.   A classifications supervisor could have testified that Mr.
                                        Cruz-Garcia did not present any security risk as an inmate.
        Daisy Melendez, a classifications supervisor at one of the prisons where Mr. Cruz-Garcia was

incarcerated, was also available to testify. ECF No. 18-83 at 2. It was obvious to her that Mr. Cruz-

Garcia “was repentant, and that he had the intention of making his life better.” Id. She had seen

how some inmates with long sentences “close themselves up” and “los[e] the opportunity to change.”

Id. “[O]thers change and start being different, better persons.” Id. Ms. Melendez “can tell the

difference” and she noticed that Mr. Cruz-Garcia “seemed to be one of the ones that was in the

process of changing to better himself.” Id. It was apparent that Mr. Cruz-Garcia “had a very strong

faith” and he “used to talk about God a lot.” Id. Ms. Melendez “never heard any complaints about

[Mr. Cruz-Garcia], neither from the guards, nor from the other inmates.” Id. Ms. Melendez could

have told the jury that, based on her years of experience as a prison classifications official, Mr. Cruz-

Garcia “did not present any security risk.” Id.




correspondence and engage in nearly daily religious exchanges via post with friends and family. Had
trial counsel reviewed the DA file, these letters could have been presented to the jury.



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                                  iv.   A psychologist who counseled Mr. Cruz-Garcia could have
                                        testified to his genuine religious faith and personal growth
                                        while in Puerto Rican prison.
       Dr. Alejandro Lebron, a clinical psychologist who counseled Mr. Cruz-Garcia while he was

in prison there, was also available to testify. ECF No. 18–45. Dr. Lebron has worked in the field for

roughly forty years and, at the time he knew Mr. Cruz-Garcia, was providing mental health support

and assistance to inmates. Id. at 6. Mr. Cruz-Garcia began seeing Dr. Lebron by choice. Id. That is,

he was not ordered to receive counseling, but instead sought out therapy on his own. Id.

       Like the chaplains, Dr. Lebron observed that Mr. Cruz-Garcia’s faith was genuine and

thoughtful. ECF No. 18–45 He also felt that his dealings with Mr. Cruz-Garcia gave him a new

perspective on the Bible. Id. Dr. Lebron’s experience in dealing with Mr. Cruz-Garcia was that he

was open and honest and was not a troublemaker. Id. Dr. Lebron could have told the jury that, based

on his observations of Mr. Cruz-Garcia’s interactions with other prison staff and civilians, he never

felt like Mr. Cruz-Garcia posed a danger to anyone. Id. Indeed, he never knew of Mr. Cruz-Garcia to

cause any trouble. Id. Dr. Lebron would have described Mr. Cruz-Garcia to the jury as “a deeply

spiritual man, who believed that doing good work and living a good Christian life was the most

important thing he could do.” ECF No. 18–45. Having worked with prison populations, and

knowing Cruz-Garcia in the years after the crime occurred, Dr. Lebron would have communicated

that he had witnessed inmates change and that, even if guilty, he believed Mr. Cruz-Garcia was no

longer the same individual. Id.

                                  v.    An expert on the Puerto Rican Department of Corrections
                                        could have testified to the remarkable nature of Mr. Cruz-
                                        Garcia’s exemplary prison record.
       Trial counsel did not retain, nor present the testimony of any expert who could have

reviewed, and testified to, Mr. Cruz-Garcia’s exemplary prison record. Had such an expert reviewed



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Mr. Cruz-Garcia’s records, that expert could have told the jury that Mr. Cruz-Garcia’s records

reflected his exemplary conduct during the nearly eight years he was incarcerated in Puerto Rico.

ECF No. 18-40. There was nothing in the records to indicate that Mr. Cruz-Garcia was a dangerous

or violent inmate; in fact, just the opposite—Mr. Cruz-Garcia was a model inmate who was trusted

and highly regarded by prison staff. Id. Indeed, when an expert retained in post-conviction

proceedings did review these records, he concluded that the trial testimony concerning Mr. Cruz-

Garcia’s purported escape attempt was likely overblown, if not downright misleading. Id. at 4.

Among other things, Mr. Cruz-Garcia was never under “arrest” due to the incident, as the State’s

witness testified. 24 RR 125. He was never even criminally charged with attempting to escape and

his sentence was not increased. ECF No. 18-40. Mr. Cruz-Garcia was reclassified back to minimum

custody in significantly less time than would be typical. Id. Moreover, the cell where the items were

found was shared with another inmate and there was no indication that it was not the other inmate

who had acquired the contraband. Id.

                                vi.    Mr. Cruz-Garcia’s common-law wife Dorca could also have
                                       provided valuable testimony concerning Mr. Cruz-Garcia’s
                                       time in Puerto Rican prison.
       Finally, Mr. Cruz-Garcia’s common-law wife Dorca, who trial counsel briefly interviewed by

telephone, could have provided helpful information in this regard had she been interviewed earlier

and more thoroughly. Dorca had been with Mr. Cruz-Garcia during the time he was in prison and

had visited him there frequently with their daughter. ECF No. 18-88. She recalls the jail guards were

friendly with Mr. Cruz-Garcia and told Dorca how much they liked him. Id. She still sees some of

the guards occasionally and they are dismayed to hear that he remains incarcerated in the United

States. Id. During his time in prison, Mr. Cruz-Garcia worked hard to continue to provide for his




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family by making hammocks, key chains, and other items, which he would sell for money that he

would give to his daughter. ECF No. 18-107.

                                 vii.   Evidence of Mr. Cruz-Garcia’s life and conduct in Puerto
                                        Rican prison could have persuaded at least one juror that
                                        Mr. Cruz-Garcia was not a future danger.
        None of this information about Cruz-Garcia’s conduct and life in prison in Puerto Rico was

presented to the jury. Instead, the jury heard only of Mr. Cruz-Garcia’s purported escape

preparations. Trial counsel’s failure to investigate and present evidence concerning Mr. Cruz-

Garcia’s incarceration was doubly harmful. Evidence of Mr. Cruz-Garcia’s exceptional prison record

would have blunted the impact of the State’s evidence concerning his purported escape attempt,

showing the jury that nothing similar—nor any other infractions—occurred during the remainder of

his prison term. It would also have shown the jury that, far from being a potential escapist, Mr. Cruz-

Garcia would be a well-behaved inmate and a positive influence on his fellow inmates if he were

sentenced to life. Particularly given the hesitation of several of the jurors to impose a death sentence

(and in one case, a juror’s complete and immediate disavowal of the sentence) there is a reasonable

probability that at least one juror would have reached a different result if the jury heard the full story

concerning Mr. Cruz-Garcia conduct and life in Puerto Rican prison. Moore, 194 F.3d at 621

(holding that trial counsel’s failure to present evidence concerning defendant’s good behavior in

prison prejudiced defendant as to both future dangerousness and mitigation special issues).

        H. Trial counsel was ineffective for failing to object to error and failing to preserve error
           for appellate review.

        “[T]rial counsel in a death penalty case must be especially aware . . . of the heightened need

to fully preserve all potential issues for later review.” A.B.A. Guideline 10.8, Cmt. “Counsel must

therefore know and follow the procedural requirements for issue preservation and act with the




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understanding that the failure to raise an issue . . . may well forfeit the ability of the client to obtain

relief on that issue in subsequent proceedings.” Id. Trial counsel has a duty to preserve constitutional

error for appellate review, as well as a duty to object and move to exclude inadmissible evidence.

Henry v. Scully, 78 F.3d 51, 53 (2d Cir. 1996) (failure to object to inadmissible evidence amounted

to deficient performance); Cossel v. Miller, 229 F.3d 649, 654 (7th Cir. 2000) (failure to object to in-

court identification); Gabaree v. Steele, 792 F.3d 991, 999 (8th Cir. 2015) (failure to object to

inadmissible testimony); Griffin v. Harrington, 727 F.3d 940, 947–48 (9th Cir. 2013) (failure to object

to unsworn testimony); Thomas v. Varner, 428 F.3d 491, 501–02 (3d Cir. 2005) (failure to object to

in-court identification); Martin v. Grosshans, 424 F.3d 588, 591 (7th Cir. 2005) (failure to object to

inadmissible testimony). Throughout Mr. Cruz-Garcia’s trial, however, trial counsel failed to object

to the admission of highly prejudicial evidence and failed to object to violations of Mr. Cruz-Garcia’s

constitutional rights.

                    1. Trial counsel failed to object to, and preserve for appellate review,
                       violations of Mr. Cruz-Garcia’s rights under the Confrontation Clause.

        As detailed, infra, in Claims Two and Ten, Mr. Cruz-Garcia’s right to confront witnesses

against him was repeatedly violated when one of the State’s DNA experts, Matt Quartaro, was

permitted to testify to forensic work that he himself did not perform. See 16 RR 48–79; 21 RR 103–

42. Likewise, the State’s medical examiner, Dr. Dwayne Wolf, testified at length to autopsies that he

himself did not perform. See 20 RR 4–33; 25 RR 97–115. Trial counsel, however, did not object to

their testimony on Confrontation Clause grounds. Mr. Cruz-Garcia was prejudiced by trial counsel’s

failure to object to this testimony because, had trial counsel objected, that testimony would have

been excluded; or error would have been preserved and Mr. Cruz-Garcia would have been granted

a new trial on direct appeal. See Claim Ten.


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               2. Trial counsel failed to object to, and preserve for appellate review, the trial
                  court’s ruling impermissibly limiting Mr. Cruz-Garcia’s right to cross-examine
                  witnesses about the reliability of the DNA evidence.

       As detailed, infra, in Claim Two § C, the trial court prohibited Mr. Cruz-Garcia from cross-

examining witnesses about the reliability and accuracy of the DNA evidence based on the disgraced

HPD Crime Lab’s processing and storage of that DNA evidence. As detailed, infra, in Claim Four §

2, trial counsel did not object to that ruling on Confrontation Clause grounds. Mr. Cruz-Garcia was

prejudiced by trial counsel’s failure to object to this testimony because, had trial counsel objected,

Mr. Cruz-Garcia would have cross-examined witnesses about the unreliability of the DNA evidence;

or error would have been preserved and Mr. Cruz-Garcia would have been granted a new trial on

direct appeal. See Claim Two § C; Claim Four § F.2.

               3. Trial counsel failed to object to, and preserve for appellate review, the
                  improper admission of victim impact testimony.

       At the penalty phase, the State may introduce evidence “about the victim and about the

impact of the murder on the victim’s family.” Payne v. Tennessee, 501 U.S. 808, 827 (1991). That

evidence, however, must be limited to the “the human cost of crime of which the defendant stands

convicted.” Id. at 827 (emphasis added); see also id. at 825 (victim impact testimony permitted as

“another form or method if informing the sentencing authority about the specific harm caused by

the crime in question”) (emphasis added).

       At the penalty phase of Mr. Cruz-Garcia’s trial, the State elicited victim impact testimony

from witnesses to extraneous offense, in violation of the Eighth Amendment and Payne. For

example, Manuel Buten, a witness to an extraneous offense, testified about his family members’

ongoing mobility issues and continuing emotional issues, such as nervousness, feelings of insecurity,

inability to continue working, etc. RR 24 at 42. Likewise, Andres Castillo Buten also offered



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improper extraneous victim impact evidence, testifying that he still has problems to this day. 24 RR

95–96, 97. Trial counsel, however, did not object to this testimony in violation of the Eighth

Amendment. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to object to this testimony

because, had trial counsel objected, that testimony would have been excluded; or error would have

been preserved and Mr. Cruz-Garcia would have been granted a new trial on direct appeal.

               4. Trial counsel failed to preserve for appellate review error arising from the
                  State’s inflammatory comments.

       Counsel has a duty to object to improper argument by the State. Freeman v. Class, 95 F.3d

639, 644 (8th Cir. 1996) (holding Strickland violated based on trial counsel’s failure to object to

improper argument from prosecutor). As detailed, infra, in Claim Fifteen, the State made numerous

inflammatory comments in violation of Mr. Cruz-Garcia’s right to a fair trial by an impartial jury

and due process rights. The State repeatedly relied on comparisons with Hitler and Charles Manson,

relied on highly publicized murder and terrorist cases such the Boston Marathon bombings, and

invoked jurors’ sense of nationalism in adjudicating the sentence of Mr. Cruz-Garcia, a foreign

defendant. Regardless, trial counsel did not object to the State’s inflammatory comments, nor

requested an instruction to disregard. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to

object to these comments because, had trial counsel objected, error would have been preserved and

Mr. Cruz-Garcia would have been granted a new trial or punishment phase on direct appeal.

               5. Trial counsel failed to preserve for appellate review error arising from
                  emotional outbursts from the gallery.

       As detailed, infra, in Claim Fifteen, repeated emotional outbursts from the gallery tainted

Mr. Cruz-Garcia’s trial, in violation of his rights under the Fifth, Sixth, and Fourteenth

Amendments. Indeed, the trial court itself felt compelled to remove the jury at times to caution the

gallery to refrain from emotional outbursts. 20 RR 108. Trial counsel did bring these outbursts to


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the trial court’s attention but neither moved for a mistrial, nor preserved any error arising under the

Fifth, Sixth, and Fourteenth Amendments. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure

to object to these comments because, had trial counsel objected, error would have been preserved

and Mr. Cruz-Garcia would have been granted a new trial on direct appeal.

               6. Trial counsel failed to preserve for appellate review error arising from incorrect
                  translation of testimony.

       As detailed, infra, in Claim Eleven, numerous witnesses at Mr. Cruz-Garcia’s trial testified in

Spanish and their testimony was translated incorrectly to the jury. Indeed, the jury itself sent a note

asking whether it should deliberate based on the original or translated testimony. 23 RR 100. This

incorrect translation of testimony violated Mr. Cruz-Garcia’s rights under the Fifth, Sixth, Eighth,

and Fourteenth Amendments. Trial counsel, however, did not object after the court interpreter

flagged their own incorrect interpretation, nor after the jury sent out a note inquiring about the

issue. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to object to these comments because,

had trial counsel objected, error would have been preserved and Mr. Cruz-Garcia would have been

granted a new trial on direct appeal.

               7. Trial counsel failed to object to, and preserve for appellate review, Mr. Cruz-
                  Garcia’s absence from critical stages of his trial.

       As detailed, infra, in Claim Nine, Mr. Cruz-Garcia was absent from critical stages of his trial,

including when the trial court discussed its ex parte meeting with a holdout juror, in violation of his

rights under the Fifth, Sixth, and Fourteenth Amendment. Trial counsel, however, did not object

to Mr. Cruz-Garcia’s absence. 24 RR 3. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to

object to his absence because, had trial counsel objected, he would have been present to participate

in his own defense; or error would have been preserved and Mr. Cruz-Garcia would have been

granted a new trial on direct appeal.


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        I. Trial counsel was ineffective during jury deliberations.

                    1. Trial counsel failed to investigate jury misconduct.

        As detailed above in Claim One, the jury discussed the evidence and sentence outside of

deliberations. Mr. Cruz-Garcia incorporates here by reference all facts alleged above in Claim One

§ B in support of his claim that trial counsel failed to investigate jury misconduct. After attorney

Michael Casaretto alerted the trial court to misconduct by jurors in Mr. Cruz-Garcia’s case, the trial

court gave Mr. Casaretto’s contact information to trial counsel and trial counsel represented that

they would contact Mr. Casaretto. 24 RR 4–5. Trial counsel, however, never contacted Mr.

Casaretto, nor took any other steps to investigate jury misconduct. ECF No. 18–31. That

investigation would have confirmed Mr. Casaretto’s report of jury misconduct. See supra Claim One

§ B.

        In state post-conviction, trial counsel Skip Cornelius described the report of jury misconduct

as “insignificant.” 4 SHCR 948. By his own admission, however, that assessment was based on the

trial court’s summary of Mr. Casaretto’s report and trial counsel themselves never even sought to

contact Mr. Casaretto or take any other steps to investigate the jury misconduct. Instead, as is made

clear by Mr. Cornelius’s billing records described above, Mr. Cornelius was simply too busy with his

workload on other cases.

                2. Trial counsel failed to object to the trial court’s ex parte meeting with a holdout
                   juror.

        As detailed below in Claim Seven, the trial court held an ex parte meeting with a holdout juror

who wanted to answer the special issues in such a way as to result in a life verdict, and gave that juror

coercive instructions. Mr. Cruz-Garcia incorporates here by reference all facts alleged below in Claim

Seven in support of his claim that trial counsel was ineffective for failing to object to the trial court’s



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ex parte meeting. Trial counsel did not object to the trial court’s ex parte meeting with juror Bowman

and, instead, acquiesced to the trial court meeting with juror Bowman outside the presence of

counsel and Mr. Cruz-Garcia. 27 RR 3–4. Trial counsel further did not request an accounting of the

trial court’s ex parte meeting.

        In state post-conviction, trial counsel was ordered to “[e]xplain [their] reasoning in choosing

not to object to or specifically request the trial court to report its conversation with juror Angela

Bowman on the record.” 4 SHCR 933. Mr. Cornelius responded that: “There is a huge difference

between what we knew at the time and what has been said after the verdict was rendered.” 4 SHCR

948. That, however, is exactly the point. By failing to object to the ex parte meeting and failing to

request that the trial court inform trial counsel of the content of that meeting, trial counsel deprived

Mr. Cruz-Garcia of any opportunity to challenge the trial court’s coercive instructions to a lone

holdout juror who clearly stated that she believed that the answers to the sentencing special issues

were such that Mr. Cruz-Garcia would have been sentenced to life.

                3. Mr. Cruz-Garcia was prejudiced by trial counsel’s ineffectiveness during the
                   jury’s deliberations.

        As established in Claims One and Seven, the jury in Mr. Cruz-Garcia’s case committed

misconduct by discussing the evidence and sentence outside of deliberations and the trial court gave

coercive instructions to the sole holdout juror. Under Texas law, a capital defendant cannot be

sentenced to death absent a unanimous jury verdict on the special issues. Here, however, the jury

was not unanimous and juror Bowman differed from the rest of the jury on how to answer the Texas

sentencing special issues. Shortly after the trial court’s coercive instruction, which juror Bowman

understood to require that the jury continue to deliberate and remain sequestered until a verdict

was reached, the jury returned an apparently unanimous verdict. 3 CR 629. Had trial counsel



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objected to the ex parte meeting, trial counsel could have objected to the coercive instruction and

there is a strong possibility that juror Bowman would not have capitulated to the immense pressure

she felt to agree with the other jurors, meaning Mr. Cruz-Garcia would have received a life verdict.

Although appellate counsel could and should have raised the ex parte meeting with juror Bowman

on appeal, see infra Claim Eight, to extent the Court concludes that appellate counsel could not have

raised the issue because trial counsel failed to preserve it, then Mr. Cruz-Garcia was prejudiced by

trial counsel’s deficient performance because the issue would have prevailed on appeal. Finally, had

trial counsel investigated Mr. Casaretto’s report, trial counsel would have been able to ask for a

mistrial based on juror misconduct, or at least preserve the issue for review such that Mr. Cruz-

Garcia would have obtained a new punishment trial.

        J. Trial counsel was ineffective during jury selection.

        Jury selection in a capital case is “critical” and trial counsel should accordingly “devote

substantial time” to preparing and conducting jury selection. ABA Guideline 10.10.2, Cmt. Trial

counsel should further “listen closely to the prosecutor’s voir dire . . . make appropriate objections,

and ensure that all the information critical to a discrimination claim is preserved on the record.” Id.

Trial counsel did not dedicate the time, nor attention required to select the jury and ensure that any

error was identified and preserved for appellate review in Mr. Cruz-Garcia’s case. Indeed, Mr.

Cornelius’s billing records reflect that he billed at least 2.5 hours and up to 8 hours to other cases on

nearly every day that Mr. Cruz-Garcia’s case was in jury selection. See supra § A.5.a. Mr. Cornelius

further claimed 19 court day fees in other cases over that same time period. Id.

                    1. Trial counsel failed to raise and preserve as error that Mr. Cruz-Garcia’s
                       jury was selected from a venire that was not representative of a fair cross
                       section of the community, in violation of the Sixth and Fourteenth
                       Amendments.



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        “Counsel should consider . . . whether any procedures have been instituted for selection of

juries in capital cases that present particular legal bases for challenge.” A.B.A. Guideline 10.10.2.

Widely available information at the time and even prior to Mr. Cruz-Garcia’s trial made clear that

Harris County systematically excluded Hispanics from the jury pool: whereas Hispanics at the time

accounted for 40% of the Harris County population, they represented less than 25% of

veniremembers. See infra n.38. This systematic exclusion of Hispanics in jury venires was present in

Mr. Cruz-Garcia’s case. At the time of Mr. Cruz-Garcia’s trial in 2013, Harris County’s population

was 42.81%, Hispanic. 38 By contrast, the petit jury venire from which Mr. Cruz-Garcia’s jury was

selected was made up of 150 people, of which only 28 people or 18.67%, were Hispanic. This

practice of systemic exclusion, resulting in jury venires that are not representative of a fair cross

section of the community, violates a criminal defendants rights under the Sixth and Fourteenth

Amendments. See Duren v. Missouri, 439 U.S. 357, 358–59 (1979).

        Trial counsel, however, failed to raise and preserve this fair cross-section claim. Mr. Cruz-

Garcia was prejudiced by this failure because, had trial counsel objected and thus preserved this

error, Mr. Cruz-Garcia would have been successful on direct appeal. Indeed, Mr. Cruz-Garcia would

have been able to show that (1) Hispanics are “a distinctive group in the community;” (2) that the

representation of Hispanics in venires from which juries are selected “is not fair and reasonable”

based on the fact that Hispanics represented just 25% in venires generally despite representing 40%

of the population; and (3) that this underrepresentation was “due to systematic exclusion” based on

statistical evidence in Mr. Cruz-Garcia’s case and numerous other cases across Harris County. Duren,



38
   Texas Department of State Health Services, Texas Population, 2013 (Estimates), available at
http://dshs.texas.gov/chs/popdat/ST2013.shtm (last accessed Oct. 27, 2018).



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439 U.S. at 668–70 (describing three-part test a criminal defendant must satisfy to establish prima

facie violation of fair cross-section requirement). Finally, the State would have been unable to rebut

Mr. Cruz-Garcia’s prima facie case. Id. at 671 (holding that to rebut prima facie violation of fair-cross

section requirement, “the State that bears the burden of justifying this infringement by showing

attainment of a fair cross section to be incompatible with a significant state interest”).

                2. Trial counsel failed to make a full and accurate record of jury selection, and to
                   require the State to exercise its cause for challenges on the record.

        Over the course of jury selection, trial counsel stipulated to the removal of approximately 80

prospective jurors. See, e.g., 5 RR 104–05; 6 RR 4,118, 186–87, 192; 7 RR 251; 8 RR 35, 180; 9 RR

17; 10 RR 123, 124; 11 RR 4, 105; 13 RR 149. In many instances, trial counsel agreed to the removal

of prospective jurors, including for cause, without conducting any individual voir dire of those

veniremembers. See e.g. 5 RR 104–05 (defense counsel and the State agreeing to excuse thirty-eight

people); 11 RR 105 (defense counsel and the State agreeing to excuse thirty-one people). Many of

the discussions about these prospective jurors, including the reason for their removal either by

agreement or for cause, were held off the record. See, e.g., 5 RR 99–100 (“Have both sides had an

opportunity to review the questionnaires in this case and make agreements as to those

questionnaires?”). Moreover, even where the prospective jurors were challenged and removed for

cause, the trial court recorded their removal as by agreement. 5 RR 100. Trial counsel thus failed to

make a full and accurate record of voir dire, including by extensively discussing and agreeing to for-

cause challenges off the record, and not requiring the trial court to accurately record why prospective

jurors were removed. Trial counsel thus further failed to hold the State to its burden to prove those

for-cause challenges.




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        Trial counsel’s failure to make a record of for-cause challenges and to hold the State to its

burden to prove for-cause challenges persisted throughout voir dire and impacted the removal of

minority veniremembers. For example, trial counsel stipulated to the removal of venireperson 11

(Rachel Willis), even after the State withdrew its strike for cause. 5 RR 105–06; 6 RR 4. Trial counsel

also agreed to excuse venireperson No. 54 (Elsy Quinanilla), a Hispanic woman, even after the trial

court denied the State’s strike for cause. 5 RR 117–18; 7 RR 251.

        Trial counsel’s failure to make a full and accurate record of voir dire, including agreements

and for cause challenges, prejudiced Mr. Cruz-Garcia because the trial court would not have

sustained the State’s for cause challenges. Among the prospective jurors who were dismissed without

any record being made of the reason, were potential jurors like venireperson No. 18 (Anita Payne).

5 RR 104. Nothing in her questionnaire or the few questions she asked during general voir dire

suggested a basis in support of a for cause challenge. See 5 RR 34–35, 90–91. It was the same with,

with venireperson No. 20 (Meghan Mehl) and Monica Lara, venireperson No. 8, see 5 RR 49–50,

104, and several others. See 5 RR 82, 104. see generally 5 RR 8–105. Some expressed hesitancy about

the death penalty that did not rise to the level of “cause” sufficient to grant a strike. See, e.g.,

Venireperson No. 8 statement, 5 RR 83 (“I’m not for the death penalty, so I might possibly be

swayed. I don’t want to go 100 percent, but I’m not for it. So, it would be a little difficult for me.”).

                3. Trial counsel failed to raise a Batson challenge.

        The State unconstitutionally used peremptory challenges to systematically exclude Black and

Hispanic prospective jurors from serving on the jury, in violation of Batson v. Kentucky, 476 U.S. 79

(1986). These peremptory strikes include the discriminatory strikes of venirepersons Latoya Johnson

(No. 89), Melinda Dixon (No. 98), Johnny Bermudez (No. 92), and Gilberto Vazquez (No. 115).




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These jurors had similar answers on their questionnaires and responses during voir dire as compared

to seated white jurors. Yet trial counsel failed to raise a Batson objection to the State’s peremptory

challenge of these four jurors. 11 RR 180, 261; 12 RR 219; 13 RR 181. Mr. Cruz-Garcia was

prejudiced by trial counsel’s failure to raise a Batson challenge because he would have been successful

in proving a Batson objection.

       The State also targeted women, as reflected by their biased questions unrelated to their

qualifications as jurors, such as “Do you know how your husband feels about the death penalty?” 9

RR 120 (voir dire of Patricia Lopez, venireperson No. 69, by the State); see also Donna Chambers,

venireperson 45, 8 RR 45; Nancee Pyper, venireperson 64, 9 RR 169; Casey Guillotte, venireperson

84, 10 RR 184; Sharon Alexander, venireperson 149, 15 RR 157. None of the married men in the

venire were asked about how their wives felt about the death penalty.

               4. Trial counsel failed to raise Witherspoon challenges.

       The Supreme Court in Witherspoon v. Illinois recognized that to allow the State to remove

from the panel any member who has moral qualms about the death penalty would unfairly cause

the jury to be “uncommonly willing to condemn a man to die.” 391 U.S. 510, 521 (1968).

Nevertheless, numerous veniremembers were excluded from Mr. Cruz-Garcia’s jury simply because

they voiced general objections to the death penalty or expressed conscientious or religious scruples

against its infliction. Trial counsel, however, failed to object to the removal of these veniremembers

and failed to attempt to rehabilitate them. See A.B.A. Guidelines 10.10.2, Cmt. (“Counsel should

also develop a strategy for rehabilitating those prospective jurors who have indicated opposition to

the death penalty.”).




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       For example, the State moved to strike for cause veniremember No. 8 (Monica Lara), after

she stated “I’m not for the death penalty, so I might possibly be swayed. I don’t want to go 100

percent, but I’m not for it. So, it would be a little difficult for me.” 5 RR 83. 5 RR 100. Likewise,

veniremember No. 20 (Megan Mehl) was struck after she stated: “I feel the same way. I put that I’m

opposed, but in a few cases I’m for it, but not if I have to make the decision. I would be swayed to

go against the death penalty.” 5 RR 82. Both were struck/excused without any attempt by the trial

counsel to rehabilitate them. Indeed, trial counsel did not object to the exclusion of dozens of such

jurors, nor did trial counsel make any attempt to rehabilitate such jurors. These failures by trial

counsel prejudiced Mr. Cruz-Garcia because, had trial counsel objected to their removal or

rehabilitated them, the court would not have sustained the State’s for cause challenges and these

jurors would have been seated on the jury.

               5. Trial counsel failed to identify potential jurors’ biases based on the alleged facts
                  of the offense.

       “Counsel should conduct a voir dire that is broad enough to expose those prospective jurors

who are unable or unwilling to follow the applicable sentencing law, whether because they will

automatically vote for death in certain circumstances or because they are unwilling to consider

mitigating evidence.” A.B.A. Guideline 10.10.2, Cmt. Trial counsel, however, agreed to the State’s

request that either party be prohibited from discussing during voir dire that the offense was

committed against a child and included allegations of sexual assault. 5 RR 5. Trial counsel was thus

deficient by failing to conduct a “broad” voir dire to explore and determine whether prospective jurors

could nevertheless render impartial judgment.

       Furthermore, while agreeing with the State not to examine jurors’ potential biases towards

crimes involving children and sexual violence, trial counsel did not object to the State’s repeated



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reliance on sensational crimes against children. For example, the State repeatedly invoked the

Boston marathon bombing, the Candy Man case, and the Andrea Yates case. 5 RR 174, 223, 289;

7 RR 27, 73, 104, 144, 151, 220; 8 RR 138; 9 RR 83, 180, 185; 10 RR 13, 139; 11 RR 189, 145;

12 RR 115, 157, 251; 13 RR 209. Trial counsel thus forewent any chance to identify potential jurors’

biases, while also permitting the State to rely on examples of crimes committed against children to

build up what it suggested seated jurors could expect to hear.

                6. Trial counsel failed to object to the State’s inflammatory voir dire questioning.

        Trial counsel failed to object to the State’s unconstitutionally inflammatory comments and

questions during voir dire. See Freeman, 95 F.3d 639 (holding Strickland violated due to trial counsel’s

failure to object to improper argument from prosecutor).

        The State repeatedly used examples such as Adolf Hitler and Charles Manson to explain the

applicable law to prospective jurors. See 6 RR 26–27; 8 RR 95; 11 RR 202; 12 RR 261; 13 RR 217;

14 RR 222–23, 262–63. For example, the State explained the law of parties, which governed Mr.

Cruz-Garcia’s case, by referencing Charles Manson and Adolf Hitler: “Charles Manson got people

to do his work for him, but he was clearly the worst actor of the bunch. You know, Hitler. . . So,

that’s one of the reasons this law exists.” 6 RR 26–27. These were not isolated remarks; the State

repeatedly made use of these analogies throughout voir dire, including with two jurors who were

seated. 12 RR 22, 163–64. These comments and comparisons drew no objection from trial counsel.

        Trial counsel likewise failed to object to the State repeatedly invoking the then-recent Boston

marathon bombing, as well as other highly publicized crimes, with prospective jurors as well as jurors

who were eventually seated. 7 RR 27, 104; 8 RR 138; 10 RR 13, 139; 11 RR 189, 145; 12 RR 157,

251; 13 RR 209. Likewise, the State repeatedly invoked “the Candy Man case” during voir dire—

including with those seated as jurors—as an example of a case with facts so egregious that “anyone


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who can do that, is always going to be a threat to society.” 5 RR 174, 223, 289; 7 RR 144; 9 RR 180.

The prosecutor also repeatedly brought up Andrea Yates, a woman who drowned her five children,

in voir dire—including with seated jurors. 7 RR 73, 151, 220; 9 RR 83, 185; 12 RR 115.

       Trial counsel also failed object to the State’s suggestions to veniremembers that Mr. Cruz-

Garcia had a long criminal history. For example, the State told prospective jurors: : “So, can you see

how that other evidence—a lot of jurors are like: Well, we didn’t hear anything about criminal

history, so he must not have any, during the guilt phase. But that’s not true because usually you

won’t hear about that until the punishment phase, if there is any.” 6 RR 16. With the venireperson

who ended up being seated on the jury, the State both suggested that criminal history existed and

questioned the existence of mitigation: “And in the guilt phase, certain things like the defendant’s

criminal history, good things about the defendant, if there are any of those, those kinds of things

are not going to come into play usually until the punishment phase of the trial.” 12 RR 14 (voir dire

of Jennifer Sims, seated juror). By strongly suggesting to potential jurors that Mr. Cruz-Garcia had

a “criminal history” that would only be revealed at the punishment phase, the State effectively evaded

the rules of evidence prohibiting, with limited exceptions, a defendant’s criminal history from being

used by the State to prove guilt. Trial counsel should have objected.

       The State’s reliance on and comparisons with examples such as Hitler, Charles Manson, the

Boston marathon bombing, Andrea Yates, and the Candy Man case violated Mr. Cruz-Garcia’s rights

to a trial by a fair and impartial jury. See infra Claim Fifteen. Trial counsel, however, never objected

to this inflammatory voir dire by the State. Mr. Cruz-Garcia was prejudiced by this failure. Building

on the foundation laid in voir dire, the State subsequently invoked these same comparisons and

imagery during closing argument: “I will also ask you that you remember those conversations that




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we had with each of you individually over the last month or so back in jury selection.” 26 RR 145.

Echoing the voir dire—“Charles Manson or Hitler . . . they have been evil inside,” 8 RR 95—the State

went on to argue that “Cruz-Garcia is a monster. He is an evil person who likes to torture and taunt

his victims.” 26 RR 175.

        K. Trial counsel rendered ineffective assistance by failing to recognize the significance of
           Mr. Cruz-Garcia’s foreign nationality.

        As a citizen of the Dominican Republic, Mr. Cruz-Garcia is entitled to certain protections

under the Vienna Convention on Consular Relations (VCCR). 39 Here, Mr. Cruz-Garcia was denied

effective assistance of counsel when his trial attorneys failed to recognize and act on his rights under

the VCCR by contacting the Dominican Republic consulate concerning his prosecution, thereby

depriving him of all the benefits that consular involvement would have provided.

                    1. Trial counsel performed deficiently by failing to contact the Dominican
                       consulate.

        Sandra Babcock, a clinical professor of law at Cornell University and a licensed Texas

attorney with over twenty years of capital experience, stated that it was standard practice within the

capital defense community in 2013 to enlist the help of a foreign consulate to assist a foreign client.

ECF No. 18-26. This is reflected in the ABA Guidelines, which state require trial counsel

representing a foreign national to “immediately advise the client of his or her right to communicate

with the relevant consular office,” “obtain the consent of the client to contact the consular office,”

and immediately thereafter “contact the client’s consular office and inform it of the client’s


39
  Specifically, Mr. Cruz-Garcia was entitled to be apprised of his right to contact authorities from
his home country if he has been arrested, detained, or indicted. Vienna Convention on Consular
Relations Art. 36(1)(b), April 24, 1963, 21 U.S.T. 77, TIAS 6820. Ensuring that this right is properly
enforced is crucial in ensuring that foreigners of any nationality, including United States citizens,
receive fair treatment when detained outside of their home countries.



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detention or arrest.” ABA Guideline 10.6. The Texas Guidelines go even further and require trial

counsel to potentially contact the client’s consular office even if trial counsel cannot obtain the

client’s consent to do so. Texas Guideline 10.3.B.4. (“Counsel who is unable to obtain consent

should exercise his or her best professional judgment under the circumstances.”).

        In addition to the information available to trial counsel through Mr. Cruz-Garcia himself—

who speaks no English and has a foreign passport—trial counsel had objective information in their

possession confirming that Mr. Cruz-Garcia is a foreign national. In particular, counsel had a copy

of Mr. Cruz-Garcia’s 2010 Probable Cause Order, which states that he is not a United States

citizen. 40 ECF No. 18-25.

        Through discovery, trial counsel also had access to numerous police and other state-issued

reports indicating that Mr. Cruz-Garcia is a citizen of the Dominican Republic. A supplemental

police report provided to trial counsel identifies Mr. Cruz-Garcia as a national of the Dominican

Republic. ECF No. 18-26. Moreover, on June 19, 2013, the prosecution filed a Notice to Defendant

of State’s Intent to Use Extraneous Offenses and Prior Conviction stating that “[t]he defendant is a

citizen of the Dominican Republic who entered the United States as well as the Commonwealth of

Puerto Rico on multiple occasions since the late 1980s illegally and remained in both locations for

periods of time as an undocumented alien.” Id.




40
   This Order incorrectly identified Mr. Cruz-Garcia as being from Dominica rather than the
Dominican Republic. Nevertheless, this Order provides evidence of Mr. Cruz-Garcia’s foreign
nationality. Furthermore, given trial counsel’s later efforts to locate and speak with family members
of Mr. Cruz-Garcia’s in the Dominican Republic, it is clear that counsel knew where their client was
from.



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       This information would have been sufficient to place counsel on notice that they were

defending a non-United States citizen. Consequently, prevailing norms of professional practice

dictated that trial counsel take certain steps in their representation of Mr. Cruz-Garcia.

       Trial counsel did not inform Mr. Cruz-Garcia of his right to communicate with the

Dominican Republic Consulate, even though “Guideline 10.6 unequivocally states that counsel

should advise a foreign national client of her right to communicate with consular officials.” ECF

No. 18-26. Despite myriad professional guidelines clearly outlining counsel’s obligations in

representing a foreign national, trial counsel never made an attempt to contact the Dominican

Republic Consulate on Mr. Cruz-Garcia’s behalf.

       In his affidavit, Mr. Cornelius asserts: “The defendant expressed no interest at all in receiving

help of any kinds from his consulate. He was given warnings about this and it was reiterated by us

and his response to almost everything was that Jesus would deliver him.” 4 SHCR 944. The Texas

Guidelines on the importance of seeking consular assistance are clear. Counsel must not merely

“reiterate[]” the trial court’s statements about consular assistance. Counsel is required to “[o]btain

the consent of the client to contact the consular office.” Texas Guideline 10.3.B.4. Nothing in Mr.

Cornelius’s affidavit suggests that he affirmatively attempted to gain Mr. Cruz-Garcia’s consent.

       Moreover, even if counsel is “unable to obtain consent,” that does not mean counsel should

not attempt to obtain consular assistance. Rather, the Texas Guidelines direct counsel to “exercise

his or her best professional judgment.” Id. Nowhere in his affidavit does Mr. Cornelius explain or

even suggest why his “best professional judgment” was not to contact the consulate. Nor does Mr.

Cornelius explain why, given the extreme importance the Texas Guidelines place on obtaining




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consular assistance, neither he nor his investigator made a written record of having discussed the

issue with Mr. Cruz-Garcia.

                2. Mr. Cruz-Garcia was prejudiced by trial counsel’s failure to contact the
                   Dominican consulate.

        At the time of Cruz-Garcia’s trial, the Dominican Republic consulate was unaware of Mr.

Cruz-Garcia’s arrest and that he faced the death penalty. Had the consulate been informed by

reasonably diligent trial counsel, multiple services would have been made available to Mr. Cruz-

Garcia’s defense team, including assistance contacting family members, locating witnesses or records

in the Dominican Republic, sending out documents and letters to the court, being present in court,

and otherwise supporting Mr. Cruz-Garcia. ECF No. 18-27. Had it been contacted by the defense

team, the Dominican Republic consulate would have sought to assist trial counsel in its

representation of Mr. Cruz-Garcia, including by facilitating trial counsel’s investigation. In addition,

had the consulate been involved in this case from the start, they could have sought to use their

political influence to negotiate with the State to seek a life sentence for Mr. Cruz-Garcia. Consular

officials are often successful in persuading prosecutors to waive the death penalty in exchange for a

guilty plea. ECF No. 18-26. Officers of the Dominican Republic Consulate were available to assist

but trial counsel never contacted the consulate, in clear contravention of the Guidelines.

        Trial counsel wholly failed to fulfill their obligations under prevailing norms of both national

and state professional practice in failing to advise Mr. Cruz-Garcia of his right to consular access,

seek out consular assistance in the defense of his case, and communicate to the court that the State

failed to properly warn Mr. Cruz-Garcia of his rights under the VCCR. Given the significant ways

consular assistance can positively impact a defendant’s capital case, there is no doubt that failure to




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seek such assistance—especially when the obligation to do so is codified by various professional

guidelines—is prejudicial.

        L. The Court can review this claim de novo because state habeas counsel performed
           deficiently in failing to raise this substantial claim.

        Mr. Cruz-Garcia raised this claim as Claim 6 in his second subsequent state habeas

application. Ex. 149. The CCA dismissed the claim as procedurally defaulted. See Ex parte Cruz-

Garcia, 2021 WL 4571730, at *1. The claim is therefore exhausted and procedurally defaulted. Mr.

Cruz-Garcia can overcome the procedural default because this claim is substantial and his state

habeas counsel performed deficiently by failing to raise it.

        Under Martinez v. Ryan, 566 U.S. 1, 17 (2012) and Trevino v. Thaler, 569 U.S. 413, 417 (2013)

a Texas habeas petitioner can overcome the procedural default of an ineffective assistance of trial

counsel claim by showing that the claim is “substantial” and that state habeas counsel performed

deficiently in failing to raise it. A claim is “substantial” for Martinez/Trevino purposes if it “has some

merit.” Washington v. Davis, 715 F. App’x 380, 384 (5th Cir. 2017) (quoting Segundo v. Davis, 831

F.3d 345, 350 (5th Cir. 2016)). Here, Mr. Cruz-Garcia has pled a detailed and multifarious Strickland

claim that undoubtedly has “some merit.” Id. Moreover, although state habeas counsel pled some

Strickland-related claims, the ineffectiveness claim that Mr. Cruz-Garcia alleges here substantially

alters what State habeas counsel pled, and goes far beyond it from a factual and legal standpoint.

Where state habeas counsel pled a significantly reduced version of a federal-court Strickland claim,

Martinez can permit the federal court to review de novo the entirety of the fundamentally altered

federal-court claim. Id. at 381–82.

        Mr. Cruz-Garcia was represented in his initial state post-conviction proceedings by the Office

of Capital and Forensic Writs (“OCFW”). The responsibilities of state habeas counsel are set forth


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in the Texas Guidelines, as well as Article 11.071 of the Texas Code of Criminal Procedure. Both

the Texas Guidelines and Article 11.071 make clear that extra-record factual development has a

critical role in state post-conviction representation. Article 11.071 expressly provides that state

habeas counsel “shall” investigate and develop extra-record facts “before and after the appellate record

is filed in the court of criminal appeals[.]” Tex. Code Crim. Proc. art. 11.071 § 3(a) (emphasis added).

The Texas Guidelines similarly affirm that a thorough investigation is the core duty of state habeas

counsel, by cautioning that “[c]ounsel should not accept an appointment if he or she is not prepared

to undertake the comprehensive extra-record investigation that habeas corpus demands.” Texas Guideline

12.2.B(1)(a) (emphasis added). Hence, the Guidelines mandate that state habeas counsel “must

promptly obtain . . . the assistance of a fact investigator and a mitigation specialist[.]” Id. at

12.2.B(3)(a) (emphasis added).

        Here, state habeas counsel failed to conduct an adequate extra-record investigation. State

habeas counsel did not obtain trial counsel’s publicly available appointment and billing records. Ex.

137. Those records lend significant support to Mr. Cruz-Garcia’s allegations of ineffective assistance

of counsel. See supra § C. Those records are readily accessible via the Harris County District Clerk’s

Office. State habeas counsel’s failure to obtain those records was not based on any strategic

consideration. In fact, state habeas counsel did obtain records reflecting Mr. Cornelius’s excessive

caseload in a later case that state habeas counsel litigated less than a year later. Id. In that later filing,

state habeas counsel also included briefing on the applicable caseload caps that Mr. Cornelius

violated. Id. When representing Mr. Cruz-Garcia, state habeas counsel simply did not realize that

they could leverage publicly available information to show the excessive number of appointments

Mr. Cornelius took on. Id.




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        As discussed above, the mitigation presentation at Mr. Cruz-Garcia’s trial was limited to the

ineffective examination of three family members and a fourth witness who had only recently met

Mr. Cruz-Garcia. It should therefore have been clear that an extensive and thorough mitigation

investigation would be required. State habeas counsel, however, did not seek any investigation-

related funding from the trial court. Ex. 120. Instead, a single investigator, Mr. de la Rosa, was

assigned to Mr. Cruz-Garcia’s case, with no distinction between fact and mitigation investigation.

Id. Mr. de la Rosa was assigned to conduct the totality of all investigation in connection with both

phases of Mr. Cruz-Garcia’s trial, had very limited prior investigation experience, and was

discouraged from seeking support. Ex. 121. Even though state habeas counsel determined that

investigation would require travel to Houston, the Dominican Republic, and Puerto Rico, Mr. de la

Rosa was given just one week to locate and interview witnesses, and draft, translate, and obtain

signed declarations from witnesses in the Dominican Republic and Puerto Rico. Exs. 120; 121. Due

to a family emergency, Mr. de la Rosa had to cut his trip short. Id.

        Furthermore, Article 11.071 clearly mandates that investigation should begin “on

appointment” and continue throughout the pendency of the direct appeal. Tex. Code Crim. Proc.

art. 11.071 § 3. However, it was not until the spring of 2015, nearly two years into appellate and

post-conviction proceedings and weeks shy of the initial deadline for filing an initial writ application

in state court, that any investigation in the Dominican Republic and Puerto Rico was conducted.

Ex. 120. Similarly, there is no indication that state habeas counsel sought the assistance of “a fact

investigator with specialized training,” as required by Texas Guidelines at 12.2.B.4(d) (“The

assistance of a fact investigator with specialized training is indispensable to discovery and developing

the facts that must be unearthed in habeas corpus proceedings.”). Yet, as discussed above, there were




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numerous fact issues concerning not just the State’s guilt-phase case, but the extraneous offenses the

State used to secure the death penalty. Yet, state habeas counsel failed to raise any claims concerning

the extraneous offenses.

       The Texas Guidelines also provide that state habeas counsel must “reinvestigate . . . most, if

not all, of the critical witnesses for the prosecution and investigate their background[,]” including

“whether motives for fabrication or bias were left uncovered at the time of trial.” Texas Guidelines

at 12.2.B.4(e). Here, state habeas counsel did not investigate the background of Mr. Santana, the

State’s sole eyewitness. The documents evidencing Mr. Santana’s longstanding mental illness were

publicly available and should have been obtained as part of a basic criminal history search.

       The Texas Guidelines also make clear that state habeas counsel “has a duty to keep the capital

client informed” and to “fully discuss[]” case strategy. Texas Guidelines at 12.2.B.2(b). Pursuant to

Texas Guideline 12.2.B.2(e), state habeas counsel must take additional steps where the client is a

national of a foreign country. State habeas counsel, however, did not seek to have the trial record

translated into Spanish until July 2014, or six months after appointment. 4 SHCR 855−62. Mr.

Cruz-Garcia, who does not speak English, was therefore prevented from participating fully in his

own case for at least the first six months and the time during which the record was being translated.

       Perhaps most critically, as the Fifth Circuit has noted, the “mere fact that state habeas

counsel failed to raise [a] potentially meritorious IATC claim[]” evidences counsel’s ineffectiveness

and the resulting prejudice to the petitioner. Washington, 715 F. App’x at 385. Here, state habeas

counsel did not meet the Texas Guidelines and statutory requirements for post-conviction

representation. As a consequence, Mr. Cruz-Garcia’s procedural default of this claim is excused.

Martinez, 566 U.S. at 17; Trevino, 569 U.S. at 417.




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        In the alternative, this court can excuse the procedural default of this claim so as to avoid a

miscarriage of justice because Mr. Cruz-Garcia is actually innocent. Schlup, 513 U.S. at 316; See supra

Claim Two § D.2.

Claim Five:     The State relied on false testimony, in violation of the Fourteenth Amendment.

        The State relied extensively on false testimony to obtain a conviction and sentence of death

against Mr. Cruz-Garcia, in violation of his due process rights under the Fourteenth Amendment.

Napue v. Illinois, 360 U.S. 264, 269 (1959) (“[I]t is established that a conviction obtained through

use of false evidence, known to be such by representatives of the State, must fall under the

Fourteenth Amendment.”). Under clearly established Supreme Court precedent a violation of Due

Process based on the State’s false evidence is established where (1) false testimony was given; (2) the

State knew or should have known that the testimony was false; and (3) the false testimony was

material. Pyles v. Johnson, 136 F.3d 986, 996 (5th Cir. 1998). Because Mr. Cruz-Garcia satisfies all

three elements, he is entitled to a new trial.

        At trial, the State’s case against Cruz-Garcia turned on the testimony of Mr. Santana

implicating Mr. Cruz-Garcia as a party to the offense, DNA evidence linking Mr. Cruz-Garcia to the

offense, and the testimony of Angelita Rodriguez alleging that Mr. Cruz-Garcia had confessed to

her. False testimony, however, impacted all three critical elements of the State’s case and beyond.

Despite eliciting testimony designed to convey to the jury the impression that Mr. Santana did not

have a deal with the State and was testifying at the risk of being prosecuted, the State never brought

any charges against him. Then, after Mr. Cruz-Garcia was convicted, the State published an amended

DNA report in which it recanted much of the DNA evidence it relied on to tie him to the offense

and to corroborate Mr. Santana’s accomplice testimony. ECF No. 18–11. Finally, after Ms.

Rodriguez testified against Mr. Cruz-Garcia, the State supported her bid to adjust her immigration


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status. Ex. 113. Based on the information available to the State at the time of trial, the State knew

or should have known that this testimony was false.

          In combination, this false testimony infected all critical aspects of the State’s case against Mr.

Cruz-Garcia. Absent the false testimony, the jury would have been presented with little evidence

supporting the State’s theory of the case, whether at the guilt phase or punishment phase.

          A. The State relied on the false testimony of Mr. Santana.

          At the guilt phase of trial, the testimony of Mr. Santana was critical to the State’s case against

Mr. Cruz-Garcia. In closing, the State argued that his testimony needed only “the tiniest little bit of

corroboration” to prove that Mr. Cruz-Garcia was guilty of capital murder as a party. 23 RR 36. Mr.

Santana, who had recruited Mr. Cruz-Garcia from Puerto Rico to Houston to join him in the drug

trade, claimed that he, Rogelio Aviles-Barroso, 41 and Mr. Cruz-Garcia drove to the apartment of

Diana Garcia and Arturo Rodriguez on the night of the offense. 20 RR 135. He alleged that Mr.

Cruz-Garcia sexually assaulted Diana Garcia, took Angelo, and ordered Mr. Aviles-Barroso to

murder him. Id. at 149–50. Mr. Santana described his own participation in the kidnapping and

murder of Angelo Garcia and, at the State’s prompting, told the jury that his testimony placed him

at risk of prosecution. Id. at 153–54, 166. The State did not call Mr. Aviles-Barroso to testify. 42

          According to Mr. Santana, the three men drove to Ms. Garcia and Mr. Rodriguez’s

apartment because Mr. Cruz-Garcia wanted to get drugs and money from the couple. 20 RR 135.


41
  At the time of Mr. Cruz-Garcia’s trial, Mr. Aviles-Barroso had been arrested in connection with
the offense and was housed at the Harris County Jail. 20 RR 166–67. He was convicted of capital
murder on January 29, 2014, in trial Cause No. 1346839, in the 337th District Court in Harris
County, Texas. The State did not seek the death penalty against Mr. Aviles-Barroso and he was
sentenced to life.
42
     Mr. Santana also testified for the State against Mr. Aviles-Barroso in a subsequent trial.



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He described the vehicle used that night as a four-door, blue Chevrolet driven by Mr. Cruz-Garcia.

Id. at 136. Mr. Santana alleged that Mr. Cruz-Garcia instructed him to remain in the car while he

and Mr. Aviles-Barroso went up to the apartment. Id. at 137. Mr. Santana insisted to the jury that

he remained in the car, from which he observed Mr. Cruz-Garcia returning from the apartment with

Angelo in his arms. Id. at 144. According to Mr. Santana, Mr. Cruz-Garcia volunteered to him that

he had raped Ms. Garcia and beaten Mr. Rodriguez. Id. at 145. Mr. Santana was adamant to the jury

that he pled with Mr. Cruz-Garcia to find Ms. Garcia so as to protect the child, at which point Mr.

Cruz-Garcia walked away while Mr. Santana remained in the car with Angelo. Id. at 145–46. Mr.

Santana testified that, sitting alone with Angelo in the car and with Mr. Cruz-Garcia and Mr. Aviles-

Barroso nowhere in sight, he was “already convinced” that Mr. Cruz-Garcia was not going to return

Angelo to Ms. Garcia. Id. at 147.

       Mr. Santana then recounted sitting in the backseat of the car alongside Angelo as the group

drove towards Baytown. 20 RR 147. He described to the jury how, upon stopping the car, Mr. Cruz-

Garcia told Mr. Aviles-Barroso that he knew what needed to be done. Id. at 149. It was at this point

that, in Mr. Santana’s version of the offense, Mr. Santana stepped away to defecate and discovered

Angelo dead only upon walking back towards the group. Id. at 150–52. Mr. Santana then described

to the jury how he tied rocks to Angelo to weigh the body down and that he and Mr. Aviles-Barroso

submerged Angelo’s body in a bayou. Id. at 153–54. Mr. Santana testified that he threw the knife

used by Mr. Aviles-Barroso out of the car window as they drove away. Id. at 166.

       Mr. Santana testified that the group then drove to a motel in Pasadena and called a friend

after all four tires on their car blew out. 20 RR 154. He alleged that Mr. Cruz-Garcia then swore him

and Mr. Aviles-Barroso to secrecy. Id. at 156. Mr. Santana described driving back to Mr. Cruz-



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Garcia’s apartment, while Mr. Aviles-Barroso left. Id. at 158. After spending the night there, Mr.

Santana testified that Mr. Cruz-Garcia explained to him that he intended to leave Houston

immediately and suggested Mr. Santana accompany him throughout the day as he prepared to travel

back to the Dominican Republic. 20 RR 160–61. Mr. Santana drove Mr. Cruz-Garcia to the airport

the following morning. Id. at 162. He never saw Mr. Cruz-Garcia again. Id. at 164.

        Mr. Santana’s account of the night of the offense to the jury squarely contradicted his prior

statements to law enforcement spanning from 1992 to 2011. Moreover, despite his repeated pleas

to the jury that he risked grave legal consequences by testifying to his participation in capital murder,

the State never charged Mr. Santana in connection with the offense and indeed never intended to.

Finally, Mr. Santana misrepresented his criminal record and thus avoided being impeached.

                    1. The State relied on false testimony to establish Mr. Cruz-Garcia’s guilt as a
                       party to capital murder.

        Mr. Santana’s testimony to the jury was riddled with falsities that were known to the State

as contradicted by his prior statements to law enforcement, 43 other witnesses’ accounts, and law

enforcement’s investigation of the offense. Mr. Santana was interviewed by law enforcement in

connection with the offense as early as October 5, 1992. ECF No. 18–67. In an interview with HPD

officers U.P. Hernandez and A.C. Alonzo, Mr. Santana “denied knowledge of who kidnapped and

murdered the complainant in this case . . . and told officers that [Mr. Cruz-Garcia] had left for Puerto

Rico on a ‘planned trip.’” Id. Mr. Santana was interviewed again on November 5, 1992, and again

denied any knowledge of the offense. ECF No. 18–68. In February 2009, HPD interviewed Mr.




43
  The State did not disclose to the defense a number of prior statements by Mr. Santana (as well as
other witnesses) made to law enforcement. See infra Claim Six.


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Santana after reopening the case but he remained adamant that he did not remember anything

about the circumstances of Angelo’s disappearance and death. Ex. 69.

        It was not until Mr. Santana was interviewed by FBI Agent Ebersole in 2011, and was told

that “any cooperation he gave would be made known to the prosecutor and the presiding judge,”

that he connected Mr. Cruz-Garcia to the capital murder of Angelo. 20 RR 165; ECF No. 18–101.

Despite the State’s suggestion to Mr. Santana before the jury that he had told Agent Ebersole that

he had not previously implicated Mr. Cruz-Garcia because he had been too scared, Mr. Santana

replied that he could not recall making such statements to the FBI. 44 21 RR 13. 45

        In his account of the night of Angelo’s disappearance to the jury, Mr. Santana further

contradicted his prior statement to the FBI concerning key elements of the offense. In his 2011

statement to the FBI, he stated that Mr. Cruz-Garcia and Mr. Aviles-Barroso had returned to the

waiting car together and that Mr. Cruz-Garcia was holding Angelo Garcia in his arms. ECF No. 18–

101. According to this same statement, the two men then returned to Ms. Garcia’s apartment and

Mr. Aviles-Barroso carried Angelo Garcia back with them. Id. But by the time of his testimony, Mr.

Santana described Mr. Cruz-Garcia returning alone, telling Mr. Santana that he had assaulted Ms.

Garcia and Mr. Rodriguez, and Angelo walking alongside Cruz-Garcia because he was familiar to

him. 21 RR 49–50.


44
  In response to Mr. Santana replying that he did not remember ever telling Agent Ebersole that he
had not previously implicated Mr. Cruz-Garcia because he was concerned about testifying against
Mr. Cruz-Garcia, the State commented on the record and before the jury, “I think Agent Ebersole
will.” 21 RR 13. The court sustained the defense’s objection to the State’s sidebar. Id. at 13–14.
45
  FBI Agent Ebersole’s report of Mr. Santana’s statement reflects that: “MARTINEZ [Santana] again
interjected in his responses that he did not want to go to trial. MARTINEZ was advised that his cooperation
would be made known to the prosecutor and the presiding judge.” ECF No. 18–101 (emphasis
added).



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       In another example of the falsity of Mr. Santana’s account to the jury, Mr. Santana testified

that the three men had driven to Ms. Garcia’s apartment in Mr. Cruz-Garcia’s car, which he

described as a blue four-door Chevrolet. 20 RR 128, 136, 161. Mr. Santana specifically distinguished

this blue Chevrolet from the blue Thunderbird owned and driven by Mr. Cruz-Garcia’s wife. Id. at

128. Yet, Mr. Cruz-Garcia’s wife testified that the couple never owned a blue Chevrolet and that, in

1992, Mr. Cruz-Garcia owned and drove an Oldsmobile. Id. at 95. The State’s own pictures of the

cars owned by Mr. Cruz-Garcia and his wife at the time of the offense further established that both

cars were two-door vehicles. See 30 RR State’s Ex. 37; 38.

       Mr. Santana’s explanation to the jury for why Mr. Cruz-Garcia would have taken Angelo

Garcia was contradicted by the testimony of Angelo’s own mother and step-father, Ms. Garcia and

Mr. Rodriguez. According to Mr. Santana, Mr. Cruz-Garcia took Angelo Garcia because Angelo

Garcia had recognized him. 20 RR 144. Yet, both Ms. Garcia and Mr. Rodriguez testified that the

alleged assailants had been wearing masks. 19 RR 215; 18 RR 214–15. According to Mr. Rodriguez,

Angelo Garcia was asleep and “didn’t even know what was going on.” 18 RR 215. No explanation

was offered as to why Ms. Garcia and Mr. Rodriguez, who described themselves as close friends with

Mr. Cruz-Garcia, did not recognize Mr. Cruz-Garcia but Angelo Garcia did.

       Finally, Mr. Santana testified that Mr. Aviles-Barroso had used a knife to cause the death of

Angelo Garcia and that Angelo’s chest had been covered in blood. 20 RR 151–52. Santana further

described how he himself later threw that knife out of the car. Id. at 166. But the State provided a

supplemental Brady notice on the eve of trial stating that a presumptive test for blood on Angelo’s

clothing was negative. 3 CR 482. Mr. Santana’s testimony to the jury was contrary to his own prior




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statements, eyewitness testimony provided by two other State witnesses, and law enforcement’s own

investigation, all of which were known to the State.

               2. The State relied on false testimony to bolster Mr. Santana’s credibility to the
                  jury.

        With no forensic evidence tying Mr. Cruz-Garcia to events occurring after the alleged assault

in Ms. Garcia’s apartment, Mr. Santana’s testimony was key to establishing Mr. Cruz-Garcia’s

participation in the murder of Angelo. 46 In closing, the State argued that Mr. Santana’s testimony

“filled in all the gaps for you.” 23 RR 98. Mr. Santana had been interviewed by law enforcement in

connection with Angelo’s death as early as October 5, 1992. ECF No. 18–67. He was also

interviewed again in 2009, after the HPD interpreted the DNA evidence. ECF No. 18–69. Yet, Mr.

Santana testified that it was not until he was approached by the FBI in 2011 that he felt compelled

to reveal Mr. Cruz-Garcia’s participation as a party to the capital murder of Angelo. 20 RR 165. By

then, it was clear to HCDAO that Mr. Santana was involved. Ex. 127.

        At trial, the State prompted Mr. Santana to tell the jury that he was testifying at grave,

personal risk of being prosecuted in connection with the capital murder of Angelo:

               Q.      When Special Agent Ebersole came to talk to you, did he make any
                       promises about your case?

               A.      No.

               Q.      Did he offer any deals or say you were going to get any benefits from
                       this?

               A.      No, no way.


46
   See Ex. 101 (“MARTINEZ [Santana] was advised that the interviewing agent wanted his assistance;
and although there was scientific evidence to prove [Cruz-Garcia’s] involvement in the invasion of
the GARCIA’s home as well as the rape of DIANA GARCIA, there was a need to complete the picture
of what happened to the little boy ANGELO”) (emphasis added).


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                Q.     Was there - - was this something, you know, that you did because
                       anybody offered you something to do it?

                A.     No, never.

                Q.     And you know as you sit there that you could be charged with a crime,
                       don’t you?

                A.     That’s right.

                Q.     And you could get in a lot of trouble?

                A.     That’s right.

20 RR 165–66. The State also elicited testimony that neither the FBI nor the HCDAO had made

promises to Mr. Santana or offered him a deal in connection with his testimony against Mr. Cruz-

Garcia:

          Q.    We talked about, Rudy [Santana], the fact that when the special agent went
                up to interview you, he didn’t make you any promises, correct?

          A.    No.

          ...

          Q.    Have Justin [Wood] or I [Natalie Tise] or any member of the D.A.’s office
                ever made you any promises about this case?

          A.    No, never.

          Q.    Have we ever told you that you are going to get any kind of special deal based
                on your testimony?

          A.    No, never.

Id. at 173–74. The State further asked Mr. Santana to testify that he had also “never even asked for

a deal,” to which he replied, “No, never.” 47 21 RR 12.


47
  At punishment, the State similarly elicited testimony from Mr. Santana that he had neither asked
for nor been offered a deal or benefit. 25 RR 95–96.



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        In his statement to the FBI and in his testimony as a witness for the State, Mr. Santana

described in detail his participation in the kidnapping and death of Angelo, including how he

weighed down Angelo’s body and disposed of the murder weapon. 48 20 RR 153–54, 66. Yet, contrary

to Mr. Santana’s representations at trial that he risked being prosecuted by testifying, the State never

charged him with any offense in connection with the capital murder of Angelo. 49 The State thus

elicited false testimony designed to convey to the jury the false impression that Mr. Santana could

and would be charged based on his sworn testimony that he participated in the capital murder of

Angelo Garcia. Napue, 360 U.S. at 269 (due process violated where State elicited false testimony

going to credibility of the witness); United States v. Anderson, 574 F.2d 1347, 1355 (5th Cir. 1978)

(due process violated where the prosecution “allows the jury to be presented with a materially false

impression”). Furthermore, the State’s objection to the trial court’s charge that Mr. Santana’s

testimony be characterized as accomplice testimony indicates that the State knew that it would not

bring charges against Mr. Santana. 22 RR 16 (objecting to the jury being instructed on Mr. Santana

being considered an accomplice as a matter of law).

        In the alternative, the State elicited false testimony by prompting Mr. Santana to represent

to the jury that he did not receive, nor request, a deal in connection with his testimony against Mr.

Cruz-Garcia. The FBI’s report of Mr. Santana’s 2011 statement belies his trial testimony that he was

entirely unconcerned about obtaining a deal in exchange for his testimony. Agent Ebersole’s report



48
  At punishment, Mr. Santana also implicated himself in the murder of Saul Flores. See infra Claim
Five § F.
49
  The State also never charged Mr. Santana in connection with the murder of Saul Flores, after Mr.
Santana testified that he took Mr. Flores by force, watched as he was beaten, dumped Mr. Flores’s
body in a bathtub, and then left it in a dumpster. See infra Claims Five § F and Six § A.


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establishes that, from the outset and throughout the interview, he was “advised [by the FBI officer]

that his cooperation would be made known to the prosecutor and the presiding judge.” ECF No.

18–101. His report also states that “MARTINEZ [Santana] again interjected in his responses that he

did not want to go to trial. MARTINEZ was advised that his cooperation would be made known to

the prosecutor and the presiding judge.” Id. (emphasis added). See Claim Six § A.

               3. The State relied on false testimony to prevent the defense from impeaching
                  Mr. Santana.

       On voir dire by the defense, Mr. Santana testified that he was convicted in 1992 in Harris

County of misdemeanor assault on a child. 21 RR 28. The victim of that offense was a girl, a fact

known to HCDAO. ECF No. 18–79. Mr. Santana, however, falsely testified on voir dire that the

victim had been a boy. 21 RR 28. The State then argued, and the trial court agreed, that the defense

should be prohibited from introducing this prior conviction as impeachment because it was not a

crime involving moral turpitude. 21 RR 24. Hence, Mr. Santana’s false testimony and the State’s

false characterization of the offense prevented Mr. Santana from being impeached with a crime of

moral turpitude. See Tex. R. Evid. 609; Hardman, 868 S.W.2d at 407 (finding that assault by a man

against a woman constitutes a crime involving moral turpitude that is admissible for impeachment

pursuant to Texas Rule of Evidence 609). In addition, this conviction would have further cast doubt

on Mr. Santana’s testimony, according to which he could not stomach even the thought of an offense

being committed against a child.

       B. The State relied on false testimony about the DNA evidence.

       The case against Mr. Cruz-Garcia was ostensibly solved in 2008 on the basis of DNA evidence

linking Cruz-Garcia to the assault on Diana Garcia on the night of Angelo’s disappearance. 23 RR

89. At trial, the State asserted that the DNA evidence established Mr. Cruz-Garcia’s identity as the



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masked assailant who assaulted Ms. Garcia, thus tying him to the place and time of Aneglo’s

disappearance, and that it also corroborated Mr. Santana’s account of the offense. Id. at 82–83, 90–

91.

         The State introduced the testimony of Orchid Cellmark analyst Matt Quartaro, who testified

that Mr. Cruz-Garcia’s DNA matched (1) the DNA profile identified on the cigar; (2) the major

DNA profile of the DNA mixture on the underwear cutting; and (3) that Mr. Cruz-Garcia could not

be excluded as a possible contributor to the DNA mixture identified on the vaginal swabs. 21 RR

119–20. Mr. Quartaro also testified that Diana Garcia’s husband, Arturo Rodriguez, could not be

excluded as a contributor to the minor profile obtained from the DNA mixtures identified on the

underwear cutting. Id. at 111–12, 114. The State also introduced the testimony of HPD Crime Lab

analyst Amber Head, who similarly testified that Mr. Cruz-Garcia could not be excluded as a

contributor to the DNA profile on the cigar and the major DNA profile from the mixture on the

underwear cutting, nor from the DNA profile from the mixture on the vaginal swabs. 50 Id. at 161–

62.

                    1. The State relied on false testimony regarding DNA evidence to link Mr.
                       Cruz-Garcia to the offense and corroborate Mr. Santana’s testimony.

         In closing, the State described this DNA testimony as “the most damning” evidence against

Mr. Cruz-Garcia. 23 RR 36. The State argued to the jury that the DNA established Mr. Cruz-Garcia’s

identity as Ms. Garcia’s assailant on the night of Angelo’s disappearance. Id. at 82–83. The State

further contended that, by excluding Mr. Santana as a possible contributor to the DNA identified



50
  Ms. Head testified that she compared only Mr. Cruz-Garcia’s DNA sample to the DNA profiles
obtained from Orchid Cellmark testing. She did not compare the DNA profiles obtained by Orchid
Cellmark against any other DNA sample. 21 RR 164.



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on the rape kit, the DNA corroborated Mr. Santana’s account according to which he was never in

Ms. Garcia’s apartment. Id. at 82. The State reasoned to the jury that, based on the DNA evidence

excluding Mr. Santana as Ms. Garcia’s assailant and Ms. Garcia’s husband being the other

contributor to the DNA mixtures, Mr. Cruz-Garcia must have been Ms. Garcia’s assailant and was

thus connected to Angelo’s disappearance and death. Id. at 82–83, 93. In closing argument at the

guilt phase of trial, the State affirmed to the jury that, “you could literally stop with the DNA” and

that, “on the DNA alone, you could convict the defendant.” Id. at 91.

       That testimony, however, was false because it was based on unreliable and incorrect analysis

of the DNA evidence. See ECF No. 18–11. Indeed, according to Mr. Cruz-Garcia’s post-conviction

DNA expert, “no conclusion should have been drawn, or could have been drawn” about the minor

sample from the underwear cutting and Orchid Cellmark’s statistical analysis of the DNA on the

vaginal swabs was “against best scientific practices.” Id. The State has now conceded that the results

testified to by its DNA analysists were incorrect. In November 2015, after Mr. Cruz-Garcia was

convicted and after he filed an initial writ of habeas corpus in state court, the State produced an

amended DNA report in which the State recanted much of this DNA testimony. Id. Contrary to the

version of the DNA evidence presented at trial, the amended report agreed with Mr. Cruz-Garcia’s

expert and concluded that no conclusions should have been drawn as to the identity of the

contributors to the DNA mixture on the vaginal swabs, nor as to the identity of the contributors to

the minor component of the DNA mixture on the underwear cutting. Id.

               2. The State relied on false testimony to bolster the reliability of the DNA
                  evidence.

       The State itself described the DNA evidence as the linchpin to its case against Cruz-Garcia.

23 RR 91. However, emails dating back to the months leading up to Cruz-Garcia’s trial to and from



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various State actors establish that the State knew that the reliability of the DNA evidence was at

issue. Ex. 124; see also Exs. 132; 136. The HPD Crime Lab had been shuttered in 2007 after an

independent investigator tasked by the City of Houston with reviewing HPD Crime Lab procedures

uncovered “rampant false test results, mishandling of evidence, improper police procedure, criminal

activity, and incompetence.” 3 CR 455. Among the significant failings identified, the independent

investigator cautioned that the storage conditions of biological evidence, and rape kits specifically,

were likely to cause the contamination and degradation of evidence. See ECF No. 18–61; 31 RR

Def. Ex. 3. For example, the independent investigator documented the fact that evidence stored at

1200 Travis St., from where Sergeant Mehl retrieved the sexual assault kit in 2007, had been exposed

to water. 31 RR Def. Ex. 3 at 45. Hence, to bolster the reliability of the DNA evidence, the State

relied on the false testimony of law enforcement and lab technicians to give the jury the false

impression that the only forensic evidence tying Cruz-Garcia to the offense was “in pristine

condition.” 23 RR 90.

        HPD Sergeant Eric Mehl and Orchid Cellmark supervisor Matt Quartaro both testified that

the rape kit had been sent to, and received by, Orchid Cellmark in sealed bags. 20 RR 47; 21 RR

137. Sergeant Mehl agreed with the State that the rape kit was “[a]ll sealed up.” 20 RR 47. However,

a review of the chain of custody of the sexual assault kit revealed that the evidence bag in which it

was stored was unsealed prior to being processed by Orchid Cellmark. ECF No. 18–10 at 2–3.

Contrary to Mr. Quartaro’s testimony as an Orchid Cellmark supervisor, notes made by Orchid

Cellmark reflect that the FedEx packaging was sealed but the sexual assault kit itself was unsealed. 51


51
  In his review of HPD Crime Lab storage facilities and procedures, the independent investigator
found that storage conditions often required evidence to be unsealed so as to determine the contents
of the paper bags, boxes, and containers in which evidence was stored. ECF No. 18–61 at 31.



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Id. at 2–3. Likewise, the envelope containing the cutting from Ms. Garcia’s underwear and from

which Orchid Cellmark made its own cutting was marked as unsealed. Id. at 3.

       C. The State relied on the false testimony of Angelita Rodriguez.

       To further corroborate Mr. Santana’s testimony and the DNA evidence, the State relied

heavily in closing argument on the testimony of Angelita Rodriguez, Mr. Cruz-Garcia’s wife, who

claimed that Mr. Cruz-Garcia had confessed to being involved in Angelo’s death. 20 RR 107. Ms.

Rodriguez testified that on the night of the offense, she and Mr. Cruz-Garcia were watching

television in their apartment until she went to bed around 9 p.m. 20 RR 101. Rodriguez did not

remember Mr. Cruz-Garcia leaving the apartment on that night, nor him returning to the apartment

in the night. Id. at 102. She was clear, however, that the next morning, it was just her and Mr. Cruz-

Garcia at the apartment. Id.

       Ms. Rodriguez testified that she learned about Aneglo’s disappearance on the news that same

morning, and that Mr. Cruz-Garcia did not react when she told him about it. 20 RR 89. According

to Ms. Rodriguez, Mr. Cruz-Garcia later told her that he was leaving Houston immediately, did not

explain why, and that this was not a planned trip. Id. at 99–100. Ms. Rodriguez testified that she did

not see Mr. Cruz-Garcia again until two months later, in Santo Domingo, when she visited to ask

him for a divorce. Id. at 105. Ms. Rodriguez told the jury that it is then that she asked Cruz-Garcia

again about Aneglo’s disappearance and that he told her he had killed Angelo Garcia Id. at 107.

       Ms. Rodriguez’s trial testimony contradicted her numerous prior statements to law

enforcement, from her first interview in October 1992 and continuing until October 2008. ECF

Nos. 18–73; 18–37; 18–74. Rodriguez never previously alleged that Mr. Cruz-Garcia had confessed

to killing Angelo, let alone to killing Angelo himself. Moreover, contrary to her testimony that she




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had not seen Mr. Cruz-Garcia again until she travelled to Santo Domingo to ask for a divorce, law

enforcement documented in February 8, 1993, that Ms. Rodriguez was living with Mr. Cruz-Garcia

in the Dominican Republic. ECF. No. 118–15. Ms. Rodriguez and Mr. Cruz-Garcia’s relationship

was not over, nor was Ms. Rodriguez unaware of her husband’s location in the months that followed

the offense. Multiple witnesses further confirmed that, contrary to Ms. Rodriguez’s testimony that

he had left Houston suddenly, Mr. Cruz-Garcia had been preparing to leave Houston for some time.

ECF. Nos. 18–81; 18–91.

       D. The State also relied on false testimony from Diana Garcia and Arturo Rodriguez.

       The State’s case also relied on Diana Garcia and Arturo Rodriguez’s testimony about a

supposed motive for Cruz-Garcia’s involvement in the offense. Ms. Garcia and Mr. Rodriguez

testified that Mr. Cruz-Garcia had taken Angelo in retaliation for their decision to stop dealing

drugs. 18 RR 133, 204. However, law enforcement’s investigation revealed that Ms. Garcia and Mr.

Rodriguez were dealing drugs on the night of Angelo’s disappearance, as confirmed by two separate

witnesses known to the State. ECF No. 18–24. In addition to testifying falsely about a supposed

motive, critical aspects of Ms. Garcia’s and Mr. Rodriguez’s account of the events inside the

apartment on the night of the offense were contradicted by forensic evidence known to the State.

For example, Mr. Rodriguez testified that that his head was stuffed in a pillowcase by the assailants.

Yet, no pillowcase was found at the scene nor taken into evidence. ECF No. 18–95 (listing items

identified by law enforcement at Garcia’s and Rodriguez’s apartment).

       In addition to testifying falsely about the night of the offense, Ms. Garcia lied to the jury

about her relationship with Mr. Rodriguez. Ms. Garcia described Rodriguez as her common-law

husband and testified that Angelo Garcia lived with the couple full-time. 18 RR 121, 125; 25 RR

194. However, at the time of the offense and of the trial, Ms. Garcia remained legally married to


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Angelo Garcia Sr. and Rodriguez was therefore not her common-law husband. Ms. Garcia and Mr.

Rodriguez had become a couple when Ms. Garcia still lived with, and remained married to, Mr.

Garcia Sr. ECF No. 18–100; 18–97. Additionally, Angelo Garcia did not live with the couple until

much later than Ms. Garcia’s representation at trial. 19 RR 197.

        E. The State relied on the false testimony of law enforcement.

        The State relied on the false testimony of law enforcement to bolster the credibility of Diana

Garcia and Arturo Rodriguez, whom investigators repeatedly accused of being dishonest during their

investigation. Although HPD Officers C.E. Elliott and U.P. Hernandez acknowledged that Ms.

Garcia and Mr. Rodriguez were not truthful in their initial statements, they testified that Ms. Garcia

and Mr. Rodriguez had cooperated and assisted early in the investigation. 18 RR 119; 19 RR 74.

Officer Elliott testified that “they were truthful about everything.” Id. Similarly, Officer Hernandez

told the jury that Garcia had told him, “I’m going to quit lying to you and tell you the truth.” 19 RR

74. This testimony is squarely contradicted by law enforcement’s reports for months after the

disappearance and death of Angelo, documenting law enforcement’s distrust in Ms. Garcia and Mr.

Rodriguez. For example, in a November 9, 1992 supplement, investigating officers reported, “[i]t is

still our belief that [Garcia] is not being completely truthful with us[.]” Ex. 66. Similarly, on January

6, 1993, law enforcement concluded that “Diana and Arturo have been untruthful throughout the

investigation[.]” Ex. 19 (emphasis added); see ECF Nos. 18–24; 18–64; 18–65; 18–97.

        In addition to misrepresenting Ms. Garcia and Mr. Rodriguez as reliable witnesses, law

enforcement testified falsely to facts connected with the offense. The State elicited false testimony

that no ransom was ever demanded after Angelo Garcia disappeared. 19 R 79. However, there were

at least two ransom calls made and known to law enforcement. ECF Nos. 18–17; 18–18. This




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evidence further contradicted law enforcement witnesses’ testimony that the investigation had never

considered other theories of events surrounding Angelo’s disappearance. 19 RR 79.

          F. The State relied on the false testimony of Johnny Lopez and Mr. Santana at
             punishment.

          The State relied on the false testimony of Johnny Lopez 52 and Mr. Santana to tie Mr. Cruz-

Garcia to the 1989 murder of Saul Flores in Houston, introduced at punishment as an extraneous

offense in support of a sentence of death. Mr. Lopez testified that Mr. Flores had been a friend of

his and that he had learned of his death when an HPD investigator visited with him in the Harris

County Jail in 1989 in connection with Mr. Flores’s murder. 25 RR 46–47. In response to the State’s

leading question about whether Mr. Flores had been running from Mr. Cruz-Garcia, Mr. Lopez

alleged that Mr. Flores had been on the run from Mr. Cruz-Garcia. Id. at 50–51. Mr. Lopez further

testified that he had also identified Mr. Cruz-Garcia in 1989 as a potential suspect in connection

with Mr. Flores’s murder. 25 RR 54–55.

          Mr. Lopez’s testimony contradicted his 1989 statement to HPD. ECF No. 18–29. In 1989,

Mr. Lopez formally identified a suspect known as “Shorty” and explained to HPD that Mr. Flores

had been a dealer for Shorty until the pair fell out. Id. According to this same statement, Shorty had

made it known that he was looking for Mr. Flores after discovering that Mr. Flores had stolen cocaine

from him. Id. According to Mr. Lopez’s statement, Mr. Flores had been on the run from Shorty until

Mr. Flores was murdered. Id. In addition to Mr. Lopez’s 1989 statement naming Shorty as the likely

suspect in the murder of Mr. Flores, HPD identified Shorty as Alfonso Faustino Cervantes from a




52
     Mr. Lopez died in 2015.



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photo lineup during the same 1989 interview with Mr. Lopez. 53 Id. Mr. Lopez never mentioned Cruz-

Garcia in his 1989 statement to HPD, nor was his statement given to the defense at trial. 54

        The State relied again on Mr. Santana, this time at the penalty phase, to bolster Mr. Lopez’s

testimony that Mr. Cruz-Garcia was responsible for Mr. Flores’s death. According to Mr. Santana,

Mr. Cruz-Garcia had killed Mr. Flores after Mr. Flores confessed his feelings to Mr. Cruz-Garcia’s

then-girlfriend, Elizabeth Ramos. 55 25 RR 74. At the State’s prompting, Mr. Santana graphically

described Mr. Cruz-Garcia allegedly assaulting Mr. Flores before breaking his neck. 56 Id. at 81–82.

Mr. Santana described how Mr. Flores was injected with drugs, his hands were “completely

destroyed,” he was hit “several times, many times,” and burned with cigarettes “I can’t tell you how




53
 In all of its reports, law enforcement associated Mr. Cruz-Garcia with the alias “Chico.” See, e.g.,
ECF No. 18–101.
54
  This statement, as well as other prior statements by witnesses for the State, was not included in
the State’s initial and supplemental Brady notices. 3 CR 447–50, 482–83.
55
  At punishment, Mr. Santana was also called to testify by the State to the alleged rape by Mr. Cruz-
Garcia of a woman only identified as “Betico’s wife.” 25 RR 66–70. The State’s notice of intent to
use prior bad acts provides no further identifying information, either concerning “Betico” or the
victim of the alleged rape. 3 CR 414. Upon information and belief, this testimony is false.
56
  The State indicted Mr. Cruz-Garcia on a charge of capital murder in 2008, 1 CR 6, but did not
give notice of its intention to seek the death penalty against him until August 31, 2011, 4 RR 9. In
an email dated August 1, 2011, Assistant District Attorney Natalie Tise reports, “due to a newly
discovered witness, we are now looking at seeking the death penalty against this defendant . . . Our
new witness has told us about an extraneous murder that he saw this defendant commit. We have
found a 1989 unsolved case that matches the details provided by this witness.” Ex. 125. Upon
information and belief, the witness is Mr. Santana and the cold case is the 1989 unsolved murder
of Saul Flores, and the State sought the death penalty against Mr. Cruz-Garcia on the basis of false
evidence. In response to an open records request by counsel for Mr. Cruz-Garcia to HPD for records
in connection with the 1989 murder of Saul Flores, HPD indicated that it believed those records to
be excepted from disclosure. Exs. 116; 117.



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many times.” Id. at 81, 93. Mr. Santana further insisted to the jury, “I saw it perfectly when [Cruz-

Garcia] broke [Flores’s] neck.” Id. at 82.

        However, this testimony was contrary to the autopsy of Flores, which showed no evidence of

a broken neck, no evidence of injuries to the hands, no evidence of cigarette burns, and no needle

marks. 25 RR 113–15. Elizabeth Ramos, who was supposed to have provoked the dispute between

Mr. Flores and Mr. Cruz-Garcia, has now provided a sworn declaration that she had never met or

even known any individual known as Saul Flores. ECF No. 18–30.

        G. The State solicited false testimony about a kidnapping in Puerto Rico.

        In support of its case on future dangerousness, the State introduced testimony that Mr. Cruz-

Garcia was tied to the 2001 kidnapping of several individuals in Puerto Rico. 24 RR 14–43, 78–

117. Federal agent Juan DeJesus Rodriguez testified for the State that he arrested Mr. Cruz-Garcia

in 2001 in Puerto Rico in connection with the kidnapping and release of two individuals. Id. at 54.

On cross, trial counsel was prevented from questioning Agent Rodriguez about the circumstances

of the kidnapping, including Mr. Cruz-Garcia’s role as an informant for federal law enforcement.

The trial court sustained the State’s objection, even after Agent Rodriguez testified on voir dire that

he had verified that Mr. Cruz-Garcia cooperated as an informant in connection with federal law

enforcement operations. Id. at 72–73. Upon information and belief, 57 testimony regarding Mr. Cruz-

Garcia’s role in the 2001 kidnapping was misleading.




57
  In addition to Agent Rodriguez’s testimony confirming Mr. Cruz-Garcia’s cooperation, Mr. Cruz-
Garcia was granted by INS a three-month visa on September 21, 2001. Ex. 111. Under the “purpose”
section, a handwritten note states: “significant public benefit.” Id.


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        H. The State knew, or should have known, of the false testimony.

        Mr. Cruz-Garcia is not required to prove actual knowledge by the State of the falsity of the

testimony it elicited, only that the State should have known. See Giglio v. United States, 405 U.S. 150,

154–55 (1971) (holding that State violated due process by relying on false testimony despite absence

of showing that the prosecutor who elicited the testimony knew of its falsity). Here, the discrete

allegations of false testimony are based on information located in emails to and from State actors

leading up to Mr. Cruz-Garcia’s trial; law enforcement and investigative reports on the basis of which

the State built its case; and, in the case of Mr. Santana’s false testimony that he risked being

prosecuted, the State’s own representations to the trial court outside the presence of the jury that

Mr. Santana would not face prosecution. Mr. Cruz-Garcia can therefore establish that the State

knew, or should have known based on information available to State actors involved in Mr. Cruz-

Garcia’s case, that the testimony was false.

        I. There is a reasonable likelihood that this false testimony impacted the outcome of the
           proceedings.

        The false testimony relied on by the State to secure Cruz-Garcia’s conviction and sentence

was material because that false testimony “could . . . in any reasonable likelihood have affected the

judgment of the jury.” Giglio, 405 U.S. at 153–54 (internal citation and quotation omitted). False

testimony must be evaluated for materiality cumulatively. Wearry v. Cain, 136 S. Ct. 1002, 1007 (2016)

(overturning a conviction because “the state postconviction court improperly evaluated the

materiality of each piece of evidence in isolation rather than cumulatively”). Here, false testimony

infected every critical aspect of the State’s case against Mr. Cruz-Garcia, including the only eyewitness

account, the only forensic evidence, and the only purported confession introduced by the State. The




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cumulative impact of the false evidence relied upon by the State therefore entitles Mr. Cruz-Garcia

to a new trial.

        Mr. Santana’s testimony—according to which Mr. Cruz-Garcia sexually assaulted Ms. Garcia,

took Angelo, and directed Mr. Aviles-Barroso to kill Angelo—enabled the jury to find Mr. Cruz-

Garcia guilty as a party to capital murder. Mr. Santana’s description of Angelo’s body further

provided a cause of death where the medical examiner had been unable to establish one. 20 RR

151–52. In addition to testifying falsely to critical aspects of how the offense was purportedly

committed, Mr. Santana’s false testimony concerning the victim’s gender in his 1992 child-assault

conviction deprived the jury of an opportunity to assess his credibility. The State likewise deprived

the jury of crucial information concerning Mr. Santana’s credibility when, despite representing to

the trial court that Mr. Santana could not face prosecution in connection with the offense, it itself

elicited contrary testimony from Mr. Santana. Because Mr. Santana was a critical witness, false

testimony bolstering his credibility is material. Napue, 360 U.S. at 269 (“[T]he jury’s estimate of the

truthfulness and reliability of a given witness may well be determinative of guilt or innocence[.]”);

Giglio, 405 U.S. at 154–55 (false testimony impacting credibility of prosecution’s key witness was

material).

        There can likewise be little doubt as to the materiality of the false DNA testimony in light of

the State’s closing argument, which told the jury that “on the DNA alone, you could convict the

defendant.” 23 RR 91. According to the State, the DNA evidence was critical to its case against Mr.

Cruz-Garcia because it tied him to the alleged sexual assault of Diana Garcia and corroborated its

star witness’s version of the offense. Id. at 36, 93. Absent the false testimony that reliable DNA

evidence tied Mr. Cruz-Garcia to the vaginal swabs and tied both Mr. Cruz-Garcia and Ms. Garcia’s




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boyfriend to the underwear cutting, the State could not have argued in closing that Mr. Cruz-Garcia

must have been the assailant who sexually assaulted Ms. Garcia before taking Angelo Garcia 23 RR

82–83, 93. Nor could the State have argued to the jury that the DNA evidence corroborated Mr.

Santana’s account, according to which he was never inside Garcia’s apartment on the night of the

offense. Id. at 82.

        Moreover, the jury would have been left with little to corroborate Mr. Santana’s account of

the offense, which the jury could then not have relied on because Mr. Santana’s testimony was

accomplice testimony and therefore required corroboration. 3 CR 484. Although the 2015 amended

DNA report confirmed the presence of Mr. Cruz-Garcia’s DNA profile on a cigar found at Ms.

Garcia’s apartment, law enforcement accepted that “it wasn’t the guys that came in” that had left

the cigar. ECF No. 18–64. Moreover, trial testimony established that Mr. Cruz-Garcia, who along

with his then-wife Angelita Rodriguez were friends of Ms. Garcia and Mr. Rodriguez, had visited Ms.

Garcia’s apartment earlier on the day of the offense. 58 18 RR 133–34, 145, 178–79, 184, 201.

        Finally, Angelita Rodriguez’s false testimony was similarly material. At the time of Angelo’s

disappearance, law enforcement did not doubt her or Mr. Santana’s statements, according to which

Mr. Cruz-Garcia’s departure had been planned. See ECF No. 18–67. By the time of trial, Ms.

Rodriguez’s testimony served to further cast guilt on Mr. Cruz-Garcia by linking his departure to the

timing of Angelo’s disappearance. By alleging that she had contacted Mr. Cruz-Garcia to ask him for

a divorce, Ms. Rodriguez also set the scene for Mr. Cruz-Garcia’s supposed confession. Likewise,

Diana Garcia’s and Arturo Rodriguez’s false testimony concerning the supposed motive was essential


58
   Neither Diana Garcia nor Arturo Rodriguez identified Cruz-Garcia as one of the assailants who
allegedly assaulted them on the night that Angelo Garcia was kidnapped from their apartment, even
though they described Cruz-Garcia as a close friend. 18 RR 138.



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to explaining why Mr. Cruz-Garcia, who was widely known to be a close friend of the couple, would

sexually assault Ms. Garcia, physically assault Mr. Rodriguez, and kidnap and order the murder of

Angelo Garcia

        Because this false testimony was material to Mr. Cruz-Garcia’s conviction and sentence, Mr.

Cruz-Garcia is entitled to a new trial. However, should this Court determine that a new trial is not

warranted, there is a reasonable likelihood that this false evidence impacted the jury’s verdict at

punishment and Mr. Cruz-Garcia should therefore receive a new punishment phase.

        J. This Court can review the merits of this claim because 28 U.S.C. § 2254(d) is satisfied.

        Mr. Cruz-Garcia raised this claim as Claim 1 in his second subsequent application for state

habeas relief. Ex. 149. This claim is therefore exhausted. The CCA purported to dismiss this claim

“as an abuse of the writ without considering the merits of the claims.” See Ex parte Cruz-García, 2021

WL 4571730, at *1. This disposition, however, does not automatically trigger a procedural default.

See Ruiz v. Quarterman, 504 F.3d 523, 527 (2007); Rocha v. Thaler, 626 F.3d 815, 835 (5th Cir. 2010).

        Mr. Cruz-Garcia argued that the CCA should authorize this claim because it met Texas Code

of Criminal Procedure, Article 11.071 § (5)(a)(2). Unlike § (5)(a)(1), a dismissal under § (5)(a)(2)

necessarily requires the CCA to assess the merits of the claim, therefore this dismissal involved a

merits assessment of the federal claim. See Canales v. Stephens, 765 F.3d 551, 565 (5th Cir. 2014) (“If

the CCA dismisses the petition under § 5(a)(2) or § 5(a)(3), this Court can also review it under the

standard in § 2254(d).”); see also Busby v. Davis, 925 F.3d 699, 710 (5th Cir. 2019) (holding that the

dismissal of an Atkins claim under § 5(a)(3) “necessarily considers the merits of a federal constitution

claim”). Indeed, the plain language of § (5)(a)(2) requires the CCA to conduct a merits assessment

of the asserted claim. Tex. Code Crim. Proc. art. § (5)(a)(2) (“[B]y a preponderance of the evidence,




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but for a violation of the United States Constitution no rational juror could have found the

applicant guilty beyond a reasonable doubt.”). Because the CCA’s disposition of this claim was not

independent of the federal question, no default is triggered. See Coleman v. Thompson, 501 U.S. 722,

729–32 (1991) (discussing the operation of the adequate and independent state ground doctrine in

the habeas context).

        Furthermore, Mr. Cruz-Garcia can meet the relitigation bar under 28 U.S.C. § 2254(d)

because the state court’s adjudication was either “(1) ‘contrary to, or involved an unreasonable

application of, clearly established Federal law, as determined by the Supreme Court of the United

States’; or (2) ‘resulted in a decision that was based on an unreasonable determination of the facts

in light of the evidence presented in the State court proceeding.’” Gray v. Epps, 616 F.3d 436, 439

(5th Cir. 2010) (quoting 28 U.S.C. § 2254(d)). In light of the evidence presented in the state

proceedings, the state court decision rejecting this claim necessarily either involved an unreasonable

application of the Napue standard and its progeny regarding the presentation of false testimony, or

was based on an unreasonable determination of facts. See, e.g., Miller-El v. Cockrell, 537 U.S. 322, 340

(2003); Williams v. Taylor, 529 U.S. 362, 407–09 (2000). Hence, because 28 U.S.C. 2254(d) is

satisfied, this Court can review the merits of this claim.

        In the alternative, if this Court finds that the CCA did not adjudicate this claim on the

merits, Mr. Cruz-Garcia can establish cause and prejudice to overcome the procedural default of this

claim. As established supra, the State introduced false testimony that it knew or should have known

to be false, thus establishing cause and prejudice to overcome procedural default. Sparks v. Davis,

756 F. App’x 397, 401 (5th Cir. 2018) (cause and prejudice analysis to overcome procedural default

of false testimony claim “largely parallels” false testimony inquiry). This court can also excuse the




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procedural default so as to avoid a miscarriage of justice because Mr. Cruz-Garcia is actually

innocent. Schlup, 513 U.S. at 316; See supra Claim Two § D.2.

Claim Six:      The State withheld exculpatory evidence, in violation of the Sixth, Eighth, and
                Fourteenth Amendments and Brady v. Maryland.

        The State withheld exculpatory, impeachment, and mitigating evidence impacting critical

aspects of its case against Mr. Cruz-Garcia in violation of its constitutional duty and of Mr. Cruz-

Garcia’s due process rights. Brady v. Maryland, 373 U.S. 83, 87 (1963) (“[T]he suppression by the

prosecution of evidence favorable to an accused . . . violates due process where the evidence is

material either to guilt or punishment[.]”). The State has a duty to disclose such evidence, regardless

of whether a defendant requests the withheld evidence and irrespective of the State’s intention in

withholding it. Id. (due process violation arises from withholding of exculpatory information by the

State “irrespective of the good faith or bad faith of the prosecution”); United States v. Bagley, 473 U.S.

667, 682 (1985) (withholding of material, exculpatory evidence violates due process irrespective of

defense request for evidence). Accordingly, the State violates a defendant’s due process rights when:

(1) a prosecutor fails to disclose evidence; (2) which is favorable to the accused; and (3) the

undisclosed evidence was material. Strickler v. Greene, 527 U.S.668, 281–82 (2004) (“There are three

components of a true Brady violation: The evidence at issue must be favorable to the accused, either

because it is exculpatory, or because it is impeaching; that evidence must have been suppressed by

the State, either willfully or inadvertently; and prejudice must have ensued.”). Evidence meets the

materiality standard when “there is a reasonable probability that, had the evidence been disclosed

to the defense, the result of the proceeding would have been different.” Bagley, 473 U.S. at 682.

Because Mr. Cruz-Garcia satisfies all elements, he is entitled to a new trial.




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       A. The State withheld impeachment evidence against Santana.

       As outlined supra Claim Five §§ A and F, the State called Mr. Santana to testify against Mr.

Cruz-Garcia at both the guilt and punishment phase of trial. Mr. Santana’s testimony was critical to

the State’s case against Mr. Cruz-Garcia as the only direct evidence placing Mr. Cruz-Garcia at the

scene of Angelo’s death. Moreover, Mr. Santana’s recounting of Mr. Cruz-Garcia’s supposed role in

the unsolved 1989 murder of Flores apparently motivated the State to seek the death penalty against

Mr. Cruz-Garcia and underpinned its case on future dangerousness. See Ex. 125; supra n.36. The

State, however, failed to disclose significant impeachment evidence, including evidence going to Mr.

Santana’s bias, evidence demonstrating that Mr. Santana was an unreliable witness, and evidence

that he was convicted of a crime involving moral turpitude.

                   1. The State failed to disclose that Mr. Santana received a benefit for his
                      testimony against Mr. Cruz-Garcia.

       In his statements to federal and local law enforcement and in his testimony at Mr. Cruz-

Garcia’s trial, Mr. Santana implicated himself in the capital murder of Angelo and the 1989 murder

of Saul Flores. Specifically, in his 2011 statement to the FBI and at trial, Mr. Santana described

waiting alone with Angelo Garcia after realizing that Angelo Garcia would not be returned to Ms.

Garcia, witnessing Mr. Aviles-Barroso murder Angelo, tying rocks to Angelo’s body to submerge it

in a bayou, and disposing of the murder weapon on the way back to Houston. 20 RR 145–46, 149,

153–54, 156; ECF No. 18–101. Similarly, in statements to local law enforcement and at trial, Mr.

Santana described taking Mr. Flores by force to an apartment he rented to deal drugs from; watching

and listening as Mr. Flores was beaten, injected with drugs, and strangled; helping carry Mr. Flores’s

body to the bathtub; and eventually returning to move his body to a dumpster. 25 RR 76–85.




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        During his testimony, both at guilt and punishment, the State elicited testimony from Mr.

Santana that he had neither been offered nor requested a deal. See supra Claim Five § A.2. In closing

argument at the guilt phase, the State further argued to the jury that it could not have offered him

a deal because it had “nothing” on Mr. Santana in connection with the capital murder of Angelo.

23 RR 96. Thereafter, the State similarly represented to initial state habeas counsel that Mr.

Santana’s conduct did not rise to the level of criminal liability. See ECF No. 18–80. 59

               The State’s assertion that Mr. Santana did not, nor could have, received a deal—

whether because the State had no evidence to support any criminal charges against him, or because

he did not commit any crime in connection with the capital murder of Angelo or the murder of Mr.

Flores—is not plausible. First, Mr. Santana’s own statements to federal and local law enforcement,

as well as his sworn testimony, implicate him in kidnapping Angelo, hiding Angelo’s body, disposing

of the murder weapon, kidnapping Mr. Flores, and dumping Mr. Flores’s body. Second, FBI Agent

Ebersole’s report establishes that already in 2011 Mr. Santana made clear to law enforcement that

he “did not want to go to trial” for the murder of Angelo Garcia and was repeatedly “advised that

his cooperation would be made known to the prosecutor and the presiding judge.” ECF No. 18–

101. Third, contrary to the State’s argument that it could not have offered Mr. Santana a deal at the

time of his 2011 statement because it did not know of his involvement in the disappearance and




59
  Among the materials turned over by the State in response to the convicting court’s order that the
State comply with its Brady obligations, the State included typed “Meeting Notes from Jail Meeting
with Rudy [Santana] on 05.16.12.” Ex. 135. Whereas the meeting notes are entirely typed, the
document includes undated and unsigned handwritten additions at the bottom of several pages,
including the handwritten annotation “No deals, no limits on what we could ask.” Id.


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death of Angelo, 23 RR 96–97, ADA Natalie Tise wrote in an email dated prior to Mr. Santana’s

statement: “I know that Rudy [Santana] was likely with the defendant that night.” 60 Ex. 127.

        Finally, the trial court itself found that Mr. Santana was an accomplice as a matter of law. 22

RR 3–5. Under Texas law, “[a]n accomplice is someone who participates with the defendant before,

during, or after the commission of the crime and acts with the required culpable mental state.”

Druery v. State, 225 S.W.3d 491, 498 (Tex. Crim. App. 2007). “To be considered an accomplice

witness, the witness’s participation with the defendant must have involved some affirmative act that

promotes the commission of the offense with which the defendant is charged.” Id. “If the evidence

presented by the parties is conflicting and it remains unclear whether the witness is an accomplice,

the trial judge should allow the jury to decide whether the inculpatory witness is an accomplice [.]”

Id. At 498–99. If, however, “there is no doubt that the witness is an accomplice,” then the trial court

should instruct the jury that the witness is an accomplice as a matter of law. Id. at 499. A “matter of

law” accomplice instruction is appropriate “when the evidence clearly shows that the witness could

have been . . . charged” with the same offense as the defendant or with a lesser-included offense. Id.

The trial court’s holding therefore makes clear that the State’s representation that it could not have

charged Mr. Santana with a crime is not plausible.




60
  This email, dated May 19, 2011, also casts doubt on FBI Agent Ebersole’s testimony to the jury
that, going into the interview with Mr. Santana on May 28, 2011, he “had no idea” that Mr. Santana
may have firsthand knowledge of the offense. 20 RR 178. Agent Ebersole testified that he had
previously reviewed “background reports, investigative reports” sent by Agent Johnson. Id. at 177.
Agent Johnson had been part of the investigation since 1992, and Mr. Santana was interviewed in
connection with the death and disappearance of Angelo Garcia as early as October 5, 1992. ECF
No. 18–67.



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        Based on these factors, and upon information and belief, Mr. Santana had a deal (wither

explicit or implicit) with the prosecution, and the State failed to disclose that deal, in violation of

the State’s Brady obligations and in violation of Mr. Cruz-Garcia’s due process rights. 61 Giglio, 405

U.S. at 154–55 (due process violated where prosecution failed to disclose “evidence of any

understanding or agreement as to future prosecution” of prosecution witness); Kyles v. Whitley, 514

U.S. 419, 441 (1995) (prosecution failed in its Brady obligation and defendant’s due process rights

violated where prosecution failed to disclose statements going to credibility of eyewitness testimony).

                2. The State failed to disclose further evidence going to Mr. Santana’s credibility.

        At the time of his 2011 statement to the FBI, Mr. Santana was serving a 17-year sentence on

federal drug-related charges. In 1998, leading up to Santana’s conviction, a federal court granted his

defense counsel’s motion for a psychiatric evaluation, citing competency concerns. ECF Nos. 18–

13; 18–14. In April 2011, just one month prior to his statement to the FBI implicating Mr. Cruz-

Garcia, Mr. Santana addressed a letter to the convicting court seeking to have his sentence set aside

based on incompetence. ECF No. 18–12.

        Notwithstanding the relevance of these records going to Mr. Santana’s credibility, the State

failed to disclose to defense counsel that a court had previously found sufficient grounds to order a

psychiatric evaluation of Mr. Santana. Likewise, the State did not disclose that weeks prior to

implicating Mr. Cruz-Garcia, Mr. Santana sought to have his sentence set aside based on his

psychiatric history. The State thus violated its Brady obligations to disclose Santana’s competency



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   In the alternative, if the State’s representation that it could not charge Mr. Santana with any
offense in connection with the capital murder of Angelo Garcia is an accurate statement, then the
State deliberately elicited false testimony by asking Mr. Santana to state to the jury that he “could be
charged with a crime.” 20 RR 166; ECF No. 18–80; see supra Claim Five § A.2.


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evaluation. Mathis v. Dretke, 124 F. App’x 865, 877 (5th Cir. 2005) (State failed in its Brady

obligations when it did not disclose to defense publicly available record of prosecution witness’s

competency evaluation).

                 3. The State failed to disclose that Santana was convicted of a crime involving
                    moral turpitude.

          Mr. Cruz-Garcia incorporates here by reference all facts under supra Claim Five § A.3. The

State failed to disclose that Santana was charged with injury to a child and eventually convicted in

Harris County in 1992 of misdemeanor assault on a girl, which is a crime involving moral

turpitude. 62 ECF No. 18–79. As a crime involving moral turpitude, this conviction was grounds for

impeachment. See Tex. R. Evid. 609. Additionally, this conviction undermined Mr. Santana’s

allegations that, although present at the scene, he did not witness Angelo’s murder because he could

not withstand harm to a child. 21 RR 9. The State violated its Brady obligations when it failed to

disclose an accurate version of Santana’s criminal history. Bagley, 473 U.S. at 676 (Brady obligations

extends to impeachment evidence).

          B. The State withheld mitigation evidence.

          As well as failing to disclose impeachment evidence, the State withheld mitigating evidence

that Mr. Cruz-Garcia assisted federal law enforcement. On voir dire by the defense, State witness and

federal agent Juan DeJesus Rodriguez testified that he had verified with federal law enforcement that

Mr. Cruz-Garcia assisted federal law enforcement. 24 RR 72–73. The State objected to Agent

Rodriguez testifying to Mr. Cruz-Garcia’s cooperation with federal law enforcement before the jury

on hearsay grounds. Id. at 74. While sustaining the State’s hearsay objection, the trial court ruled



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     Hardman, 868 S.W.2d at 407.


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that the information may nevertheless be relevant to mitigation. Id. Notwithstanding the trial court’s

cautioning as to the mitigating value of this information, the State did not disclose evidence of Mr.

Cruz-Garcia’s assistance to federal law enforcement.

        C. The State withheld exculpatory evidence and impeachment in connection with several
           witnesses.

        In response to Mr. Cruz-Garcia’s multiple pre-trial motions for disclosure of Brady materials

and the trial court’s corresponding orders, the State responded with a Brady notice dated June 3,

2013, and a supplemental Brady notice dated June 27, 2013. 63 2 CR 447–50, 3 CR 482–83.



63
  As well as expressly requesting pre-trial disclosure of evidence that was then withheld by the State,
1 CR 184, Mr. Cruz-Garcia again moved for disclosure by the State of any exculpatory,
impeachment, and mitigating evidence in initial state postconviction proceedings. Ex. 122. Mr.
Cruz-Garcia specifically requested:

        1. Any information tending to show a witness’s bias in favor of the government or
        against Cruz-Garcia or which otherwise impeaches a witness’s testimony. . . .
        ...
        3. All deals or “consideration” or promises of “consideration” given to or on behalf
        of all State witnesses or expected or hoped for by said State witnesses. . . .
        ...
        3. Emails between the State and the FBI regarding Carmelo Martinez Santana
        (“Rudy”), specifically discussing:
        a. his willingness to testify;
        b. the anticipated content of his testimony;
        c. any representations made to him regarding the potential consequences of his
        testimony; and
        d. his transfer from federal custody in Pennsylvania to Houston to testify.
        ...
        6. Emails between the State and the FBI or other law enforcement entities regarding
        Cruz-Garcia’s use as a Confidential Informant by FBI agents in Puerto Rico.

Id. Despite acknowledging “its ongoing obligation under Brady v. Maryland, 373 U.S. 83 (1963), to
disclose material, exculpatory and impeachment evidence to the defense[,]” the State nevertheless
requested that the convicting court “vacate its order granting the defendant’s motion for disclosure.”
Ex. 123. After the State’s motion was denied, it turned over a small number of emails and reports,
including an email in response to the convicting court’s order in which the State represented that
“[t]here were no offers of promises made to any witness to testify[.]” ECF No. 18–80. In that same


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Notwithstanding the trial court’s order for the disclosure of Brady materials generally, including prior

statements and criminal records concerning specific witnesses for the State, the State failed to

disclose to the defense the following: 64

     •   That Angelita Rodriguez would receive a benefit from the State in connection with her

         testimony against Mr. Cruz-Garcia. Ex. 113.

     •   Criminal records and immigration records establishing that Angelita Rodriguez was facing

         state and federal charges, was convicted of a deportable offense. ECF Nos. 18–73; 18–75.

     •   Prior inconsistent statement made by Johnny Lopez to HPD in 1989 concerning the murder

         of Saul Flores. ECF No. 18–29.

     •   A Memo by FBI Agent Eric Johnson documenting that Angelita Rodriguez and Mr. Cruz-

         Garcia were living together in the Dominican Republic with her mother a few months after

         leaving the country in 1992. ECF No. 18–15.

     •   Reports from law enforcement establishing that law enforcement questioned the credibility

         and truthfulness of Diana Garcia and Arturo Rodriguez. See, e.g., ECF Nos. 18–19; 18–64;

         18–65; 18–66.

     •   Reports from various law enforcement and federal agencies, significant portions of which

         are redacted, including portions that appear to contain exculpatory evidence. See, e.g., ECF

         Nos. 18–16; 18–17; 18–18.




email, the State further represented that it was unable to verify that Cruz-Garcia had worked as a
confidential informant on behalf of law enforcement in Puerto Rico. Id.
64
 To the extent that this Court finds that these materials were provided to trial counsel, Mr. Cruz-
Garcia alleges that trial counsel was ineffective for failing utilize them. See infra Claim Four § F.


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      •   Law enforcement records showing that law enforcement was developing a second theory of

          the case and that other, unnamed individuals claimed knowledge of the offense. ECF No.

          18–16.

      •   Documents received in response to a subpoena issued by the Harris County District

          Attorney’s Office to Agent Juan DeJesus Rodriguez – FBI Puerto Rico Field Office. ECF No.

          18–35.

      •   Immigration records showing that Mr. Santana’s legal permanent residence status was

          revoked. ECF No. 18–76.

          D. The evidence withheld by the State was material.

          Withheld evidence is deemed material if it “might have affected the outcome of the trial.”

United States v. Agurs, 427 U.S. 97, 104 (1976); Bagley, 473 U.S. at 682 (materiality standard met

where “there is a reasonable probability that, had the evidence been disclosed to the defense, the

result of the proceeding would have been different.”). This standard parallels the prejudice

requirement from Strickland for prevailing on an ineffective assistance of counsel claim. Bagley, 473

U.S. at 682.

          Here, the withheld evidence of Mr. Santana’s bias, as well as withheld evidence of his

psychiatric history and crime of moral turpitude, would have undermined the credibility and

reliability of the State’s only eyewitness tying Mr. Cruz-Garcia to the scene of Angelo’s murder. The

significance of the impeachment evidence withheld by the State is strengthened by the State’s

deliberate misrepresentations to the jury that no such evidence existed. 65 Finally, defense counsel

expressly requested, and the trial court ordered, the State to disclose:


65
     See supra Claim Five § A.3.


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       4. All promises of benefit or leniency afforded to any accomplice or prospective
       witness in connection with his/her proposed testimony or other cooperation with
       regard to the alleged offense.
       5. All known convictions which are admissible for impeachment concerning any of
       the State’s proposed witnesses.
       6. All known convictions, pending charges or suspected criminal offense concerning
       any accomplice proposed to be used as a witness by the State.

1 CR 184. “When the prosecutor receives a specific and relevant request, the failure to make any

response is seldom, if ever, excusable.” Agurs, 427 U.S. at 106; see also Bagley, 473 U.S. at 682–83

(“The more specifically the defense requests certain evidence, thus putting the prosecutor on notice

of its value, the more reasonable it is for the defense to assume from the nondisclosure that the

evidence does not exist, and to make pretrial and trial decisions on the basis of this assumption.”).

       Similarly, at punishment, the State failed to disclose evidence that would have critically

undermined its case on future dangerousness. In closing at punishment, the State recounted in vivid

detail the alleged murder by Mr. Cruz-Garcia of Saul Flores. 26 RR 150. The State argued that the

murder “line[d] up with what we know about the defendant[.]” Id. at 151. However, the State

withheld exculpatory and impeachment evidence implicating the only two witnesses, Mr. Santana

and Mr. Lopez, to tie Mr. Cruz-Garcia to the 1989 unsolved murder of Flores. Significantly, the State

did not identify in its Brady notices Mr. Lopez’s statement to HPD at the time of the offense, in

which he identified by name and in a photo lineup an entirely different individual as Mr. Flores’s

murderer. ECF No. 18–29. This statement was thus not only entirely exculpatory of Mr. Cruz-

Garcia; it should have permitted the defense to impeach Mr. Lopez with his entirely contradictory

statements given at the time of the offense, in 1989.

       Mr. Santana also testified in gruesome detail about how Mr. Cruz-Garcia tortured and broke

the neck of Mr. Flores. 25 RR 76–85. Undisclosed evidence would have undermined his credibility

and further undermined the State’s case on future dangerousness. With seemingly no evidence tying


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Mr. Cruz-Garcia to Mr. Flores’s murder and Mr. Lopez’s prior identification of another individual,

Mr. Santana’s credibility was crucial to the State’s case on future dangerousness. Similarly, withheld

evidence of Mr. Cruz-Garcia’s cooperation as an informant for federal law enforcement would have

weighed heavily in favor of a verdict of life. 66

        In light of the totality of the State’s case on guilt and punishment, there is a reasonable

probability that the withheld evidence affected the outcome of Cruz-Garcia’s conviction and

sentence of death. Hence, the State’s withholding of exculpatory, impeachment, and mitigating

evidence violated Cruz-Garcia’s due process rights.

        E. This Court can review this claim de novo because Mr. Cruz-Garcia can show cause and
           prejudice to overcome procedural default.

        Mr. Cruz-Garcia raised this claim as Claim 2 in his second subsequent state habeas

application for state habeas relief. Ex. 149. The CCA dismissed this claim “as an abuse of the writ

without considering the merits of the claims.” See Ex parte Cruz-García, 2021 WL 4571730, at *1.

This claim is therefore exhausted and procedurally defaulted. Mr. Cruz-Garcia can, however, show

cause and prejudice to excuse the procedural default of this claim. To demonstrate cause, Mr. Cruz-

Garcia must show that “some objective factor external to the defense impeded counsel’s efforts to

comply with the State’s procedural rule.” Murray v. Carrier, 477 U.S. 478, 488 (1986). Cause may

include “a showing that the factual or legal basis for a claim was not reasonably available” or that

interference by state officials made compliance impracticable. Id. Prejudice may include showing that

the misconduct “infect[ed] his entire trial with error of constitutional dimensions.” Carrier, 477 U.S.


66
  Significantly, there was a lone holdout juror in favor of a verdict of life, which further suggests the
overall weakness of the State’s case for a sentence of death and the heightened relevance of evidence
going both to Cruz-Garcia’s future dangerousness and of mitigating circumstances. 3 CR 636; 27
RR 3–8.



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at 494 (quoting United States v. Frady, 456 U.S. 152, 170 (1982)). Thus, prejudice is shown when the

petitioner demonstrates he was denied fundamental fairness at trial. Id.

        Here, Mr. Cruz-Garcia can establish cause based on the State’s suppression of exculpatory,

impeachment, and mitigating evidence. Strickler v. Greene, 525 U.S. 263, 289 (1999) (finding that

petitioner could establish cause to excuse procedural default based on, amongst other factors, State

suppression of Brady evidence). As established supra, the State suppressed exculpatory, mitigating,

and impeachment evidence, and that evidence was material. Mr. Cruz-Garcia has therefore

established cause and prejudice to overcome procedural default of his Brady claim. Banks v. Dretke,

540 U.S. 668, 691 (2004) (“Corresponding to the second Brady component (evidence suppressed by

the State), a petitioner shows ‘cause’ when the reason for his failure to develop facts in state-court

proceedings was the State’s suppression of the relevant evidence; coincident with the third Brady

component (prejudice), prejudice within the compass of the ‘cause and prejudice’ requirement exists

when the suppressed evidence is ‘material’ for Brady purposes.”). Therefore, because Mr. Cruz-Garcia

can show cause and prejudice, this Court can review this claim de novo.

Claim Seven: The trial court met ex parte and gave coercive instructions to a holdout juror, in
             violation of the Sixth, Eighth, and Fourteenth Amendments.

        During penalty phase deliberations, the trial court conducted an ex parte meeting with, and

gave coercive instructions to, a holdout juror in violation of Mr. Cruz-Garcia’s rights under the

Sixth, Eighth, and Fourteenth Amendments. Under clearly established Supreme Court precedent,

“[a]ny criminal defendant, and especially any capital defendant, being tried by a jury is entitled to

the uncoerced verdict of that body.” Lowenfield v. Phelps, 484 U.S. 231, 241 (1988); see also Morgan

v. Illinois, 504 U.S. 719 (1992) (holding that due process requires an impartial jury). Here, the trial

court’s ex parte meeting and coercive instructions were especially harmful because the coercive


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instructions were given to a juror who wanted to answer the Texas special issues in a way that

would have resulted in a life sentence being imposed. Because the trial court gave coercive

instructions to the sole holdout juror, Mr. Cruz-Garcia is entitled to a new punishment trial.

         A. The trial court held an ex parte meeting with a holdout juror and gave that juror
            coercive instructions.

          During the penalty phase deliberations, juror Bowman asked to speak to the trial court

 because she did not believe that the jury could reach a unanimous verdict on the Texas sentencing

 special issues. 27 RR 3–8. Juror Bowman “was one of the most adamantly opposed” jurors to

 returning a death sentence, and, after the jury was sequestered overnight during punishment

 phase deliberations, “felt a great deal of pressure” to change her vote on the special issues. 3 CR

 611, 636. On the second day of deliberations, juror Bowman sent a note asking to speak to the

 trial court without explaining the reason why, and the trial court decided to meet with juror

 Bowman one-on-one in chambers. 27 RR 3–4. Trial counsel did not object to this meeting based

 on their clearly stated assumption that the meeting was to discuss a scheduling conflict. Id.

          During the ex parte meeting with the trial court, juror Bowman explained that she was the

 only juror who disagreed on special issues 1 and 3, and suggested that she be replaced with an

 alternate juror because she did not think the jury would ever be unanimous on those special

 issues. 27 RR 5. She explained that she felt pressured to change her vote, but that she would not

 change her opinion. Id. At 5–6. Indeed, juror Bowman told the trial court that, “I am not changing

 my stance on [the special issues]. I’m not.” 27 RR 6. At the meeting, juror Bowman also expressed

 serious concern about having to be sequestered another night. 67 Id. at 8.


 67
   Juror Bowman had recently learned that her ten-year-old daughter was seriously ill while at camp,
 possibly with pneumonia. 3 CR 610–11.



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       The trial court, however, was adamant that juror Bowman was “going to have to continue

to deliberate with [the jury]” and that deliberations could go on for “a pretty long period of time,”

but that it would not “be for years.” Id. The trial court told juror Bowman to “continue trying to

reach an agreement with the jury, if you can.” Id. at 7–8. She indicated that how long juror

Bowman had to deliberate was “completely in the hands of the entire jury.” Id. at 8.

      An hour after their ex parte meeting, juror Bowman, who had plainly just asserted, “I am

not changing my stance on [life]. I am not,” id. at 7, joined a unanimous jury verdict sentencing

Mr. Cruz-Garcia to death. The court did not communicate anything about this discussion, or its

supplemental instructions, on the record to counsel or Mr. Cruz-Garcia. Instead, the court only

told counsel that Juror Bowman asked how long the deliberations would last. 3 CR 606.

       The same day of the verdict, juror Bowman reached out to trial counsel and signed a sworn

affidavit averring that, “[t]he verdict I returned was not a true and honest expression of my belief

in the evidence supporting the special issues that called for the death penalty.” 3 CR 611. Juror

Bowman was “distraught over her decision to capitulate during the punishment phase

deliberations and change her vote” and felt “pressured” to do so. Id. at 606–11. Additionally, she

explained that her daughter was suffering from a fever and she wanted to take care of her, rather

than be sequestered another night. Id. at 606; 611.

      B. Mr. Cruz-Garcia’s constitutional rights were violated by the ex parte coercive
         instruction.

      Supplemental jury instructions may be given to a deadlocked jury. Allen v. United States, 164

U.S. 492 (1896). However, if those instructions are impermissibly coercive, a defendant’s




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constitutional rights are violated. Lowenfield, 484 U.S. at 241. In determining whether a

supplemental jury instruction is coercive, a reviewing court must look to the instruction “in its

context and under all the circumstances.” Jenkins v. United States, 380 U.S. 445, 446 (1965). Here,

the trial court’s instructions to Juror Bowman that she was required to attempt to reach an agreement

until told to stop by the court bears several hallmarks of an unconstitutionally coercive instruction.

        First, notwithstanding that Juror Bowman made clear she could not agree on several of the

sentencing special issues, the jury returned a verdict of death just one hour after the trial court’s ex

parte instructions to Juror Bowman. United States v. United States Gypsum Co., 438 U.S. 422, 462

(1978) (“swift resolution of the issues in the face of positive prior indications of hopeless deadlock”

weighed in favor of finding that supplemental jury instruction was improper). Second, the trial court

gave its instruction to Juror Bowman during an ex parte meeting. Id. at 460–62 (absence of counsel

when supplemental jury instruction given weighed in favor of finding that supplemental jury

instruction was improper). Finally, the trial court gave its instruction to only Juror Bowman, the lone

holdout juror. Lowenfield, 484 U.S. at 238 (constitutionality of supplemental jury instruction

“beyond dispute” where instruction “does not speak specifically to the minority jurors”). The

Supreme Court has further cautioned against giving supplemental jury instructions to a single juror.

United States Gypsum Co., 438 U.S. at 461 (“[A]ny occasion which leads to communication with the

whole jury panel through one juror inevitably risks innocent misstatements of the law and

misinterpretations despite the undisputed good faith of the participants.”).

        C. This Court can review this claim de novo because Mr. Cruz-Garcia can show cause and
           prejudice to overcome procedural default.

        Mr. Cruz-Garcia raised this claim as Claim 7 in his initial state habeas application. 1 SHCR–

43. The state court did not adjudicate the merits of the claim, instead finding that it was procedurally



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barred because it should have been raised on direct appeal. Ex parte Cruz-Garcia, 2017 at *1. This

claim is therefore exhausted and procedurally defaulted. Mr. Cruz-Garcia can, however, show cause

and prejudice to overcome the procedural default of this claim. Carrier, 477 U.S. at 488, 494; see

supra Claim Six § E.

        Here, Mr. Cruz-Garcia can show cause based on the fact that the trial court’s coercive

instructions were given ex parte, as well as the fact that the trial court also failed to give an accurate

accounting of that ex parte meeting to trial counsel. Mr. Cruz-Garcia was therefore unable to preserve

this claim for review on direct appeal by timely objecting to the trial court’s coercive instructions.

The trial court’s actions thus amounted to an external factor that prohibited Mr. Cruz-Garcia from

preserving and raising this error for appellate review. 68 Carrier, 477 U.S. at 488. The CCA then

penalized Mr. Cruz-Garcia by also barring this claim from review in state habeas proceedings,

notwithstanding the fact that Mr. Cruz-Garcia could not have raised it on direct appeal.

        Mr. Cruz-Garcia can further show prejudice because, as described above with respect to the

merits of this claim, the trial court’s coercive instruction influenced a juror to change her vote and

resulting in a death sentence, thereby denying Mr. Cruz-Garcia fundamental fairness. Carrier, 477

U.S. at 494. Therefore, because Mr. Cruz-Garcia can show cause and prejudice, this Court can review

this claim de novo.

Claim Eight: Direct appeal counsel was ineffective, in violation of Mr. Cruz-Garcia’s Sixth
             Amendment right to effective counsel.

        Under clearly established Supreme Court precedent, a claim of ineffective assistance of

appellate counsel is governed by the two-prong Strickland standard, which requires a showing of


68
  To the extent that this Court determines this claim was available on direct appeal, Mr. Cruz-Garcia
asserts that appellate counsel was ineffective for failing to raise it. See infra Claim Eight.


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deficient performance and prejudice. Smith v. Robbins, 528 U.S. 259, 285 (2000); see also Evitts v.

Lucey, 469 U.S. 387, 396–97 (1985) (holding that the Fourteenth Amendment requires the

assistance of counsel on the first appeal as of right). Appellate counsel has an obligation to raise

“solid, meritorious arguments” based on controlling precedent. United States v. Williamson, 183

F.3d 458, 463 (5th Cir. 1999). Here, appellate counsel’s performance was prejudicially deficient

because appellate counsel failed to challenge the trial court’s coercive instructions given during an

ex parte meeting with a holdout juror. Because Mr. Cruz-Garcia’s constitutional right to effective

assistance of appellate counsel was violated, he is entitled to a new punishment phase trial. 69

        A. Direct appeal counsel was ineffective for failing to challenge the trial court’s ex parte
           meeting with, and coercive instructions to, a holdout juror.

         As established, supra, in Claim Seven, the trial court held an ex parte meeting with the sole

 holdout juror and gave that juror coercive instructions. The factual allegations set forth in Claim

 Seven are incorporated herein by express reference. Because those coercive instructions were given

 ex parte and the trial court did not inform trial counsel of the content of its instructions to the

 holdout juror, direct appeal was Mr. Cruz-Garcia’s first opportunity to challenge those

 instructions. To the extent that this Court finds that this claim was available to Mr. Cruz-Garcia

 on direct appeal, appellate counsel’s failure to raise this claim constitutes deficient performance.

 See Robbins, 528 U.S. at 285. Appellate counsel failed to raise, and seek relief based on, “solid,

 meritorious arguments” that the trial court’s coercive instructions violated Mr. Cruz-Garcia’s

 rights under the Sixth, Eighth, and Fourteenth Amendments. See supra Claim Seven.

 Furthermore, trial counsel’s deficient performance prejudiced Mr. Cruz-Garcia because, had this



 To the extent that this Court determines this claim was not available on direct appeal, Mr. Cruz-
69

Garcia asserts that trial counsel was ineffective for failing to raise it. See supra Claim Four.


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point of error been raised on direct appeal, Mr. Cruz-Garcia would have obtained a new

punishment trial. See id.

       B. This Court can review this claim because 28 U.S.C. § 2254(d) is satisfied.

        Mr. Cruz-Garcia raised this as Claim 7 in his initial state habeas application. 1 SHCR

143–45. This claim is therefore exhausted. The state court purported to resolve this claim on the

merits; however, the trial court’s Findings of Fact and Conclusions of Law (“FFCL”) hardly

mention appellate counsel. See 5 SHCR 1035. Virtually the only finding referring to appellate

counsel was that Mr. Cruz-Garcia failed “to demonstrate a violation of his constitutional rights,

much less the deficient performance of trial/appellate counsel and prejudice based on the Court’s

objected-to ex parte conversation with juror Bowman.” Id. at 1065. Subsequently, the CCA issued

a blanket denial of all ineffectiveness claims by stating that Mr. Cruz-Garcia had not met his

burden under Strickland. Ex parte Cruz-Garcia, 2017 WL 4947132, at *2.

        Mr. Cruz-Garcia can meet the relitigation bar under 28 U.S.C. § 2254(d). The state court’s

adjudication involved an unreasonable application of the Robbins/Strickland standard and the

Supreme Court’s opinions in United States Gypsum Co., 438 U.S. 422, Jenkins, 380 U.S. 445, and

Lowenfield, 484 U.S. 231. The CCA’s holding that appellate counsel was not ineffective for failing

to raise this meritorious claim was unreasonable in light of the clearly coercive nature of the ex

parte conversation, which violated Mr. Cruz-Garcia’s constitutional rights. Therefore, the CCA’s

decision was legally unreasonable under § 2254(d)(1).

        The state court’s adjudication was also based on an unreasonable determination of the

facts. For example, the convicting court apparently determined that trial counsel had been fully

informed of the substance of the court’s ex parte meeting with Juror Bowman. 5 SHCR 1064. Yet,

this finding is unsupported by the trial record and trial counsel’s affidavits strongly suggest otherwise. CR


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 606–07 (affidavit of Mario Madrid stating only that “Judge Magee stated that Ms. Bowman

 questioned how long deliberations would last”); 4 SHCR 948 (affidavit of Skip Cornelius stating

 “[t]here is a huge difference between what we knew at the time and what has been said after the

 verdict was rendered”); 5 SHCR 954 (affidavit of trial counsel Mario Madrid stating nothing about

 learning of the substance of Judge Magee’s ex parte meeting with Juror Bowman and only that

 “Judge Magee informed us of the situation” prior to the ex parte meeting and that the ex parte

 meeting “would be transcribed”). Therefore, the CCA’s decision was factually unreasonable under

 § 2254(d)(2).

        Hence, whether because the state court’s adjudication involved an unreasonable

 application of clearly established federal law or because it was based on an unreasonable

 determination of the facts, this Court can review the merits of this claim.

Claim Nine: Mr. Cruz-Garcia was not present during portions of his trial, in violation of the
            Fifth, Sixth, Eighth, and Fourteenth Amendments.

        Mr. Cruz-Garcia was excluded from critical stages of his trial, in violation of the Fifth,

 Sixth, Eighth and Fourteenth Amendments. Under clearly established Supreme Court precedent,

 “in a prosecution for a felony the defendant has the privilege under the Fourteenth Amendment

 to be present in his own person whenever his presence has a relation, reasonably substantial, to

 the fullness of his opportunity to defend against the charge.” Snyder v. Massachusetts, 291 U. S. 97,

 105–106 (1934), overruled in part on other grounds by Malloy v. Hogan, 378 U.S. 1 (1964) ; U.S. v.

 Gagnon, 470 U.S. 522, 526 (1985) (“The constitutional right to presence is [also] rooted to a large

 extent in the Confrontation Clause of the Sixth Amendment but we have recognized that this

 right is protected by the Due Process Clause in some situations where the defendant is not actually

 confronting witnesses or evidence against him.”); see also Fairey v. Tucker, 567 U.S. 924 (2012)



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 (Sotomayor, J., dissenting from denial of certiorari) (describing rule announced in Snyder as “a basic

 premise of our justice system”). 70 The Supreme Court has long recognized that the right to be

 present is “scarcely less important to the accused than the right of trial itself.” Diaz v. United States,

 223 U. S. 442, 455 (1912). “[T]he exclusion of a defendant from a trial proceeding should be

 considered in light of the whole record.” Gagnon, 470 U.S. at 526–27. Because Mr. Cruz-Garcia

 was not present at critical stages of his trial, he is entitled to a new trial.

        A. Mr. Cruz-Garcia was absent from two critical stages of his trial.

         The first critical stage of his trial from which Mr. Cruz-Garcia was excluded was the ex

 parte meeting with Juror Bowman, at which the trial court gave unconstitutionally coercive

 supplemental instructions. The factual allegations set forth in Claim Seven are incorporated

 herein by express reference. The second stage of his trial from which Mr. Cruz-Garcia was

 excluded was the trial court’s conference with defense counsel and the State regarding a

 conversation that a third-party attorney overheard between two jurors outside the courtroom. The

 factual allegations set forth in Claim One are incorporated herein by express reference.

        B. Mr. Cruz-Garcia’s absence violated his Fifth, Sixth, Eighth and Fourteenth
           Amendment rights to due process and a fair trial.

        Both of Mr. Cruz-Garcia’s absences occurred during critical phases of his trial. Indeed, both

occurred during discussions involving the jury’s deliberations on sentencing and both conversations



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    Indeed, a defendant’s right to be present is so fundamental, that the Supreme Court has
recognized only two exceptions to this fundamental rule. Crosby v. United States, 506 U.S. 255, 260
(1993) (a defendant may waive his right to be present after the trial has commenced in his presence);
Illinois v. Allen, 397 U.S. 337, 343 (1970) (defendant may be removed, if after being warned,
defendant “nevertheless insists on conducting himself in a manner so disorderly, disruptive, and
disrespectful of the court that his trial cannot be carried on with him in the courtroom”). Here,
neither exception is present.



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reflected that the jury was struggling to reach a unanimous verdict. In both instances, Mr. Cruz-

Garcia was clearly prejudiced by his absence. With regards to Mr. Cruz-Garcia’s first absence, that

conversation was about potential jury misconduct, which the trial court itself cautioned “could have

serious ramifications to the outcome of this case.” 24 RR 7. Based on the allegations of jury

misconduct brought to light, the jurors should have been questioned as well as the reporting

attorney. That investigation would have made clear that jury misconduct did occur. See supra Claim

One.

        With regards to Mr. Cruz-Garcia’s second absence, the trial court’s ex parte discussion with

juror Bowman was even more critical to the outcome of the trial. Juror Bowman explained that she

was the lone holdout juror on special issues 1 and 3 (future dangerousness and mitigation), that she

felt a great deal of pressure from the other jurors, but that she could not change her stance on those

special issues. 27 RR 5–6 (telling the trial court, “I am not changing my stance on [the special issues].

I’m not.”). In response, the trial court instructed juror Bowman that she was required to continue

deliberating and that how long those deliberations lasted was entirely in the jury’s hands. Id. at 7.

The trial court did not relay any of this exchange, nor its instructions, to trial counsel and Mr. Cruz-

Garcia. Soon after the trial court’s instructions to juror Bowman, the jury returned a unanimous

verdict on the special issues, such that Mr. Cruz-Garcia was sentenced to death. Juror Bowman’s

verdict, however, “was not a true and honest expression of my belief in the evidence supporting the

special issues that called for the death penalty.” 3 CR 610–11. Had Mr. Cruz-Garcia (and trial

counsel) been present during that ex parte meeting, Mr. Cruz-Garcia could have challenged the trial

court’s coercive instructions, questioned juror Bowman, and a motion to poll the jury to determine

whether they were deadlocked would have been filed. Contrast with Gagnon, 470 U.S. at 527




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(respondents’ absence from trial court’s conference did not violate his right to be present where

respondents “could have done nothing had they been at the conference, nor would they have gained

anything by attending”).

        C. This court can review this claim de novo to avoid a fundamental miscarriage of justice.

        Mr. Cruz-Garcia raised this claim as Claim 8 in his second subsequent application for state

habeas relief. Ex. 149. The CCA dismissed this claim “as an abuse of the writ without considering

the merits of the claims.” See Ex parte Cruz-Garcia, 2021 WL 4571730, at *1. This claim is therefore

exhausted and procedurally defaulted. This court can, however, excuse the procedural default so as

to avoid a miscarriage of justice because Mr. Cruz-Garcia is actually innocent. Schlup, 513 U.S. at

316; See supra Claim Two § D.2. In addition, the Supreme Court has explained that “the principles

of comity and finality that inform the concepts of cause and prejudice ‘must yield to the imperative

of correcting a fundamentally unjust incarceration.’” Murray v. Carrier, 477 U.S. 478, 495 (1986)

(quoting Engle v. Issac, 456 U.S. 107, 135 (1982)). Here, the miscarriage of justice exception is

particularly salient because Mr. Cruz-Garcia has demonstrated both a violation of a fundamental

trial right, such as the right to be present at critical stages of his trial, and a resulting conviction and

death sentence that were produced under duress, and were therefore not truly unanimous judgments

of the case.

Claim Ten:      Mr. Cruz-Garcia was denied the right to confront witnesses against him, in
                violation of the Confrontation Clause.

         The State’s witnesses repeatedly testified to the out-of-court statements of other

 individuals, in violation of the Sixth, Eighth, and Fourteenth Amendments. Under clearly

 established Supreme Court precedent, testimonial witness statements are not admissible unless

 both the witness is unavailable to testify and the defendant had a prior opportunity to cross-examine



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 that witness. Crawford v. Washington, 541 U.S. 36, 53-54 (2004). Results of forensic analysis are

 testimonial statements for purposes of the Sixth Amendment. Melendez-Diaz v. Massachusetts, 557

 U.S. 305, 311 (2009).

       Mr. Cruz-Garcia’s right to confront witnesses was repeatedly violated when Orchid Cellmark

DNA analyst Matt Quartaro was permitted to testify at the suppression hearing and at the guilt phase

to forensic work he did not perform himself. 16 RR 48–79; 21 RR 103–42. His testimony included

information about the condition in which the DNA evidence was received by Orchid Cellmark, the

DNA testing process, and the analysis of the results obtained. Id. However, Quartaro did not himself

receive the DNA evidence, nor perform all of the DNA lab work. During the suppression hearing,

he explained that Orchid Cellmark “work[ed] as a team format, so [he] didn’t perform every step

along the way.” 16 RR 52–53. Through Mr. Quartaro, the State also admitted a number of exhibits

that were collected and/or analyzed by others. See, e.g., 17 RR 120, 124.

       Similarly, Dr. Dwayne Wolf testified during the guilt phase and punishment phases of trial

about autopsies that he did not himself perform. 21 RR 4–34. The 1992 autopsy of Angelo Garcia

was conducted by Dr. Vladimir Parungao, who did not testify. Id. at 6. Dr. Wolf was not involved in

creating, nor had personal knowledge of the autopsy report, photographs, and related records. Id. at

7. This was “pretty much the extent of the information” Dr. Wolf had. Id. Through Dr. Wolf, the

State also admitted a number of exhibits that were collected by others. See, e.g., id. at 10–13. Dr.

Wolf further testified about the autopsy of Saul Flores, which was conducted by Dr. Narula. 25 RR

97–115. Despite having no personal knowledge of either case, Dr. Wolf opined as to the cause of

death of both Angelo Garcia and Flores. Id. at 104–10.




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        A. This court can review this claim de novo to avoid a fundamental miscarriage of justice.

        Mr. Cruz-Garcia raised this claim as Claim 8 in his second subsequent application for state

habeas relief. Ex. 149. The CCA dismissed this claim “as an abuse of the writ without considering

the merits of the claims.” See Ex parte Cruz-Garcia, 2021 WL 4571730, at *1. This claim is therefore

exhausted and procedurally defaulted. This court can, however, excuse the procedural default so as

to avoid a miscarriage of justice because Mr. Cruz-Garcia is actually innocent. Schlup, 513 U.S. at

316; See supra Claim Two § D.2.

Claim Eleven: Testimony was translated incorrectly to the jury, in violation of the Fifth, Sixth,
              Eighth, and Fourteenth Amendments.

        The trial court’s failure to provide accurate and correct interpretation of witnesses’ testimony

violated Mr. Cruz-Garcia’s constitutional rights to due process and a fair trial, right to a jury trial,

right to be present, right to confront witnesses against him, right to present a defense, and right to

a unanimous verdict.

        The Supreme Court has not squarely addressed whether the provision of an interpreter is a

fundamental trial right. Nonetheless, in the context of competency challenges, the Court has long

held that a criminal defendant who “lacks the capacity to understand the nature and object of the

proceedings against him, to consult with counsel, and to assist in preparing his defense may not be

subjected to trial” because “though physically present in the courtroom, [he] is in reality afforded no

opportunity to defend himself.” Drope v. Missouri, 420 U.S. 162, 171 (1975). Because of the practical

similarities between incompetency and language barriers, the Second Circuit has explicitly extended

the Supreme Court’s competency jurisprudence to situations in which interpreters are needed, but

not provided. United States ex rel. Negron v. New York, 434 F.2d 386, 390 (2d Cir. 1970).




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        Moreover, as a criminal defendant, Mr. Cruz-Garcia enjoyed the “bedrock procedural

guarantee” of confrontation of the witnesses against him, Crawford v. Washington, 541 U.S. 36, 42

(2004) (citation omitted); “the right to present the defendant’s version of the facts as well as the

prosecution’s to the jury so it may decide where the truth lies,” Washington v. Texas, 388 U.S. 14, 19

(1967); and the right to have a jury determine every element of the crime of which he was charged,

Apprendi v. New Jersey, 530 U.S. 466, 476–77 (2000). Criminal defendants are deprived of these and

other “constitutional protections of surpassing importance,” id. at 476, when the evidence at their

trials is inaccurately conveyed to both themselves and their juries. The injustice resulting from such

a “Kafkaesque spectre of an incomprehensible ritual,” United States v. Carrion, 488 F.2d 12, 14 (1st

Cir. 1973), is amplified when not only the defendant’s liberty, but his life, is at stake in a capital

trial. See Gilmore v. Taylor, 508 U.S. 333, 342 (1993) (capital defendants entitled to “a greater degree

of accuracy . . . than would be true in a noncapital case”).

        Courts have recognized that translation of proceedings against a criminal defendant

implicates these “bedrock” rights. Ferrell v. Estelle, 568 F.2d 1128, 1132–33 (5th Cir. 1978) (“The

Constitution requires that a defendant sufficiently understand the proceedings against him to be

able to assist in his own defense.”), opinion withdrawn on other grounds, 573 F.2d 867 (5th Cir. 1978)

(withdrawing opinion because petitioner had died before issuance of the mandate); United States v.

Carrion, 488 F.2d 12, 14 (1st Cir. 1973) (“Clearly, the right to confront witnesses would be

meaningless if the accused could not understand their testimony, and the effectiveness of cross-

examination would be severely hampered.”); United States v. Cirrincione, 780 F.2d 620, 634 (7th Cir.

1985) (holding that defendant in a criminal proceeding is denied due process when, amongst other

circumstances, “the accuracy and scope of a translation at a hearing or trial is subject to grave



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doubt”); United States v. Henry, 888 F.3d 589, 604 (2d Cir. 2018) (use of an interpreter “ensures the

accuracy and completeness of the trial record, and helps to preserve a defendant’s rights in the event

that he chooses to appeal”).

         Twelve witnesses at Mr. Cruz-Garcia’s trial testified in Spanish because they did not speak or

understand English. 18 RR 194; 19 RR 4; 20 RR 80, 116; 21 RR 4; 24 RR 14, 43, 78, 98, 118; 25

RR 59; 26 RR 8. These witnesses included both guilt and penalty phase witnesses. The trial court

provided for the translation of Spanish testimony into English and the translation of English

testimony into Spanish. The interpreters, however, repeatedly corrected their translation of

witnesses’ testimony. See 20 RR 94 (correcting translation from “I was in trouble” to “that was a

problem”); Id. at 165 (correcting translation from “I didn’t want to die” to “I wanted to die”); 24 RR

49–50 (correcting translation from “several confidential vehicles were found” to “several unmarked

vehicles”, and correcting again to “several points in that route were found”); Id. at 60 (correcting

translation from “which was passing some patrol cars” to “when some patrol cars were passing by”);

25 RR 61 (correcting translation from “gray coat and a gray tie” to “blue shirt”); 26 RR 12 (correcting

translation from “three months” to “six months”) ; Id. at 26 (correcting translation from “83” to

“86”).

         Outside of these corrections, the jury also brought to the court’s attention the fact that

portions of witnesses’ testimony had been translated inaccurately. During the guilt phase

deliberations, the jury sent a note to the trial court asking: “Are we only allowed to consider the

interpreter’s response of the witness in English and not the Spanish response as heard by Spanish-

speaking jury members?” 23 RR 100. After conferring with the State and with defense counsel, the




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trial court responded to the jury note that “[t]he interpreter’s response is the official record and

evidence in the case.” Id.

        It is nearly impossible to demonstrate harm resulting from unreliable interpretation. 71 The

trial court did not make a record of the Spanish-language testimony or the Spanish interpretations

of the English-language testimony to Mr. Cruz-Garcia. The only official record of the trial

proceedings is the English-language testimony and the English interpretation of the Spanish

language testimony. There is no record by which to compare what the jury and Mr. Cruz-Garcia

heard with what the witnesses actually testified to. The only records we do have are several self-

corrections by the interpreters, a note sent by the jury during guilt-phase deliberations, and the

court’s response to that note. Together, the evidence establishes four facts:

        (1) the jurors who understood both English and Spanish heard different testimony from the
        jurors that understood only English,
        (2) those differences were material enough to the deliberation process that the jurors found
        it necessary to seek guidance from the court on which testimony they could consider,
        (3) the trial court instructed the jury to consider only the English interpretation of the
        testimony, and thus the jury deliberated over evidence that was not presented, and
        (4) the inaccurate testimony referred to in the jury’s note came from the State’s guilt-phase
        witnesses.
        It would place an impossible burden on Mr. Cruz-Garcia to require a showing of harm under

these circumstances, providing further support for treating the denial of accurate interpretations as

structural error that requires reversal.



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   In Garcia v. Davis, the Fifth Circuit granted oral argument on “whether the failure to provide
Petitioner with an interpreter without a valid waiver constituted a structural error that ‘affect[ed] the
framework within which the trial proceeds’ and therefore Petitioner need not demonstrate prejudice
in order for his petition to be granted.” Garcia v. Davis, 2018 WL 5921018, at *3 (S.D. Tex. 2018).
Ultimately, the Fifth Circuit did not reach this issue. Garcia v. Lumpkin, 824 F. App’x 252 (5th Cir.
2020).



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       A. This court can review this claim de novo to avoid a fundamental miscarriage of justice.

       Mr. Cruz-Garcia raised this claim as Claim 10 in his second subsequent application for state

habeas relief. Ex. 149. The CCA dismissed this claim “as an abuse of the writ without considering

the merits of the claims.” See Ex parte Cruz-Garcia, 2021 at *1. This claim is therefore exhausted and

procedurally defaulted. This court can, however, excuse the procedural default so as to avoid a

miscarriage of justice because Mr. Cruz-Garcia is actually innocent. Schlup, 513 U.S. at 316; See supra

Claim Two § D.2.

Claim Twelve: The trial court judge had a conflict of interest and was biased against Mr. Cruz-
              Garcia, in violation of the Fourteenth Amendment.

       Mr. Cruz-Garcia’s Fifth, Eighth, and Fourteenth Amendment rights were violated because

there is a serious risk that Judge Magee was biased against him.

       A. There are several indications that Judge Magee was biased against Mr. Cruz-Garcia.

       Judge Magee, who presided over Mr. Cruz-Garcia’s trial, was an assistant district attorney

(“ADA”) with the HCDAO from 1992 to 2012. Ex. 150. The HCDAO secured an indictment

against Mr. Cruz-Garcia for capital murder on November 20, 2008. 1 CR 6. At that time, Judge

Magee was still a member of the Harris County District Attorney’s Office, and would be for

approximately four more years. Ex.150. The trial of Mr. Cruz-Garcia began in June of 2013, only six

months after she left the HCDAO to assume her judgeship. Moreover, during twelve of her twenty-

one years at the HCDAO, Judge Magee served as a felony district court chief, supervising other

ADA’s in four district courts. Id. She also personally tried ten capital murder cases to jury. Id. Thus,

Judge Magee would have had unfettered access to, and potentially direct personal involvement in,

the investigative and prosecutorial materials against Mr. Cruz-Garcia.




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        Moreover, at the time of Mr. Cruz-Garcia’s trial, Harris County appears to have lacked a

conflict check system to prevent judges from presiding over cases they had previously prosecuted as

an attorney. Judge Magee presided over at least two cases in which she had signed complaints when

she was a prosecutor. See ECF Nos. 18-54, 18-55, 18-56, 18-57. The process that resulted in the

recusal of Judge Denise Bradley early on in Mr. Cruz-Garcia’s case also suggests the absence of a

conflict-check system. Judge Bradley had been a senior prosecutor HCDAO. Shortly after the

assumed the bench, Mr. Capitaine and Mr. Shellish (the retained counsel who were then

representing Mr. Cruz-Garcia) filed a motion to recuse Judge Bradley. 1 CR 152-62. In support of

the motion, they attached police reports stating that Bradley met with HPD personnel regarding the

case and with Angelita Rodriguez. Id. Also attached was the indictment against Mr. Cruz-Garcia,

which was signed by Judge Bradley. Id. Even though Judge Bradley immediately granted the recusal

motion, the fact that it was necessary for the defense to bring a motion documenting Judge Bradley’s

involvement with Mr. Cruz-Garcia’s case suggests that—besides relying of defense counsel—the Harris

County courts lacked a conflict-management system.

        Evidence from Judge Magee’s handling of Mr. Cruz-Garcia’s state habeas proceeding also

tends to establish her bias during the trial. First, while running for re-election during Mr. Cruz-

Garcia’s state habeas proceedings, Mr. Cruz-Garcia’s case was the only case cited in support of her

candidacy. Judge Magee’s campaign website even linked to a Houston Chronicle article about the trial.

ECF No. 18-58, 18-59, 18-60. 72 Judge Magee also refused to recuse herself during the state habeas



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   Since Mr. Cruz-Garcia filed his Amended Petition on July 1, 2019 (ECF No. 18), Judge Magee’s
campaign website (www.judgereneemagee.com) is no longer online. Judge Magee’s Facebook page,
however, still links to the campaign website: https://www.facebook.com/reneemageeforjudge/ (last
visited Apr. 27, 2022).



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proceedings upon Mr. Cruz-Garcia’s motion alleging that she violated his constitutional rights by

holding an ex parte meeting with Juror Bowman created a conflict of interest. 3 SHCR at 566, 614.

Upon losing her reelection campaign, Judge Magee rushed Mr. Cruz-Garcia’s state habeas,

preventing him from meaningfully participating in order to ensure that she would decide the fate of

his conviction and death sentence, which she did two days before her tenure as judge concluded by

signing the State’s proposed FFCL verbatim. See Legal Arguments Applicable to Multiple Claims §

A.

        B. Mr. Cruz-Garcia was denied due process and a fair trial by Judge Magee’s bias.

        Due process guarantees that an accused will be tried before a judge who harbors no actual

bias against the accused. See, e.g., In re Murchison, 349 U.S. 133, 136 (1955). A judge free of actual

bias is one capable of “hold[ing] the balance nice, clear and true between the state and the accused

[].” Tumey v. Ohio, 273 U.S. 510, 532 (1927). Because of the impracticability of proving actual bias,

the Supreme Court has set forth an objective test for adjudicating judicial bias challenges. Williams

v. Pennsylvania, 136 S. Ct. 1899, 1905 (2016). Under this test, relief should be granted when “the

probability of actual bias on the part of the judge or decisionmaker is too high to be constitutionally

tolerable.” Withrow v. Larkin, 421 U.S. 35, 47 (1975). Thus, the courts ask “whether, as an objective

matter, the average judge in [the challenged judge’s] position is ‘likely’ to be neutral, or whether

there is an unconstitutional ‘potential for bias.’” Williams, 136 S. Ct. at 1905; accord Caperton v. A.T.

Massey Coal Co., 556 U.S. 868, 881 (2009). Judicial bias is a structural trial error not subject to

harmless error analysis. Williams, 136 S. Ct. at 1909. Upon a showing of a constitutionally

intolerable risk of bias, relief is automatic.




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        The Supreme Court has found a Fourteenth Amendment violation when the judge “earlier

had significant, personal involvement as a prosecutor in a critical decision regarding the defendant’s

case.” Williams, 136 S. Ct. at 1905. Judge Magee’s status as a senior felony supervising prosecutor

during the time period leading up Mr. Cruz-Garcia’s indictment and for the first four years of his

case creates a constitutionally intolerable likelihood that she was aware of and involved in

prosecutorial decision-making before taking the bench and presiding over the trial. Certainly, the

average judge presiding over a capital murder trial being prosecuted by the same office the judge

worked for as a supervisor during the first four years of the case would not sit as a neutral arbitrator.

Moreover, Judge Magee’s conduct in the state habeas proceedings, which was decidedly biased in

favor of the prosecution, casts additional doubt on Judge Magee’s neutrality. At the very least, the

Court should permit Mr. Cruz-Garcia to conduct discovery concerning Judge Magee’s involvement

as a prosecutor in his case.

        C. This court can review this claim de novo to avoid a fundamental miscarriage of justice.

        Mr. Cruz-Garcia raised this claim as Claim 9 in his second subsequent application for state

habeas relief. Ex. 149. The CCA dismissed this claim “as an abuse of the writ without considering

the merits of the claims.” See Ex parte Cruz-Garcia, 2021 at *1. This claim is therefore exhausted and

procedurally defaulted. This court can, however, excuse the procedural default so as to avoid a

miscarriage of justice because Mr. Cruz-Garcia is actually innocent. Schlup, 513 U.S. at 316; See supra

Claim Two § D.2.

Claim Thirteen: The trial court prohibited Mr. Cruz-Garcia from presenting mitigation evidence,
              in violation of the Eighth and Fourteenth Amendments.

        In violation of the Eighth and Fourteenth Amendments, the trial court precluded Mr. Cruz-

Garcia from presenting powerful mitigating evidence at the punishment phase. Mr. Cruz-Garcia



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sought to introduce certificates establishing that he had completed multiple Bible study courses

while in prison in Puerto Rico. 23 RR 55–58. The evidence would have, among other things,

supported the testimony of Angel Meza, a trustee at the Harris County jail where Mr. Cruz- Garcia

was held while awaiting trial, that Mr. Cruz-Garcia was a genuine “Man of God.” Id. at 81-85. Mr.

Cruz-Garcia also sought to introduce evidence through a Puerto Rican police officer named Juan

DeJesus Rodriguez, a witness for the State, that Mr. Cruz-Garcia worked as a confidential

informant for the INS, DEA, and FBI. Id. at 69. The trial court excluded the evidence on hearsay

grounds and rejected Mr. Cruz-Garcia’s argument that exclusion of the evidence implicated Mr.

Cruz-Garcia’s right to present a defense. 23 RR 58.

       A. This Court can review the merits of this claim because 28 U.S.C. § 2254(d) is satisfied.

       Mr. Cruz-Garcia raised this claim as Claims 6 and Claim 7 on direct appeal. ECF No. 22–

7 at 106–112. This claim is therefore exhausted. The CCA held that the trial court’s exclusion of

the mitigation evidence did not violate Mr. Cruz-Garcia’s right to present a complete defense. Cruz-

Garcia v. State, 2015 WL 6528727, at *25.

       Mr. Cruz-Garcia, however, can meet the relitigation bar under 28 U.S.C. § 2254(d) because

the state court’s adjudication both involved an unreasonable application of Lockett v. Ohio, 438

U.S. 586 (1978) as to the Eighth Amendment allegations and of Chambers v. Mississippi, 410 U.S.

284 (1972) and other Supreme Court precedent set out supra Claim Two, and was based on an

unreasonable determination of the facts. Specifically, to the extent the court finds that Mr. Cruz-

Garcia’s counsel were not deficient in failing to present evidence of Mr. Cruz-Garcia’s genuine

religiosity and his assistance to federal law enforcement in an admissible form, then the CCA erred

in holding that the exclusion of the evidence merely prevented Mr. Cruz-Garcia from presenting

the evidence in “the form he desired.” Cruz-Garcia v. State, 2015 WL 6528727, at *25. Rather, the


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exclusion of the evidence prevented Mr. Cruz-Garcia from presenting his mitigation defense on

those points entirely. Hence, because 28 U.S.C. 2254(d) is satisfied, this Court can review the

merits of this claim.

Claim Fourteen: Repeated emotional outbursts from the gallery rendered Mr. Cruz-Garcia’s
             conviction and death sentence fundamentally unfair.

        Under clearly established Supreme Court precedent, a defendant is entitled to be “fairly tried

in a public tribunal free of prejudices, passion, [and] excitement.” Sheppard v. Maxwell, 384 U.S. 33,

350 (1966); Darden v. Wainwright, 477 U.S. 168, 181 (1986) (State misconduct violates a defendant’s

due process rights to a fair trial when the conduct “so infected the trial with unfairness as to make

the resulting conviction a denial of due process.”). Repeated emotional outbursts from the gallery

rendered Mr. Cruz-Garcia’s conviction and death sentence fundamentally unfair. These outbursts

include, but are not limited to, the following occurrences.

        During the guilt/innocence phase, a bench conference occurred where trial counsel

explained that there were audible reactions from the victim’s family during testimony. Trial counsel

stated that “there’s no excuse for the family being here crying and making sounds and all this stuff

in front of the jury.” 20 RR 14. The outburst was noticeable, and the State agreed to have the family

removed. Id. The trial court also commented that “I don’t think [the outbursts are] appropriate.” Id.

        Later the same day, another emotional outburst occurred. During testimony, the trial court

was forced to stop the proceedings and remove the jury. 20 RR 107. The trial court directly addressed

the audience:

        I realize the testimony in this case is emotional, but if you cannot hold your emotions
        in and be quiet in the courtroom, then you will have to leave the courtroom. And
        that includes the family. I’m sorry to say that, but we cannot have this jury swayed by
        emotion and emotional outbursts. Okay? So, if you feel that you can’t keep from
        having that happen, you will need to step out.



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Id. at 108.

        These repeated, emotional outbursts from the gallery resulted in Cruz-Garcia’s conviction

and death sentence being fundamentally unfair.

        A. This court can review this claim de novo to avoid a fundamental miscarriage of justice.

        Mr. Cruz-Garcia raised this claim as Claim 12 in his second subsequent application for state

habeas relief. Ex. 149. The CCA dismissed this claim “as an abuse of the writ without considering

the merits of the claims.” See Ex parte Cruz-Garcia, 2021 WL 4571730, at *1. This claim is therefore

exhausted and procedurally. This court can, however, excuse the procedural default so as to avoid a

miscarriage of justice because Mr. Cruz-Garcia is actually innocent. Schlup, 513 U.S. at 316; See supra

Claim Two § D.2.

Claim Fifteen: The State made numerous inflammatory comments throughout trial, in violation
               of Mr. Cruz-Garcia’s due process rights and right to a fair trial under the
               Fourteenth Amendment.

        Under clearly established federal law, prosecutorial misconduct, such as the State’s

 inflammatory rhetoric in this case, warrants habeas relief when the conduct “so infected the trial

 with unfairness as to make the resulting conviction a denial of due process.” Darden v. Wainwright,

 477 U.S. 168, 181 (1986).

        Throughout Mr. Cruz-Garcia’s trial, the State made numerous inflammatory comments,

including about Mr. Cruz-Garcia, that denied Mr. Cruz-Garcia his due process rights and right to a

fair trial under the Fourteenth Amendment. Already during voir dire, the State repeatedly relied on

the examples of Adolf Hitler and Charles Manson to explain the law applicable to Mr. Cruz-Garcia’s

case. See, e.g., 6 RR 26–27. The State also repeatedly invoked gruesome, well-known cases with

multiple child victims: the Boston Marathon bombing, the Andrea Yates case, the Candy Man case.

See, e.g., 5 RR 174.


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       Building on the foundation laid in voir dire, the State subsequently invoked these

considerations during closing argument for the punishment phase: “I will also ask you that you

remember those conversations that we had with each of you individually over the last month or so

back in jury selection.” 26 RR 145. Echoing the voir dire—“Charles Manson or Hitler . . . they have

been evil inside,” 8 RR 95—the State then argued that Mr. Cruz-Garcia was evil, less than human,

and deserved to die: “Those are just the facts. . . Mr. Cruz-Garcia is a monster. He is an evil person

who likes to torture and taunt his victims.” 26 RR 175. The State also argued that while they and

the jurors were human beings, the person they would be sentencing was something less than: “many

of us and many of you probably would like to think that there aren’t people in the world that can

do the kind of things that you have heard about over the last two weeks. Surely there aren’t those type

of people. Those type of people can’t exist because you and I as human beings can’t really fathom that.”

Id. at 154 (emphasis added). In doing so, the State thus urged the jury to rely not on the jury charge,

not on the applicable law, but on raw emotions and anger in reaching their sentencing decision.

       The State also improperly injected considerations of racial and ethnic animus into the jury’s

deliberations by appealing to the jury’s sense of nationalism while the fate of a foreign defendant,

who doesn’t speak English, was in their hands. The theme of “us versus them” (or Americans versus

foreigners) is how the State opened its closing argument: “we live in the United States of America,

the best country in the entire world. And thank God for that. We get to live with freedoms that so

many people do not get to live with. We get to, hopefully, walk around in our streets and feel safe.

We get to live out our dreams because this is America.” 26 RR 142. The State made that argument

to a jury acutely aware that Mr. Cruz-Garcia is a foreigner, implying that this was not his country

and these were not his streets.




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        During closing argument for the guilt/innocence phase of the trial, the prosecutor invoked

the Bible as a litmus test for determining evil and wickedness and guilt: “The 28th Chapter of

Proverbs says: The wicked flee so [sic] no one pursues them, but the righteous are as bold as lions.

Ladies and gentlemen, there is the wicked right there.” 23 RR 95. Then, during the closing for the

punishment phase, the State told the jury “I will tell you right now, if it were up to Roger [Rogelio

Avlies-Barroso] alone, Angelo would still be alive.” 26 RR 163–64. From this argument, based on

nothing in the record but the prosecutor’s opinion, the jury would logically surmise that there was

inadmissible evidence, which, if revealed, would show them other acts or character traits of the

defendant that they should know about.

        Given how far beyond the pale the State’s comments went, there can be no question that

they seriously prejudiced the jury’s ability to judge Mr. Cruz-Garcia fairly.

        A. This court can review this claim de novo to avoid a fundamental miscarriage of justice.

        Mr. Cruz-Garcia raised this claim as Claim 11 in his second subsequent application for state

habeas relief. Ex. 149. This claim is therefore exhausted and procedurally defaulted. The CCA

dismissed this claim “as an abuse of the writ without considering the merits of the claims.” See Ex

parte Cruz-Garcia, 2021 WL 4571730, at *1. This court can, however, excuse the procedural default

so as to avoid a miscarriage of justice because Mr. Cruz-Garcia is actually innocent. Schlup, 513 U.S.

at 316; See supra Claim Two § D.2.

Claim Sixteen: Violation of the Vienna Convention on Consular Relations.

         Mr. Cruz-Garcia’s rights to equal protection, due process, and the effective assistance of

 counsel were violated when the State failed to inform him of his right to seek the assistance of

 the Dominican Consulate as required by Article 36(1)(b) of the Vienna Convention on Consular

 Relations (“VCCR”). See also supra Claim Four § K. Mr. Cruz-Garcia acknowledges that this claim is


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 foreclosed by binding precedent. See United States v. Jimenez-Nava, 243 F.3d 192, 198 (5th Cir. 2011)

 (holding that VCCR does not create judicially enforceable rights of consultation between a

 detained foreign national and his consular office); Medellin v. Dretke, 371 F.3d 270, 280 (5 th Cir.

 2004) (“Article 36 of the Vienna Convention does not create an individually enforceable right.”).

        Mr. Cruz-Garcia raised this claim as Claim 5 in his initial application for state habeas corpus

relief. 1 SHCR 114–23. The CCA dismissed this claim as procedurally defaulted. See Ex parte Cruz-

Garcia, 2017 WL 4947132, at *1. This claim is therefore exhausted and procedurally defaulted. This

court can, however, excuse the procedural default so as to avoid a miscarriage of justice because Mr.

Cruz-Garcia is actually innocent. Schlup, 513 U.S. at 316; See supra Claim Two § D.2.

Claim Seventeen: Mr. Cruz-Garcia is actually innocent.

        Mr. Cruz-Garcia’s death sentence violates the Eighth and Fourteenth Amendments because

he is actually innocent. 73 See, supra, Claim Two § D.2. Mr. Cruz-Garcia’s actual innocence excuses

the procedural default of this claim. Id. Mr. Cruz-Garcia acknowledges that this claim is foreclosed

by precedent. Lucas v. Johnson, 132 F.3d 1069, 1074 (5th Cir. 1998) (claim of actual innocence is not

itself a constitutional claim (citing to Herrera v. Collins, 506 U.S. 390, 404 (1993)). However, Mr.

Cruz-Garcia does not concede this point of error and preserves it for later review.

Claim Eighteen: The punishment phase jury instructions restricted the evidence that the jury
             could consider as mitigating, in violation of Mr. Cruz-Garcia’s rights.

         The jury instructions at punishment prevented the jury from considering “as a mitigating

 factor, any aspect of a defendant's character or record and any of the circumstances of the offense[,]”




73
  In Herrera v. Collins, the Supreme Court assumed, without deciding, that the execution of an
innocent person would violate the Constitution. Herrera v. Collins, 506 U.S. 390, 417 (1993); accord
House v. Bell, 547 U.S. 518, 554-55 (2006); see also Schlup, 513 U.S. at n.28.


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 in violation of the Eighth and Fourteenth Amendments. Lockett v. Ohio, 438 U.S. 586, 604 (1978)

 (plurality opinion) (emphasis in original). Pursuant to TCCP art. 37.071, penalty-phase jury

 instructions in Texas impermissibly limit the jury’s inquiry on mitigation to evidence going to

 the defendant’s “moral blameworthiness.”

         Mr. Cruz-Garcia raised this claim as Claim 11 in his initial application for state habeas

 corpus relief. 1 SHCR 165–71. This claim is therefore exhausted and was adjudicated on the

 merits. . See Ex parte Cruz-Garcia, 2017 WL 4947132, at *2. This claim is foreclosed by this

 Circuit’s precedent. Beazley v. Johnson, 242 F.3d 249, 260 (5th Cir. 2001). However, Mr. Cruz-

 Garcia does not concede this point of error and preserves it for later review.

Claim Nineteen: The trial court was prohibited from instructing the jury that a vote by one juror
             would result in a life sentence, in violation of Mr. Cruz-Garcia’s rights.

         The jury was not instructed that Mr. Cruz-Garcia would be sentenced to life without

 parole if any single juror did not answer the special issues such as to return a sentence of death, in

 violation of the Eighth and Fourteenth Amendments. Here, a lone holdout juror, Angela Bowman,

 explained to the trial court that she felt “pressured” to change her vote on the special issues so as

 to return a unanimous verdict of death. 3 CR 611, 636.

         Mr. Cruz-Garcia raised this claim as Claim 12 in his initial application for state habeas

 corpus relief. 1 SHCR 171–78. This claim is therefore exhausted and was adjudicated on the

 merits. See Ex parte Cruz-Garcia, 2017 WL 4947132, at *2. This claim is foreclosed by this Circuit’s

 precedent. Turner v. Quarterman, 481 F.3d 292, 300 (5th Cir. 2000) (citing Alexander v. Johnson,

 211 F.3d 895, 897 n. 5 (5th Cir. 2000) (per curiam)). However, Mr. Cruz-Garcia does not concede

 this point of error and preserves it for later review.




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Claim Twenty: Mr. Cruz-Garcia’s death sentence was based on Texas’s unconstitutionally vague
             first special issue, in violation of Mr. Cruz-Garcia’s rights under the Eighth and
             Fourteenth Amendments.

        Mr. Cruz-Garcia was sentenced to death according to “standards so vague that they [. . .]

 fail adequately to channel the sentencing decision patterns of juries[,]” in violation of the Eighth

 and Fourteenth Amendments, Gregg v. Georgia, 428 U.S. 153, n.46 (1976). Texas law requires

 that the jury determine “whether there is a probability that the defendant would commit criminal

 acts of violence that would constitute a continuing threat to society.” Tex. Code Crim. Proc. art.

 37.071 § 2(b)(1). These terms are not defined and the CCA has declined to provide any further

 guidance on the future dangerousness inquiry. Curry v. State, 541 S.W.3d 751, 751-52 (Tex. Crim.

 App. 2017) (Alcala J., dissenting) (not error for trial court to fail to define “society” in future

 dangerousness context so as to preclude jury from engaging in “fictional inquiry into [defendant’s]

 future dangerousness in the free society into which he would never re-enter as a matter of law”).

 Under clearly established federal law, the State “must channel the sentencer’s discretion by clear

 and objective standards that provide specific and detailed guidance.” Godfrey v. Georgia, 446 U.S.

 420, 428 (1980) (internal quotations and citations omitted).

        Mr. Cruz-Garcia raised this claim as Claim 13 in his initial application for state habeas

 corpus relief. 1 SHCR 164–82. This claim is therefore exhausted and was adjudicated on the

 merits. See Ex parte Cruz-Garcia, 2017 WL 4947132, at *2. This claim is foreclosed by this Circuit’s

 precedent. James v. Collins, 987 F.2d 1116, 1120 (5th Cir. 1993). However, Mr. Cruz-Garcia does

 not concede this point of error and preserves it for later review.

Claim Twenty-One: Mr. Cruz-Garcia’s rights under the Eighth and Fourteenth Amendments
            were violated based on Texas’s arbitrary and discriminatory system of
            administering the death penalty.

        Mr. Cruz-Garcia was sentenced to death based on an arbitrary and discriminatory system


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for the administration of the death penalty, in violation of the Eighth and Fourteenth

Amendments. At the time of Mr. Cruz-Garcia’s trial, a statistical study on the administration of

the death penalty by the office of the Harris County District Attorney demonstrated that, while

there was a 20% likelihood that the district attorney would advance a capital murder charge to a

capital trial against a white defendant, that likelihood escalated to 80% against a Hispanic

defendant. See Raymond Peternoster, Racial Disparity in the Case of Duane Edward Buck, at (Dec. 29,

2012) [Amended Petition, Ex. 47]; see also, Scott Phillips, Continued Racial Disparities in the Capital

of Capital Punishment: The Rosenthal Era, 50 Hous. L. Rev. 131, 131-32 (2012) (showing that “death

sentences were imposed on behalf of white victims at 2.5 times [. . .] and death sentences were

imposed on behalf of white female victims at 5 times the rate one would expect if the system were

blind to race and gender.”). Excluding retrials, Harris County has not sentenced a white capital

defendant to death since 2004.

       The State “has a constitutional responsibility to tailor and apply its law in a manner that

avoids the arbitrary and capricious infliction of the death penalty.” Godfrey v. Georgia, 446 U.S.

420, 428 (1980). Here, “if any discernible basis could be identified for the selection of those few

who were chosen to die, it was the constitutionally impermissible basis of race.” Callins v. Collins,

510 U.S. 1141, 1147 (Blackmun J., dissenting) (internal quotations omitted). Mr. Cruz-Garcia

does not concede this point of error and preserves it for later review.

        Mr. Cruz-Garcia raised this claim as Claim 14 in his initial application for state habeas

corpus relief. 1 SHCR 182–92. This claim is therefore exhausted and was adjudicated on the

merits. See Ex parte Cruz-Garcia, 2017 WL 4947132, at *2. This claim is foreclosed by precedent.

See generally Jurek v. Texas, 428 U.S. 262, 275–77 (1976); see also Kelly v. Lynaugh, 862 F.2d 1126,




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1135 (5th Cir. 1988) (rejecting argument that Texas’s death penalty system has been applied in

an arbitrary and capricious manner since 1973). However, Mr. Cruz-Garcia does not concede this

point of error and preserves it for later review.




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                                      PRAYER FOR RELIEF

       WHEREFORE, Obel Cruz-Garcia, requests that this Court consider his Petition for Writ of

Habeas Corpus and grant the following remedies and such other relief as the Court deems

appropriate:

       1. Issue a writ of habeas corpus to have him brought before it, to the end that he may be

           discharged from his unconstitutional confinement and restraint and be relieved of his

           unconstitutional sentence of death;

       2. Allow Petitioner leave to conduct discovery pursuant to Rule 6 of the Rules Governing

           28 U.S.C. § 2254 Cases to more fully develop the factual bases demonstrating the

           constitutional infirmities in his conviction and sentence;

       3. Conduct an evidentiary hearing pursuant to Rule 8 of the Rules Governing 28 U.S.C.

           § 2254 Cases;

       4. Grant such other relief as law and justice require; and

       5. If this Court denies any of the above-requested relief, grant a Certificate of Appealability.




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   Respectfully submitted,

   DATED: May 4, 2022
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                                            Federal Public Defender

                                            /s/ David C. Currie
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                                  EXHIBIT LIST

ECF No. 18-1           Opening brief on direct appeal
ECF No. 18-2           Direct appeal opinion, Cruz-Garcia v. Texas, No. AP-77,025, 2015 WL
                       6528727 (Tex. Crim. App. Oct. 28, 2015) (unpublished)
ECF No. 18-3           Initial application for writ of habeas corpus
ECF No. 18-4           Subsequent application for writ of habeas corpus
ECF No. 18-5           Ex parte Cruz-Garcia, Order, Nos. WR-85,051-02 and WR-85,051-03
                       (Tex. Crim. App. Nov. 1, 2017) (per curiam)
ECF No. 18-6           Affidavit of Steven Shellist
ECF No. 18-7           Billing records for Skip Cornelius
ECF No. 18-8           Letter from Gradoni & Associates
ECF No. 18-9           Affidavit of Elizabeth Johnson
ECF No. 18-10          Affidavit of Daniel Hellwig
ECF No. 18-11          Amended DNA Report
ECF No. 18-12          Letter from Carmelo Rudy Santana Martinez to U.S. district court
ECF No. 18-13          U.S. v. Carmelo Martinez, Motion for Psychiatric Examination, CR-H-
                       98-12 (S.D. Tex. June 23, 1998)
ECF No. 18-14          U.S. v. Carmelo Martinez, Order for Psychiatric Examination, CR-H-
                       98-12 (S.D. Tex. Jul.6, 1998)
ECF No. 18-15          Memo from Eric Johnson (2/9/1993)
ECF No. 18-16          Report on second theory of offense
ECF No. 18-17          Report on $30,000 ransom call
ECF No. 18-18          Report on $10,000 ransom call
ECF No. 18-19          Report from HPD Sergeant Stephens to HPD Crime Lab (1/6/1993)
ECF No. 18-20          Handwritten notes (5/1/1996)
ECF No. 18-21          Affidavit Cesar Amado Rios
ECF No. 18-22          Affidavit of Jose Martin Valdez
ECF No. 18-23          Affidavit of Hector Saavedra
ECF No. 18-24          Excerpts from law enforcement report (11/9/1992)
ECF No. 18-25          Texas v. Cruz-Garcia, Probable cause findings


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ECF No. 18-26          Affidavit of Sandra Babcock
ECF No. 18-27          Letter from Dominican Republic Consulate
ECF No. 18-28          Letter from Texas Forensic Science Commission
ECF No. 18-29          Johnny Lopez Statement to HPD (1989)
ECF No. 18-30          Declaration of Elizabeth Ramos
ECF No. 18-31          Affidavit of Michael Casaretto
ECF No. 18-32          Affidavit of Sharon Alexander
ECF No. 18-33          Affidavit of Angela Bowman
ECF No. 18-34          Magistrate Warning to Cruz-Garcia
ECF No. 18-35          Subpoena to Juan DeJesus Rodriguez
ECF No. 18-36          Subpoena to custodian of records
ECF No. 18-37          Angelita Rodriguez Statement to FBI (6/21/1994)
ECF No. 18-38          Excerpts from Puerto Rico prison records
ECF No. 18-39          Declaration of Dorcas Noelia de la Cruz Fana
ECF No. 18-40          Affidavit of Lorenzo Villalba-Rolón
ECF No. 18-41          Affidavit of Dr. Gina Perez
ECF No. 18-42          Declaration of José de la Cruz
ECF No. 18-43          Declaration of Menagen Valerio de la Cruz
ECF No. 18-44          Declaration of Julia de la Cruz Santos
ECF No. 18-45          Declaration of Dr. Alejandro Lebrón
ECF No. 18-46          U.S. D.O.J., Immigration and Naturalization Services
ECF No. 18-47          Raymond Paternoster, Racial Disparity in the Case of Duane Edward
                       Buck (Dec. 29, 2012)
ECF No. 18-48          Allan Turner, Former DA Ran Powerful Death Penalty Machine, Hous.
                       Chron., July 25, 2007
ECF No. 18-49          Matt Dempsey & Karen Chen, Hispanic Representation on Harris
                       County Grand Juries Far Below Population, Hous. Chron., Dec. 19,
                       2014.
ECF No. 18-50          Leslie Casimir, Blacks Urge Rosenthal to Quit, Hous. Chron., Jan. 11,
                       2008



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ECF No. 18-51          Texas Monthly, A Hard Look at the Harris County District Attorney’s
                       Office (Sept. 11, 2016)
ECF No. 18-52          Matt Stiles & Alan Bernstein, County Judge Calls for Investigation into
                       Rosenthal, Hous. Chron., Jan. 10, 2008
ECF No. 18-53          Cindy George, Activists Renew Call for Sheriff, DA to Apologize in
                       Goforth Case, Hous. Chron., Feb. 16, 2016
ECF No. 18-54          State v. Perkins, Complaint, Case No. 1244038 (337th Dist. Ct. Dec.
                       10, 2009)
ECF No. 18-55          State v. Perkins, Orders, Case No. 1244038 (337th Dist. Ct. Dec. 10,
                       2009)
ECF No. 18-56          State v. Reyes, Complaint, Case No. 129611101010 (337th Dist. Ct.
                       Feb. 18, 2011)
ECF No. 18-57          State v. Reyes, Judgment, Case No. 129611101010 (337th Dist. Ct.
                       Feb. 18, 2011)
ECF No. 18-58          Judge Renee Magee website
ECF No. 18-59          Death Penalty Sought in Boy’s Abduction, Slaying, Hous. Chron., July 7,
                       2013.
ECF No. 18-60          Judge Renee Magee website
ECF No. 18-61          Final Bromwich Report
ECF No. 18-62          HPD Crime Lab employee records for Dr. Baldev Sharma, Deetrice
                       Wallace, Joseph Chu
ECF No. 18-63          Trial Defendant’s ECF No. 18-17, Judgment of conviction against
                       Deetrice Wallace
ECF No. 18-64          Transcript of phone call between HPD Officer U.P. Hernandez and
                       Diana Garcia
ECF No. 18-65          Audio of phone call between HPD Officer U.P. Hernandez and
                       Diana Garcia
ECF No. 18-66          Report by HPD Officer W.I. Stephens (11/9/1992)
ECF No. 18-67          HPD interview of Santana (10/1992)
ECF No. 18-68          HPD interview of Santana (11/5/1992)
ECF No. 18-69          HPD interview of Santana (3/2/2009)
ECF No. 18-70          Brady Notice (6/3/2013)
ECF No. 18-71          Brady Notice (6/26/2013)


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ECF No. 18-72          Angelita Rodriguez interview by HPD (10/6/1992)
ECF No. 18-73          FBI Arrest of Angelita Rodriguez (8/20/1993)
ECF No. 18-74          Angelita Rodriguez interview by HPD (10/08/2008)
ECF No. 18-75          Criminal docket for U.S. v. Angelita Rodriguez. 4:93-mj-00764 (S.D.
                       Tex. 1993)
ECF No. 18-76          INS records for Carmelo “Rudy” Santana Martinez
ECF No. 18-77          Diana Garcia Statement to HPD (10/1/1992)
ECF No. 18-78          Arturo Rodriguez Statement to HPD (10/1/1992)
ECF No. 18-79          Carmelo “Rudy” Santana Martinez Santana criminal record
ECF No. 18-80          Email from HCDAO A.D.A. Natalie Tise (4/24/2015)
ECF No. 18-81          Declaration of Eledemas Mercedes Fana
ECF No. 18-82          Declaration of Carlos Adame Martinez
ECF No. 18-83          Declaration of Daisy Melendez
ECF No. 18-84          Declaration of Idaliz Perez De La Cruz
ECF No. 18-85          Declaration of Joel Cruz-Garcia
ECF No. 18-86          Declaration of Margarita Martinez
ECF No. 18-87          Declaration of Mireya Perez Garcia
ECF No. 18-88          Declaration of Maria Altagracia Capellan
ECF No. 18-89          Declaration of Nilsa Ela Garcia Marine
ECF No. 18-90          Declaration of Noemi Margarita Cruz-Garcia
ECF No. 18-91          Declaration of Piruquinu “Piruca” Acosta
ECF No. 18-92          Declaration of Ramona Altagracia Mosquea
ECF No. 18-93          Declaration of Sandra Hilvania Vazquez
ECF No. 18-94          Declaration of Leurides Vasquez Faña
ECF No. 18-95          Crime Scene Investigators Supplement
ECF No. 18-96          HPD Supplemental Narrative of Diana Garcia and Arturo Rodriguez
ECF No. 18-97          HPD Supplemental Narrative of investigation
ECF No. 18-98          Excerpts from Reporter’s Record, Aviles-Barroso v. Texas
ECF No. 18-99          HPD interview of Jose Valdez



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ECF No. 18-100         HPD interview of Arturo Garcia Sr.
ECF No. 18-101         FBI interview of Santana (5/23/2011)
ECF No. 18-102         Car registration for Angelita Rodriguez
ECF No. 18-103         SANE exam notes from 1992 (SEALED)
ECF No. 18-104         HPD report on forensic examination of Oldsmobile
ECF No. 18-105         Declaration of Chaplain Irma Iglesias Cruz
ECF No. 18-106         Declaration of Chaplain Ivan Negron Vera
ECF No. 18-107         Declaration of Jimmy Osorio
ECF No. 18-108         Declaration of Luis Gonzales Martinez
ECF No. 18-109         Dr. Rami Hashish Report (SEALED)
ECF No. 18-110         Declaration of Dr. Claudia Ahumada Degrati, Ph.D.
ECF No. 18-111         Passport for Cruz-GarciaCruz-Garcia
Exhibit 112            Email from HCDAO A.D.A Lori DeAngelo (12.29.2016)
Exhibit 113            Letter from HCDAO A.D.A. Natalie Tise in support of adjustment
                       of status by Angelita Rodriguez
Exhibit 114            Excerpts from Reporter’s Record, Aviles-Barroso v. Texas
Exhibit 115            Harris County criminal record for Angelita Rodriguez
Exhibit 116            PIA request - 1989 murder of Saul Flores
Exhibit 117            Response to PIA request – 1989 murder of Saul Flores
Exhibit 118            Follow-up to PIA request – 1989 murder of Saul Flores – records not
                       subject to disclosure
Exhibit 119            Letter from Office of the Attorney General of Texas re: PIA request
                       – 1989 murder of Saul Flores
Exhibit 120            Declaration of Joanne Heisey
Exhibit 121            Declaration of Adrián de la Rosa
Exhibit 122            OCFW Motion for Disclosure of Brady v. Maryland Materials
Exhibit 123            State’s Objections and/or Request for Reconsideration of Order
                       granting Defendant’s Motion for Disclosure
Exhibit 124            Email from HCDAO A.D.A Natalie Tise (6/10/2013)
Exhibit 125            Email from HCDAO A.D.A Natalie Tise (681/2011)



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Exhibit 126      Emails about chain of DNA testing (5/2011)
Exhibit 127      Email from HCDAO A.D.A Natalie Tise about DNA of Santana
                 (5/19/2011)
Exhibit 128      Emails about chain of DNA testing of hair (5/2011)
Exhibit 129      Emails about DNA results (5/2011)
Exhibit 130      Forensic testing in connection with extraneous offense (10/2011)
Exhibit 131      Emails about chain of DNA testing (2) (5/2011)
Exhibit 132      DNA timeline
Exhibit 133      Emails about chain of DNA testing (3) (5/2011)
Exhibit 134      Hairs Orchid DNA reports
Exhibit 135      Witness contacts
Exhibit 136      PIGs reports
Exhibit 137      Supplemental Declaration of Joanne Heisey
Exhibit 138      Skip Cornelius billing records
Exhibit 139      Skip Cornelius appointment records
Exhibit 140      Harris County Fee Schedule
Exhibit 141      Gina Vitale invoice
Exhibit 142      Texas Indigent Defense Commission, Judgment and Justice, An Evaluation of
                 the Texas Regional Public Defender for Capital Cases (June 2013)
Exhibit 143      Texas Indigent Defense Commission, Recommendations for a Unified Harris
                 County Managed Assigned Counsel Program
Exhibit 144      Texas Indigent Defense Commission, Guidelines for Indigent Defense Caseloads
                 (January 2015)
Exhibit 145      Texas Indigent Defense Commission, RPDO Making a Difference in Texas
                 (December 2016)
Exhibit 146      Texas Indigent Defense Commission, Policy Monitoring Review of Harris
                 County’s Felony Indigent Defense Systems (October 2016)
Exhibit 147      Council of State Governments Justice Center, Harris County Public Defender
                 (September 2013)
Exhibit 148      Skip Cornelius capital appointment records
Exhibit 149      Second subsequent application for writ of habeas corpus



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Exhibit 150      Judge Magee Website Bio
Exhibit 151      KHOU article about Harris County appointment system




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                                VERIFICATION BY ATTORNEY

        I, the undersigned, am an attorney at the office appointed by this Court pursuant to 18

U.S.C. § 3599 to represent Petitioner Obel Cruz-Garcia in these proceedings. I have met with Mr.

Cruz-Garcia, consulted with other staff in the Federal Defender’s Office regarding the case, and we

have directed experts and investigators regarding the circumstances of Mr. Cruz-Garcia’s conviction

and sentence of death. It is in that capacity that I verify this Petition. I declare under penalty of

perjury that the foregoing allegations in this Petition are true and correct to the best of my knowledge

and that this Petition for Writ of Habeas Corpus is being filed using this Court’s CM/ECF system

on May 4, 2022.



                                                     Subscribed by me May 4, 2022,
                                                                   in Dallas, Texas.


                                                                /s/ David C. Currie
                                                                    David C. Currie




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                                CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Petition for a Writ of Habeas

Corpus has been served by CM/ECF upon counsel for Respondent on May 4, 2022:

      Cara Hanna
      Criminal Appeals Division
      Office of the Attorney General
      P.O. Box 12548
      Capitol Station
      Austin, TX 78711
      cara.hanna@oag.texas.gov


                                            /s/ David C. Currie
                                            David C. Currie




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